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                      Exhibit A
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FTX Trading Ltd. Case No. 22-11068
Summary of Fees by Professional
For the Period March 1, 2023 through March 31, 2023
                                                                        Date of
                 Name                Initials             Rank                                Project Category                                                     Description of Services                                          Hours   Hourly Rate   Fees
                                                                        Service
                                                                                                                             Call to discuss FTX retention, scope, director issue, Cyprus opportunity and Bahamas. EY
Hutchison,Keiran                       KH         Partner/Principal    12/19/2022   Chapter 11 Process and Case Management                                                                                                           1.0     $850.00       $850.00
                                                                                                                             attendees: B. Richards and K. Hutchison
                                                                                                                             Call to discuss FTX retention, scope, director issue, Cyprus opportunity and Bahamas. EY
Richards,Briana A.                     BR         Partner/Principal    12/19/2022   Chapter 11 Process and Case Management                                                                                                           1.0     $1,150.00    $1,150.00
                                                                                                                             attendees: B. Richards and K. Hutchison
Hutchison,Keiran                       KH         Partner/Principal    12/22/2022            Liquidation Activities          Exchange with EY team re Cyprus matters                                                                 0.5      $850.00       $425.00
Hutchison,Keiran                       KH         Partner/Principal    12/23/2022            Liquidation Activities          Prepare note on director options                                                                        1.0      $850.00       $850.00
Hutchison,Keiran                       KH         Partner/Principal     1/4/2023             Liquidation Activities          Call to discuss Cyprus company with EY Cyprus                                                           0.4      $850.00       $340.00
Hutchison,Keiran                       KH         Partner/Principal     1/4/2023             Liquidation Activities          Call with S&C re status of AML process                                                                  0.4      $850.00       $340.00
Hutchison,Keiran                       KH         Partner/Principal     1/9/2023             Liquidation Activities          Call re FTX Cyprus                                                                                      0.5      $850.00       $425.00
Hutchison,Keiran                       KH         Partner/Principal     1/10/2023            Liquidation Activities          Call re FTX Cyprus and challenges re analysis of KYC and customer accounts                              0.5      $850.00       $425.00
Hutchison,Keiran                       KH         Partner/Principal     1/11/2023            Liquidation Activities          Call to discuss Cyprus and Gibraltar. EY attendees: B. Richards and K. Hutchison                        0.8      $850.00       $680.00
Richards,Briana A.                     BR         Partner/Principal     1/11/2023            Liquidation Activities          Call to discuss Cyprus and Gibraltar. EY attendees: B. Richards and K. Hutchison                        0.8     $1,150.00      $920.00
Hutchison,Keiran                       KH         Partner/Principal     1/11/2023            Liquidation Activities          Correspondence with S&C re FTX Cyprus and other jurisdictions including Gibraltar                       0.5      $850.00       $425.00
Hutchison,Keiran                       KH         Partner/Principal     1/17/2023            Liquidation Activities          Prep for and participate in call with FTX management re support                                         1.3      $850.00     $1,105.00
Hutchison,Keiran                       KH         Partner/Principal     1/18/2023            Liquidation Activities          exchange re FTX Germany sub                                                                             0.4      $850.00       $340.00
Hutchison,Keiran                       KH         Partner/Principal     1/19/2023            Liquidation Activities          Discuss with management and advisers re: next steps                                                     1.7      $850.00     $1,445.00
Hutchison,Keiran                       KH         Partner/Principal     1/19/2023            Liquidation Activities          Exchange re Embed FTX Subsidiary                                                                        1.4      $850.00     $1,190.00
Hutchison,Keiran                       KH         Partner/Principal     1/20/2023            Liquidation Activities          FTX call with S&C Germany re status of German entity                                                    0.5      $850.00       $425.00
Hutchison,Keiran                       KH         Partner/Principal     1/20/2023            Liquidation Activities          Correspondence with B. Richards re status of German entity                                              0.7      $850.00       $595.00
Hutchison,Keiran                       KH         Partner/Principal     1/20/2023            Liquidation Activities          Call re Embed FTX Subsidiary sale and liquidation                                                       0.5      $850.00       $425.00
Hutchison,Keiran                       KH         Partner/Principal     1/23/2023            Liquidation Activities          Exchange re German entity and next steps                                                                0.6      $850.00       $510.00
Hutchison,Keiran                       KH         Partner/Principal     1/25/2023            Liquidation Activities          Exchange re status of Zubr                                                                              0.4      $850.00       $340.00
Hutchison,Keiran                       KH         Partner/Principal     1/26/2023            Liquidation Activities          Exchange with EY team re Zubr status                                                                    0.6      $850.00       $510.00
Hutchison,Keiran                       KH         Partner/Principal     1/30/2023            Liquidation Activities          Review Gibraltar questionnaire                                                                          0.4      $850.00       $340.00
Hutchison,Keiran                       KH         Partner/Principal     1/31/2023            Liquidation Activities          Draft note to S&C re fund repatriation flow issue                                                       0.6      $850.00       $510.00
Hutchison,Keiran                       KH         Partner/Principal     2/1/2023             Liquidation Activities          Exchange re FTX Gib and research required into Cyprus parent entity                                     0.5      $850.00       $425.00
Hutchison,Keiran                       KH         Partner/Principal     2/1/2023             Liquidation Activities          Field enquiry re entities below FTX Europe in Austria                                                   0.3      $850.00       $255.00
Hutchison,Keiran                       KH         Partner/Principal     2/1/2023             Liquidation Activities          Exchange with S&C re Zubr and parent entity status                                                      0.4      $850.00       $340.00
Hutchison,Keiran                       KH         Partner/Principal     2/3/2023             Liquidation Activities          Review comments provided by Austrian team on dissolved entities - subs of FTX Europe                    0.3      $850.00       $255.00
Hutchison,Keiran                       KH         Partner/Principal     2/3/2023             Liquidation Activities          Exchange re Cyprus AML exercise and re FTX Europe insolvency discussion                                 0.5      $850.00       $425.00
Hutchison,Keiran                       KH         Partner/Principal     2/6/2023             Liquidation Activities          Call re FTX Europe current financial position with S&C, A&M and management                              0.5      $850.00       $425.00
Hutchison,Keiran                       KH         Partner/Principal     2/6/2023             Liquidation Activities          Exchange with EY team re Europe and Cyprus                                                              0.2      $850.00       $170.00
Hutchison,Keiran                       KH         Partner/Principal     2/13/2023            Liquidation Activities          Exchange with S&C re German tax query                                                                   0.2      $850.00       $170.00
Hutchison,Keiran                       KH         Partner/Principal     2/15/2023            Liquidation Activities          Call re FTX Bahamas issues and assistance with liquidation matters                                      0.5      $850.00       $425.00
                                                                                                                             FTX call re identified entities to move to Liq in March. EY attendees: N. Bugden, B. Richards, and
Hutchison,Keiran                       KH         Partner/Principal    2/28/2023             Liquidation Activities                                                                                                                  0.9     $850.00       $765.00
                                                                                                                             K. Hutchison
                                                                                                                             FTX call re identified entities to move to Liq in March. EY attendees: N. Bugden, B. Richards, and
Richards,Briana A.                     BR         Partner/Principal    2/28/2023             Liquidation Activities                                                                                                                  0.9     $1,150.00    $1,035.00
                                                                                                                             K. Hutchison
                                                                                                                             FTX call re identified entities to move to Liq in March. EY attendees: N. Bugden, B. Richards, and
Bugden,Nick R                         NRB             Senior Manager   2/28/2023             Liquidation Activities                                                                                                                  0.9     $900.00       $810.00
                                                                                                                             K. Hutchison
                                                                                                                             Call regarding FTX Switzerland & Liechtenstein tax & accounting. EY attendees: J. Leston, C.
Bouza,Victor                           VB                Manager        3/1/2023                 Non US Tax                                                                                                                          0.6     $525.00       $315.00
                                                                                                                             Schwarzwalder, C. Ruegg, and V. Bouza
                                                                                                                             Call regarding FTX Switzerland & Liechtenstein tax & accounting. EY attendees: J. Leston, C.
Leston,Juan                             JL        Partner/Principal     3/1/2023                 Non US Tax                                                                                                                          0.6     $825.00       $495.00
                                                                                                                             Schwarzwalder, C. Ruegg, and V. Bouza
                                                                                                                             Call regarding FTX Switzerland & Liechtenstein tax & accounting. EY attendees: J. Leston, C.
Rüegg,Christoph                        CR                 Senior        3/1/2023                 Non US Tax                                                                                                                          0.6     $395.00       $237.00
                                                                                                                             Schwarzwalder, C. Ruegg, and V. Bouza
                                                                                                                             Call regarding FTX Switzerland & Liechtenstein tax & accounting. EY attendees: J. Leston, C.
Schwarzwälder,Christian                CS             Senior Manager    3/1/2023                 Non US Tax                                                                                                                          0.6     $650.00       $390.00
                                                                                                                             Schwarzwalder, C. Ruegg, and V. Bouza
                                                                                                                             Participate in weekly meeting regarding status check-in, issues, and risks with regards to providing
                                                                                                                             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and
Ancona,Christopher                     CA                 Senior        3/1/2023     Project Management Office Transition                                                                                                            0.4     $395.00       $158.00
                                                                                                                             the implementation of global compliance and reporting services. EY attendees: C. Ancona, A.
                                                                                                                             Farrar, C. Tong, and K. Gundu
                                                                                                                             Participate in weekly meeting regarding status check-in, issues, and risks with regards to providing
                                                                                                                             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and
Farrar,Anne                            AF         Partner/Principal     3/1/2023     Project Management Office Transition                                                                                                            0.4     $825.00       $330.00
                                                                                                                             the implementation of global compliance and reporting services. EY attendees: C. Ancona, A.
                                                                                                                             Farrar, C. Tong, and K. Gundu
                                                                                                                             Participate in weekly meeting regarding status check-in, issues, and risks with regards to providing
                                                                                                                             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and
Gundu,Kaivalya                         KG             Senior Manager    3/1/2023                  Technology                                                                                                                         0.4     $650.00       $260.00
                                                                                                                             the implementation of global compliance and reporting services. EY attendees: C. Ancona, A.
                                                                                                                             Farrar, C. Tong, and K. Gundu
                                                                                                                             Participate in weekly meeting regarding status check-in, issues, and risks with regards to providing
                                                                                                                             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and
Tong,Chia-Hui                         CHT             Senior Manager    3/1/2023     Project Management Office Transition                                                                                                            0.4     $650.00       $260.00
                                                                                                                             the implementation of global compliance and reporting services. EY attendees: C. Ancona, A.
                                                                                                                             Farrar, C. Tong, and K. Gundu
                                                                                                                             Due diligence meeting with J. Bavaud (FTX), R. Matzke (FTX), D. Roggo (Mazars CH), and A.
Koch,Markus                            MK         Managing Director     3/1/2023          Meetings with Management           Rana (Mazars CH) re: Switzerland and Liechtenstein. EY attendees: M. Koch, C. Schwarzwalder,            1.2     $775.00       $930.00
                                                                                                                             N. Weber, F. Mesa, and C. Ruegg
                                                                                                                             Due diligence meeting with J. Bavaud (FTX), R. Matzke (FTX), D. Roggo (Mazars CH), and A.
Mesa,Francisco                         FM                 Senior        3/1/2023          Meetings with Management           Rana (Mazars CH) re: Switzerland and Liechtenstein. EY attendees: M. Koch, C. Schwarzwalder,            1.2     $395.00       $474.00
                                                                                                                             N. Weber, F. Mesa, and C. Ruegg
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                                                         Date of
                   Name   Initials         Rank                              Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Due diligence meeting with J. Bavaud (FTX), R. Matzke (FTX), D. Roggo (Mazars CH), and A.
Rüegg,Christoph             CR            Senior         3/1/2023       Meetings with Management           Rana (Mazars CH) re: Switzerland and Liechtenstein. EY attendees: M. Koch, C. Schwarzwalder,          1.2     $395.00       $474.00
                                                                                                           N. Weber, F. Mesa, and C. Ruegg
                                                                                                           Due diligence meeting with J. Bavaud (FTX), R. Matzke (FTX), D. Roggo (Mazars CH), and A.
Schwarzwälder,Christian     CS        Senior Manager     3/1/2023       Meetings with Management           Rana (Mazars CH) re: Switzerland and Liechtenstein. EY attendees: M. Koch, C. Schwarzwalder,          1.2     $650.00       $780.00
                                                                                                           N. Weber, F. Mesa, and C. Ruegg
                                                                                                           Due diligence meeting with J. Bavaud (FTX), R. Matzke (FTX), D. Roggo (Mazars CH), and A.
Weber,Nic                  NW         Senior Manager     3/1/2023       Meetings with Management           Rana (Mazars CH) re: Switzerland and Liechtenstein. EY attendees: M. Koch, C. Schwarzwalder,          1.2     $650.00       $780.00
                                                                                                           N. Weber, F. Mesa, and C. Ruegg
Berrette,Sandrine           SB        Senior Manager     3/1/2023               Non US Tax                 Tax and Payroll alignment call to discuss next steps: EY attendees: S. Berrette and C. Ruegg          0.3     $650.00       $195.00
Rüegg,Christoph             CR            Senior         3/1/2023               Non US Tax                 Tax and Payroll alignment call to discuss next steps: EY attendees: S. Berrette and C. Ruegg          0.3     $395.00       $118.50
                                                                                                           Meeting to discuss action items and next steps regarding FTX deliverables for the Non-US
Ancona,Christopher          CA            Senior         3/1/2023   Project Management Office Transition                                                                                                         0.4     $395.00       $158.00
                                                                                                           workstream. EY attendees: C. Ancona, C. Tong, J. Scott, D. Hammon, and C. MacLean
                                                                                                           Meeting to discuss action items and next steps regarding FTX deliverables for the Non-US
Hammon,David Lane          DLH           Manager         3/1/2023               Non US Tax                                                                                                                       0.4     $525.00       $210.00
                                                                                                           workstream. EY attendees: C. Ancona, C. Tong, J. Scott, D. Hammon, and C. MacLean
                                                                                                           Meeting to discuss action items and next steps regarding FTX deliverables for the Non-US
MacLean,Corrie             CM             Senior         3/1/2023               Non US Tax                                                                                                                       0.4     $395.00       $158.00
                                                                                                           workstream. EY attendees: C. Ancona, C. Tong, J. Scott, D. Hammon, and C. MacLean
                                       Client Serving                                                      Meeting to discuss action items and next steps regarding FTX deliverables for the Non-US
Scott,James                 JS                           3/1/2023             US Income Tax                                                                                                                      0.4     $600.00       $240.00
                                       Contractor JS                                                       workstream. EY attendees: C. Ancona, C. Tong, J. Scott, D. Hammon, and C. MacLean
                                                                                                           Meeting to discuss action items and next steps regarding FTX deliverables for the Non-US
Tong,Chia-Hui              CHT        Senior Manager     3/1/2023   Project Management Office Transition                                                                                                         0.4     $650.00       $260.00
                                                                                                           workstream. EY attendees: C. Ancona, C. Tong, J. Scott, D. Hammon, and C. MacLean
                                                                                                           Meeting to finalize the 1099 vendor and customer reportability claimant documentation as
DeVincenzo,Jennie          JDV       Managing Director   3/1/2023               Payroll Tax                                                                                                                      0.6     $775.00       $465.00
                                                                                                           requested by FTX. EY attendees: K. Wrenn, J. DeVincenzo, and K. Lowery
                                         National                                                          Meeting to finalize the 1099 vendor and customer reportability claimant documentation as
Lowery,Kristie L           KLL                           3/1/2023               Payroll Tax                                                                                                                      0.6     $990.00       $594.00
                                     Partner/Principal                                                     requested by FTX. EY attendees: K. Wrenn, J. DeVincenzo, and K. Lowery
                                                                                                           Meeting to finalize the 1099 vendor and customer reportability claimant documentation as
Wrenn,Kaitlin Doyle       KDW            Manager         3/1/2023               Payroll Tax                                                                                                                      0.6     $525.00       $315.00
                                                                                                           requested by FTX. EY attendees: K. Wrenn, J. DeVincenzo, and K. Lowery
                                                                                                           Internal call to discuss pre and post-bankruptcy definition for sales and use tax purposes and
Flagg,Nancy A.             NAF       Managing Director   3/1/2023         US State and Local Tax           walkthrough of the sales and use tax gap analysis. EY attendees: M. Musano, N. Flagg, K. Gatt, J.     0.7     $775.00       $542.50
                                                                                                           Jimenez, and E. Hall
                                                                                                           Internal call to discuss pre and post-bankruptcy definition for sales and use tax purposes and
Gatt,Katie                  KG        Senior Manager     3/1/2023         US State and Local Tax           walkthrough of the sales and use tax gap analysis. EY attendees: M. Musano, N. Flagg, K. Gatt, J.     0.7     $650.00       $455.00
                                                                                                           Jimenez, and E. Hall
                                                                                                           Internal call to discuss pre and post-bankruptcy definition for sales and use tax purposes and
Hall,Emily Melissa         EMH            Senior         3/1/2023         US State and Local Tax           walkthrough of the sales and use tax gap analysis. EY attendees: M. Musano, N. Flagg, K. Gatt, J.     0.7     $395.00       $276.50
                                                                                                           Jimenez, and E. Hall
                                                                                                           Internal call to discuss pre and post-bankruptcy definition for sales and use tax purposes and
Jimenez,Joseph Robert       JRJ       Senior Manager     3/1/2023         US State and Local Tax           walkthrough of the sales and use tax gap analysis. EY attendees: M. Musano, N. Flagg, K. Gatt, J.     0.7     $650.00       $455.00
                                                                                                           Jimenez, and E. Hall
                                                                                                           Internal call to discuss pre and post-bankruptcy definition for sales and use tax purposes and
Musano,Matthew Albert     MAM         Senior Manager     3/1/2023         US State and Local Tax           walkthrough of the sales and use tax gap analysis. EY attendees: M. Musano, N. Flagg, K. Gatt, J.     0.7     $650.00       $455.00
                                                                                                           Jimenez, and E. Hall
                                                                                                           Internal meeting to discuss Delaware annual report calculation. EY attendees: M. Musano, J. Scott,
Dulceak,Crystal             CD           Manager         3/1/2023         US State and Local Tax                                                                                                                 0.4     $525.00       $210.00
                                                                                                           C. Dulceak, and E. Hall
                                                                                                           Internal meeting to discuss Delaware annual report calculation. EY attendees: M. Musano, J. Scott,
Hall,Emily Melissa         EMH            Senior         3/1/2023         US State and Local Tax                                                                                                                 0.4     $395.00       $158.00
                                                                                                           C. Dulceak, and E. Hall
                                                                                                           Internal meeting to discuss Delaware annual report calculation. EY attendees: M. Musano, J. Scott,
Musano,Matthew Albert     MAM         Senior Manager     3/1/2023         US State and Local Tax                                                                                                                 0.4     $650.00       $260.00
                                                                                                           C. Dulceak, and E. Hall
                                       Client Serving                                                      Internal meeting to discuss Delaware annual report calculation. EY attendees: M. Musano, J. Scott,
Scott,James                 JS                           3/1/2023             US Income Tax                                                                                                                      0.4     $600.00       $240.00
                                       Contractor JS                                                       C. Dulceak, and E. Hall
                                                                                                           Meeting to discuss DE annual report filing. EY attendees: M. Musano, J. Scott, C. Dulceak, and E.
Dulceak,Crystal             CD           Manager         3/1/2023         US State and Local Tax                                                                                                                 0.4     $525.00       $210.00
                                                                                                           Hall
                                                                                                           Meeting to discuss DE annual report filing. EY attendees: M. Musano, J. Scott, C. Dulceak, and E.
Hall,Emily Melissa         EMH            Senior         3/1/2023         US State and Local Tax                                                                                                                 0.4     $395.00       $158.00
                                                                                                           Hall
                                                                                                           Meeting to discuss DE annual report filing. EY attendees: M. Musano, J. Scott, C. Dulceak, and E.
Musano,Matthew Albert     MAM         Senior Manager     3/1/2023         US State and Local Tax                                                                                                                 0.4     $650.00       $260.00
                                                                                                           Hall
                                       Client Serving                                                      Meeting to discuss DE annual report filing. EY attendees: M. Musano, J. Scott, C. Dulceak, and E.
Scott,James                 JS                           3/1/2023             US Income Tax                                                                                                                      0.4     $600.00       $240.00
                                       Contractor JS                                                       Hall
                                                                                                           Meeting with third party provider in Seychelles to discuss FTX work. EY attendees: C. MacLean,
Hammon,David Lane          DLH           Manager         3/1/2023               Non US Tax                                                                                                                       0.4     $525.00       $210.00
                                                                                                           D. Hammon, K. Staromiejska
                                                                                                           Meeting with third party provider in Seychelles to discuss FTX work. EY attendees: C. MacLean,
MacLean,Corrie             CM             Senior         3/1/2023               Non US Tax                                                                                                                       0.4     $395.00       $158.00
                                                                                                           D. Hammon, K. Staromiejska
                                                                                                           Meeting with third party provider in Seychelles to discuss FTX work. EY attendees: C. MacLean,
Staromiejska,Kinga          KS           Manager         3/1/2023               Non US Tax                                                                                                                       0.4     $525.00       $210.00
                                                                                                           D. Hammon, K. Staromiejska
                                                                                                           Meeting with J. Sequeira (A&M) and EY Cyprus team to discuss bookkeeping for Innovatia Ltd.
Hammon,David Lane          DLH           Manager         3/1/2023      Meetings with Other Advisors                                                                                                              0.4     $525.00       $210.00
                                                                                                           EY attendees: P. Pavlou, P. Liassides, A. Tsikkouris, C. Tyllirou, D. Hammon, and C. MacLean

                                                                                                           Meeting with J. Sequeira (A&M) and EY Cyprus team to discuss bookkeeping for Innovatia Ltd.
Liassides,Petros            PL       Partner/Principal   3/1/2023      Meetings with Other Advisors                                                                                                              0.4     $825.00       $330.00
                                                                                                           EY attendees: P. Pavlou, P. Liassides, A. Tsikkouris, C. Tyllirou, D. Hammon, and C. MacLean

                                                                                                           Meeting with J. Sequeira (A&M) and EY Cyprus team to discuss bookkeeping for Innovatia Ltd.
MacLean,Corrie             CM             Senior         3/1/2023      Meetings with Other Advisors                                                                                                              0.4     $395.00       $158.00
                                                                                                           EY attendees: P. Pavlou, P. Liassides, A. Tsikkouris, C. Tyllirou, D. Hammon, and C. MacLean
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                                                         Date of
                  Name    Initials        Rank                               Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Meeting with J. Sequeira (A&M) and EY Cyprus team to discuss bookkeeping for Innovatia Ltd.
Pavlou,Pantelis             PP           Manager         3/1/2023      Meetings with Other Advisors                                                                                                              0.4     $525.00       $210.00
                                                                                                           EY attendees: P. Pavlou, P. Liassides, A. Tsikkouris, C. Tyllirou, D. Hammon, and C. MacLean

                                                                                                           Meeting with J. Sequeira (A&M) and EY Cyprus team to discuss bookkeeping for Innovatia Ltd.
Tsikkouris,Anastasios       AT           Manager         3/1/2023      Meetings with Other Advisors                                                                                                              0.4     $525.00       $210.00
                                                                                                           EY attendees: P. Pavlou, P. Liassides, A. Tsikkouris, C. Tyllirou, D. Hammon, and C. MacLean

                                                                                                           Meeting with J. Sequeira (A&M) and EY Cyprus team to discuss bookkeeping for Innovatia Ltd.
Tyllirou,Christiana         CT           Manager         3/1/2023      Meetings with Other Advisors                                                                                                              0.4     $525.00       $210.00
                                                                                                           EY attendees: P. Pavlou, P. Liassides, A. Tsikkouris, C. Tyllirou, D. Hammon, and C. MacLean
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane          DLH           Manager         3/1/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,     0.4     $525.00       $210.00
                                                                                                           T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.         TJK       Partner/Principal   3/1/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,     0.4     $825.00       $330.00
                                                                                                           T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie             CM             Senior         3/1/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,     0.4     $395.00       $158.00
                                                                                                           T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga          KS           Manager         3/1/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,     0.4     $525.00       $210.00
                                                                                                           T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                           Call with IRS field agents to discuss open items for audit. EY attendees: C. Ellenson, T. Shea, J.
Ellenson,Cory               CE        Senior Manager     3/1/2023            IRS Audit Matters                                                                                                                   1.0     $650.00       $650.00
                                                                                                           Healy, and B. Mistler
                                                                                                           Call with IRS field agents to discuss open items for audit. EY attendees: C. Ellenson, T. Shea, J.
Healy,John                  JH        Senior Manager     3/1/2023            IRS Audit Matters                                                                                                                   1.0     $650.00       $650.00
                                                                                                           Healy, and B. Mistler
                                                                                                           Call with IRS field agents to discuss open items for audit. EY attendees: C. Ellenson, T. Shea, J.
Mistler,Brian M           BMM            Manager         3/1/2023             US Income Tax                                                                                                                      1.0     $525.00       $525.00
                                                                                                           Healy, and B. Mistler
                                                                                                           Call with IRS field agents to discuss open items for audit. EY attendees: C. Ellenson, T. Shea, J.
Shea JR,Thomas M           TMS       Partner/Principal   3/1/2023             US Income Tax                                                                                                                      1.0     $825.00       $825.00
                                                                                                           Healy, and B. Mistler
                                                                                                           Call with C. Cipione (AlixPartners) to discuss trading data deployment in Azure. EY attendees: T.
Bailey,Doug                 DB       Partner/Principal   3/1/2023      Meetings with Other Advisors                                                                                                              0.5     $825.00       $412.50
                                                                                                           Shea, B. Mistler, C. Cavusoglu, and D. Bailey
                                                                                                           Call with C. Cipione (AlixPartners) to discuss trading data deployment in Azure. EY attendees: T.
Cavusoglu,Coskun            CC       Partner/Principal   3/1/2023      Meetings with Other Advisors                                                                                                              0.5     $825.00       $412.50
                                                                                                           Shea, B. Mistler, C. Cavusoglu, and D. Bailey
                                                                                                           Call with C. Cipione (AlixPartners) to discuss trading data deployment in Azure. EY attendees: T.
Mistler,Brian M           BMM            Manager         3/1/2023      Meetings with Other Advisors                                                                                                              0.5     $525.00       $262.50
                                                                                                           Shea, B. Mistler, C. Cavusoglu, and D. Bailey
                                                                                                           Call with C. Cipione (AlixPartners) to discuss trading data deployment in Azure. EY attendees: T.
Shea JR,Thomas M           TMS       Partner/Principal   3/1/2023      Meetings with Other Advisors                                                                                                              0.5     $825.00       $412.50
                                                                                                           Shea, B. Mistler, C. Cavusoglu, and D. Bailey
                                                                                                           Kick off meeting with Turkish Management team. EY attendees: K. Demirkol, E. Erdem, D.
Demirkol,Kenan              KD             Staff         3/1/2023               Non US Tax                                                                                                                       1.0     $225.00       $225.00
                                                                                                           Gursoy, and E. Yildiz
                                                                                                           Kick off meeting with Turkish Management team. EY attendees: K. Demirkol, E. Erdem, D.
Erdem,Ersin                 EE       Partner/Principal   3/1/2023               Non US Tax                                                                                                                       1.0     $825.00       $825.00
                                                                                                           Gursoy, and E. Yildiz
                                                                                                           Kick off meeting with Turkish Management team. EY attendees: K. Demirkol, E. Erdem, D.
Gursoy,Damla                DG        Senior Manager     3/1/2023               Non US Tax                                                                                                                       1.0     $650.00       $650.00
                                                                                                           Gursoy, and E. Yildiz
                                                                                                           Kick off meeting with Turkish Management team. EY attendees: K. Demirkol, E. Erdem, D.
Yildiz,Elif                 EY            Senior         3/1/2023               Non US Tax                                                                                                                       1.0     $395.00       $395.00
                                                                                                           Gursoy, and E. Yildiz
                                         National                                                          Internal call to discuss team correspondence, project management, and next steps. EY attendees: D.
McComber,Donna             DM                            3/1/2023             Transfer Pricing                                                                                                                   0.8     $990.00       $792.00
                                     Partner/Principal                                                     McComber, O. Hall, and L. Rodriguez
                                                                                                           Internal call to discuss team correspondence, project management, and next steps. EY attendees: D.
Rodriguez,Lenny             LR            Senior         3/1/2023               Non US Tax                                                                                                                       0.8     $395.00       $316.00
                                                                                                           McComber, O. Hall, and L. Rodriguez
                                                                                                           Internal call to discuss team correspondence, project management, and next steps. EY attendees: D.
Hall,Olivia                 OH             Staff         3/1/2023             Transfer Pricing                                                                                                                   0.8     $225.00       $180.00
                                                                                                           McComber, O. Hall, and L. Rodriguez
Bouza,Victor                VB           Manager         3/1/2023               Non US Tax                 Client kick-off call. EY attendees: V. Bouza and J. Leston                                            0.5     $525.00       $262.50
Leston,Juan                 JL       Partner/Principal   3/1/2023               Non US Tax                 Client kick-off call. EY attendees: V. Bouza and J. Leston                                            0.5     $825.00       $412.50
Ancona,Christopher          CA            Senior         3/1/2023   Project Management Office Transition   Correspondence with workstream leads and updating the Project Management Office status tracker        1.1     $395.00       $434.50
Ancona,Christopher         CA            Senior          3/1/2023   Project Management Office Transition   Revise the January fee application for submission to the debtor's counsel.                            2.7     $395.00      $1,066.50
Bost,Anne                  BA        Managing Director   3/1/2023   Project Management Office Transition   Review Cottonwood subsidiary transactions summary                                                     0.7     $775.00        $542.50
Camargos,Lorraine Silva    LSC           Senior          3/1/2023               Non US Tax                 Analyze results of polling questions                                                                  0.3     $395.00        $118.50
Carver,Cody R.             CRC           Senior          3/1/2023               Payroll Tax                Follow-up regarding employment tax notice with State Jurisdictions for California                     3.6     $395.00      $1,422.00
                                                                                                           Call with Rhode Island Division of Taxation regarding notice NM_WRS_Corp_02012023_Call
Castillo,Irvin Giovanni    IGC             Staff         3/1/2023         US State and Local Tax                                                                                                                 1.4     $225.00       $315.00
                                                                                                           Log.docx
Cavusoglu,Coskun            CC       Partner/Principal   3/1/2023               Technology                 Meeting with AlixPartners to discuss data requirements for Tax calculations.                          0.6     $825.00        $495.00
DeVincenzo,Jennie          JDV       Managing Director   3/1/2023               Payroll Tax                Review edits to the Claimant wage taxation document                                                   0.4     $775.00        $310.00
Dulceak,Crystal             CD           Manager         3/1/2023          US State and Local Tax          Perform level 1 review of 2/28 & 3/1 AR's and prepare AR funding                                      2.9     $525.00      $1,522.50
Dulceak,Crystal             CD           Manager         3/1/2023          US State and Local Tax          Follow-up with internal team regarding DE Blockfolio tax due                                          0.6     $525.00        $315.00
Farrar,Anne                 AF       Partner/Principal   3/1/2023   Project Management Office Transition   Review of materials following team meeting                                                            0.7     $825.00        $577.50
Farrar,Anne                 AF       Partner/Principal   3/1/2023   Project Management Office Transition   Review items related to Global Payroll                                                                0.2     $825.00        $165.00
                                                                                                           Discussion regarding review of VAT data points and approach for VAT DD and compliance. EY
Gil Diez de Leon,Marta     MDL           Manager         3/1/2023            Value Added Tax                                                                                                                     1.7     $525.00       $892.50
                                                                                                           attendees: M. Gil Diez de Leon and K. Madhok
Hall,Emily Melissa         EMH            Senior         3/1/2023         US State and Local Tax           Reviewed FTX State and Local tax gap analysis                                                         0.8     $395.00       $316.00
Hall,Emily Melissa         EMH            Senior         3/1/2023         US State and Local Tax           Follow-up with business license team regarding 3/1 annual report status.                              0.8     $395.00       $316.00
Hammon,David Lane          DLH           Manager         3/1/2023               Non US Tax                 Correspondence regarding status and engagement details concerning the foreign workstreams             3.1     $525.00      $1,627.50
Hammon,David Lane          DLH           Manager         3/1/2023               Non US Tax                 Review of 5471s and 8858s to determine dormant versus active entities                                 3.9     $525.00      $2,047.50
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                                                        Date of
                Name     Initials        Rank                                Project Category                                                    Description of Services                                          Hours   Hourly Rate   Fees
                                                        Service
Healy,John                 JH       Senior Manager      3/1/2023             IRS Audit Matters              Call with IRS examiners and assist with foundation issues                                              0.8     $650.00       $520.00
                                                                                                            Call with DE SOS to confirm penalties/interest that would apply for late Annual Report (i.e.
Huang,Vanesa               VH             Staff         3/1/2023           US State and Local Tax                                                                                                                  1.7     $225.00       $382.50
                                                                                                            Franchise Tax Return)
Huang,Vanesa               VH             Staff         3/1/2023           US State and Local Tax           Process the DE SOS Annual Report among other states                                                    2.9     $225.00       $652.50
Huang,Vanesa               VH             Staff         3/1/2023           US State and Local Tax           Finalize the DE SOS Annual Report                                                                      3.1     $225.00       $697.50
Huang,Vanesa               VH             Staff         3/1/2023           US State and Local Tax           Process the CA SOS Annual Report                                                                       0.9     $225.00       $202.50
Johnson,Derrick Joseph     DJJ            Staff         3/1/2023           US State and Local Tax           Revise the claims log and circulating new claims to the wider team                                     0.8     $225.00       $180.00
                                                                                                            Research foreign country tax filing obligations, deadlines, exceptions to compile a master
MacLean,Corrie            CM             Senior         3/1/2023                Non US Tax                                                                                                                         2.7     $395.00      $1,066.50
                                                                                                            compliance list
                                                                                                            Discussion regarding review of VAT data points and approach for VAT DD and compliance. EY
Madhok,Kishan             KM        Senior Manager      3/1/2023              Value Added Tax                                                                                                                      1.7     $650.00      $1,105.00
                                                                                                            attendees: M. Gil Diez de Leon and K. Madhok
Mesa,Francisco            FM             Senior         3/1/2023              Value Added Tax               Research information and prepare files                                                                 2.9     $395.00      $1,145.50
Mistler,Brian M          BMM            Manager         3/1/2023               US Income Tax                Prepare list of international and state tax issues for meeting with Sullivan & Cromwell                1.2     $525.00        $630.00
Mistler,Brian M          BMM            Manager         3/1/2023               US Income Tax                Reconcile GL to tax return in preparation for IRS meeting                                              0.9     $525.00        $472.50
Rüegg,Christoph           CR             Senior         3/1/2023                Non US Tax                  Prepare due diligence questionnaire for Swiss and Liechtenstein FTX entities                           2.9     $395.00      $1,145.50
                                     Client Serving
Scott,James                JS                           3/1/2023               US Income Tax                Develop timeline expectations regarding the IRS exam                                                   0.4     $600.00       $240.00
                                     Contractor JS
                                     Client Serving
Scott,James                JS                           3/1/2023               US Income Tax                Review IRS request of non-debtor regarding FTX philanthropy entities                                   0.8     $600.00       $480.00
                                     Contractor JS
                                     Client Serving
Scott,James                JS                           3/1/2023           US State and Local Tax           Review Blockfolio franchise tax calculation                                                            1.2     $600.00       $720.00
                                     Contractor JS
Shea JR,Thomas M          TMS       Partner/Principal   3/1/2023               US Income Tax                Prep for call with IRS field agents to discussion regarding open items for audit                       0.7     $825.00       $577.50
                                                                                                            Prepare Agenda for Tax Reporting Update discussion with D. Hariton (S&C) re: 2022 extension
Shea JR,Thomas M          TMS       Partner/Principal   3/1/2023               US Income Tax                                                                                                                       1.7     $825.00      $1,402.50
                                                                                                            filings and technical issues (Federal, State & Local income and indirect)
                                                                                                            Meeting with D. Hariton (S&C) regarding Tax Reporting Update for 2022 extension filings and
Shea JR,Thomas M          TMS       Partner/Principal   3/1/2023               US Income Tax                                                                                                                       0.9     $825.00       $742.50
                                                                                                            technical issues (Federal, State & Local income and indirect)
                                                                                                            Written correspondence with AlixPartners re: data hosting requirements for trading database to
Shea JR,Thomas M          TMS       Partner/Principal   3/1/2023               US Income Tax                                                                                                                       0.8     $825.00       $660.00
                                                                                                            enable tax workstreams
                                                                                                            Written correspondence with M. Cilia (FTX) re: notices and requests received for FTX
Shea JR,Thomas M          TMS       Partner/Principal   3/1/2023               US Income Tax                                                                                                                       1.1     $825.00       $907.50
                                                                                                            Philanthropy (FTX Foundation) subsidiaries
                                                                                                            Reconcile returns and return details against apportionment workpaper checking for any
Sun,Yuchen                 YS            Senior         3/1/2023           US State and Local Tax                                                                                                                  3.9     $395.00      $1,540.50
                                                                                                            apportionment schedule missing
                                                                                                            Follow-up regarding Program Management Office action items including correspondence with
Tong,Chia-Hui             CHT       Senior Manager      3/1/2023    Project Management Office Transition                                                                                                           2.1     $650.00      $1,365.00
                                                                                                            workstream leads to document action items
Tong,Chia-Hui             CHT       Senior Manager      3/1/2023        Fee/Employment Applications         Review reconciliation of monthly fee application exhibits                                              0.4     $650.00       $260.00
Tong,Chia-Hui             CHT       Senior Manager      3/1/2023    Project Management Office Transition    Review reconciliation of fee application                                                               1.1     $650.00       $715.00
Tong,Chia-Hui             CHT       Senior Manager      3/1/2023    Project Management Office Transition    Prepare talking points and agenda for meeting with legal team to discuss local country work            0.3     $650.00       $195.00
Zheng,Eva                  EZ          Manager          3/1/2023           US State and Local Tax           Review 3/15 filings deadlines and update the tracker to include additional returns                     1.8     $525.00       $945.00
                                                                                                            Call to review summary findings re: reconciliation of financials for FTX entities. EY attendees: F.
Maiello,Rob               RM           Consultant       3/1/2023            Liquidation Activities                                                                                                                 1.9     $445.00       $845.50
                                                                                                            ORiain and R. Maiello
                                                                                                            Prepare and analyze balance sheet of Analisya Pte Ltd certain FTX entities for net assets and
Maiello,Rob               RM           Consultant       3/1/2023            Liquidation Activities                                                                                                                 0.6     $445.00       $267.00
                                                                                                            solvency
                                                                                                            Prepare and analyze balance sheet of certain FTX Crypto Services entities for net assets and
Maiello,Rob               RM           Consultant       3/1/2023            Liquidation Activities                                                                                                                 0.9     $445.00       $400.50
                                                                                                            solvency
                                                                                                            Prepare and analyze balance sheet of certain FTX Structured Products entities for net assets and
Maiello,Rob               RM           Consultant       3/1/2023            Liquidation Activities                                                                                                                 0.7     $445.00       $311.50
                                                                                                            solvency
                                                                                                            Prepare and analyze balance sheet of certain FTX Switzerland GmbH entities for net assets and
Maiello,Rob               RM           Consultant       3/1/2023            Liquidation Activities                                                                                                                 0.9     $445.00       $400.50
                                                                                                            solvency
                                                                                                            Prepare and analyze balance sheet of certain FTX Trading GmbH entities for net assets and
Maiello,Rob               RM           Consultant       3/1/2023            Liquidation Activities                                                                                                                 1.1     $445.00       $489.50
                                                                                                            solvency
                                                                                                            Prepare and analyze balance sheet of Quoine Vietnam Co Ltd certain FTX entities for net assets
Maiello,Rob               RM           Consultant       3/1/2023            Liquidation Activities                                                                                                                 1.3     $445.00       $578.50
                                                                                                            and solvency
Maiello,Rob               RM           Consultant       3/1/2023            Liquidation Activities          Review and prepare information regarding solvency of high priority entities                            0.9     $445.00       $400.50
Maiello,Rob               RM           Consultant       3/1/2023            Liquidation Activities          Prepare summary update on FTX docket from 2/28                                                         0.6     $445.00       $267.00
                                                                                                            Call re: FTX German, newly available balance sheets, and Indian liquidation process. EY attendees:
ORiain,Fionn              ORF           Manager         3/1/2023            Liquidation Activities                                                                                                                 0.9     $725.00       $652.50
                                                                                                            F. ORiain and N. Bugden
                                                                                                            Call to review summary findings re: reconciliation of financials for FTX entities. EY attendees: F.
ORiain,Fionn              ORF           Manager         3/1/2023            Liquidation Activities                                                                                                                 1.9     $725.00      $1,377.50
                                                                                                            ORiain and R. Maiello
ORiain,Fionn              ORF           Manager         3/1/2023            Liquidation Activities          Review and provide comments on Analisya summary                                                        3.9     $725.00      $2,827.50
                                                                                                            Review summary balance sheet output with respect to FTX Crypto Services and validate workings
ORiain,Fionn              ORF           Manager         3/1/2023            Liquidation Activities                                                                                                                 3.9     $725.00      $2,827.50
                                                                                                            entities pertaining to estimated net assets and solvency
ORiain,Fionn              ORF           Manager         3/1/2023            Liquidation Activities          Reconcile FTX Structured Products and prepare detailed line item mapping                               1.4     $725.00      $1,015.00
                                                                                                            Summarize statement of financial position for FTX Switzerland GmbH and understand key
ORiain,Fionn              ORF           Manager         3/1/2023            Liquidation Activities                                                                                                                 0.7     $725.00       $507.50
                                                                                                            intercompany balances entities
ORiain,Fionn              ORF          Manager          3/1/2023            Liquidation Activities          Review specific German liquidation matters with respect to FTX Trading GmbH                            1.7     $725.00      $1,232.50
ORiain,Fionn              ORF          Manager          3/1/2023            Liquidation Activities          Review balance sheet analysis for Quoine Vietnam Co Ltd analysis                                       1.6     $725.00      $1,160.00
ORiain,Fionn              ORF          Manager          3/1/2023            Liquidation Activities          Prepare summary table illustrating solvency of entities that are high priority for liquidation         1.1     $725.00        $797.50
ORiain,Fionn              ORF          Manager          3/1/2023            Liquidation Activities          Review FTX docket update and provide comments                                                          1.1     $725.00        $797.50
Bugden,Nick R             NRB       Senior Manager      3/1/2023            Liquidation Activities          Correspondence re: initial FTX Europe liquidations                                                     0.5     $900.00        $450.00
                                                                                                            Call re: FTX German, newly available balance sheets, and Indian liquidation process. EY attendees:
Bugden,Nick R             NRB       Senior Manager      3/1/2023            Liquidation Activities                                                                                                                 0.9     $900.00       $810.00
                                                                                                            F. ORiain and N. Bugden
Bugden,Nick R             NRB       Senior Manager      3/1/2023            Liquidation Activities          Correspondence re: initial FTX APAC liquidations                                                       0.4     $900.00       $360.00
Bugden,Nick R             NRB       Senior Manager      3/1/2023   Chapter 11 Process and Case Management   Review FTX case update                                                                                 0.3     $900.00       $270.00
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                                                        Date of
                  Name   Initials         Rank                              Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         3/2/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                DB       Partner/Principal   3/2/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                JB        Senior Manager     3/2/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                     Client Serving
Bieganski,Walter          WB                            3/2/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $200.00       $100.00
                                     Contractor WB
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   3/2/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $775.00       $387.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya             KG        Senior Manager     3/2/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                  ZH        Senior Manager     3/2/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane         DLH           Manager         3/2/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert      JRJ       Senior Manager     3/2/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         3/2/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         3/2/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.        TJK       Partner/Principal   3/2/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
Lowery,Kristie L          KLL                           3/2/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         3/2/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
McComber,Donna            DM                            3/2/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         3/2/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert    MAM         Senior Manager     3/2/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           3/2/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M          TMS       Partner/Principal   3/2/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga         KS           Manager         3/2/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     3/2/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle      KDW            Manager         3/2/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/2/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.4     $525.00       $210.00
                                                                                                          T. Knoeller, and C. MacLean
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/2/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.4     $825.00       $330.00
                                                                                                          T. Knoeller, and C. MacLean
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                                                         Date of
                  Name    Initials         Rank                              Project Category                                                     Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie             CM             Senior         3/2/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,         0.4     $395.00       $158.00
                                                                                                           T. Knoeller, and C. MacLean
                                                                                                           Meeting with the Ireland desk team to discuss filings. EY attendees: D. Hammon, C. MacLean, T.
Dunne,Robert               RDF        Senior Manager     3/2/2023               Non US Tax                                                                                                                           0.2     $650.00       $130.00
                                                                                                           Knoeller, and R. Dunne
                                                                                                           Meeting with the Ireland desk team to discuss filings. EY attendees: D. Hammon, C. MacLean, T.
Hammon,David Lane          DLH           Manager         3/2/2023               Non US Tax                                                                                                                           0.2     $525.00       $105.00
                                                                                                           Knoeller, and R. Dunne
                                                                                                           Meeting with the Ireland desk team to discuss filings. EY attendees: D. Hammon, C. MacLean, T.
Knoeller,Thomas J.         TJK       Partner/Principal   3/2/2023   Project Management Office Transition                                                                                                             0.2     $825.00       $165.00
                                                                                                           Knoeller, and R. Dunne
                                                                                                           Meeting with the Ireland desk team to discuss filings. EY attendees: D. Hammon, C. MacLean, T.
MacLean,Corrie             CM             Senior         3/2/2023               Non US Tax                                                                                                                           0.2     $395.00        $79.00
                                                                                                           Knoeller, and R. Dunne
                                                                                                           Meeting to uploading trial balance data to FDF (2nd session of the week). EY attendees: K. Gundu,
Gundu,Kaivalya              KG        Senior Manager     3/2/2023               Technology                                                                                                                           1.0     $650.00       $650.00
                                                                                                           C. Li, and B. Mistler
                                                                                                           Meeting to uploading trial balance data to FDF (2nd session of the week). EY attendees: K. Gundu,
Li,Chunyang                 CL            Senior         3/2/2023               Technology                                                                                                                           1.0     $395.00       $395.00
                                                                                                           C. Li, and B. Mistler
                                                                                                           Meeting to uploading trial balance data to FDF (2nd session of the week). EY attendees: K. Gundu,
Mistler,Brian M           BMM            Manager         3/2/2023             US Income Tax                                                                                                                          1.0     $525.00       $525.00
                                                                                                           C. Li, and B. Mistler
Mistler,Brian M           BMM            Manager         3/2/2023             US Income Tax                Discuss GL mapping summaries for IRS audit. EY attendees: B. Mistler and M. Wong                          0.7     $525.00       $367.50
Wong,Maddie               WM              Staff          3/2/2023             US Income Tax                Discuss GL mapping summaries for IRS audit. EY attendees: B. Mistler and M. Wong                          0.7     $225.00       $157.50
                                                                                                           Internal call regarding next steps compliance on the VAT project. EY attendees: M. Gil Diez de
Gil Diez de Leon,Marta     MDL           Manager         3/2/2023            Value Added Tax                                                                                                                         0.5     $525.00       $262.50
                                                                                                           Leon and J. Marlow
                                                                                                           Internal call regarding next steps compliance on the VAT project. EY attendees: M. Gil Diez de
Marlow,Joe                  JM            Senior         3/2/2023            Value Added Tax                                                                                                                         0.5     $395.00       $197.50
                                                                                                           Leon and J. Marlow
                                                                                                           Meeting to discuss payroll breakdown for municipal tax purposes and notice updates. EY attendees:
Hall,Emily Melissa         EMH            Senior         3/2/2023         US State and Local Tax                                                                                                                     0.6     $395.00       $237.00
                                                                                                           M. Musano, K. Wrenn, and E. Hall
                                                                                                           Meeting to discuss payroll breakdown for municipal tax purposes and notice updates. EY attendees:
Musano,Matthew Albert     MAM         Senior Manager     3/2/2023         US State and Local Tax                                                                                                                     0.6     $650.00       $390.00
                                                                                                           M. Musano, K. Wrenn, and E. Hall
                                                                                                           Meeting to discuss payroll breakdown for municipal tax purposes and notice updates. EY attendees:
Wrenn,Kaitlin Doyle       KDW            Manager         3/2/2023               Payroll Tax                                                                                                                          0.6     $525.00       $315.00
                                                                                                           M. Musano, K. Wrenn, and E. Hall
Hall,Emily Melissa         EMH            Senior         3/2/2023         US State and Local Tax           Review and analyze the notice updates                                                                     0.2     $395.00        $79.00
                                                                                                           Call to determine AP, AR, and interco key transactions to try and map transactions for VAT reg.
Gil Diez de Leon,Marta     MDL           Manager         3/2/2023            Value Added Tax                                                                                                                         1.1     $525.00       $577.50
                                                                                                           analysis and compliance footprint. EY attendees: M. Gil Diez de Leon and K. Madhok
                                                                                                           Call to determine AP, AR, and interco key transactions to try and map transactions for VAT reg.
Madhok,Kishan              KM         Senior Manager     3/2/2023            Value Added Tax                                                                                                                         1.1     $650.00       $715.00
                                                                                                           analysis and compliance footprint. EY attendees: M. Gil Diez de Leon and K. Madhok
                                                                                                           Call regarding gathering general ledger and related information for each entity. EY attendees: B.
Mistler,Brian M           BMM            Manager         3/2/2023             US Income Tax                                                                                                                          0.4     $525.00       $210.00
                                                                                                           Mistler and M. Wong
                                                                                                           Call regarding gathering general ledger and related information for each entity. EY attendees: B.
Wong,Maddie                WM              Staff         3/2/2023             US Income Tax                                                                                                                          0.4     $225.00        $90.00
                                                                                                           Mistler and M. Wong
Ancona,Christopher          CA            Senior         3/2/2023   Project Management Office Transition   Correspondence with workstream leads and updating the Project Management Office status tracker            2.8     $395.00      $1,106.00
Ancona,Christopher          CA            Senior         3/2/2023   Project Management Office Transition   Review the January fee application for submission to the debtor's counsel.                                2.9     $395.00      $1,145.50
Ancona,Christopher          CA            Senior         3/2/2023   Project Management Office Transition   Prepare Project Management Office FTX deliverables for internal review.                                   2.2     $395.00        $869.00
                                      Client Serving
Bieganski,Walter           WB                            3/2/2023         US State and Local Tax           Review federal income tax analysis for state and local tax implications                                   1.2     $200.00       $240.00
                                      Contractor WB
Bost,Anne                  BA        Managing Director   3/2/2023   Project Management Office Transition   Review and respond to email correspondence                                                                0.8     $775.00        $620.00
Carver,Cody R.             CRC            Senior         3/2/2023                Payroll Tax               Follow-up regarding employment tax notice with State Jurisdictions for California                         3.4     $395.00      $1,343.00
Castillo,Irvin Giovanni    IGC             Staff         3/2/2023          US State and Local Tax          Call states of LA, RI, and VT regarding assigned notices                                                  0.6     $225.00        $135.00
Craven,Simone               SC           Manager         3/2/2023                Non US Tax                Call with EY US Researching GG Trading Terminal                                                           1.1     $525.00        $577.50
Dulceak,Crystal            CD            Manager         3/2/2023          US State and Local Tax          Prepare revisions to DE Blockfolio tax and send follow-up correspondence                                  1.1     $525.00        $577.50
Dulceak,Crystal            CD            Manager         3/2/2023          US State and Local Tax          Correspondence regarding batch of AR's due on 3/15                                                        0.4     $525.00        $210.00
Ferris,Tara                 TF       Partner/Principal   3/2/2023           Information Reporting          Review of 1099 claimant questions                                                                         1.6     $825.00      $1,320.00
Flagg,Nancy A.             NAF       Managing Director   3/2/2023          US State and Local Tax          Review tax claim log updates from Derrick and comment                                                     0.6     $775.00        $465.00
                                                                                                           Analyze the post bankruptcy expenditure allocation to FTX entities, including looking into the
Flannery,Jennifer           FJ           Manager         3/2/2023             Transfer Pricing                                                                                                                       0.8     $525.00       $420.00
                                                                                                           entities various trial balances
Hall,Emily Melissa         EMH            Senior         3/2/2023         US State and Local Tax           Finalize research for DE annual report filing                                                             2.1     $395.00        $829.50
Hammon,David Lane          DLH           Manager         3/2/2023              Non US Tax                  Revise trackers/correspondences concerning for leadership reporting                                       3.8     $525.00      $1,995.00
                                                                                                           Revise of deck to facilitate discussion concerning the org. structure and division of responsibilities
Hammon,David Lane          DLH           Manager         3/2/2023               Non US Tax                                                                                                                           3.9     $525.00      $2,047.50
                                                                                                           during service delivery
Healy,John                  JH        Senior Manager     3/2/2023           IRS Audit Matters              Review notice issues                                                                                      0.8     $650.00        $520.00
Huang,Vanesa                VH             Staff         3/2/2023         US State and Local Tax           Review login credentials for SOS sites regarding Annual Reports                                           2.4     $225.00        $540.00
Jimenez,Joseph Robert       JRJ       Senior Manager     3/2/2023         US State and Local Tax           Summarize findings from phase 1 and preparation of the ACE template for review of phase 2                 2.2     $650.00      $1,430.00
Li,Chunyang                 CL            Senior         3/2/2023              Technology                  Prepare weekly status report                                                                              0.8     $395.00        $316.00
                                                                                                           Communication regarding Antigua and Nigeria FTX contacts and next steps, confirm direct tax
MacLean,Corrie             CM             Senior         3/2/2023               Non US Tax                                                                                                                           2.7     $395.00      $1,066.50
                                                                                                           compliance fees with local EY offices, pricing request updates
                                         National
McComber,Donna             DM                            3/2/2023             Transfer Pricing             Analyze transaction matrix/doc requirements                                                               0.9     $990.00       $891.00
                                     Partner/Principal
Mistler,Brian M           BMM            Manager         3/2/2023             US Income Tax                Correspondence re: Blockfolio financials for state tax submissions                                        0.8     $525.00       $420.00
Richardson,Audrey Sarah   ASR            Manager         3/2/2023          Information Reporting           Prepare draft summary of transaction data                                                                 0.8     $525.00       $420.00
                                                                                                           Prepare declaration of disinterestedness and coordination of compliance with regard to all
Rüegg,Christoph             CR            Senior         3/2/2023               Non US Tax                                                                                                                           3.7     $395.00      $1,461.50
                                                                                                           Swiss/Liechtenstein involved team members
                                                                                                           Correspondence with legacy provider FL regarding additional information, assess further
Rüegg,Christoph             CR            Senior         3/2/2023               Non US Tax                                                                                                                           3.9     $395.00      $1,540.50
                                                                                                           documents uploaded from Swiss legacy provider (Mazars)
                                       Client Serving
Scott,James                 JS                           3/2/2023             US Income Tax                Review the December fee application and provide commentary                                                1.4     $600.00       $840.00
                                       Contractor JS
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                                                        Date of
                  Name   Initials        Rank                                  Project Category                                                        Description of Services                                           Hours   Hourly Rate   Fees
                                                        Service
                                     Client Serving
Scott,James                JS                           3/2/2023                US Income Tax                    Review Blockfolio franchise tax stock issuance history                                                   1.1     $600.00       $660.00
                                     Contractor JS
                                     Client Serving
Scott,James                JS                           3/2/2023                US Income Tax                    Review data available for IRS document request                                                           1.3     $600.00       $780.00
                                     Contractor JS
Shea JR,Thomas M          TMS       Partner/Principal   3/2/2023   Non-Working Travel (billed at 50% of rates)   Travel from San Francisco, CA to New York, NY                                                            4.0     $412.50      $1,650.00
                                                                                                                 Written correspondence with EY internal teams and AlixPartners re: data hosting requirements for
Shea JR,Thomas M          TMS       Partner/Principal   3/2/2023                US Income Tax                                                                                                                             1.2     $825.00       $990.00
                                                                                                                 trading database to enable tax workstreams
                                                                                                                 Reconcile returns and return details against apportionment workpaper checking whether FEIN is
Sun,Yuchen                 YS            Senior         3/2/2023             US State and Local Tax                                                                                                                       3.9     $395.00      $1,540.50
                                                                                                                 correct
Tong,Chia-Hui             CHT       Senior Manager      3/2/2023     Project Management Office Transition        Follow-up on program management action items for correspondence with workstream leads                    0.4     $650.00       $260.00
Tong,Chia-Hui             CHT       Senior Manager      3/2/2023     Project Management Office Transition        Review reconciliation of fee application                                                                 0.3     $650.00       $195.00
                                                                                                                 Correspondence with workstream leads to document action items and updating the Program
Tong,Chia-Hui             CHT       Senior Manager      3/2/2023     Project Management Office Transition                                                                                                                 2.1     $650.00      $1,365.00
                                                                                                                 Management Office status tracker
Tong,Chia-Hui             CHT       Senior Manager      3/2/2023     Project Management Office Transition        Coordinate meeting and talk points with workstream leads to discuss local country requirements           0.4     $650.00       $260.00
Tong,Chia-Hui             CHT       Senior Manager      3/2/2023     Project Management Office Transition        Revise the project task tracker                                                                          0.6     $650.00       $390.00
Tong,Chia-Hui             CHT       Senior Manager      3/2/2023     Project Management Office Transition        Summarize action items to align to workstream updates                                                    0.7     $650.00       $455.00
                                                                                                                 Call to discuss the mapping process for FTX subsidiary balance sheets. EY attendees: F. ORiain
Maiello,Rob               RM           Consultant       3/2/2023             Liquidation Activities                                                                                                                       0.5     $445.00       $222.50
                                                                                                                 and R. Maiello
                                                                                                                 Draft financial model relating to entity level balance sheets in order to review consistent reporting
Maiello,Rob               RM           Consultant       3/2/2023             Liquidation Activities                                                                                                                       3.3     $445.00      $1,468.50
                                                                                                                 format across entity liquidation candidates
                                                                                                                 Draft of initial summary reporting one-page update document including the liquidation perimeter,
Maiello,Rob               RM           Consultant       3/2/2023             Liquidation Activities                                                                                                                       1.3     $445.00       $578.50
                                                                                                                 key issues, and management decision requirements.
Maiello,Rob               RM           Consultant       3/2/2023             Liquidation Activities              Prepare and analyze balance sheet of FTX Derivatives GmbH entities for net assets and solvency           0.7     $445.00       $311.50
                                                                                                                 Prepare detailed entity level analysis outlining solvency of entities including/excluding
Maiello,Rob               RM           Consultant       3/2/2023             Liquidation Activities                                                                                                                       1.4     $445.00       $623.00
                                                                                                                 intercompany positions.
                                                                                                                 Prepare financial analysis outlining consistent summary balance sheet across all entities listed as
Maiello,Rob               RM           Consultant       3/2/2023             Liquidation Activities                                                                                                                       1.9     $445.00       $845.50
                                                                                                                 liquidation candidate.
                                                                                                                 Review of summary balance sheets for entities in order to include in reporting pack for group legal
Maiello,Rob               RM           Consultant       3/2/2023             Liquidation Activities                                                                                                                       3.1     $445.00      $1,379.50
                                                                                                                 counsel.
                                                                                                                 Call with R. Matzke (FTX) and M. Rothert (FTX) to align on the next steps for the preparation of
Müsker,Philipp             MP       Senior Manager      3/2/2023             Liquidation Activities                                                                                                                       0.5     $650.00       $325.00
                                                                                                                 the liquidation of FTX Trading GmbH entities. EY attendees: J. Sandow and P. Müsker
ORiain,Fionn              ORF           Manager         3/2/2023             Liquidation Activities              Prepare detailed process map to analyze and discuss mapping process for FTX subsidiaries                 2.3     $725.00      $1,667.50
ORiain,Fionn              ORF           Manager         3/2/2023             Liquidation Activities              Review and provided feed back on financial model with entity level balance sheets                        1.4     $725.00      $1,015.00
                                                                                                                 Review and revise one-page summary of: liquidation perimeter, key issues, management decision
ORiain,Fionn              ORF           Manager         3/2/2023             Liquidation Activities                                                                                                                       1.1     $725.00       $797.50
                                                                                                                 requirements.
                                                                                                                 Review summary balance sheet output with respect to FTX Derivatives GmbH entities and validate
ORiain,Fionn              ORF           Manager         3/2/2023             Liquidation Activities                                                                                                                       3.7     $725.00      $2,682.50
                                                                                                                 workings pertaining to estimated net assets and solvency
                                                                                                                 Prepare and initial review of summary balance sheets and associated financial information for >15
ORiain,Fionn              ORF           Manager         3/2/2023             Liquidation Activities                                                                                                                       1.7     $725.00      $1,232.50
                                                                                                                 entities in order to include in reporting pack for group legal counsel.
                                                                                                                 Review of detail regarding entity level balance sheet analysis with respect to solvency of entities
ORiain,Fionn              ORF           Manager         3/2/2023             Liquidation Activities                                                                                                                       1.7     $725.00      $1,232.50
                                                                                                                 based on potential intercompany positions.
                                                                                                                 Review of summary statements of financial position with respect to a number of key entities
ORiain,Fionn              ORF           Manager         3/2/2023             Liquidation Activities                                                                                                                       0.4     $725.00       $290.00
                                                                                                                 selected as potential liquidation candidates
Perez,Ellen Joy           EJP            Senior         3/2/2023             Liquidation Activities              Request for subsequent data from Jan 2023 to date                                                        0.3     $395.00       $118.50
                                                                                                                 Call with R. Matzke (FTX) and M. Rothert (FTX) to align on the next steps for the preparation of
Sandow,Jörg                JS       Partner/Principal   3/2/2023             Liquidation Activities                                                                                                                       0.5     $825.00       $412.50
                                                                                                                 the liquidation of FTX Trading GmbH entities. EY attendees: J. Sandow and P. Müsker
                                                                                                                 Call with EY UAE regarding UAE liquidation candidates. EY attendees: K. Hutchinson, N.
Bugden,Nick R             NRB       Senior Manager      3/2/2023             Liquidation Activities                                                                                                                       0.9     $900.00       $810.00
                                                                                                                 Bugden, and F. ORiain
                                                                                                                 Call with EY UAE regarding UAE liquidation candidates. EY attendees: K. Hutchinson, N.
Hutchison,Keiran           KH       Partner/Principal   3/2/2023             Liquidation Activities                                                                                                                       0.9     $850.00       $765.00
                                                                                                                 Bugden, and F. ORiain
                                                                                                                 Call regarding local complexities of completing wind-down procedures in Switzerland, Cyprus and
Hutchison,Keiran           KH       Partner/Principal   3/2/2023             Liquidation Activities              UAE and update regarding current sales processes. EY attendees: K. Hutchinson, N. Bugden, and            0.5     $850.00       $425.00
                                                                                                                 F. ORiain
                                                                                                                 Call regarding local complexities of completing wind-down procedures in Switzerland, Cyprus and
Bugden,Nick R             NRB       Senior Manager      3/2/2023             Liquidation Activities              UAE and update regarding current sales processes. EY attendees: K. Hutchinson, N. Bugden, and            0.5     $900.00       $450.00
                                                                                                                 F. ORiain
Bugden,Nick R             NRB       Senior Manager      3/2/2023   Chapter 11 Process and Case Management        Team coordination call across EY services                                                                0.6     $900.00        $540.00
Bugden,Nick R             NRB       Senior Manager      3/2/2023            Liquidation Activities               Analyze available FTX financial data on UAE subsidiary                                                   1.4     $900.00      $1,260.00
                                                                                                                 Call to discuss the mapping process for FTX subsidiary balance sheets. EY attendees: F. ORiain
ORiain,Fionn              ORF           Manager         3/2/2023             Liquidation Activities                                                                                                                       0.5     $725.00       $362.50
                                                                                                                 and R. Maiello
                                                                                                                 Call with EY UAE regarding UAE liquidation candidates. EY attendees: K. Hutchinson, N.
ORiain,Fionn              ORF           Manager         3/2/2023             Liquidation Activities                                                                                                                       0.9     $725.00       $652.50
                                                                                                                 Bugden, and F. ORiain
                                                                                                                 Call regarding local complexities of completing wind-down procedures in Switzerland, Cyprus and
ORiain,Fionn              ORF           Manager         3/2/2023             Liquidation Activities              UAE and update regarding current sales processes. EY attendees: K. Hutchinson, N. Bugden, and            0.5     $725.00       $362.50
                                                                                                                 F. ORiain
                                                                                                                 Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/3/2023                  Non US Tax                     foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.6     $525.00       $315.00
                                                                                                                 T. Knoeller, K. Staromiejska, and C. MacLean
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                                                        Date of
                  Name   Initials         Rank                              Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/3/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.6     $825.00       $495.00
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/3/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.6     $395.00       $237.00
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/3/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.6     $525.00       $315.00
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Hammon,David Lane         DLH           Manager         3/3/2023               Non US Tax                                                                                                                        0.5     $525.00       $262.50
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Knoeller,Thomas J.        TJK       Partner/Principal   3/3/2023   Project Management Office Transition                                                                                                          0.5     $825.00       $412.50
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
MacLean,Corrie            CM             Senior         3/3/2023               Non US Tax                                                                                                                        0.5     $395.00       $197.50
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Staromiejska,Kinga         KS           Manager         3/3/2023               Non US Tax                                                                                                                        0.5     $525.00       $262.50
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Internal call to discuss tax notices, and gap analysis, and pre and post-bankruptcy petition
Davis,Kathleen F.         KFD           Manager         3/3/2023         US State and Local Tax                                                                                                                  0.6     $525.00       $315.00
                                                                                                          definitions for property tax purposes. EY attendees: M. Musano, N. Flagg, K. Davis, and E. Hall

                                                                                                          Internal call to discuss tax notices, and gap analysis, and pre and post-bankruptcy petition
Flagg,Nancy A.            NAF       Managing Director   3/3/2023         US State and Local Tax                                                                                                                  0.6     $775.00       $465.00
                                                                                                          definitions for property tax purposes. EY attendees: M. Musano, N. Flagg, K. Davis, and E. Hall

                                                                                                          Internal call to discuss tax notices, and gap analysis, and pre and post-bankruptcy petition
Hall,Emily Melissa        EMH            Senior         3/3/2023         US State and Local Tax                                                                                                                  0.6     $395.00       $237.00
                                                                                                          definitions for property tax purposes. EY attendees: M. Musano, N. Flagg, K. Davis, and E. Hall

                                                                                                          Internal call to discuss tax notices, and gap analysis, and pre and post-bankruptcy petition
Musano,Matthew Albert    MAM         Senior Manager     3/3/2023         US State and Local Tax                                                                                                                  0.6     $650.00       $390.00
                                                                                                          definitions for property tax purposes. EY attendees: M. Musano, N. Flagg, K. Davis, and E. Hall
                                                                                                          Meeting to discuss updates to the January fee application for submission to the Debtor's Counsel.
Ancona,Christopher         CA            Senior         3/3/2023      Fee/Employment Applications                                                                                                                0.3     $395.00       $118.50
                                                                                                          EY attendees: C. Ancona, B. Burris, and A. Crisp
                                                                                                          Internal Meeting to discuss status of business license reports. EY attendees: M. Musano, M. Coffey,
Coffey,Mandy V.          MVC         Senior Manager     3/3/2023         US State and Local Tax                                                                                                                  0.1     $650.00        $65.00
                                                                                                          C. Dulceak, E. Zheng, and E. Hall
                                                                                                          Internal Meeting to discuss status of business license reports. EY attendees: M. Musano, M. Coffey,
Dulceak,Crystal            CD           Manager         3/3/2023         US State and Local Tax                                                                                                                  0.1     $525.00        $52.50
                                                                                                          C. Dulceak, E. Zheng, and E. Hall
                                                                                                          Internal Meeting to discuss status of business license reports. EY attendees: M. Musano, M. Coffey,
Hall,Emily Melissa        EMH            Senior         3/3/2023         US State and Local Tax                                                                                                                  0.1     $395.00        $39.50
                                                                                                          C. Dulceak, E. Zheng, and E. Hall
                                                                                                          Internal Meeting to discuss status of business license reports. EY attendees: M. Musano, M. Coffey,
Musano,Matthew Albert    MAM         Senior Manager     3/3/2023         US State and Local Tax                                                                                                                  0.1     $650.00        $65.00
                                                                                                          C. Dulceak, E. Zheng, and E. Hall
                                                                                                          Internal Meeting to discuss status of business license reports. EY attendees: M. Musano, M. Coffey,
Zheng,Eva                  EZ           Manager         3/3/2023         US State and Local Tax                                                                                                                  0.1     $525.00        $52.50
                                                                                                          C. Dulceak, E. Zheng, and E. Hall
                                                                                                          Internal meeting to discuss upcoming administrative deadlines for state and local tax. EY
Hall,Emily Melissa        EMH            Senior         3/3/2023         US State and Local Tax                                                                                                                  0.2     $395.00        $79.00
                                                                                                          Attendees: M. Musano, E. Zheng, and E. Hall
                                                                                                          Internal meeting to discuss upcoming administrative deadlines for state and local tax. EY
Musano,Matthew Albert    MAM         Senior Manager     3/3/2023         US State and Local Tax                                                                                                                  0.2     $650.00       $130.00
                                                                                                          Attendees: M. Musano, E. Zheng, and E. Hall
                                                                                                          Internal meeting to discuss upcoming administrative deadlines for state and local tax. EY
Zheng,Eva                  EZ           Manager         3/3/2023         US State and Local Tax                                                                                                                  0.2     $525.00       $105.00
                                                                                                          Attendees: M. Musano, E. Zheng, and E. Hall
                                                                                                          Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Ancona,Christopher         CA            Senior         3/3/2023   Project Management Office Transition   status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, J. Scott, and     0.6     $395.00       $237.00
                                                                                                          J. Berman
                                                                                                          Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Berman,Jake                JB        Senior Manager     3/3/2023             US Income Tax                status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, J. Scott, and     0.6     $650.00       $390.00
                                                                                                          J. Berman
                                                                                                          Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Mistler,Brian M          BMM            Manager         3/3/2023             US Income Tax                status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, J. Scott, and     0.6     $525.00       $315.00
                                                                                                          J. Berman
                                                                                                          Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
                                      Client Serving
Scott,James                JS                           3/3/2023             US Income Tax                status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, J. Scott, and     0.6     $600.00       $360.00
                                      Contractor JS
                                                                                                          J. Berman
                                                                                                          Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Shea JR,Thomas M          TMS       Partner/Principal   3/3/2023             US Income Tax                status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, J. Scott, and     0.6     $825.00       $495.00
                                                                                                          J. Berman
                                                                                                          Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Tong,Chia-Hui             CHT        Senior Manager     3/3/2023   Project Management Office Transition   status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, J. Scott, and     0.6     $650.00       $390.00
                                                                                                          J. Berman
                                                                                                          Meeting to discuss One Source Tax setup for tax year 2022 and additional requests for the prior
Hall,Emily Melissa        EMH            Senior         3/3/2023         US State and Local Tax                                                                                                                  0.3     $395.00       $118.50
                                                                                                          preparer. EY attendees: B. Mistler, E. Zheng, and E. Hall
                                                                                                          Meeting to discuss One Source Tax setup for tax year 2022 and additional requests for the prior
Mistler,Brian M          BMM            Manager         3/3/2023             US Income Tax                                                                                                                       0.3     $525.00       $157.50
                                                                                                          preparer. EY attendees: B. Mistler, E. Zheng, and E. Hall
                                                                                                          Meeting to discuss One Source Tax setup for tax year 2022 and additional requests for the prior
Zheng,Eva                  EZ           Manager         3/3/2023         US State and Local Tax                                                                                                                  0.3     $525.00       $157.50
                                                                                                          preparer. EY attendees: B. Mistler, E. Zheng, and E. Hall
                                                                                                          Weekly call with D. Hariton (S&C) and C. Howe (A&M) to review progress on tax workstreams
Berman,Jake                JB        Senior Manager     3/3/2023      Meetings with Other Advisors                                                                                                               0.5     $650.00       $325.00
                                                                                                          and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman
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                                                           Date of
                  Name      Initials         Rank                              Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                           Service
                                                                                                             Weekly call with D. Hariton (S&C) and C. Howe (A&M) to review progress on tax workstreams
Mistler,Brian M             BMM            Manager         3/3/2023      Meetings with Other Advisors                                                                                                                 0.5     $525.00       $262.50
                                                                                                             and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                         Client Serving                                                      Weekly call with D. Hariton (S&C) and C. Howe (A&M) to review progress on tax workstreams
Scott,James                   JS                           3/3/2023      Meetings with Other Advisors                                                                                                                 0.5     $600.00       $300.00
                                         Contractor JS                                                       and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                                                                                             Weekly call with D. Hariton (S&C) and C. Howe (A&M) to review progress on tax workstreams
Shea JR,Thomas M             TMS       Partner/Principal   3/3/2023      Meetings with Other Advisors                                                                                                                 0.5     $825.00       $412.50
                                                                                                             and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman
                                                                                                             Internal call to discuss forward looking strategic planning and status updates. EY attendees: A.
Katsnelson,David              DK           Manager         3/3/2023             Transfer Pricing                                                                                                                      0.5     $525.00       $262.50
                                                                                                             Bost, D. McComber, G. Di Stefano, O. Hall, D. Katsnelson, and L. Rodriguez
                                                                                                             Internal call to discuss forward looking strategic planning and status updates. EY attendees: A.
Rodriguez,Lenny               LR            Senior         3/3/2023               Non US Tax                                                                                                                          0.5     $395.00       $197.50
                                                                                                             Bost, D. McComber, G. Di Stefano, O. Hall, D. Katsnelson, and L. Rodriguez
                                                                                                             Internal call to discuss forward looking strategic planning and status updates. EY attendees: A.
Bost,Anne                     BA       Managing Director   3/3/2023             Transfer Pricing                                                                                                                      0.5     $775.00       $387.50
                                                                                                             Bost, D. McComber, G. Di Stefano, O. Hall, D. Katsnelson, and L. Rodriguez
                                                                                                             Internal call to discuss forward looking strategic planning and status updates. EY attendees: A.
Di Stefano,Giulia            GDS            Senior         3/3/2023             Transfer Pricing                                                                                                                      0.5     $395.00       $197.50
                                                                                                             Bost, D. McComber, G. Di Stefano, O. Hall, D. Katsnelson, and L. Rodriguez
                                                                                                             Internal call to discuss forward looking strategic planning and status updates. EY attendees: A.
Hall,Olivia                   OH             Staff         3/3/2023             Transfer Pricing                                                                                                                      0.5     $225.00       $112.50
                                                                                                             Bost, D. McComber, G. Di Stefano, O. Hall, D. Katsnelson, and L. Rodriguez
Wong,Maddie                 WM               Staff         3/3/2023             US Income Tax                Call regarding setting up entities in One Source. EY attendees: B. Mistler and M. Wong                   0.2     $225.00        $45.00
Mistler,Brian M             BMM            Manager         3/3/2023             US Income Tax                Call regarding setting up entities in One Source. EY attendees: B. Mistler and M. Wong                   0.2     $525.00       $105.00
Ancona,Christopher           CA             Senior         3/3/2023   Project Management Office Transition   Revise Project Management Office FTX deliverables for review.                                            2.3     $395.00       $908.50
Ancona,Christopher            CA            Senior         3/3/2023   Project Management Office Transition   Correspondence with workstream leads and updating the Project Management Office status tracker           0.6     $395.00       $237.00
Ancona,Christopher           CA             Senior         3/3/2023   Project Management Office Transition   Revise and revise the January fee application for submission to the debtor's counsel.                    1.3     $395.00        $513.50
Ancona,Christopher           CA             Senior         3/3/2023   Project Management Office Transition   Revise the Project Management Office slide deck deliverable                                              0.9     $395.00        $355.50
Bailey,Doug                  DB        Partner/Principal   3/3/2023              Tax Advisory                Review UCC presentation and provide commentary                                                           1.4     $825.00      $1,155.00
Bailey,Doug                  DB        Partner/Principal   3/3/2023              Tax Advisory                Analyze historic Alameda federal tax filings                                                             1.4     $825.00      $1,155.00
Bost,Anne                    BA        Managing Director   3/3/2023   Project Management Office Transition   Review and respond to email correspondence                                                               1.1     $775.00        $852.50
Castillo,Irvin Giovanni      IGC             Staff         3/3/2023          US State and Local Tax          Call states of LA, RI, and VT regarding assigned notices                                                 0.4     $225.00         $90.00
                                                                                                             Review FTX technology workstream project status and associated preparation for internal
Cavusoglu,Coskun              CC       Partner/Principal   3/3/2023               Technology                                                                                                                          0.2     $825.00       $165.00
                                                                                                             discussions on project status
                                                                                                             Review property tax notices received to date and research CA jurisdiction website for unsecured
Davis,Kathleen F.            KFD           Manager         3/3/2023         US State and Local Tax                                                                                                                    2.8     $525.00      $1,470.00
                                                                                                             bills payment status and copies of paid bills
Dulceak,Crystal               CD           Manager         3/3/2023         US State and Local Tax           Correspondence regarding April 15th AR batch follow-up items                                             0.9     $525.00       $472.50
                                                                                                             Discussion to review Singapore GST rules on missing GST returns and non-compliance on IRAS
Gil Diez de Leon,Marta       MDL           Manager         3/3/2023            Value Added Tax                                                                                                                        0.6     $525.00       $315.00
                                                                                                             website. EY attendees: M. Gil Diez de Leon and K. Madhok
                                                                                                             Draft state and local tax compliance and controversy statements of work for second phase of
Hall,Emily Melissa           EMH            Senior         3/3/2023         US State and Local Tax                                                                                                                    2.3     $395.00       $908.50
                                                                                                             engagement along with edits to the resource template.
                                                                                                             Analyze payroll files to determine potential presence in localities that could possibly trigger a tax
Hall,Emily Melissa           EMH            Senior         3/3/2023         US State and Local Tax                                                                                                                    1.4     $395.00       $553.00
                                                                                                             filing.
Healy,John                    JH       Senior Manager      3/3/2023           IRS Audit Matters              Revise with IRS notice/foundation issues.                                                                0.6     $650.00       $390.00
Huang,Vanesa                  VH             Staff         3/3/2023         US State and Local Tax           Research OH and AR questions regarding SOS Annual Report                                                 0.1     $225.00        $22.50
                                           National                                                          Revise claims documents and sent both wage and forms 1099 claims and tax treatment documents
Lowery,Kristie L             KLL                           3/3/2023               Payroll Tax                                                                                                                         1.7     $990.00      $1,683.00
                                       Partner/Principal                                                     to FTX for final review.
                                                                                                             Conduct research on foreign country tax filing obligations, deadlines, exceptions to compile a
MacLean,Corrie               CM             Senior         3/3/2023               Non US Tax                                                                                                                          3.8     $395.00      $1,501.00
                                                                                                             master compliance list, prepare updates to Panama tax and financial reports
                                                                                                             Discussion to review Singapore GST rules on missing GST returns and non-compliance on IRAS
Madhok,Kishan                KM         Senior Manager     3/3/2023            Value Added Tax                                                                                                                        0.6     $650.00       $390.00
                                                                                                             website. EY attendees: M. Gil Diez de Leon and K. Madhok
Mayer-Dempsey,Chris Kosch   CMD        Senior Manager      3/3/2023              Tax Advisory                Analyze historic Alameda federal tax filings                                                             0.1     $650.00        $65.00
                                           National                                                          Internal call to discuss forward looking strategic planning and status updates. EY attendees: A.
McComber,Donna               DM                            3/3/2023             Transfer Pricing                                                                                                                      0.5     $990.00       $495.00
                                       Partner/Principal                                                     Bost, D. McComber, G. Di Stefano, O. Hall, D. Katsnelson, and L. Rodriguez
Mistler,Brian M             BMM            Manager         3/3/2023             US Income Tax                Review facts and draft correspondence related to LedgerX ASC 740 Income Tax Memo income tax              1.1     $525.00       $577.50
Mistler,Brian M             BMM            Manager         3/3/2023             US Income Tax                Prepare entity intake data for tax extensions                                                            2.2     $525.00      $1,155.00
Pulliam,Michelle             MP             Staff          3/3/2023              Payroll Tax                 Review of preliminary 2022 Form W-2 year end balance                                                     2.8     $225.00        $630.00
                                                                                                             Review declaration of disinterestedness and additional coordination of compliance with regard to
Rüegg,Christoph               CR            Senior         3/3/2023               Non US Tax                                                                                                                          0.4     $395.00       $158.00
                                                                                                             all Swiss/Liechtenstein involved team members
                                                                                                             Review and revise the due diligence questionnaires, adding additional inputs following the due
Rüegg,Christoph               CR            Senior         3/3/2023               Non US Tax                                                                                                                          0.4     $395.00       $158.00
                                                                                                             diligence meeting
                                           National
Rumford,Neil                  NR                           3/3/2023               Non US Tax                 Review of PwC response and completion of DD questionnaire for EY US                                      0.6     $990.00       $594.00
                                       Partner/Principal
                                        Client Serving
Scott,James                   JS                           3/3/2023             US Income Tax                Review draft of the November/December fee application                                                    1.7     $600.00      $1,020.00
                                        Contractor JS
                                        Client Serving
Scott,James                   JS                           3/3/2023             US Income Tax                Coordinate with practice leads regarding Hong Kong and Singapore                                         1.1     $600.00       $660.00
                                        Contractor JS
                                                                                                             Written correspondence with EY teams re: receipt of IRS notices of initial contact and requests for
Shea JR,Thomas M             TMS       Partner/Principal   3/3/2023             US Income Tax                                                                                                                         0.9     $825.00       $742.50
                                                                                                             extension of statutes
                                                                                                             Written correspondence with EY, S&C re: notices and requests received for FTX Philanthropy
Shea JR,Thomas M             TMS       Partner/Principal   3/3/2023             US Income Tax                                                                                                                         1.2     $825.00       $990.00
                                                                                                             (FTX Foundation) entities
Shea JR,Thomas M             TMS       Partner/Principal   3/3/2023             US Income Tax                Prep for weekly Tax Leads call with S&C and A&M                                                          0.4     $825.00       $330.00
                                                                                                             Review return details against apportionment workpaper and check whether there's any
Sun,Yuchen                    YS            Senior         3/3/2023         US State and Local Tax                                                                                                                    3.9     $395.00      $1,540.50
                                                                                                             apportionment schedule missing
Tong,Chia-Hui                CHT        Senior Manager     3/3/2023   Project Management Office Transition   Follow-up on status reporting for workstreams                                                            0.4     $650.00       $260.00
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                                                      Date of
                Name   Initials        Rank                               Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                      Service
Tong,Chia-Hui          CHT        Senior Manager      3/3/2023   Project Management Office Transition   Document next steps for workstream leads                                                               0.4     $650.00        $260.00
Tong,Chia-Hui          CHT        Senior Manager      3/3/2023   Project Management Office Transition   Update project tracker for workstream work completed                                                   0.2     $650.00        $130.00
Tong,Chia-Hui          CHT        Senior Manager      3/3/2023   Project Management Office Transition   Prepare agenda for workstream leads team call                                                          0.3     $650.00        $195.00
Tong,Chia-Hui          CHT        Senior Manager      3/3/2023   Project Management Office Transition   Follow-up with workstream leads on legal questions and next steps with local country work              0.8     $650.00        $520.00
Tong,Chia-Hui          CHT        Senior Manager      3/3/2023   Project Management Office Transition   Follow-up on program management action items for correspondence with workstream leads                  2.1     $650.00      $1,365.00
Wrenn,Kaitlin Doyle    KDW           Manager          3/3/2023               Payroll Tax                Review of IRS audit notices, POA preparation and responses                                             1.8     $525.00        $945.00
Zheng,Eva               EZ           Manager          3/3/2023          US State and Local Tax          Revise FTX ACE Solution template and update scooping tool                                              1.3     $525.00        $682.50
Zheng,Eva               EZ           Manager          3/3/2023          US State and Local Tax          Research FTX Dara and Tech Questionnaire for GTP tool                                                  0.6     $525.00        $315.00
                                                                                                        Call to discuss global wind-down coordination including action items referring to Quoine India Pte.
Bugden,Nick R           NRB       Senior Manager      3/3/2023          Liquidation Activities                                                                                                                 1.1     $900.00       $990.00
                                                                                                        Ltd. EY attendees: N. Bugden and F. ORiain
                                                                                                        Follow-up call on Quoine India with to understand the next steps in terms on Scope of work. EY
Gupta,Pulkit             PG       Partner/Principal   3/3/2023          Liquidation Activities                                                                                                                 0.3     $650.00       $195.00
                                                                                                        attendees: F. ORiain, G. Jain, and P. Gupta
                                                                                                        Follow-up call on Quoine India with to understand the next steps in terms on Scope of work. EY
Jain,Gaurav              GJ       Senior Manager      3/3/2023          Liquidation Activities                                                                                                                 0.3     $550.00       $165.00
                                                                                                        attendees: F. ORiain, G. Jain, and P. Gupta
Maiello,Rob             RM           Consultant       3/3/2023          Liquidation Activities          Call to review balance sheet mapping output. EY attendees: F. ORiain and R. Maiello                    0.5     $445.00       $222.50
                                                                                                        Call to reconcile irregularities in regarding certain FTX balance sheets. EY attendees: F. ORiain
Maiello,Rob             RM           Consultant       3/3/2023          Liquidation Activities                                                                                                                 1.0     $445.00       $445.00
                                                                                                        and R. Maiello
Maiello,Rob             RM           Consultant       3/3/2023          Liquidation Activities          Draft aligned balance sheet summaries based on distinct entity financial statements for review         1.1     $445.00       $489.50
Maiello,Rob             RM           Consultant       3/3/2023          Liquidation Activities          Prepare entity level reconciliations with respect to harmonized balance sheet reporting.               3.1     $445.00      $1,379.50
                                                                                                        Prepare and analyze balance sheet of FTX Digital Holdings (Singapore) Pte Ltd for net assets and
Maiello,Rob             RM           Consultant       3/3/2023          Liquidation Activities                                                                                                                 0.6     $445.00       $267.00
                                                                                                        solvency
                                                                                                        Prepare summary information for each liquidated entity (address, date of formation, position in org
Maiello,Rob             RM           Consultant       3/3/2023          Liquidation Activities                                                                                                                 2.8     $445.00      $1,246.00
                                                                                                        chart)
                                                                                                        Follow-up call on Quoine India with to understand the next steps in terms on Scope of work. EY
ORiain,Fionn            ORF           Manager         3/3/2023          Liquidation Activities                                                                                                                 0.3     $725.00       $217.50
                                                                                                        attendees: F. ORiain, G. Jain, and P. Gupta
                                                                                                        Review balance sheet mapping output, provision of guidance with respect to key reconciliations
ORiain,Fionn            ORF           Manager         3/3/2023          Liquidation Activities                                                                                                                 1.1     $725.00       $797.50
                                                                                                        required and further information required for presentation purposes
                                                                                                        Call to discuss global wind-down coordination including action items referring to Quoine India Pte.
ORiain,Fionn            ORF           Manager         3/3/2023          Liquidation Activities                                                                                                                 1.1     $725.00       $797.50
                                                                                                        Ltd. EY attendees: N. Bugden and F. ORiain
                                                                                                        Call to reconcile irregularities in regarding certain FTX balance sheets. EY attendees: F. ORiain
ORiain,Fionn            ORF           Manager         3/3/2023          Liquidation Activities                                                                                                                 1.0     $725.00       $725.00
                                                                                                        and R. Maiello
ORiain,Fionn            ORF           Manager         3/3/2023          Liquidation Activities          Finalize entity level reconciliations with respect to harmonized balance sheet reporting.              3.3     $725.00      $2,392.50
                                                                                                        Provide summary guidance with respect to balance sheet items for FTX Digital Holdings
ORiain,Fionn            ORF           Manager         3/3/2023          Liquidation Activities                                                                                                                 0.9     $725.00       $652.50
                                                                                                        (Singapore) Pte Ltd and outline requirements for solvency estimate
ORiain,Fionn            ORF           Manager         3/3/2023          Liquidation Activities          Prepare common balance sheet summary view with all entities                                            2.2     $725.00      $1,595.00
ORiain,Fionn            ORF           Manager         3/3/2023          Liquidation Activities          Review summary information for each liquidated entity and provided comments                            0.4     $725.00        $290.00
                                      National
Rumford,Neil             NR                           3/3/2023          Liquidation Activities          Correspondence with ZUBR Exchange Ltd regarding IT equipment                                           0.2     $990.00       $198.00
                                  Partner/Principal
                                      National
Rumford,Neil             NR                           3/3/2023          Liquidation Activities          Correspondence with Innovatia regarding their IT equipment in ZUBR's storage                           0.3     $990.00       $297.00
                                  Partner/Principal
                                                                                                        Call to discuss global wind-down coordination including action items referring to Quoine India Pte.
Bugden,Nick R           NRB       Senior Manager      3/3/2023          Liquidation Activities                                                                                                                 0.7     $900.00       $630.00
                                                                                                        Ltd and facilitating call with FTX Asia contact. EY attendees: N. Bugden and F. ORiain
Bugden,Nick R           NRB       Senior Manager      3/3/2023          Liquidation Activities          Review preliminary balance sheets of entities considered for first round of liquidations               0.9     $900.00       $810.00
Bugden,Nick R           NRB       Senior Manager      3/3/2023          Liquidation Activities          Prepare questions and outstanding items related to preliminary balance sheet data                      0.7     $900.00       $630.00
                                                                                                        Correspondence re Swiss Liq and call with Singapore re Singapore Liq, review status re APAC
Hutchison,Keiran         KH       Partner/Principal   3/3/2023          Liquidation Activities                                                                                                                 1.5     $850.00      $1,275.00
                                                                                                        entities
ORiain,Fionn            ORF           Manager         3/3/2023          Liquidation Activities          Call to review balance sheet mapping output. EY attendees: F. ORiain and R. Maiello                    0.5     $725.00       $362.50
                                                                                                        Call to discuss global wind-down coordination including action items referring to Quoine India Pte.
ORiain,Fionn            ORF           Manager         3/3/2023          Liquidation Activities                                                                                                                 0.7     $725.00       $507.50
                                                                                                        Ltd and facilitating call with FTX Asia contact. EY attendees: N. Bugden and F. ORiain
                                                                                                        Finalize updates to the fee application for November - December for review by the Debtor's
Ancona,Christopher       CA            Senior         3/5/2023   Project Management Office Transition                                                                                                          2.1     $395.00       $829.50
                                                                                                        Counsel.
Ancona,Christopher       CA            Senior         3/5/2023   Project Management Office Transition   Correspondence with workstream leads and updating the Project Management Office status tracker         1.8     $395.00       $711.00
Ancona,Christopher       CA            Senior         3/5/2023   Project Management Office Transition   Revise Project Management Office FTX deliverables for review.                                          1.2     $395.00       $474.00
                                                                                                        Initial written correspondence with J. Ray (FTX), K. Schultea (FTX), M. Cilia (FTX), and A&M
Shea JR,Thomas M        TMS       Partner/Principal   3/5/2023             US Income Tax                re: FTX Japan/Liquid Japan customer transaction statements and written correspondence                  1.6     $825.00      $1,320.00
                                                                                                        coordinating appropriate EY teams and local country resources for review
                                                                                                        Meeting to discuss FTX Project Management Office deliverables. EY attendees: C. Ancona and A.
Ancona,Christopher       CA            Senior         3/6/2023   Project Management Office Transition                                                                                                          0.6     $395.00       $237.00
                                                                                                        Farrar
                                                                                                        Meeting to discuss FTX Project Management Office deliverables. EY attendees: C. Ancona and A.
Farrar,Anne              AF       Partner/Principal   3/6/2023   Project Management Office Transition                                                                                                          0.6     $825.00       $495.00
                                                                                                        Farrar
                                                                                                        Internal call to walk through rollover of SALT Estimate Tax workpaper and 3/15 due dates. EY
Stillman,Will            WS             Staff         3/6/2023         US State and Local Tax                                                                                                                  0.2     $225.00        $45.00
                                                                                                        attendees: E. Zheng, Y. Sun, and W. Stillman
                                                                                                        Internal call to walk through rollover of SALT Estimate Tax workpaper and 3/15 due dates. EY
Sun,Yuchen               YS            Senior         3/6/2023         US State and Local Tax                                                                                                                  0.2     $395.00        $79.00
                                                                                                        attendees: E. Zheng, Y. Sun, and W. Stillman
                                                                                                        Internal call to walk through rollover of SALT Estimate Tax workpaper and 3/15 due dates. EY
Zheng,Eva                EZ           Manager         3/6/2023         US State and Local Tax                                                                                                                  0.2     $525.00       $105.00
                                                                                                        attendees: E. Zheng, Y. Sun, and W. Stillman
                                                                                                        Meeting to discuss updates to FTX Project Management Office deliverables. EY attendees: C.
Ancona,Christopher       CA            Senior         3/6/2023   Project Management Office Transition                                                                                                          0.2     $395.00        $79.00
                                                                                                        Ancona and K. Gundu
                                                                                                        Meeting to discuss updates to FTX Project Management Office deliverables. EY attendees: C.
Gundu,Kaivalya           KG       Senior Manager      3/6/2023               Technology                                                                                                                        0.2     $650.00       $130.00
                                                                                                        Ancona and K. Gundu
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                                                        Date of
                  Name   Initials         Rank                              Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Internal call to discuss TP documentation strategy and next steps. EY attendees: A. Bost, D.
Bost,Anne                  BA       Managing Director   3/6/2023             Transfer Pricing                                                                                                                  0.6     $775.00       $465.00
                                                                                                          McComber, D. Katsnelson, L. Rodriguez, G. Di Stefano, O. Hall, and S. Canale
                                                                                                          Internal call to discuss TP documentation strategy and next steps. EY attendees: A. Bost, D.
Canale,Steven P.          SPC            Senior         3/6/2023             Transfer Pricing                                                                                                                  0.6     $395.00       $237.00
                                                                                                          McComber, D. Katsnelson, L. Rodriguez, G. Di Stefano, O. Hall, and S. Canale
                                                                                                          Internal call to discuss TP documentation strategy and next steps. EY attendees: A. Bost, D.
Di Stefano,Giulia         GDS            Senior         3/6/2023             Transfer Pricing                                                                                                                  0.6     $395.00       $237.00
                                                                                                          McComber, D. Katsnelson, L. Rodriguez, G. Di Stefano, O. Hall, and S. Canale
                                                                                                          Internal call to discuss TP documentation strategy and next steps. EY attendees: A. Bost, D.
Hall,Olivia                OH             Staff         3/6/2023             Transfer Pricing                                                                                                                  0.6     $225.00       $135.00
                                                                                                          McComber, D. Katsnelson, L. Rodriguez, G. Di Stefano, O. Hall, and S. Canale
                                                                                                          Internal call to discuss TP documentation strategy and next steps. EY attendees: A. Bost, D.
Katsnelson,David           DK           Manager         3/6/2023             Transfer Pricing                                                                                                                  0.6     $525.00       $315.00
                                                                                                          McComber, D. Katsnelson, L. Rodriguez, G. Di Stefano, O. Hall, and S. Canale
                                        National                                                          Internal call to discuss TP documentation strategy and next steps. EY attendees: A. Bost, D.
McComber,Donna            DM                            3/6/2023             Transfer Pricing                                                                                                                  0.6     $990.00       $594.00
                                    Partner/Principal                                                     McComber, D. Katsnelson, L. Rodriguez, G. Di Stefano, O. Hall, and S. Canale
                                                                                                          Internal call to discuss TP documentation strategy and next steps. EY attendees: A. Bost, D.
Rodriguez,Lenny            LR            Senior         3/6/2023               Non US Tax                                                                                                                      0.6     $395.00       $237.00
                                                                                                          McComber, D. Katsnelson, L. Rodriguez, G. Di Stefano, O. Hall, and S. Canale
                                                                                                          Discussions and review of employee support provided by FTX with respect to headcount per
Jimenez,Joseph Robert      JRJ       Senior Manager     3/6/2023         US State and Local Tax                                                                                                                0.5     $650.00       $325.00
                                                                                                          jurisdiction (Sales and Use / Employment Tax). EY attendees: J. Jimenez and K. Wrenn
                                                                                                          Discussions and review of employee support provided by FTX with respect to headcount per
Wrenn,Kaitlin Doyle      KDW            Manager         3/6/2023               Payroll Tax                                                                                                                     0.5     $525.00       $262.50
                                                                                                          jurisdiction (Sales and Use / Employment Tax). EY attendees: J. Jimenez and K. Wrenn
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/6/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.6     $525.00       $315.00
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/6/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.6     $825.00       $495.00
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/6/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.6     $395.00       $237.00
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/6/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.6     $525.00       $315.00
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss statements and schedules. EY
Mistler,Brian M          BMM            Manager         3/6/2023       Meetings with Management                                                                                                                1.0     $525.00       $525.00
                                                                                                          attendees: T. Shea, J. Scott, and B. Mistler
                                      Client Serving                                                      Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss statements and schedules. EY
Scott,James                JS                           3/6/2023       Meetings with Management                                                                                                                1.0     $600.00       $600.00
                                      Contractor JS                                                       attendees: T. Shea, J. Scott, and B. Mistler
                                                                                                          Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss statements and schedules. EY
Shea JR,Thomas M          TMS       Partner/Principal   3/6/2023       Meetings with Management                                                                                                                1.0     $825.00       $825.00
                                                                                                          attendees: T. Shea, J. Scott, and B. Mistler
                                                                                                          Meeting to compile GCR and ACR fees and send emails to foreign offices for their approvals. EY
MacLean,Corrie            CM             Senior         3/6/2023               Non US Tax                                                                                                                      2.0     $395.00       $790.00
                                                                                                          attendees: K. Staromiejska and C. MacLean
                                                                                                          Meeting to compile GCR and ACR fees and send emails to foreign offices for their approvals. EY
Staromiejska,Kinga         KS           Manager         3/6/2023               Non US Tax                                                                                                                      2.0     $525.00      $1,050.00
                                                                                                          attendees: K. Staromiejska and C. MacLean
                                                                                                          Meeting to review GCR and ACR fees and request approvals from foreign offices. EY attendees: K.
Staromiejska,Kinga         KS           Manager         3/6/2023               Non US Tax                                                                                                                      0.2     $525.00       $105.00
                                                                                                          Staromiejska and C. MacLean
                                                                                                          Meeting to review GCR and ACR fees and request approvals from foreign offices. EY attendees: K.
MacLean,Corrie            CM             Senior         3/6/2023               Non US Tax                                                                                                                      0.2     $395.00        $79.00
                                                                                                          Staromiejska and C. MacLean
                                                                                                          FSTP call. EY attendees: A. Bost, O. Hall, D. McComber, G. Di Stefano, D. Katsnelson, L.
Bost,Anne                  BA       Managing Director   3/6/2023             Transfer Pricing                                                                                                                  0.5     $775.00       $387.50
                                                                                                          Rodriguez, S. Canale, J. Flannery
                                                                                                          FSTP call. EY attendees: A. Bost, O. Hall, D. McComber, G. Di Stefano, D. Katsnelson, L.
Hall,Olivia                OH             Staff         3/6/2023             Transfer Pricing                                                                                                                  0.5     $225.00       $112.50
                                                                                                          Rodriguez, S. Canale, J. Flannery
                                        National                                                          FSTP call. EY attendees: A. Bost, O. Hall, D. McComber, G. Di Stefano, D. Katsnelson, L.
McComber,Donna            DM                            3/6/2023             Transfer Pricing                                                                                                                  0.5     $990.00       $495.00
                                    Partner/Principal                                                     Rodriguez, S. Canale, J. Flannery
                                                                                                          FSTP call. EY attendees: A. Bost, O. Hall, D. McComber, G. Di Stefano, D. Katsnelson, L.
Di Stefano,Giulia         GDS            Senior         3/6/2023             Transfer Pricing                                                                                                                  0.5     $395.00       $197.50
                                                                                                          Rodriguez, S. Canale, J. Flannery
                                                                                                          FSTP call. EY attendees: A. Bost, O. Hall, D. McComber, G. Di Stefano, D. Katsnelson, L.
Katsnelson,David           DK           Manager         3/6/2023             Transfer Pricing                                                                                                                  0.5     $525.00       $262.50
                                                                                                          Rodriguez, S. Canale, J. Flannery
                                                                                                          FSTP call. EY attendees: A. Bost, O. Hall, D. McComber, G. Di Stefano, D. Katsnelson, L.
Rodriguez,Lenny            LR            Senior         3/6/2023               Non US Tax                                                                                                                      0.5     $395.00       $197.50
                                                                                                          Rodriguez, S. Canale, J. Flannery
                                                                                                          FSTP call. EY attendees: A. Bost, O. Hall, D. McComber, G. Di Stefano, D. Katsnelson, L.
Canale,Steven P.          SPC            Senior         3/6/2023             Transfer Pricing                                                                                                                  0.5     $395.00       $197.50
                                                                                                          Rodriguez, S. Canale, J. Flannery
                                                                                                          FSTP call. EY attendees: A. Bost, O. Hall, D. McComber, G. Di Stefano, D. Katsnelson, L.
Flannery,Jennifer          FJ           Manager         3/6/2023             Transfer Pricing                                                                                                                  0.5     $525.00       $262.50
                                                                                                          Rodriguez, S. Canale, J. Flannery
Soderman,Kathy             KS       Managing Director   3/6/2023               Non US Tax                 Review employees on German payroll, current process and transition to EY                             0.3     $775.00       $232.50
                                                                                                          Meeting regarding creating One Source OIT for entities and sending request for OIT. EY attendees:
Wong,Maddie               WM              Staff         3/6/2023             US Income Tax                                                                                                                     0.7     $225.00       $157.50
                                                                                                          B. Mistler and M. Wong
                                                                                                          Meeting regarding creating One Source OIT for entities and sending request for OIT. EY attendees:
Mistler,Brian M          BMM            Manager         3/6/2023             US Income Tax                                                                                                                     0.7     $525.00       $367.50
                                                                                                          B. Mistler and M. Wong
Ancona,Christopher         CA            Senior         3/6/2023   Project Management Office Transition   Finalize revisions to the November - December fee application                                        1.6     $395.00        $632.00
Ancona,Christopher         CA            Senior         3/6/2023   Project Management Office Transition   Revise and edit FTX Project Management Office deliverables.                                          1.6     $395.00        $632.00
Bailey,Doug                DB       Partner/Principal   3/6/2023              Tax Advisory                Discussion regarding trading data access                                                             2.4     $825.00      $1,980.00
Bost,Anne                  BA       Managing Director   3/6/2023             Transfer Pricing             Review and respond to email correspondence                                                           0.7     $775.00        $542.50
                                                                                                          FTX property tax review and catch up on team requests, including prep for property tax data needs
Davis,Kathleen F.         KFD           Manager         3/6/2023         US State and Local Tax                                                                                                                3.9     $525.00      $2,047.50
                                                                                                          for FTX
Dulceak,Crystal            CD           Manager         3/6/2023         US State and Local Tax           Review annual reports due 3/15.                                                                      0.6     $525.00       $315.00
Ferris,Tara                TF       Partner/Principal   3/6/2023         Information Reporting            Review Japan deck response to local info reporting requirements                                      1.2     $825.00       $990.00
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                                                           Date of
                Name        Initials        Rank                                  Project Category                                                        Description of Services                                          Hours   Hourly Rate   Fees
                                                           Service
Flannery,Jennifer             FJ          Manager          3/6/2023                Transfer Pricing                 Revise the FTX post bankruptcy expenditures analysis                                                    0.3     $525.00       $157.50
Gundu,Kaivalya                KG       Senior Manager      3/6/2023                  Technology                     Prepare the delivery plan and architecture regarding the data & tech workstream                         0.4     $650.00       $260.00
Haas,Zach                     ZH       Senior Manager      3/6/2023                US Income Tax                    Review FTX underlying investments for federal extension purposes                                        0.8     $650.00       $520.00
Hamano,Taisuke                TH       Senior Manager      3/6/2023                 Tax Advisory                    Review the annual transaction report disclosed to the customer                                          0.6     $650.00       $390.00
                                                                                                                    Correspondence concerning engagement details and next steps for the member firms and third part
Hammon,David Lane            DLH           Manager         3/6/2023                  Non US Tax                                                                                                                             3.8     $525.00      $1,995.00
                                                                                                                    provider
Hammon,David Lane            DLH          Manager          3/6/2023                  Non US Tax                     Review of Gibraltar due diligence questionnaire and follow-ups                                          3.8     $525.00      $1,995.00
Hammon,David Lane            DLH          Manager          3/6/2023                  Non US Tax                     Revise trackers to account for changes in engagement updates                                            1.8     $525.00        $945.00
Hammon,David Lane            DLH          Manager          3/6/2023                  Non US Tax                     Revise global organizational structure deck for service delivery                                        1.4     $525.00        $735.00
Healy,John                    JH       Senior Manager      3/6/2023               IRS Audit Matters                 Review with IRS notice issues                                                                           0.4     $650.00        $260.00
Huang,Vanesa                 VH             Staff          3/6/2023             US State and Local Tax              Inquire regarding MA SOS Annual Report submission process                                               0.7     $225.00        $157.50
Huang,Vanesa                 VH             Staff          3/6/2023             US State and Local Tax              Analyze MA SOS Annual report processing                                                                 0.9     $225.00        $202.50
Huang,Vanesa                 VH             Staff          3/6/2023             US State and Local Tax              Analyze NY Annual report processing                                                                     0.6     $225.00        $135.00
Huang,Vanesa                 VH             Staff          3/6/2023             US State and Local Tax              Analyze CA SOS Annual Report processing                                                                 2.6     $225.00        $585.00
Huang,Vanesa                 VH             Staff          3/6/2023             US State and Local Tax              Analyze LA SOS Annual Report processing                                                                 1.9     $225.00        $427.50
Huang,Vanesa                 VH             Staff          3/6/2023             US State and Local Tax              Analyze AZ SOS annual report processing                                                                 2.3     $225.00        $517.50
Huang,Vanesa                 VH             Staff          3/6/2023             US State and Local Tax              Review OR SOS Annual Report call for clarification                                                      0.4     $225.00         $90.00
Li,Chunyang                   CL           Senior          3/6/2023                  Technology                     Prepare updates to the data and tech deck                                                               0.9     $395.00        $355.50
                                                                                                                    Review historical documents received, classify and update master document tracking sheet, prepare
MacLean,Corrie               CM             Senior         3/6/2023                  Non US Tax                                                                                                                             3.8     $395.00      $1,501.00
                                                                                                                    fee sheets and assumptions for each country
Mayer-Dempsey,Chris Kosch   CMD        Senior Manager      3/6/2023                 Tax Advisory                    Analyze historic Alameda federal tax filings                                                            0.2     $650.00       $130.00
Mistler,Brian M             BMM            Manager         3/6/2023                US Income Tax                    Uploading and reviewing FTX entity information for accuracy                                             1.2     $525.00       $630.00
Mistler,Brian M             BMM            Manager         3/6/2023                US Income Tax                    Review and analyze tax return reconciliations                                                           0.9     $525.00       $472.50
Mistler,Brian M             BMM            Manager         3/6/2023                US Income Tax                    Prepare historical filings schedule                                                                     1.3     $525.00       $682.50
Mistler,Brian M             BMM            Manager         3/6/2023                US Income Tax                    Review of Good Luck Games FTX entity materials provided by RLA                                          0.6     $525.00       $315.00
Odermatt,Jasmin              JO              Staff         3/6/2023                 Non US Tax                      Review access limitations for user logins regarding MyEY data transfer                                  0.8     $225.00       $180.00
                                        Client Serving
Scott,James                   JS                           3/6/2023                US Income Tax                    Review and revise the November/December fee application                                                 1.6     $600.00       $960.00
                                        Contractor JS
                                        Client Serving
Scott,James                   JS                           3/6/2023   Non-Working Travel (billed at 50% of rates)   Travel from Raleigh, NC to Dallas, TX                                                                   2.7     $300.00       $810.00
                                        Contractor JS
                                        Client Serving
Scott,James                   JS                           3/6/2023                US Income Tax                    Review tax footnotes for SOFA                                                                           0.4     $600.00       $240.00
                                        Contractor JS
Shea JR,Thomas M             TMS       Partner/Principal   3/6/2023   Non-Working Travel (billed at 50% of rates)   Travel from New York, NY to Dallas, TX                                                                  3.0     $412.50      $1,237.50
                                                                                                                    Written correspondence with K. Schultea (FTX) and M. Cilia (FTX) re: latest EY team contact list
Shea JR,Thomas M             TMS       Partner/Principal   3/6/2023                US Income Tax                                                                                                                            0.6     $825.00       $495.00
                                                                                                                    and confirmation of EY team members in select jurisdictions
                                                                                                                    Written correspondence to J. Ray (FTX), K. Schultea (FTX), and M. Cilia (FTX) regarding review
Shea JR,Thomas M             TMS       Partner/Principal   3/6/2023                US Income Tax                                                                                                                            1.6     $825.00      $1,320.00
                                                                                                                    procedures performed re: FTX Japan/Liquid Japan customer transaction statements
                                                                                                                    Written correspondence (including initial inquiries and multiple follow-ups) with EY local Japanese
Shea JR,Thomas M             TMS       Partner/Principal   3/6/2023                US Income Tax                                                                                                                            2.4     $825.00      $1,980.00
                                                                                                                    team re: FTX Japan/Liquid Japan customer transaction reporting
                                                                                                                    Reconcile returns and return details against apportionment workpaper checking whether a payment
Sun,Yuchen                    YS            Senior         3/6/2023             US State and Local Tax                                                                                                                      2.4     $395.00       $948.00
                                                                                                                    is missing.
Toi,Sarah Massey             SMT       Partner/Principal   3/6/2023             US State and Local Tax              Review potential jurisdictions for unclaimed property                                                   0.4     $825.00       $330.00
                                                                                                                    Prepare draft summary of GL-to-tax return reconciliation files for each entity and update the FTX
Wong,Maddie                  WM              Staff         3/6/2023                US Income Tax                                                                                                                            2.4     $225.00       $540.00
                                                                                                                    IRS Audits for missing data
Wrenn,Kaitlin Doyle         KDW            Manager         3/6/2023                  Payroll Tax                    Correspondence regarding payroll tax and global payroll inquiry                                         0.7     $525.00        $367.50
Wrenn,Kaitlin Doyle         KDW            Manager         3/6/2023                  Payroll Tax                    Review reconciliation of employment tax IRS audit POA with payroll tax filings available.               2.8     $525.00      $1,470.00
                                                                                                                    Review of MA department of revenue inquiry for withholding tax, paid family medical leave return
Wrenn,Kaitlin Doyle         KDW            Manager         3/6/2023                  Payroll Tax                                                                                                                            1.4     $525.00       $735.00
                                                                                                                    filings
Zheng,Eva                    EZ           Manager          3/6/2023             US State and Local Tax              Review the FTX Data and Tech Questionnaire for GTP                                                      1.3     $525.00       $682.50
Jain,Gaurav                  GJ        Senior Manager      3/6/2023              Liquidation Activities             Review dockets 284 and 505 regarding the Chapter 11 filing and court order                              1.1     $550.00       $605.00
Maiello,Rob                  RM          Consultant        3/6/2023              Liquidation Activities             Call to discuss revisions to the entity update deck. EY attendees: F. ORiain and R. Maiello             0.8     $445.00       $356.00
                                                                                                                    Review and revise docket update on FTX postponements of selling business assets and how it could
Maiello,Rob                  RM           Consultant       3/6/2023             Liquidation Activities                                                                                                                      0.7     $445.00       $311.50
                                                                                                                    inform future sales and liquidations
                                                                                                                    Prepare consolidated reporting structure and format for legal advisors meeting with liquidation
Maiello,Rob                  RM           Consultant       3/6/2023             Liquidation Activities                                                                                                                      2.2     $445.00       $979.00
                                                                                                                    scope
                                                                                                                    Prepare internal memorandum to enable the following jurisdictions to review financial information
Maiello,Rob                  RM           Consultant       3/6/2023             Liquidation Activities                                                                                                                      2.3     $445.00      $1,023.50
                                                                                                                    and provide liquidation related advice: Germany, India, Malta, Switzerland, Singapore
Maiello,Rob                  RM           Consultant       3/6/2023             Liquidation Activities              Review and prepare information for Turkish team                                                         0.4     $445.00       $178.00
                                                                                                                    Prepare overview of financial and organizational information on debtor entities to be liquidated for
Maiello,Rob                  RM           Consultant       3/6/2023             Liquidation Activities                                                                                                                      1.7     $445.00       $756.50
                                                                                                                    meeting with legal advisors
Maiello,Rob                  RM           Consultant       3/6/2023             Liquidation Activities              Summarize balance sheets of in-scope entities for reporting purposes                                    1.9     $445.00       $845.50
ORiain,Fionn                 ORF           Manager         3/6/2023             Liquidation Activities              Call to discuss revisions to the entity update deck. EY attendees: F. ORiain and R. Maiello             0.8     $725.00       $580.00
                                                                                                                    Review of reporting structure and format prepared for S&C. Preparation of summary materials and
ORiain,Fionn                 ORF           Manager         3/6/2023             Liquidation Activities                                                                                                                      2.3     $725.00      $1,667.50
                                                                                                                    detail with respect to entity level liquidations.
                                                                                                                    Prepare internal memorandum to enable the following jurisdictions to review financial information
ORiain,Fionn                 ORF           Manager         3/6/2023             Liquidation Activities                                                                                                                      0.3     $725.00       $217.50
                                                                                                                    and provide liquidation related advice: Turkey
ORiain,Fionn                 ORF           Manager         3/6/2023             Liquidation Activities              Prepare overview of information on debtor entities to be liquidated                                     0.3     $725.00       $217.50
ORiain,Fionn                 ORF           Manager         3/6/2023             Liquidation Activities              Summarize balance sheets of each entity into output for reporting                                       0.9     $725.00       $652.50
                                           National
Rumford,Neil                  NR                           3/6/2023             Liquidation Activities              Correspondence with ZUBR and Innovatia regarding IT equipment of ZUBR                                   0.2     $990.00       $198.00
                                       Partner/Principal
Bugden,Nick R                NRB       Senior Manager      3/6/2023             Liquidation Activities              Call to discuss FTX entities in Malta and Turkey. EY attendees: N. Bugden and B. Richards               1.2     $900.00      $1,080.00
Bugden,Nick R                NRB       Senior Manager      3/6/2023             Liquidation Activities              Discussion regarding Malta liquidation options                                                          0.3     $900.00        $270.00
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                  Name   Initials         Rank                              Project Category                                                   Description of Services                                        Hours   Hourly Rate   Fees
                                                        Service
Bugden,Nick R             NRB        Senior Manager     3/6/2023          Liquidation Activities          Correspondence with local EY teams re: progress updates on liquidation preparation analysis          1.3     $900.00      $1,170.00
Bugden,Nick R             NRB       Senior Manager      3/6/2023          Liquidation Activities          Correspondence with EY Cyprus re: local FTX entities, available data, and FTX contacts               0.4      $900.00       $360.00
Bugden,Nick R             NRB       Senior Manager      3/6/2023          Liquidation Activities          Analyze available data on FTX Cyprus entities and interdependencies                                  1.8      $900.00     $1,620.00
Richards,Briana A.        BR        Partner/Principal   3/6/2023          Liquidation Activities          Call to discuss FTX entities in Malta and Turkey. EY attendees: N. Bugden and B. Richards            1.2     $1,150.00    $1,380.00
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         3/7/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                DB       Partner/Principal   3/7/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                JB        Senior Manager     3/7/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                     Client Serving
Bieganski,Walter          WB                            3/7/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $200.00       $100.00
                                     Contractor WB
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   3/7/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $775.00       $387.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya             KG        Senior Manager     3/7/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                  ZH        Senior Manager     3/7/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa        EMH            Senior         3/7/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert      JRJ       Senior Manager     3/7/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         3/7/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         3/7/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.        TJK       Partner/Principal   3/7/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren            LL       Partner/Principal   3/7/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
Lowery,Kristie L          KLL                           3/7/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         3/7/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Madhok,Kishan             KM         Senior Manager     3/7/2023            Value Added Tax               preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
McComber,Donna            DM                            3/7/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         3/7/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert    MAM         Senior Manager     3/7/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           3/7/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M          TMS       Partner/Principal   3/7/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Soderman,Kathy             KS       Managing Director   3/7/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $775.00       $387.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga         KS           Manager         3/7/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
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                                                          Date of
                  Name     Initials         Rank                          Project Category                                               Description of Services                                        Hours   Hourly Rate   Fees
                                                          Service
                                                                                                    Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle        KDW            Manager         3/7/2023           Payroll Tax            preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                    the implementation of global compliance and reporting services
                                                                                                    Meeting to discuss the IRS employment tax audit examination notifications received for West
DeVincenzo,Jennie           JDV       Managing Director   3/7/2023           Payroll Tax            Realm Shires Services Inc,, Ledger Holdings Inc. and Alameda Research LLC. EY attendees: C.          0.5     $775.00       $387.50
                                                                                                    Ellenson, B. Mistler, J. DeVincenzo, M. Rule, K. Lowery, and K. Wrenn
                                                                                                    Meeting to discuss the IRS employment tax audit examination notifications received for West
Ellenson,Cory                CE        Senior Manager     3/7/2023        IRS Audit Matters         Realm Shires Services Inc,, Ledger Holdings Inc. and Alameda Research LLC. EY attendees: C.          0.5     $650.00       $325.00
                                                                                                    Ellenson, B. Mistler, J. DeVincenzo, M. Rule, K. Lowery, and K. Wrenn
                                                                                                    Meeting to discuss the IRS employment tax audit examination notifications received for West
                                          National
Lowery,Kristie L            KLL                           3/7/2023           Payroll Tax            Realm Shires Services Inc,, Ledger Holdings Inc. and Alameda Research LLC. EY attendees: C.          0.5     $990.00       $495.00
                                      Partner/Principal
                                                                                                    Ellenson, B. Mistler, J. DeVincenzo, M. Rule, K. Lowery, and K. Wrenn
                                                                                                    Meeting to discuss the IRS employment tax audit examination notifications received for West
Mistler,Brian M            BMM            Manager         3/7/2023         US Income Tax            Realm Shires Services Inc,, Ledger Holdings Inc. and Alameda Research LLC. EY attendees: C.          0.5     $525.00       $262.50
                                                                                                    Ellenson, B. Mistler, J. DeVincenzo, M. Rule, K. Lowery, and K. Wrenn
                                                                                                    Meeting to discuss the IRS employment tax audit examination notifications received for West
Rule,Martin Daniel         MDR         Senior Manager     3/7/2023           Payroll Tax            Realm Shires Services Inc,, Ledger Holdings Inc. and Alameda Research LLC. EY attendees: C.          0.5     $650.00       $325.00
                                                                                                    Ellenson, B. Mistler, J. DeVincenzo, M. Rule, K. Lowery, and K. Wrenn
                                                                                                    Meeting to discuss the IRS employment tax audit examination notifications received for West
Wrenn,Kaitlin Doyle        KDW            Manager         3/7/2023           Payroll Tax            Realm Shires Services Inc,, Ledger Holdings Inc. and Alameda Research LLC. EY attendees: C.          0.5     $525.00       $262.50
                                                                                                    Ellenson, B. Mistler, J. DeVincenzo, M. Rule, K. Lowery, and K. Wrenn
                                                                                                    Meeting with S. Tang (FTX) and K. Schultea (FTX) to discuss Ledger Prime LLC global and
DeVincenzo,Jennie           JDV       Managing Director   3/7/2023    Meetings with Management      United States employment and payroll tax reporting with Ledger Prime. EY attendees: K. Lowery,       0.4     $775.00       $310.00
                                                                                                    K. Soderman, K. Wrenn, and J. DeVincenzo
                                                                                                    Meeting with S. Tang (FTX) and K. Schultea (FTX) to discuss Ledger Prime LLC global and
                                          National
Lowery,Kristie L            KLL                           3/7/2023    Meetings with Management      United States employment and payroll tax reporting with Ledger Prime. EY attendees: K. Lowery,       0.4     $990.00       $396.00
                                      Partner/Principal
                                                                                                    K. Soderman, K. Wrenn, and J. DeVincenzo
                                                                                                    Meeting with S. Tang (FTX) and K. Schultea (FTX) to discuss Ledger Prime LLC global and
Soderman,Kathy               KS       Managing Director   3/7/2023    Meetings with Management      United States employment and payroll tax reporting with Ledger Prime. EY attendees: K. Lowery,       0.4     $775.00       $310.00
                                                                                                    K. Soderman, K. Wrenn, and J. DeVincenzo
                                                                                                    Meeting with S. Tang (FTX) and K. Schultea (FTX) to discuss Ledger Prime LLC global and
Wrenn,Kaitlin Doyle        KDW            Manager         3/7/2023    Meetings with Management      United States employment and payroll tax reporting with Ledger Prime. EY attendees: K. Lowery,       0.4     $525.00       $210.00
                                                                                                    K. Soderman, K. Wrenn, and J. DeVincenzo
                                                                                                    Meeting going through research and analysis of passive foreign investment company classification
Bailey,Doug                  DB       Partner/Principal   3/7/2023          Tax Advisory                                                                                                                 1.0     $825.00       $825.00
                                                                                                    entities. EY attendees: A. Karan, D. Bailey, L. Lovelace, L. Raulli, and A. Katelas

                                                                                                    Meeting going through research and analysis of passive foreign investment company classification
Karan,Anna Suncheuri        ASK             Staff         3/7/2023       US International Tax                                                                                                            1.0     $225.00       $225.00
                                                                                                    entities. EY attendees: A. Karan, D. Bailey, L. Lovelace, L. Raulli, and A. Katelas

                                                                                                    Meeting going through research and analysis of passive foreign investment company classification
Katelas,Andreas              KA            Senior         3/7/2023       US International Tax                                                                                                            1.0     $395.00       $395.00
                                                                                                    entities. EY attendees: A. Karan, D. Bailey, L. Lovelace, L. Raulli, and A. Katelas

                                                                                                    Meeting going through research and analysis of passive foreign investment company classification
Lovelace,Lauren              LL       Partner/Principal   3/7/2023       US International Tax                                                                                                            1.0     $825.00       $825.00
                                                                                                    entities. EY attendees: A. Karan, D. Bailey, L. Lovelace, L. Raulli, and A. Katelas

                                                                                                    Meeting going through research and analysis of passive foreign investment company classification
Raulli,Lindsay Elizabeth    LER        Senior Manager     3/7/2023       US International Tax                                                                                                            1.0     $650.00       $650.00
                                                                                                    entities. EY attendees: A. Karan, D. Bailey, L. Lovelace, L. Raulli, and A. Katelas
                                                                                                    Meeting discussing various transactions involving cryptocurrency. EY attendees: A. Karan, D.
Bailey,Doug                  DB       Partner/Principal   3/7/2023          Tax Advisory                                                                                                                 0.5     $825.00       $412.50
                                                                                                    Bailey, L. Lovelace, L. Raulli, and A. Katelas
                                                                                                    Meeting discussing various transactions involving cryptocurrency. EY attendees: A. Karan, D.
Karan,Anna Suncheuri        ASK             Staff         3/7/2023       US International Tax                                                                                                            0.5     $225.00       $112.50
                                                                                                    Bailey, L. Lovelace, L. Raulli, and A. Katelas
                                                                                                    Meeting discussing various transactions involving cryptocurrency. EY attendees: A. Karan, D.
Katelas,Andreas              KA            Senior         3/7/2023       US International Tax                                                                                                            0.5     $395.00       $197.50
                                                                                                    Bailey, L. Lovelace, L. Raulli, and A. Katelas
                                                                                                    Meeting discussing various transactions involving cryptocurrency. EY attendees: A. Karan, D.
Lovelace,Lauren              LL       Partner/Principal   3/7/2023       US International Tax                                                                                                            0.5     $825.00       $412.50
                                                                                                    Bailey, L. Lovelace, L. Raulli, and A. Katelas
                                                                                                    Meeting discussing various transactions involving cryptocurrency. EY attendees: A. Karan, D.
Raulli,Lindsay Elizabeth    LER        Senior Manager     3/7/2023       US International Tax                                                                                                            0.5     $650.00       $325.00
                                                                                                    Bailey, L. Lovelace, L. Raulli, and A. Katelas
                                                                                                    Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher           CA            Senior         3/7/2023    Meetings with Management                                                                                                           1.0     $395.00       $395.00
                                                                                                    EY attendees: C. Ancona, T. Shea, J. Scott, B. Mistler, and J. Berman
                                                                                                    Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Berman,Jake                  JB        Senior Manager     3/7/2023    Meetings with Management                                                                                                           1.0     $650.00       $650.00
                                                                                                    EY attendees: C. Ancona, T. Shea, J. Scott, B. Mistler, and J. Berman
                                                                                                    Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M            BMM            Manager         3/7/2023    Meetings with Management                                                                                                           1.0     $525.00       $525.00
                                                                                                    EY attendees: C. Ancona, T. Shea, J. Scott, B. Mistler, and J. Berman
                                        Client Serving                                              Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                  JS                           3/7/2023    Meetings with Management                                                                                                           1.0     $600.00       $600.00
                                        Contractor JS                                               EY attendees: C. Ancona, T. Shea, J. Scott, B. Mistler, and J. Berman
                                                                                                    Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M            TMS       Partner/Principal   3/7/2023    Meetings with Management                                                                                                           1.0     $825.00       $825.00
                                                                                                    EY attendees: C. Ancona, T. Shea, J. Scott, B. Mistler, and J. Berman
Ancona,Christopher           CA            Senior         3/7/2023   Fee/Employment Applications    Review and finalize the November - December Fee Application exhibits                                 0.4     $395.00       $158.00
                                                                                                    External meeting with B. Seaway (A&M), K. Jacobs (A&M), D. Hariton (S&C), and S. Profeta
Bailey,Doug                  DB       Partner/Principal   3/7/2023   Meetings with Other Advisors   (S&C) to discuss certain elections, FTT cryptocurrency transactions and other trading activity       1.0     $825.00       $825.00
                                                                                                    related to the FTX entities. EY attendees: L. Lovelace, D. Bailey, J. Scott, and A. Katelas
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                                                         Date of
                Name      Initials         Rank                                 Project Category                                                        Description of Services                                       Hours   Hourly Rate   Fees
                                                         Service
                                                                                                                  External meeting with B. Seaway (A&M), K. Jacobs (A&M), D. Hariton (S&C), and S. Profeta
Katelas,Andreas             KA            Senior         3/7/2023         Meetings with Other Advisors            (S&C) to discuss certain elections, FTT cryptocurrency transactions and other trading activity       1.0     $395.00       $395.00
                                                                                                                  related to the FTX entities. EY attendees: L. Lovelace, D. Bailey, J. Scott, and A. Katelas

                                                                                                                  External meeting with B. Seaway (A&M), K. Jacobs (A&M), D. Hariton (S&C), and S. Profeta
Lovelace,Lauren             LL       Partner/Principal   3/7/2023         Meetings with Other Advisors            (S&C) to discuss certain elections, FTT cryptocurrency transactions and other trading activity       1.0     $825.00       $825.00
                                                                                                                  related to the FTX entities. EY attendees: L. Lovelace, D. Bailey, J. Scott, and A. Katelas

                                                                                                                  External meeting with B. Seaway (A&M), K. Jacobs (A&M), D. Hariton (S&C), and S. Profeta
                                       Client Serving
Scott,James                 JS                           3/7/2023         Meetings with Other Advisors            (S&C) to discuss certain elections, FTT cryptocurrency transactions and other trading activity       1.0     $600.00       $600.00
                                       Contractor JS
                                                                                                                  related to the FTX entities. EY attendees: L. Lovelace, D. Bailey, J. Scott, and A. Katelas
                                                                                                                  Meeting to discuss data & tech workstream budget. EY attendees: C. Cavusoglu, D. Jena, and M.
Cavusoglu,Coskun            CC       Partner/Principal   3/7/2023                  Technology                                                                                                                          1.0     $825.00       $825.00
                                                                                                                  Davis
                                                                                                                  Meeting to discuss data & tech workstream budget. EY attendees: C. Cavusoglu, D. Jena, and M.
Davis,Matthew              MD            Manager         3/7/2023                  Technology                                                                                                                          1.0     $525.00       $525.00
                                                                                                                  Davis
                                                                                                                  Meeting to discuss data & tech workstream budget. EY attendees: C. Cavusoglu, D. Jena, and M.
Jena,Deepak                 DJ           Manager         3/7/2023                  Technology                                                                                                                          1.0     $525.00       $525.00
                                                                                                                  Davis
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane          DLH           Manager         3/7/2023                  Non US Tax                     foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.2     $525.00       $105.00
                                                                                                                  T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.         TJK       Partner/Principal   3/7/2023     Project Management Office Transition        foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.2     $825.00       $165.00
                                                                                                                  T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie             CM             Senior         3/7/2023                  Non US Tax                     foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.2     $395.00        $79.00
                                                                                                                  T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga          KS           Manager         3/7/2023                  Non US Tax                     foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.2     $525.00       $105.00
                                                                                                                  T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                                  Prepare for meeting to review transition-related items concerning the FTX engagement. EY
Hammon,David Lane          DLH           Manager         3/7/2023                  Non US Tax                                                                                                                          0.8     $525.00       $420.00
                                                                                                                  attendees: D. Hammon and K. Staromiejska
                                                                                                                  Prepare for meeting to review transition-related items concerning the FTX engagement. EY
Staromiejska,Kinga          KS           Manager         3/7/2023                  Non US Tax                                                                                                                          0.8     $525.00       $420.00
                                                                                                                  attendees: D. Hammon and K. Staromiejska
Ancona,Christopher          CA           Senior          3/7/2023     Project Management Office Transition        Finalize FTX Project Management Office deliverables for review                                       2.3     $395.00       $908.50
Ancona,Christopher          CA           Senior          3/7/2023     Project Management Office Transition        Follow-up with each of the FTX workstreams on status updates for deliverables                        1.6     $395.00       $632.00
Bost,Anne                   BA       Managing Director   3/7/2023               Transfer Pricing                  Review and respond to email correspondence                                                           1.2     $775.00       $930.00
Carlson,Tim                 TC       Managing Director   3/7/2023             US State and Local Tax              Review potential property tax jurisdictions based on data gathered to determine future filings.      0.6     $775.00       $465.00
Dulceak,Crystal             CD           Manager         3/7/2023            US State and Local Tax               Finalize review of Annual Reports due 3/15                                                           1.4     $525.00       $735.00
Farrar,Anne                 AF       Partner/Principal   3/7/2023     Project Management Office Transition        Review of materials in preparation for team meeting                                                  0.2     $825.00       $165.00
Flagg,Nancy A.             NAF       Managing Director   3/7/2023            US State and Local Tax               Review claim file update from Kroll and send update to EY team                                       0.4     $775.00       $310.00
Gundu,Kaivalya              KG        Senior Manager     3/7/2023                 Technology                      Prepare the delivery plan and architecture regarding the data & tech workstream                      0.2     $650.00       $130.00
Haas,Zach                   ZH        Senior Manager     3/7/2023               US Income Tax                     Follow-up correspondence email with Robert Lee regarding previous accounting                         0.4     $650.00       $260.00
Hall,Emily Melissa         EMH            Senior         3/7/2023            US State and Local Tax               Analyze notice, characterized it by tax type, and revised the tracker.                               0.2     $395.00        $79.00
                                                                                                                  Correspondence with A&M regarding disputes and investigations limited in relation to the annual
Hamano,Taisuke              TH        Senior Manager     3/7/2023                 Tax Advisory                                                                                                                         0.2     $650.00       $130.00
                                                                                                                  transaction report in Japan
Hammon,David Lane          DLH           Manager         3/7/2023                  Non US Tax                     Correspondence regarding the 30-day exception approval                                               0.6     $525.00        $315.00
Hammon,David Lane          DLH           Manager         3/7/2023                  Non US Tax                     Correspondence with EY member concerning engagement details and immediate next steps                 2.6     $525.00      $1,365.00
                                                                                                                  Correspondence concerning the status of EY member firms commencing due diligence procedures
Hammon,David Lane          DLH           Manager         3/7/2023                  Non US Tax                                                                                                                          2.3     $525.00      $1,207.50
                                                                                                                  with regards to tax compliance for FTX
Hammon,David Lane          DLH            Manager        3/7/2023                  Non US Tax                     Correspondence concerning the NDA required by FTX Turkey                                             1.9     $525.00       $997.50
Healy,John                  JH        Senior Manager     3/7/2023               IRS Audit Matters                 Review issues regarding IRS notice                                                                   0.7     $650.00       $455.00
Huang,Vanesa               VH               Staff        3/7/2023             US State and Local Tax              Review OR Annual Report rework                                                                       0.4     $225.00        $90.00
Karan,Anna Suncheuri       ASK              Staff        3/7/2023              US International Tax               Summarize the FTT cryptocurrency transaction to perform a basis analysis                             3.4     $225.00       $765.00
Koch,Markus                MK        Managing Director   3/7/2023                  Non US Tax                     Assess necessary future direct tax tasks for the Liechtenstein entity & pricing                      0.9     $775.00       $697.50
Li,Chunyang                 CL             Senior        3/7/2023                  Technology                     Review and revise the project timeline                                                               1.4     $395.00       $553.00
                                          National
McComber,Donna             DM                            3/7/2023                Transfer Pricing                 Analyze royalties FTX Trading paying/insurance fund transactions                                     0.8     $990.00       $792.00
                                     Partner/Principal
Mistler,Brian M           BMM             Manager        3/7/2023               US Income Tax                     Revise tax entity list                                                                               0.3     $525.00       $157.50
Mistler,Brian M           BMM             Manager        3/7/2023               US Income Tax                     Prepare fund investment K-1s list                                                                    0.4     $525.00       $210.00
Mistler,Brian M           BMM             Manager        3/7/2023               US Income Tax                     Correspondence with RLA and review re: FTX trial balances                                            1.3     $525.00       $682.50
Mistler,Brian M           BMM             Manager        3/7/2023   Non-Working Travel (billed at 50% of rates)   Travel from San Diego, CA to Dallas, TX                                                              1.5     $262.50       $393.75
Mistler,Brian M           BMM             Manager        3/7/2023               US Income Tax                     Draft federal tax compliance planning                                                                1.2     $525.00       $630.00
Mistler,Brian M           BMM             Manager        3/7/2023               US Income Tax                     Review of stand-alone financials                                                                     0.8     $525.00       $420.00
Richardson,Audrey Sarah   ASR             Manager        3/7/2023           Information Reporting                 Review responses for 1099 inquiries                                                                  1.9     $525.00       $997.50
                                          National
Rumford,Neil                NR                           3/7/2023                  Non US Tax                     Correspondence with FTX regarding accounting info                                                    0.3     $990.00       $297.00
                                     Partner/Principal
                                       Client Serving
Scott,James                 JS                           3/7/2023                US Income Tax                    Prepare SOFA tax disclosure                                                                          0.7     $600.00       $420.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           3/7/2023                US Income Tax                    Weekly CEO PMO meeting                                                                               0.6     $600.00       $360.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           3/7/2023                US Income Tax                    Analyze and review tax disclosures for SOFA consolidated statements                                  2.3     $600.00      $1,380.00
                                       Contractor JS
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                                                        Date of
                Name     Initials        Rank                                Project Category                                                     Description of Services                                        Hours   Hourly Rate   Fees
                                                        Service
                                     Client Serving
Scott,James                JS                           3/7/2023               US Income Tax                Analyze Federal tax issue                                                                             0.7     $600.00       $420.00
                                     Contractor JS
                                     Client Serving                                                         Prepare review materials for meeting with FTX's Chief Financial Officer and Chief Administrative
Scott,James                JS                           3/7/2023               US Income Tax                                                                                                                      0.6     $600.00       $360.00
                                     Contractor JS                                                          Officer
                                     Client Serving
Scott,James                JS                           3/7/2023               US Income Tax                Review IRS exam employment tax requests                                                               0.4     $600.00       $240.00
                                     Contractor JS
                                                                                                            Written follow-up correspondence with EY local Japanese team re: FTX Japan/Liquid Japan
Shea JR,Thomas M          TMS       Partner/Principal   3/7/2023               US Income Tax                                                                                                                      1.2     $825.00       $990.00
                                                                                                            customer transaction reporting
Shea JR,Thomas M          TMS       Partner/Principal   3/7/2023               US Income Tax                Review and updates to Tax disclosures for Global notes in Statements and Schedules                    2.7     $825.00      $2,227.50
Shea JR,Thomas M          TMS       Partner/Principal   3/7/2023               US Income Tax                Written correspondence with A&M re: initial draft of tax disclosures in Statements & Schedules        0.8     $825.00       $660.00
                                                                                                            Written correspondence with RLKS and AlixPartners team members re: access to database to
Shea JR,Thomas M          TMS       Partner/Principal   3/7/2023               US Income Tax                                                                                                                      1.2     $825.00       $990.00
                                                                                                            enable customer transaction reporting
Shea JR,Thomas M         TMS        Partner/Principal   3/7/2023               US Income Tax                Prep for meeting with FTX Chief Financial Officer and Chief Administrative Officer                    0.7     $825.00       $577.50
Stillman,Will             WS              Staff         3/7/2023           US State and Local Tax           Estimate tax workpaper rollover Q1                                                                    2.3     $225.00       $517.50
Wrenn,Kaitlin Doyle      KDW            Manager         3/7/2023                 Payroll Tax                Review process documentation, response preparation, and available master data sources                 1.2     $525.00       $630.00
Wrenn,Kaitlin Doyle      KDW            Manager         3/7/2023                 Payroll Tax                Correspondence regarding MA department of revenue issues and accessible data                          0.4     $525.00       $210.00
Goel,Utkarsh              UG            Manager         3/7/2023            Liquidation Activities          Review court dockets 505 and 264                                                                      1.1     $400.00       $440.00
                                                                                                            Meeting to discuss FTX Chapter 11 bankruptcy and next steps regarding Quoine India. EY
Gupta,Pulkit               PG       Partner/Principal   3/7/2023            Liquidation Activities                                                                                                                1.0     $650.00       $650.00
                                                                                                            attendees: P. Gupta, S. Venkataraman, and G. Jain
                                                                                                            Meeting to discuss FTX Chapter 11 bankruptcy and next steps regarding Quoine India. EY
Jain,Gaurav                GJ       Senior Manager      3/7/2023            Liquidation Activities                                                                                                                1.0     $550.00       $550.00
                                                                                                            attendees: P. Gupta, S. Venkataraman, and G. Jain
                                                                                                            Prepare summary response clarifications for solvent/insolvent liquidation timelines and cost
Jain,Gaurav                GJ       Senior Manager      3/7/2023            Liquidation Activities                                                                                                                0.9     $550.00       $495.00
                                                                                                            regarding Quoine India
                                                                                                            Call to refine summary update analysis and presentation details for S&C call. EY attendees: F.
Maiello,Rob               RM           Consultant       3/7/2023            Liquidation Activities                                                                                                                2.0     $445.00       $890.00
                                                                                                            ORiain and R. Maiello
Maiello,Rob               RM           Consultant       3/7/2023            Liquidation Activities          Call to prepare for S&C meeting. EY attendees: F. ORiain and R. Maiello                               3.9     $445.00      $1,735.50
Maiello,Rob               RM           Consultant       3/7/2023            Liquidation Activities          Prepare summary of each entities cash, assets, liabilities, and high-level intercompany positions     2.3     $445.00      $1,023.50
Maiello,Rob               RM           Consultant       3/7/2023            Liquidation Activities          Prepare summary of local team responses to S&C query regarding near term dismissals                   3.3     $445.00      $1,468.50
Maiello,Rob               RM           Consultant       3/7/2023            Liquidation Activities          Revise FTX tracker with regarding external liquidators, costs, and potential timelines                1.8     $445.00        $801.00
                                                                                                            Call to refine summary update analysis and presentation details for S&C call. EY attendees: F.
ORiain,Fionn              ORF           Manager         3/7/2023            Liquidation Activities                                                                                                                2.0     $725.00      $1,450.00
                                                                                                            ORiain and R. Maiello
ORiain,Fionn              ORF           Manager         3/7/2023            Liquidation Activities          Call to prepare for S&C meeting. EY attendees: F. ORiain and R. Maiello                               3.9     $725.00      $2,827.50
                                                                                                            Review and revise summary table with each entities cash, assets, liabilities, and high-level
ORiain,Fionn              ORF           Manager         3/7/2023            Liquidation Activities                                                                                                                3.3     $725.00      $2,392.50
                                                                                                            intercompany positions
                                                                                                            Review direct query list from S&C with respect to entities scheduled for April-23 dismissal from
ORiain,Fionn              ORF           Manager         3/7/2023            Liquidation Activities                                                                                                                1.4     $725.00      $1,015.00
                                                                                                            Chapter 11 proceedings and coordination with local teams
                                                                                                            Revise tracker with relevant information received from each jurisdiction on external liquidators,
ORiain,Fionn              ORF           Manager         3/7/2023            Liquidation Activities                                                                                                                0.8     $725.00       $580.00
                                                                                                            costs, and potential timelines
                                        National
Rumford,Neil               NR                           3/7/2023            Liquidation Activities          Review and revise step plan for liquidation procedures                                                0.3     $990.00       $297.00
                                    Partner/Principal
                                        National
Rumford,Neil               NR                           3/7/2023            Liquidation Activities          Follow-up correspondence regarding call with S&C                                                      0.2     $990.00       $198.00
                                    Partner/Principal
                                                                                                            Meeting to discuss FTX Chapter 11 bankruptcy and next steps regarding Quoine India. EY
Venkataraman,Siddharth     SV           Manager         3/7/2023            Liquidation Activities                                                                                                                1.0     $400.00       $400.00
                                                                                                            attendees: P. Gupta, S. Venkataraman, and G. Jain
Venkataraman,Siddharth     SV          Manager          3/7/2023            Liquidation Activities          Review court dockets 505 and 264                                                                      0.9     $400.00       $360.00
Venkataraman,Siddharth     SV          Manager          3/7/2023            Liquidation Activities          Correspondence with EY US regarding request of items requiring further clarification                  1.1     $400.00       $440.00
Bugden,Nick R             NRB       Senior Manager      3/7/2023   Chapter 11 Process and Case Management   Team coordination call across EY services                                                             0.5     $900.00       $450.00
Bugden,Nick R             NRB       Senior Manager      3/7/2023            Liquidation Activities          Correspondence with EY Germany team on FTX Trading                                                    0.3     $900.00       $270.00
Bugden,Nick R             NRB       Senior Manager      3/7/2023            Liquidation Activities          Correspondence with R. Matzke (FTX) re: DAAG Trading DMCC                                             0.2     $900.00       $180.00
                                                                                                            Call to discuss FTX Singapore. EY attendees: N. Bugden, K. Hutchison, B. Richards, and F.
Bugden,Nick R             NRB       Senior Manager      3/7/2023            Liquidation Activities                                                                                                                0.6     $900.00       $540.00
                                                                                                            ORiain
                                                                                                            Call to discuss FTX Singapore. EY attendees: N. Bugden, K. Hutchison, B. Richards, and F.
Richards,Briana A.         BR       Partner/Principal   3/7/2023            Liquidation Activities                                                                                                                0.6     $1,150.00     $690.00
                                                                                                            ORiain
                                                                                                            Call to discuss FTX Singapore. EY attendees: N. Bugden, K. Hutchison, B. Richards, and F.
Hutchison,Keiran           KH       Partner/Principal   3/7/2023            Liquidation Activities                                                                                                                0.6     $850.00       $510.00
                                                                                                            ORiain
Hutchison,Keiran           KH       Partner/Principal   3/7/2023            Liquidation Activities          Call with FTX Singapore                                                                               0.5     $850.00       $425.00
                                                                                                            Review required UST disclosures and approach to progress Liquidation processes in non US
Hutchison,Keiran           KH       Partner/Principal   3/7/2023            Liquidation Activities                                                                                                                1.2     $850.00      $1,020.00
                                                                                                            jurisdictions
Bugden,Nick R             NRB       Senior Manager      3/7/2023            Liquidation Activities          Prepare a draft UST update on liquidation planning                                                    0.8     $900.00        $720.00
Bugden,Nick R             NRB       Senior Manager      3/7/2023            Liquidation Activities          Analyze FTX Singapore financials and org structure                                                    2.3     $900.00      $2,070.00
Bugden,Nick R             NRB       Senior Manager      3/7/2023            Liquidation Activities          Review FTX Trading GmbH RIF plan and available financial data                                         2.1     $900.00      $1,890.00
Bugden,Nick R             NRB       Senior Manager      3/7/2023            Liquidation Activities          Analyze FTX Europe financials to understand DAAG Trading operations                                   1.4     $900.00      $1,260.00
                                                                                                            Working session to discuss latest list of companies considered for liquidation and required US and
Bugden,Nick R             NRB       Senior Manager      3/7/2023            Liquidation Activities          international actions as well as timing considerations. EY attendees: N. Bugden, B. Richards, and     1.8     $900.00      $1,620.00
                                                                                                            F. ORiain
                                                                                                            Working session to discuss latest list of companies considered for liquidation and required US and
Richards,Briana A.         BR       Partner/Principal   3/7/2023            Liquidation Activities          international actions as well as timing considerations. EY attendees: N. Bugden, B. Richards, and     1.8     $1,150.00    $2,070.00
                                                                                                            F. ORiain
                                                                                                            Call to discuss FTX Singapore. EY attendees: N. Bugden, K. Hutchison, B. Richards, and F.
ORiain,Fionn              ORF           Manager         3/7/2023            Liquidation Activities                                                                                                                0.6     $725.00       $435.00
                                                                                                            ORiain
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                                                        Date of
                 Name    Initials        Rank                               Project Category                                                     Description of Services                                             Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Working session to discuss latest list of companies considered for liquidation and required US and
ORiain,Fionn              ORF           Manager         3/7/2023          Liquidation Activities          international actions as well as timing considerations. EY attendees: N. Bugden, B. Richards, and           1.8     $725.00      $1,305.00
                                                                                                          F. ORiain
                                                                                                          Meeting to review workstream project status, discuss progress on deliverables, risks, identify issues,
Ancona,Christopher         CA            Senior         3/8/2023   Project Management Office Transition                                                                                                               0.3     $395.00       $118.50
                                                                                                          and determine action items. EY attendees: C. Ancona, A. Farrar, and K. Gundu

                                                                                                          Meeting to review workstream project status, discuss progress on deliverables, risks, identify issues,
Farrar,Anne                AF       Partner/Principal   3/8/2023   Project Management Office Transition                                                                                                               0.3     $825.00       $247.50
                                                                                                          and determine action items. EY attendees: C. Ancona, A. Farrar, and K. Gundu

                                                                                                          Meeting to review workstream project status, discuss progress on deliverables, risks, identify issues,
Gundu,Kaivalya             KG        Senior Manager     3/8/2023               Technology                                                                                                                             0.3     $650.00       $195.00
                                                                                                          and determine action items. EY attendees: C. Ancona, A. Farrar, and K. Gundu
                                                                                                          Internal call to walk through Raptor workstream tool from a state and local tax perspective. EY
Gundu,Kaivalya             KG        Senior Manager     3/8/2023               Technology                                                                                                                             0.4     $650.00       $260.00
                                                                                                          attendees: M. Musano, K. Gundu, and E. Hall
                                                                                                          Internal call to walk through Raptor workstream tool from a state and local tax perspective. EY
Hall,Emily Melissa        EMH            Senior         3/8/2023         US State and Local Tax                                                                                                                       0.4     $395.00       $158.00
                                                                                                          attendees: M. Musano, K. Gundu, and E. Hall
                                                                                                          Internal call to walk through Raptor workstream tool from a state and local tax perspective. EY
Musano,Matthew Albert    MAM         Senior Manager     3/8/2023         US State and Local Tax                                                                                                                       0.4     $650.00       $260.00
                                                                                                          attendees: M. Musano, K. Gundu, and E. Hall
                                                                                                          Internal meeting to discuss mark to market tax elections. EY attendees: D. Bailey, I. Guzman
Bailey,Doug                DB       Partner/Principal   3/8/2023              Tax Advisory                                                                                                                            0.5     $825.00       $412.50
                                                                                                          Chamorro, A. Katelas, L. Lovelace, and M. Stevens
                                                                                                          Internal meeting to discuss mark to market tax elections. EY attendees: D. Bailey, I. Guzman
Guzman Chamorro,Itzel     IGC            Senior         3/8/2023           US International Tax                                                                                                                       0.5     $395.00       $197.50
                                                                                                          Chamorro, A. Katelas, L. Lovelace, and M. Stevens
                                                                                                          Internal meeting to discuss mark to market tax elections. EY attendees: D. Bailey, I. Guzman
Katelas,Andreas            KA            Senior         3/8/2023           US International Tax                                                                                                                       0.5     $395.00       $197.50
                                                                                                          Chamorro, A. Katelas, L. Lovelace, and M. Stevens
                                                                                                          Internal meeting to discuss mark to market tax elections. EY attendees: D. Bailey, I. Guzman
Lovelace,Lauren            LL       Partner/Principal   3/8/2023           US International Tax                                                                                                                       0.5     $825.00       $412.50
                                                                                                          Chamorro, A. Katelas, L. Lovelace, and M. Stevens
                                        National                                                          Internal meeting to discuss mark to market tax elections. EY attendees: D. Bailey, I. Guzman
Stevens,Matthew Aaron     MAS                           3/8/2023           US International Tax                                                                                                                       0.5     $990.00       $495.00
                                    Partner/Principal                                                     Chamorro, A. Katelas, L. Lovelace, and M. Stevens
                                                                                                          Internal call to discuss state and local data sources used for sales and use tax, property tax, notices,
Ancona,Christopher         CA            Senior         3/8/2023   Project Management Office Transition   and unclaimed property purposes. EY attendees: K. Gundu, M. Musano, J. Jimenez, M. O'Brien, K.              0.5     $395.00       $197.50
                                                                                                          Davis, G. Canales, A. Yang, C. Ancona, C. Li, and E. Hall
                                                                                                          Internal call to discuss state and local data sources used for sales and use tax, property tax, notices,
Canales,Georgia            GC           Manager         3/8/2023         US State and Local Tax           and unclaimed property purposes. EY attendees: K. Gundu, M. Musano, J. Jimenez, M. O'Brien, K.              0.5     $525.00       $262.50
                                                                                                          Davis, G. Canales, A. Yang, C. Ancona, C. Li, and E. Hall
                                                                                                          Internal call to discuss state and local data sources used for sales and use tax, property tax, notices,
Davis,Kathleen F.         KFD           Manager         3/8/2023         US State and Local Tax           and unclaimed property purposes. EY attendees: K. Gundu, M. Musano, J. Jimenez, M. O'Brien, K.              0.5     $525.00       $262.50
                                                                                                          Davis, G. Canales, A. Yang, C. Ancona, C. Li, and E. Hall
                                                                                                          Internal call to discuss state and local data sources used for sales and use tax, property tax, notices,
Gundu,Kaivalya             KG        Senior Manager     3/8/2023               Technology                 and unclaimed property purposes. EY attendees: K. Gundu, M. Musano, J. Jimenez, M. O'Brien, K.              0.5     $650.00       $325.00
                                                                                                          Davis, G. Canales, A. Yang, C. Ancona, C. Li, and E. Hall
                                                                                                          Internal call to discuss state and local data sources used for sales and use tax, property tax, notices,
Hall,Emily Melissa        EMH            Senior         3/8/2023         US State and Local Tax           and unclaimed property purposes. EY attendees: K. Gundu, M. Musano, J. Jimenez, M. O'Brien, K.              0.5     $395.00       $197.50
                                                                                                          Davis, G. Canales, A. Yang, C. Ancona, C. Li, and E. Hall
                                                                                                          Internal call to discuss state and local data sources used for sales and use tax, property tax, notices,
Jimenez,Joseph Robert      JRJ       Senior Manager     3/8/2023         US State and Local Tax           and unclaimed property purposes. EY attendees: K. Gundu, M. Musano, J. Jimenez, M. O'Brien, K.              0.5     $650.00       $325.00
                                                                                                          Davis, G. Canales, A. Yang, C. Ancona, C. Li, and E. Hall
                                                                                                          Internal call to discuss state and local data sources used for sales and use tax, property tax, notices,
Li,Chunyang                CL            Senior         3/8/2023               Technology                 and unclaimed property purposes. EY attendees: K. Gundu, M. Musano, J. Jimenez, M. O'Brien, K.              0.5     $395.00       $197.50
                                                                                                          Davis, G. Canales, A. Yang, C. Ancona, C. Li, and E. Hall
Li,Chunyang                CL            Senior         3/8/2023               Technology                 Meeting to set up LE data on Raptor. EY attendees: K. Gundu, M. Babasoro, and C. Li                         0.6     $395.00       $237.00
Gundu,Kaivalya            KG         Senior Manager     3/8/2023               Technology                 Meeting to set up LE data on Raptor. EY attendees: K. Gundu, M. Babasoro, and C. Li                         0.6     $650.00       $390.00
Babasoro,Markho Ramius    MRB          Consultant       3/8/2023               Technology                 Meeting to set up LE data on Raptor. EY attendees: K. Gundu, M. Babasoro, and C. Li                         0.6     $445.00       $267.00
                                                                                                          Meeting to define tech architecture for FTX. EY attendees: K. Gundu, C. Cavusoglu, D. Jena, M.
Li,Chunyang                CL            Senior         3/8/2023               Technology                                                                                                                             1.0     $395.00       $395.00
                                                                                                          Davis, and C. Li
                                                                                                          Internal call to discuss state and local data sources used for sales and use tax, property tax, notices,
Musano,Matthew Albert    MAM         Senior Manager     3/8/2023         US State and Local Tax           and unclaimed property purposes. EY attendees: K. Gundu, M. Musano, J. Jimenez, M. O'Brien, K.              0.5     $650.00       $325.00
                                                                                                          Davis, G. Canales, A. Yang, C. Ancona, C. Li, and E. Hall
                                                                                                          Internal call to discuss state and local data sources used for sales and use tax, property tax, notices,
O'Brien,Mike              MO        Partner/Principal   3/8/2023         US State and Local Tax           and unclaimed property purposes. EY attendees: K. Gundu, M. Musano, J. Jimenez, M. O'Brien, K.              0.5     $825.00       $412.50
                                                                                                          Davis, G. Canales, A. Yang, C. Ancona, C. Li, and E. Hall
                                                                                                          Internal call to discuss state and local data sources used for sales and use tax, property tax, notices,
Yang,Annie                 AY        Senior Manager     3/8/2023         US State and Local Tax           and unclaimed property purposes. EY attendees: K. Gundu, M. Musano, J. Jimenez, M. O'Brien, K.              0.5     $650.00       $325.00
                                                                                                          Davis, G. Canales, A. Yang, C. Ancona, C. Li, and E. Hall
                                                                                                          Meeting to define tech architecture for FTX. EY attendees: K. Gundu, C. Cavusoglu, D. Jena, M.
Cavusoglu,Coskun           CC       Partner/Principal   3/8/2023               Technology                                                                                                                             1.0     $825.00       $825.00
                                                                                                          Davis, and C. Li
                                                                                                          Meeting to define tech architecture for FTX. EY attendees: K. Gundu, C. Cavusoglu, D. Jena, M.
Davis,Matthew             MD            Manager         3/8/2023               Technology                                                                                                                             1.0     $525.00       $525.00
                                                                                                          Davis, and C. Li
                                                                                                          Meeting to define tech architecture for FTX. EY attendees: K. Gundu, C. Cavusoglu, D. Jena, M.
Gundu,Kaivalya             KG        Senior Manager     3/8/2023               Technology                                                                                                                             1.0     $650.00       $650.00
                                                                                                          Davis, and C. Li
                                                                                                          Meeting to define tech architecture for FTX. EY attendees: K. Gundu, C. Cavusoglu, D. Jena, M.
Jena,Deepak                DJ           Manager         3/8/2023               Technology                                                                                                                             1.0     $525.00       $525.00
                                                                                                          Davis, and C. Li
                                                                                                          Discuss approach for global notes, statements, and schedules (tax). EY attendees: N. Flagg, T.
Flagg,Nancy A.            NAF       Managing Director   3/8/2023         US State and Local Tax                                                                                                                       0.5     $775.00       $387.50
                                                                                                          Shea, B. Mistler, and J. Scott
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                                                        Date of
                  Name   Initials         Rank                              Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Discuss approach for global notes, statements, and schedules (tax). EY attendees: N. Flagg, T.
Mistler,Brian M          BMM            Manager         3/8/2023             US Income Tax                                                                                                                       0.5     $525.00       $262.50
                                                                                                          Shea, B. Mistler, and J. Scott
                                      Client Serving                                                      Discuss approach for global notes, statements, and schedules (tax). EY attendees: N. Flagg, T.
Scott,James                JS                           3/8/2023             US Income Tax                                                                                                                       0.5     $600.00       $300.00
                                      Contractor JS                                                       Shea, B. Mistler, and J. Scott
                                                                                                          Discuss approach for global notes, statements, and schedules (tax). EY attendees: N. Flagg, T.
Shea JR,Thomas M          TMS       Partner/Principal   3/8/2023             US Income Tax                                                                                                                       0.5     $825.00       $412.50
                                                                                                          Shea, B. Mistler, and J. Scott
                                                                                                          Call to discuss approach for global notes, statements, and schedules (tax). EY attendees: N. Flagg,
Flagg,Nancy A.            NAF       Managing Director   3/8/2023         US State and Local Tax                                                                                                                  0.7     $775.00       $542.50
                                                                                                          T. Shea, B. Mistler, and J. Scott
                                                                                                          Call to discuss approach for global notes, statements, and schedules (tax). EY attendees: N. Flagg,
Mistler,Brian M          BMM            Manager         3/8/2023             US Income Tax                                                                                                                       0.7     $525.00       $367.50
                                                                                                          T. Shea, B. Mistler, and J. Scott
                                      Client Serving                                                      Call to discuss approach for global notes, statements, and schedules (tax). EY attendees: N. Flagg,
Scott,James                JS                           3/8/2023             US Income Tax                                                                                                                       0.7     $600.00       $420.00
                                      Contractor JS                                                       T. Shea, B. Mistler, and J. Scott
                                                                                                          Call to discuss approach for global notes, statements, and schedules (tax). EY attendees: N. Flagg,
Shea JR,Thomas M          TMS       Partner/Principal   3/8/2023             US Income Tax                                                                                                                       0.7     $825.00       $577.50
                                                                                                          T. Shea, B. Mistler, and J. Scott
                                                                                                          Discuss global notes and schedule updates with M. Cilia (FTX). EY attendees: T. Shea, J. Scott,
Mistler,Brian M          BMM            Manager         3/8/2023       Meetings with Management                                                                                                                  0.5     $525.00       $262.50
                                                                                                          and B. Mistler
                                      Client Serving                                                      Discuss global notes and schedule updates with M. Cilia (FTX). EY attendees: T. Shea, J. Scott,
Scott,James                JS                           3/8/2023       Meetings with Management                                                                                                                  0.5     $600.00       $300.00
                                      Contractor JS                                                       and B. Mistler
                                                                                                          Discuss global notes and schedule updates with M. Cilia (FTX). EY attendees: T. Shea, J. Scott,
Shea JR,Thomas M          TMS       Partner/Principal   3/8/2023       Meetings with Management                                                                                                                  0.5     $825.00       $412.50
                                                                                                          and B. Mistler
                                                                                                          Discuss state implications for global notes and schedules. EY attendees: E. Hall, M. Musano, B.
Hall,Emily Melissa        EMH            Senior         3/8/2023         US State and Local Tax                                                                                                                  0.4     $395.00       $158.00
                                                                                                          Mistler, J. Scott, and T. Shea
                                                                                                          Discuss state implications for global notes and schedules. EY attendees: E. Hall, M. Musano, B.
Mistler,Brian M          BMM            Manager         3/8/2023             US Income Tax                                                                                                                       0.4     $525.00       $210.00
                                                                                                          Mistler, J. Scott, and T. Shea
                                                                                                          Discuss state implications for global notes and schedules. EY attendees: E. Hall, M. Musano, B.
Musano,Matthew Albert    MAM         Senior Manager     3/8/2023         US State and Local Tax                                                                                                                  0.4     $650.00       $260.00
                                                                                                          Mistler, J. Scott, and T. Shea
                                      Client Serving                                                      Discuss state implications for global notes and schedules. EY attendees: E. Hall, M. Musano, B.
Scott,James                JS                           3/8/2023             US Income Tax                                                                                                                       0.4     $600.00       $240.00
                                      Contractor JS                                                       Mistler, J. Scott, and T. Shea
                                                                                                          Discuss state implications for global notes and schedules. EY attendees: E. Hall, M. Musano, B.
Shea JR,Thomas M          TMS       Partner/Principal   3/8/2023             US Income Tax                                                                                                                       0.4     $825.00       $330.00
                                                                                                          Mistler, J. Scott, and T. Shea
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/8/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.4     $225.00        $90.00
                                                                                                          T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/8/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.4     $525.00       $210.00
                                                                                                          T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/8/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.4     $825.00       $330.00
                                                                                                          T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/8/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.4     $395.00       $158.00
                                                                                                          T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/8/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.4     $525.00       $210.00
                                                                                                          T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Meeting with EY India team to discuss ACR and payroll services. EY attendees: D. Hammon, C.
Hammon,David Lane         DLH           Manager         3/8/2023               Non US Tax                                                                                                                        0.2     $525.00       $105.00
                                                                                                          MacLean, and K. Soderman
                                                                                                          Meeting with EY India team to discuss ACR and payroll services. EY attendees: D. Hammon, C.
MacLean,Corrie            CM             Senior         3/8/2023               Non US Tax                                                                                                                        0.2     $395.00        $79.00
                                                                                                          MacLean, and K. Soderman
                                                                                                          Meeting with EY India team to discuss ACR and payroll services. EY attendees: D. Hammon, C.
Soderman,Kathy             KS       Managing Director   3/8/2023               Non US Tax                                                                                                                        0.2     $775.00       $155.00
                                                                                                          MacLean, and K. Soderman
                                                                                                          Meeting with J. Chan (FTX) to discuss transactions in foreign jurisdictions. EY attendees: C.
Ancona,Christopher         CA            Senior         3/8/2023       Meetings with Management                                                                                                                  0.4     $395.00       $158.00
                                                                                                          Ancona, B. Mistler, D. Bailey, and L. Lovelace
                                                                                                          Meeting with J. Chan (FTX) to discuss transactions in foreign jurisdictions. EY attendees: C.
Bailey,Doug                DB       Partner/Principal   3/8/2023       Meetings with Management                                                                                                                  0.4     $825.00       $330.00
                                                                                                          Ancona, B. Mistler, D. Bailey, and L. Lovelace
                                                                                                          Meeting with J. Chan (FTX) to discuss transactions in foreign jurisdictions. EY attendees: C.
Lovelace,Lauren            LL       Partner/Principal   3/8/2023       Meetings with Management                                                                                                                  0.4     $825.00       $330.00
                                                                                                          Ancona, B. Mistler, D. Bailey, and L. Lovelace
                                                                                                          Meeting with J. Chan (FTX) to discuss transactions in foreign jurisdictions. EY attendees: C.
Mistler,Brian M          BMM            Manager         3/8/2023       Meetings with Management                                                                                                                  0.4     $525.00       $210.00
                                                                                                          Ancona, B. Mistler, D. Bailey, and L. Lovelace
                                                                                                          Meeting with K. Schultea (FTX) and L. Barrios (RLKS) to discuss 1099 vendor and claimant
Ferris,Tara                TF       Partner/Principal   3/8/2023       Meetings with Management           inquiries, support of intake process and outline of response from FTX inquiry questions. EY            0.4     $825.00       $330.00
                                                                                                          attendees: K. Wrenn, K. Lowery, and T. Ferris
                                                                                                          Meeting with K. Schultea (FTX) and L. Barrios (RLKS) to discuss 1099 vendor and claimant
                                        National
Lowery,Kristie L          KLL                           3/8/2023       Meetings with Management           inquiries, support of intake process and outline of response from FTX inquiry questions. EY            0.4     $990.00       $396.00
                                    Partner/Principal
                                                                                                          attendees: K. Wrenn, K. Lowery, and T. Ferris
                                                                                                          Meeting with K. Schultea (FTX) and L. Barrios (RLKS) to discuss 1099 vendor and claimant
Wrenn,Kaitlin Doyle      KDW            Manager         3/8/2023       Meetings with Management           inquiries, support of intake process and outline of response from FTX inquiry questions. EY            0.4     $525.00       $210.00
                                                                                                          attendees: K. Wrenn, K. Lowery, and T. Ferris
                                                                                                          Meeting with D. Hariton (S&C) to discuss 1099 inquiry responses and language to be utilized. EY
Ferris,Tara                TF       Partner/Principal   3/8/2023      Meetings with Other Advisors                                                                                                               0.5     $825.00       $412.50
                                                                                                          attendees: K. Wrenn and T. Ferris
                                                                                                          Meeting with D. Hariton (S&C) to discuss 1099 inquiry responses and language to be utilized. EY
Wrenn,Kaitlin Doyle      KDW            Manager         3/8/2023      Meetings with Other Advisors                                                                                                               0.5     $525.00       $262.50
                                                                                                          attendees: K. Wrenn and T. Ferris
Wong,Maddie               WM              Staff         3/8/2023             US Income Tax                Call regarding setting up entities in OIT. EY attendees: B. Mistler and M. Wong                        0.2     $225.00        $45.00
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                                                        Date of
                  Name   Initials         Rank                              Project Category                                                    Description of Services                                         Hours   Hourly Rate   Fees
                                                        Service
Mistler,Brian M          BMM            Manager         3/8/2023             US Income Tax                Call regarding setting up entities in OIT. EY attendees: B. Mistler and M. Wong                        0.2     $525.00       $105.00
Healy,John                JH         Senior Manager     3/8/2023            IRS Audit Matters             Call with IRS agents re: IRS notices. EY attendees: C. Ellenson and J. Healy                           0.6     $650.00       $390.00
Ellenson,Cory             CE         Senior Manager     3/8/2023            IRS Audit Matters             Call with IRS agents re: IRS notices. EY attendees: C. Ellenson and J. Healy                           0.6     $650.00       $390.00
                                                                                                          Revise the monthly fee application for time incurred from November - December for review by EY
Ancona,Christopher         CA            Senior         3/8/2023   Project Management Office Transition                                                                                                          1.8     $395.00       $711.00
                                                                                                          Legal team.
                                                                                                          Correspondence with workstream leads on project deliverables and updating the Project
Ancona,Christopher         CA            Senior         3/8/2023   Project Management Office Transition                                                                                                          2.2     $395.00       $869.00
                                                                                                          Management Office status tracker
                                                                                                          Review and update FTX Project Management Office deliverables related to workstream status
Ancona,Christopher         CA            Senior         3/8/2023   Project Management Office Transition                                                                                                          2.2     $395.00       $869.00
                                                                                                          tracking and reporting
Bost,Anne                  BA       Managing Director   3/8/2023             Transfer Pricing             Review and respond to email correspondence                                                             0.4     $775.00       $310.00
Cavusoglu,Coskun           CC       Partner/Principal   3/8/2023               Technology                 Create the report for the clients list across the databases for the Customer Tax statement purposes    0.8     $825.00       $660.00
                                                                                                          Correspondence regarding personal property workstream, including filing obligations identified to
Davis,Kathleen F.         KFD           Manager         3/8/2023         US State and Local Tax                                                                                                                  2.6     $525.00      $1,365.00
                                                                                                          date, remaining data needs and property tax gap analysis
                                                                                                          Review property tax returns and payment research based on client 12/31/21 f/a data and creation of
Davis,Kathleen F.         KFD           Manager         3/8/2023         US State and Local Tax                                                                                                                  1.9     $525.00       $997.50
                                                                                                          2023 deliverables
Davis,Matthew             MD            Manager         3/8/2023                Technology                Participate in direct tax calls                                                                        0.2     $525.00       $105.00
Farrar,Anne                AF       Partner/Principal   3/8/2023   Project Management Office Transition   Review of materials in preparation for team meeting                                                    0.3     $825.00       $247.50
Ferris,Tara                TF       Partner/Principal   3/8/2023           Information Reporting          Discussion regarding 1099 customer contact inquiry                                                     0.9     $825.00       $742.50
Flagg,Nancy A.            NAF       Managing Director   3/8/2023          US State and Local Tax          Review email tax notice list review points and additions identified to date                            0.2     $775.00       $155.00
Flagg,Nancy A.            NAF       Managing Director   3/8/2023          US State and Local Tax          Provide IRS special noticing address for Schedule E                                                    0.1     $775.00        $77.50
                                                                                                          Correspondence concerning engagement details and next steps for the member firms and third party
Hammon,David Lane         DLH           Manager         3/8/2023               Non US Tax                                                                                                                        2.9     $525.00      $1,522.50
                                                                                                          provider
Hammon,David Lane         DLH          Manager          3/8/2023              Non US Tax                  Revise trackers to account for changes in engagement updates                                           2.7     $525.00      $1,417.50
Johnson,Derrick Joseph    DJJ            Staff          3/8/2023         US State and Local Tax           Review tax claims and determine next steps to be taken                                                 1.9     $225.00        $427.50
Karan,Anna Suncheuri      ASK            Staff          3/8/2023          US International Tax            Research information about Anthropic FTX subsidiary                                                    0.6     $225.00        $135.00
Katelas,Andreas           KA            Senior          3/8/2023          US International Tax            Analysis of digital asset historic transactions                                                        2.4     $395.00        $948.00
Katelas,Andreas           KA            Senior          3/8/2023          US International Tax            Analyze mark-to-market election and timing requirements                                                1.1     $395.00        $434.50
Koch,Markus               MK        Managing Director   3/8/2023              Non US Tax                  Assess necessary future direct tax tasks for the Swiss entities & pricing                              1.1     $775.00        $852.50
                                                                                                          Update master fee tracking sheet and contact list in connection with the transfer of tax compliance
MacLean,Corrie            CM             Senior         3/8/2023               Non US Tax                                                                                                                        2.9     $395.00      $1,145.50
                                                                                                          services
Madhok,Kishan             KM        Senior Manager      3/8/2023            Value Added Tax               Review of VAT FTX global VAT compliance fees                                                           0.7     $650.00       $455.00
                                        National
McComber,Donna            DM                            3/8/2023             Transfer Pricing             Prepare draft of TP slides                                                                             0.9     $990.00       $891.00
                                    Partner/Principal
Mistler,Brian M          BMM            Manager         3/8/2023             US Income Tax                Revise the tax entity list                                                                             0.2     $525.00       $105.00
Mistler,Brian M          BMM            Manager         3/8/2023             US Income Tax                Correspondence with employment tax team re: EINs                                                       0.6     $525.00       $315.00
Mistler,Brian M          BMM            Manager         3/8/2023             US Income Tax                Research and response for statements and schedules (tax)                                               0.8     $525.00       $420.00
Mistler,Brian M          BMM            Manager         3/8/2023             US Income Tax                Revise tax related items for statements and schedules                                                  0.3     $525.00       $157.50
Mistler,Brian M          BMM            Manager         3/8/2023             US Income Tax                OIT set-up for federal U.S. tax returns                                                                0.4     $525.00       $210.00
                                                                                                          Review newly received files to populate tax due diligence questionnaire in connection with the
Rüegg,Christoph            CR            Senior         3/8/2023               Non US Tax                                                                                                                        0.6     $395.00       $237.00
                                                                                                          transfer of tax compliance services from FTX to EY
Santoro,David              DS            Manager        3/8/2023          Information Reporting           Research B-notice question                                                                             0.4     $525.00       $210.00
                                      Client Serving
Scott,James                JS                           3/8/2023             US Income Tax                Review tax related disclosures for SOFA questions 7 and 31                                             1.3     $600.00       $780.00
                                      Contractor JS
                                      Client Serving
Scott,James                JS                           3/8/2023             US Income Tax                Analyze disclosures for Sections A/B of SOFA                                                           1.6     $600.00       $960.00
                                      Contractor JS
                                      Client Serving
Scott,James                JS                           3/8/2023             US Income Tax                Analyze disclosures related to Sections E/F of SOFA                                                    2.6     $600.00      $1,560.00
                                      Contractor JS
                                                                                                          Follow-up written correspondence to J. Ray (FTX), K. Schultea (FTX), and M. Cilia (FTX)
Shea JR,Thomas M          TMS       Partner/Principal   3/8/2023             US Income Tax                regarding review procedures performed re: FTX Japan/Liquid Japan customer transaction                  1.1     $825.00       $907.50
                                                                                                          statements
                                                                                                          Review and written correspondence re: Schedules & Statements between (1) Tax related
Shea JR,Thomas M          TMS       Partner/Principal   3/8/2023             US Income Tax                                                                                                                       1.3     $825.00      $1,072.50
                                                                                                          disclosures for statement of financial results
                                                                                                          Review and written correspondence re: Schedules & Statements between (2) Determine disclosures
Shea JR,Thomas M          TMS       Partner/Principal   3/8/2023             US Income Tax                                                                                                                       1.9     $825.00      $1,567.50
                                                                                                          for Section A/B Net Operating Losses
                                                                                                          Review and written correspondence re: Schedules & Statements between (3) disclosure related to
Shea JR,Thomas M          TMS       Partner/Principal   3/8/2023             US Income Tax                                                                                                                       2.3     $825.00      $1,897.50
                                                                                                          Section E/F of Statement of Financial Results regarding claims, notices, exams
                                                                                                          Written follow-up correspondence with A&M and S&C teams in response to questions and
Shea JR,Thomas M          TMS       Partner/Principal   3/8/2023             US Income Tax                                                                                                                       0.6     $825.00       $495.00
                                                                                                          clarifications on tax disclosure information provided for Statements and Schedules
Stillman,Will             WS              Staff         3/8/2023         US State and Local Tax           Estimate tax workpaper rollover Q1                                                                     1.4     $225.00        $315.00
Sun,Yuchen                YS             Senior         3/8/2023         US State and Local Tax           Review and prepare SALT Estimate Tax workpaper and 3/15 due dates                                      3.9     $395.00      $1,540.50
Wrenn,Kaitlin Doyle      KDW            Manager         3/8/2023              Payroll Tax                 Review of payroll tax repository files                                                                 2.4     $525.00      $1,260.00
Wrenn,Kaitlin Doyle      KDW            Manager         3/8/2023              Payroll Tax                 Correspondence recapping discussion of 1099 vendor and customer inquiry intake process                 1.8     $525.00        $945.00
                                                                                                          Meeting with D. Ornelas (FTX) to discuss the MA Department of Revenue inquiry and access to
Wrenn,Kaitlin Doyle      KDW            Manager         3/8/2023               Payroll Tax                                                                                                                       0.7     $525.00       $367.50
                                                                                                          online portal account
Wrenn,Kaitlin Doyle      KDW            Manager         3/8/2023               Payroll Tax                Correspondence with TriNet regarding payroll tax filing preparation                                    0.4     $525.00       $210.00
Wrenn,Kaitlin Doyle      KDW            Manager         3/8/2023               Payroll Tax                Correspondence regarding Deck Tools and requirement US tax return preparation                          0.3     $525.00       $157.50
                                                                                                          Call with S&C to answer questions on the liquidation status of 6 entities currently identified for
Maiello,Rob               RM           Consultant       3/8/2023          Liquidation Activities                                                                                                                 1.0     $445.00       $445.00
                                                                                                          April-23 dismissal. EY attendees: B. Richards, N. Bugden, F. ORiain, and R. Maiello
                                                                                                          Draft schedule outlining intercompany positions for each entity based on information provided by
Maiello,Rob               RM           Consultant       3/8/2023          Liquidation Activities                                                                                                                 2.6     $445.00      $1,157.00
                                                                                                          A&M
                                                                                                          Draft summary of docket update on how Joint Provisional Liquidators are handling preference
Maiello,Rob               RM           Consultant       3/8/2023          Liquidation Activities                                                                                                                 1.1     $445.00       $489.50
                                                                                                          transfers and intercompany positions for leadership
Maiello,Rob               RM           Consultant       3/8/2023          Liquidation Activities          Prepare external update for legal advisors with respect to liquidation workstream                      2.2     $445.00       $979.00
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                                                       Date of
                 Name   Initials        Rank                               Project Category                                                    Description of Services                                          Hours   Hourly Rate   Fees
                                                       Service
Maiello,Rob              RM           Consultant       3/8/2023          Liquidation Activities          Update harmonized balance sheets for Turkish entities                                                   2.6     $445.00      $1,157.00
                                                                                                         Call with S&C to answer questions on the liquidation status of 6 entities currently identified for
ORiain,Fionn             ORF           Manager         3/8/2023          Liquidation Activities                                                                                                                  1.0     $725.00       $725.00
                                                                                                         April-23 dismissal. EY attendees: B. Richards, N. Bugden, F. ORiain, and R. Maiello
ORiain,Fionn             ORF           Manager         3/8/2023          Liquidation Activities          Review and update schedule outlining intercompany positions for each entity                             3.7     $725.00      $2,682.50
                                                                                                         Review of initial draft external materials for legal advisors and refinement of output in advance of
ORiain,Fionn             ORF           Manager         3/8/2023          Liquidation Activities                                                                                                                  1.1     $725.00       $797.50
                                                                                                         finalizing
ORiain,Fionn             ORF           Manager         3/8/2023          Liquidation Activities          Prepare harmonized balance sheets for Turkish entities                                                  0.5     $725.00       $362.50
                                       National
Rumford,Neil              NR                           3/8/2023          Liquidation Activities          Correspondence regarding info requests related to call with S&C                                         0.1     $990.00        $99.00
                                   Partner/Principal
                                                                                                         Prep for and call with FTX management re VL project, discuss various jurisdiction and approach
Hutchison,Keiran          KH       Partner/Principal   3/8/2023          Liquidation Activities                                                                                                                  1.5     $850.00      $1,275.00
                                                                                                         issues
                                                                                                         Call with S&C to answer questions on the liquidation status of 6 entities currently identified for
Richards,Briana A.        BR       Partner/Principal   3/8/2023          Liquidation Activities                                                                                                                  1.0     $1,150.00    $1,150.00
                                                                                                         April-23 dismissal. EY attendees: B. Richards, N. Bugden, F. ORiain, and R. Maiello
Bugden,Nick R            NRB       Senior Manager      3/8/2023          Liquidation Activities          Analyze current intercompany positions and prepare outstanding questions                                1.4     $900.00      $1,260.00
Bugden,Nick R            NRB       Senior Manager      3/8/2023          Liquidation Activities          Correspondence with EY team to draft preliminary commentary on a Singapore liquidation process          0.3     $900.00       $270.00
Bugden,Nick R            NRB       Senior Manager      3/8/2023          Liquidation Activities          Prepare update deck for call with S&C                                                                   2.1     $900.00      $1,890.00
                                                                                                         Call with EY Turkey to review FTX situation and need in Turkey. EY attendees: N. Bugden and B.
Bugden,Nick R            NRB       Senior Manager      3/8/2023          Liquidation Activities                                                                                                                  0.3     $900.00       $270.00
                                                                                                         Richards
                                                                                                         Call with S&C to answer questions on the liquidation status of 6 entities currently identified for
Bugden,Nick R            NRB       Senior Manager      3/8/2023          Liquidation Activities                                                                                                                  1.0     $900.00       $900.00
                                                                                                         April-23 dismissal. EY attendees: B. Richards, N. Bugden, F. ORiain, and R. Maiello
                                                                                                         Call with EY Turkey to review FTX situation and need in Turkey. EY attendees: N. Bugden and B.
Richards,Briana A.        BR       Partner/Principal   3/8/2023          Liquidation Activities                                                                                                                  0.3     $1,150.00     $345.00
                                                                                                         Richards
Rüegg,Christoph           CR            Senior         3/9/2023       Meetings with Management           Tax due diligence questionnaire call with J. Bavaud (FTX) for further information.                      0.3     $395.00       $118.50
                                                                                                         Call with L. Barrios (RLKS) to discuss procedure updates for intake and tracking of 1099/customer
Carver,Cody R.           CRC            Senior         3/9/2023      Meetings with Other Advisors                                                                                                                0.8     $395.00       $316.00
                                                                                                         requests. EY attendees: K. Wrenn and C. Carver
                                                                                                         Call with L. Barrios (RLKS) to discuss procedure updates for intake and tracking of 1099/customer
Wrenn,Kaitlin Doyle     KDW            Manager         3/9/2023      Meetings with Other Advisors                                                                                                                0.8     $525.00       $420.00
                                                                                                         requests. EY attendees: K. Wrenn and C. Carver
                                                                                                         Meeting to discuss updates to the monthly fee application. EY attendees: C. Ancona, B. Burris, A.
Ancona,Christopher        CA            Senior         3/9/2023      Fee/Employment Applications                                                                                                                 0.5     $395.00       $197.50
                                                                                                         Crisp, and D. Basosila
Gundu,Kaivalya            KG       Senior Manager      3/9/2023               Technology                 Meeting to discuss integration between OGM and Raptor. EY attendees: K. Gundu and C. Li                 0.5     $650.00       $325.00

Li,Chunyang               CL            Senior         3/9/2023               Technology                 Meeting to discuss integration between OGM and Raptor. EY attendees: K. Gundu and C. Li                 0.5     $395.00       $197.50
                                                                                                         Meeting to discuss FTX Project Management Office deliverables and review updates. EY
Ancona,Christopher        CA            Senior         3/9/2023   Project Management Office Transition                                                                                                           0.5     $395.00       $197.50
                                                                                                         attendees: C. Ancona, K. Gundu, A. Farrar, and C. Li
                                                                                                         Meeting to discuss FTX Project Management Office deliverables and review updates. EY
Farrar,Anne               AF       Partner/Principal   3/9/2023   Project Management Office Transition                                                                                                           0.5     $825.00       $412.50
                                                                                                         attendees: C. Ancona, K. Gundu, A. Farrar, and C. Li
                                                                                                         Meeting to discuss FTX Project Management Office deliverables and review updates. EY
Gundu,Kaivalya            KG       Senior Manager      3/9/2023               Technology                                                                                                                         0.5     $650.00       $325.00
                                                                                                         attendees: C. Ancona, K. Gundu, A. Farrar, and C. Li
                                                                                                         Meeting to discuss FTX Project Management Office deliverables and review updates. EY
Li,Chunyang               CL            Senior         3/9/2023               Technology                                                                                                                         0.5     $395.00       $197.50
                                                                                                         attendees: C. Ancona, K. Gundu, A. Farrar, and C. Li
                                                                                                         Meeting to connect with SALT team and discuss data source/providers for workstream. EY
Ancona,Christopher        CA            Senior         3/9/2023   Project Management Office Transition   attendees: K. Gundu, J. Jimenez, M. O'Brien, K. Davis, E. Hall, G. Canales, M. Musano, A. Yang,         0.4     $395.00       $158.00
                                                                                                         C. Li, and C. Ancona
                                                                                                         Meeting to connect with SALT team and discuss data source/providers for workstream. EY
Canales,Georgia           GC           Manager         3/9/2023         US State and Local Tax           attendees: K. Gundu, J. Jimenez, M. O'Brien, K. Davis, E. Hall, G. Canales, M. Musano, A. Yang,         0.4     $525.00       $210.00
                                                                                                         C. Li, and C. Ancona
                                                                                                         Meeting to connect with SALT team and discuss data source/providers for workstream. EY
Davis,Kathleen F.        KFD           Manager         3/9/2023         US State and Local Tax           attendees: K. Gundu, J. Jimenez, M. O'Brien, K. Davis, E. Hall, G. Canales, M. Musano, A. Yang,         0.4     $525.00       $210.00
                                                                                                         C. Li, and C. Ancona
                                                                                                         Meeting to connect with SALT team and discuss data source/providers for workstream. EY
Gundu,Kaivalya            KG       Senior Manager      3/9/2023               Technology                 attendees: K. Gundu, J. Jimenez, M. O'Brien, K. Davis, E. Hall, G. Canales, M. Musano, A. Yang,         0.4     $650.00       $260.00
                                                                                                         C. Li, and C. Ancona
                                                                                                         Meeting to connect with SALT team and discuss data source/providers for workstream. EY
Hall,Emily Melissa       EMH            Senior         3/9/2023         US State and Local Tax           attendees: K. Gundu, J. Jimenez, M. O'Brien, K. Davis, E. Hall, G. Canales, M. Musano, A. Yang,         0.4     $395.00       $158.00
                                                                                                         C. Li, and C. Ancona
                                                                                                         Meeting to connect with SALT team and discuss data source/providers for workstream. EY
Jimenez,Joseph Robert     JRJ      Senior Manager      3/9/2023         US State and Local Tax           attendees: K. Gundu, J. Jimenez, M. O'Brien, K. Davis, E. Hall, G. Canales, M. Musano, A. Yang,         0.4     $650.00       $260.00
                                                                                                         C. Li, and C. Ancona
                                                                                                         Meeting to connect with SALT team and discuss data source/providers for workstream. EY
Li,Chunyang               CL            Senior         3/9/2023               Technology                 attendees: K. Gundu, J. Jimenez, M. O'Brien, K. Davis, E. Hall, G. Canales, M. Musano, A. Yang,         0.4     $395.00       $158.00
                                                                                                         C. Li, and C. Ancona
                                                                                                         Meeting to connect with SALT team and discuss data source/providers for workstream. EY
Musano,Matthew Albert   MAM        Senior Manager      3/9/2023         US State and Local Tax           attendees: K. Gundu, J. Jimenez, M. O'Brien, K. Davis, E. Hall, G. Canales, M. Musano, A. Yang,         0.4     $650.00       $260.00
                                                                                                         C. Li, and C. Ancona
                                                                                                         Meeting to connect with SALT team and discuss data source/providers for workstream. EY
O'Brien,Mike             MO        Partner/Principal   3/9/2023         US State and Local Tax           attendees: K. Gundu, J. Jimenez, M. O'Brien, K. Davis, E. Hall, G. Canales, M. Musano, A. Yang,         0.4     $825.00       $330.00
                                                                                                         C. Li, and C. Ancona
                                                                                                         Meeting to connect with SALT team and discuss data source/providers for workstream. EY
Yang,Annie                AY       Senior Manager      3/9/2023         US State and Local Tax           attendees: K. Gundu, J. Jimenez, M. O'Brien, K. Davis, E. Hall, G. Canales, M. Musano, A. Yang,         0.4     $650.00       $260.00
                                                                                                         C. Li, and C. Ancona
                                                                                                         Meeting to discuss updates to the monthly fee application. EY attendees: C. Ancona, C. Tong, B.
Ancona,Christopher        CA            Senior         3/9/2023      Fee/Employment Applications                                                                                                                 0.2     $395.00        $79.00
                                                                                                         Burris, A. Crisp, and D. Basosila
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                                                        Date of
                  Name   Initials         Rank                              Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Meeting to discuss updates to the monthly fee application. EY attendees: C. Ancona, C. Tong, B.
Tong,Chia-Hui             CHT        Senior Manager     3/9/2023      Fee/Employment Applications                                                                                                                  0.2     $650.00       $130.00
                                                                                                          Burris, A. Crisp, and D. Basosila
                                                                                                          Internal meeting to discuss the set up of One Source Tax binders for state and local tax estimate
Berman,Jake                JB        Senior Manager     3/9/2023             US Income Tax                purposes. EY attendees: M. Musano, J. Berman, B. Mistler, E. Zheng, Y. Sun, M. Wong, and E.              0.3     $650.00       $195.00
                                                                                                          Hall
                                                                                                          Internal meeting to discuss the set up of One Source Tax binders for state and local tax estimate
Hall,Emily Melissa        EMH            Senior         3/9/2023         US State and Local Tax           purposes. EY attendees: M. Musano, J. Berman, B. Mistler, E. Zheng, Y. Sun, M. Wong, and E.              0.3     $395.00       $118.50
                                                                                                          Hall
                                                                                                          Internal meeting to discuss the set up of One Source Tax binders for state and local tax estimate
Mistler,Brian M          BMM            Manager         3/9/2023             US Income Tax                purposes. EY attendees: M. Musano, J. Berman, B. Mistler, E. Zheng, Y. Sun, M. Wong, and E.              0.3     $525.00       $157.50
                                                                                                          Hall
                                                                                                          Internal meeting to discuss the set up of One Source Tax binders for state and local tax estimate
Musano,Matthew Albert    MAM         Senior Manager     3/9/2023         US State and Local Tax           purposes. EY attendees: M. Musano, J. Berman, B. Mistler, E. Zheng, Y. Sun, M. Wong, and E.              0.3     $650.00       $195.00
                                                                                                          Hall
                                                                                                          Internal meeting to discuss the set up of One Source Tax binders for state and local tax estimate
Sun,Yuchen                 YS            Senior         3/9/2023         US State and Local Tax           purposes. EY attendees: M. Musano, J. Berman, B. Mistler, E. Zheng, Y. Sun, M. Wong, and E.              0.3     $395.00       $118.50
                                                                                                          Hall
                                                                                                          Internal meeting to discuss the set up of One Source Tax binders for state and local tax estimate
Wong,Maddie               WM              Staff         3/9/2023             US Income Tax                purposes. EY attendees: M. Musano, J. Berman, B. Mistler, E. Zheng, Y. Sun, M. Wong, and E.              0.3     $225.00        $67.50
                                                                                                          Hall
                                                                                                          Internal meeting to discuss the set up of One Source Tax binders for state and local tax estimate
Zheng,Eva                  EZ           Manager         3/9/2023         US State and Local Tax           purposes. EY attendees: M. Musano, J. Berman, B. Mistler, E. Zheng, Y. Sun, M. Wong, and E.              0.3     $525.00       $157.50
                                                                                                          Hall
                                                                                                          Internal call to discuss voluntary disclosure agreement process and review noticing list. EY
Flagg,Nancy A.            NAF       Managing Director   3/9/2023         US State and Local Tax                                                                                                                    0.4     $775.00       $310.00
                                                                                                          attendees: M. Musano, N. Flagg, E. Zheng, and E. Hall
                                                                                                          Internal call to discuss voluntary disclosure agreement process and review noticing list. EY
Hall,Emily Melissa        EMH            Senior         3/9/2023         US State and Local Tax                                                                                                                    0.4     $395.00       $158.00
                                                                                                          attendees: M. Musano, N. Flagg, E. Zheng, and E. Hall
                                                                                                          Internal call to discuss voluntary disclosure agreement process and review noticing list. EY
Musano,Matthew Albert    MAM         Senior Manager     3/9/2023         US State and Local Tax                                                                                                                    0.4     $650.00       $260.00
                                                                                                          attendees: M. Musano, N. Flagg, E. Zheng, and E. Hall
                                                                                                          Internal call to discuss voluntary disclosure agreement process and review noticing list. EY
Zheng,Eva                  EZ           Manager         3/9/2023         US State and Local Tax                                                                                                                    0.4     $525.00       $210.00
                                                                                                          attendees: M. Musano, N. Flagg, E. Zheng, and E. Hall
Bailey,Doug                DB       Partner/Principal   3/9/2023              Tax Advisory                Discuss tax return elections. EY attendees: D. Bailey, L. Lovelace, T. Shea, B. Mistler, and J. Scott    0.4     $825.00       $330.00

Lovelace,Lauren            LL       Partner/Principal   3/9/2023           US International Tax           Discuss tax return elections. EY attendees: D. Bailey, L. Lovelace, T. Shea, B. Mistler, and J. Scott    0.4     $825.00       $330.00

Mistler,Brian M          BMM            Manager         3/9/2023             US Income Tax                Discuss tax return elections. EY attendees: D. Bailey, L. Lovelace, T. Shea, B. Mistler, and J. Scott    0.4     $525.00       $210.00
                                      Client Serving
Scott,James                JS                           3/9/2023             US Income Tax                Discuss tax return elections. EY attendees: D. Bailey, L. Lovelace, T. Shea, B. Mistler, and J. Scott    0.4     $600.00       $240.00
                                      Contractor JS
Shea JR,Thomas M          TMS       Partner/Principal   3/9/2023             US Income Tax                Discuss tax return elections. EY attendees: D. Bailey, L. Lovelace, T. Shea, B. Mistler, and J. Scott    0.4     $825.00       $330.00
                                                                                                          Meeting to prepare for call to IRS Employment tax agent and call to IRS agent on Employment Tax
DeVincenzo,Jennie         JDV       Managing Director   3/9/2023               Payroll Tax                                                                                                                         1.6     $775.00      $1,240.00
                                                                                                          Audits. EY attendees: J. DeVincenzo and K. Wrenn
                                                                                                          Meeting to prepare for call to IRS Employment tax agent and call to IRS agent on Employment Tax
Wrenn,Kaitlin Doyle      KDW            Manager         3/9/2023               Payroll Tax                                                                                                                         1.6     $525.00       $840.00
                                                                                                          Audits. EY attendees: J. DeVincenzo and K. Wrenn
                                                                                                          Meeting to review FTX architecture and budget. EY attendees: K. Gundu, A. Farrar, C. Li, and C.
Ancona,Christopher         CA            Senior         3/9/2023   Project Management Office Transition                                                                                                            0.4     $395.00       $158.00
                                                                                                          Ancona
                                                                                                          Meeting to review FTX architecture and budget. EY attendees: K. Gundu, A. Farrar, C. Li, and C.
Farrar,Anne                AF       Partner/Principal   3/9/2023   Project Management Office Transition                                                                                                            0.4     $825.00       $330.00
                                                                                                          Ancona
                                                                                                          Meeting to review FTX architecture and budget. EY attendees: K. Gundu, A. Farrar, C. Li, and C.
Gundu,Kaivalya             KG        Senior Manager     3/9/2023               Technology                                                                                                                          0.4     $650.00       $260.00
                                                                                                          Ancona
                                                                                                          Meeting to review FTX architecture and budget. EY attendees: K. Gundu, A. Farrar, C. Li, and C.
Li,Chunyang                CL            Senior         3/9/2023               Technology                                                                                                                          0.4     $395.00       $158.00
                                                                                                          Ancona
Gundu,Kaivalya             KG        Senior Manager     3/9/2023               Technology                 Meeting to discuss FTX data structure. EY attendees: C. Li, K. Gundu, and D. Jena                        0.8     $650.00       $520.00
Jena,Deepak                DJ           Manager         3/9/2023               Technology                 Meeting to discuss FTX data structure. EY attendees: C. Li, K. Gundu, and D. Jena                        0.8     $525.00       $420.00
Li,Chunyang                CL            Senior         3/9/2023               Technology                 Meeting to discuss FTX data structure. EY attendees: C. Li, K. Gundu, and D. Jena                        0.8     $395.00       $316.00
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/9/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.8     $225.00       $180.00
                                                                                                          T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/9/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.8     $525.00       $420.00
                                                                                                          T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/9/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.8     $825.00       $660.00
                                                                                                          T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/9/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.8     $395.00       $316.00
                                                                                                          T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/9/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.8     $525.00       $420.00
                                                                                                          T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         3/9/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.4     $395.00       $158.00
                                                                                                          the implementation of global compliance and reporting services
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                                                        Date of
                  Name   Initials         Rank                              Project Category                                                   Description of Services                                        Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                DB       Partner/Principal   3/9/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $825.00       $330.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                     Client Serving
Bieganski,Walter          WB                            3/9/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $200.00        $80.00
                                     Contractor WB
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                  ZH        Senior Manager     3/9/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $650.00       $260.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa        EMH            Senior         3/9/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $395.00       $158.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane         DLH           Manager         3/9/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $525.00       $210.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert      JRJ       Senior Manager     3/9/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $650.00       $260.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         3/9/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $395.00       $158.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.        TJK       Partner/Principal   3/9/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $825.00       $330.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren            LL       Partner/Principal   3/9/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $825.00       $330.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
Lowery,Kristie L          KLL                           3/9/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $990.00       $396.00
                                    Partner/Principal
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         3/9/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $395.00       $158.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
McComber,Donna            DM                            3/9/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $990.00       $396.00
                                    Partner/Principal
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         3/9/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $525.00       $210.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert    MAM         Senior Manager     3/9/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $650.00       $260.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           3/9/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $600.00       $240.00
                                      Contractor JS
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M          TMS       Partner/Principal   3/9/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $825.00       $330.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga         KS           Manager         3/9/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $525.00       $210.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle      KDW            Manager         3/9/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $525.00       $210.00
                                                                                                          the implementation of global compliance and reporting services
Erdem,Ersin                EE       Partner/Principal   3/9/2023               Non US Tax                 NDA matters discussion with Turkish Management team. EY attendees: E. Erdem and D. Gursoy            0.5     $825.00       $412.50

Gursoy,Damla               DG        Senior Manager     3/9/2023               Non US Tax                 NDA matters discussion with Turkish Management team. EY attendees: E. Erdem and D. Gursoy            0.5     $650.00       $325.00
Wong,Maddie              WM               Staff         3/9/2023             US Income Tax                Call regarding setting up entities in OIT. EY attendees: B. Mistler and M. Wong                      0.2     $225.00        $45.00
Mistler,Brian M          BMM            Manager         3/9/2023             US Income Tax                Call regarding setting up entities in OIT. EY attendees: B. Mistler and M. Wong                      0.2     $525.00       $105.00
Healy,John                JH         Senior Manager     3/9/2023            IRS Audit Matters             Participate in notice call with B. Mistler (EY) and J. Berman (EY)                                   0.8     $650.00       $520.00
Berman,Jake               JB         Senior Manager     3/9/2023             US Income Tax                Participate in notice call with B. Mistler (EY) and J. Berman (EY)                                   0.8     $650.00       $520.00
Ancona,Christopher        CA             Senior         3/9/2023   Project Management Office Transition   Revise the Project Management Office slide deck deliverable                                          1.4     $395.00       $553.00
                                                                                                          Revise the Project Management Office status tracker and following up on action items across the
Ancona,Christopher         CA            Senior         3/9/2023   Project Management Office Transition                                                                                                        2.7     $395.00      $1,066.50
                                                                                                          FTX workstreams.
Ancona,Christopher         CA            Senior         3/9/2023   Project Management Office Transition   Review the monthly fee application for November - December for additional comments/questions.        1.1     $395.00       $434.50
Bailey,Doug               DB        Partner/Principal   3/9/2023              Tax Advisory                Correspondence summarizing call with FTX and follow-ups                                              2.6     $825.00      $2,145.00
Bailey,Doug               DB        Partner/Principal   3/9/2023              Tax Advisory                Analyze Blockchain holdings and 2023 price movements                                                 2.2     $825.00      $1,815.00
Berman,Jake                JB        Senior Manager     3/9/2023             US Income Tax                Internal discussion regarding IRS notices received                                                   0.6     $650.00        $390.00
Bost,Anne                 BA        Managing Director   3/9/2023             Transfer Pricing             Review and respond to email correspondence                                                           0.8     $775.00        $620.00
Carver,Cody R.            CRC            Senior         3/9/2023               Payroll Tax                Revise and revise procedure document outline for RLKS of 1099 customer intake                        2.9     $395.00      $1,145.50
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                                                         Date of
                Name      Initials        Rank                                  Project Category                                                        Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                                  Install PowerBI and connections to the database for visualizations of FTX tax data. After
Cavusoglu,Coskun            CC       Partner/Principal   3/9/2023                  Technology                     identifying the required software to be installed. Submitted a ticket to the A&M team for the           1.4     $825.00      $1,155.00
                                                                                                                  installation rights.
                                                                                                                  Create a data query against the databases for FTX.Com, FTX.US, and Alameda to get a list of all
Cavusoglu,Coskun            CC       Partner/Principal   3/9/2023                  Technology                                                                                                                             1.2     $825.00       $990.00
                                                                                                                  users, and their holdings by jurisdiction.
Cavusoglu,Coskun            CC       Partner/Principal   3/9/2023                  Technology                     Prepare the account value snapshot queries for the customer tax statement request                       0.4     $825.00       $330.00
                                                                                                                  Prepare the user deposits table to determine the incoming amounts for that customer tax statement
Cavusoglu,Coskun            CC       Partner/Principal   3/9/2023                  Technology                                                                                                                             0.8     $825.00       $660.00
                                                                                                                  for accounts.
                                                                                                                  Prepare the circle payments data relationship diagram, and the scheme to determine the query for
Cavusoglu,Coskun            CC       Partner/Principal   3/9/2023                  Technology                                                                                                                             1.3     $825.00      $1,072.50
                                                                                                                  the statement for the customer tax statement for accounts.
Davis,Matthew              MD            Manager         3/9/2023                  Technology                     Participate in direct tax calls                                                                         0.2     $525.00        $105.00
DeVincenzo,Jennie          JDV       Managing Director   3/9/2023                  Payroll Tax                    Correspondence with IRS regarding Employment Tax audits                                                 1.3     $775.00      $1,007.50
Dulceak,Crystal             CD           Manager         3/9/2023            US State and Local Tax               Review and send DE Annual Report/Franchise tax info                                                     0.6     $525.00        $315.00
Farrar,Anne                 AF       Partner/Principal   3/9/2023     Project Management Office Transition        Review of materials in preparation for team meeting                                                     0.2     $825.00        $165.00
Ferris,Tara                 TF       Partner/Principal   3/9/2023             Information Reporting               Call with D. Hariton (S&C) regarding updates to 1099 FAQs drafted for FTX                               0.9     $825.00        $742.50
Haas,Zach                   ZH        Senior Manager     3/9/2023                US Income Tax                    Review and revise FTX partnership filing extensions                                                     0.4     $650.00        $260.00
                                                                                                                  Analyze noticing list to determine which addresses are related to income/franchise taxes and
Hall,Emily Melissa         EMH            Senior         3/9/2023             US State and Local Tax                                                                                                                      2.7     $395.00      $1,066.50
                                                                                                                  included the applicable addresses that were not included.
Hammon,David Lane          DLH           Manager         3/9/2023                  Non US Tax                     Correspondence with EY member firms concerning various contracting items                                2.2     $525.00      $1,155.00
                                                                                                                  Revise of various trackers concerning the foreign workstreams (contact list, leadership summary of
Hammon,David Lane          DLH           Manager         3/9/2023                  Non US Tax                                                                                                                             3.8     $525.00      $1,995.00
                                                                                                                  next steps, entity details)
                                                                                                                  Correspondence with EY member firms concerning engagement scope/acceptance procedures as
Hammon,David Lane          DLH           Manager         3/9/2023                  Non US Tax                                                                                                                             2.4     $525.00      $1,260.00
                                                                                                                  related to the transfer of tax compliance services from FTX to EY
Johnson,Derrick Joseph     DJJ             Staff         3/9/2023             US State and Local Tax              Review FTX Claims to determine next steps                                                               1.6     $225.00        $360.00
Karan,Anna Suncheuri       ASK             Staff         3/9/2023              US International Tax               Research entities to understand the org structure                                                       0.9     $225.00        $202.50
Katelas,Andreas            KA             Senior         3/9/2023              US International Tax               Analysis of digital asset historic transactions                                                         3.1     $395.00      $1,224.50
Lovelace,Lauren             LL       Partner/Principal   3/9/2023              US International Tax               Discuss tax return elections                                                                            0.4     $825.00        $330.00
                                                                                                                  Additional updates to the master fee tracking sheet and contact list in connection with the transfer
MacLean,Corrie             CM             Senior         3/9/2023                  Non US Tax                                                                                                                             2.8     $395.00      $1,106.00
                                                                                                                  of tax compliance services
Mistler,Brian M           BMM            Manager         3/9/2023                US Income Tax                    Prepare tax filing position summary chart                                                               1.8     $525.00       $945.00
Mistler,Brian M           BMM            Manager         3/9/2023                US Income Tax                    Internal correspondence re: partnership returns                                                         0.4     $525.00       $210.00
Richardson,Audrey Sarah   ASR            Manager         3/9/2023             Information Reporting               Prepare 1099 FAQ inquiry                                                                                0.9     $525.00       $472.50
Rüegg,Christoph            CR             Senior         3/9/2023                  Non US Tax                     Coordinate with CH & FL teams regarding declaration of disinterestedness                                0.4     $395.00       $158.00
Rüegg,Christoph            CR             Senior         3/9/2023                  Non US Tax                     Finalize tax due diligence questionnaire for CH & FL after receiving additional files                   1.2     $395.00       $474.00
                                      Client Serving
Scott,James                 JS                           3/9/2023                US Income Tax                    Call with J. Chan (FTX) regarding Cottonwood/Ventures foreign entities                                  0.7     $600.00       $420.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/9/2023                US Income Tax                    Analyze federal tax issues                                                                              0.6     $600.00       $360.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/9/2023   Non-Working Travel (billed at 50% of rates)   Travel from Dallas, TX to Raleigh, NC                                                                   2.4     $300.00       $720.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/9/2023             US State and Local Tax              Analyze the Tennessee notice                                                                            0.3     $600.00       $180.00
                                      Contractor JS
Shea JR,Thomas M           TMS       Partner/Principal   3/9/2023   Non-Working Travel (billed at 50% of rates)   Travel from Dallas, TX to New York, NY                                                                  3.0     $412.50      $1,237.50
                                                                                                                  Written follow-up correspondence with A&M and S&C teams in response to questions and
Shea JR,Thomas M           TMS       Partner/Principal   3/9/2023                US Income Tax                                                                                                                            1.4     $825.00      $1,155.00
                                                                                                                  clarifications on tax disclosure information provided for Statements and Schedules
                                                                                                                  Correspondence regarding services needed for Germany and Austria FTX employees for local
Soderman,Kathy              KS       Managing Director   3/9/2023                  Non US Tax                                                                                                                             0.6     $775.00       $465.00
                                                                                                                  payroll compliance and transfer of payroll services from Mazars.
Sun,Yuchen                  YS            Senior         3/9/2023             US State and Local Tax              Review and prepare SALT Estimate Tax workpaper and 3/15 due dates and update the workpaper              3.9     $395.00      $1,540.50
Wong,Maddie                WM              Staff         3/9/2023                US Income Tax                    Prepare the setup of FTX entities in OIT                                                                0.6     $225.00       $135.00
                                                                                                                  Revise IRS documentation tracker and response coordination with IRS auditor to schedule follow
Wrenn,Kaitlin Doyle       KDW            Manager         3/9/2023                  Payroll Tax                                                                                                                            2.2     $525.00      $1,155.00
                                                                                                                  up meeting and provide issued POA on file
                                                                                                                  Prepare for US employment tax agenda onsite meeting with FTX to discuss US audit strategy and
Wrenn,Kaitlin Doyle       KDW            Manager         3/9/2023                  Payroll Tax                                                                                                                            2.6     $525.00      $1,365.00
                                                                                                                  expense reimbursement analysis
Zheng,Eva                   EZ           Manager         3/9/2023             US State and Local Tax              Research NY partnership filings requirement                                                             0.3     $525.00       $157.50
                                                                                                                  Follow-up call regarding clarifications sought for Quoine India. EY attendees: F. ORiain, N.
Goel,Utkarsh                UG           Manager         3/9/2023             Liquidation Activities                                                                                                                      0.5     $400.00       $200.00
                                                                                                                  Bugden, S. Venkataraman, U. Goel, and G. Jain
                                                                                                                  Follow-up call regarding clarifications sought for Quoine India. EY attendees: F. ORiain, N.
Jain,Gaurav                 GJ        Senior Manager     3/9/2023             Liquidation Activities                                                                                                                      0.5     $550.00       $275.00
                                                                                                                  Bugden, S. Venkataraman, U. Goel, and G. Jain
Maiello,Rob                RM           Consultant       3/9/2023             Liquidation Activities              Prepare and evaluate options for PMO structure for FTX reporting structure going forward                2.9     $445.00      $1,290.50
Maiello,Rob                RM           Consultant       3/9/2023             Liquidation Activities              Prepared summary of foreign liquidations within Chapter 11 bankruptcy cases                             3.5     $445.00      $1,557.50
Maiello,Rob                RM           Consultant       3/9/2023             Liquidation Activities              Revise internal reporting summaries to include Turkish entities balance sheet information.              0.7     $445.00        $311.50
Maiello,Rob                RM           Consultant       3/9/2023             Liquidation Activities              Revise summary of foreign liquidations within Chapter 11 bankruptcy cases                               1.7     $445.00        $756.50
                                                                                                                  Follow-up call regarding clarifications sought for Quoine India. EY attendees: F. ORiain, N.
ORiain,Fionn               ORF           Manager         3/9/2023             Liquidation Activities                                                                                                                      0.5     $725.00       $362.50
                                                                                                                  Bugden, S. Venkataraman, U. Goel, and G. Jain
                                                                                                                  Prepare summary of precedent for Ch 11 bankruptcies with foreign liquidations for liquidation
ORiain,Fionn               ORF           Manager         3/9/2023             Liquidation Activities                                                                                                                      3.9     $725.00      $2,827.50
                                                                                                                  strategy discussions with client and counsel
ORiain,Fionn               ORF           Manager         3/9/2023             Liquidation Activities              Prepare PMO structure materials and proposed governance for FTX reporting structure                     0.7     $725.00        $507.50
ORiain,Fionn               ORF           Manager         3/9/2023             Liquidation Activities              Provide updates to Ch 11 bankruptcies with foreign liquidations synnart                                 1.1     $725.00        $797.50
ORiain,Fionn               ORF           Manager         3/9/2023             Liquidation Activities              Review and provided comments on internal reporting and balance sheet information.                       1.6     $725.00      $1,160.00
                                                                                                                  Follow-up call regarding clarifications sought for Quoine India. EY attendees: F. ORiain, N.
Venkataraman,Siddharth      SV           Manager         3/9/2023             Liquidation Activities                                                                                                                      0.5     $400.00       $200.00
                                                                                                                  Bugden, S. Venkataraman, U. Goel, and G. Jain
Bugden,Nick R              NRB        Senior Manager     3/9/2023   Chapter 11 Process and Case Management        Team coordination call across EY services                                                               0.5     $900.00       $450.00
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                                                         Date of
                  Name   Initials        Rank                                Project Category                                                    Description of Services                                       Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Call with EY India to discuss available information and next steps in preparing for a local
Bugden,Nick R             NRB        Senior Manager     3/9/2023           Liquidation Activities                                                                                                               0.5     $900.00       $450.00
                                                                                                           liquidation. EY attendees: N. Bugden and B. Richards
Bugden,Nick R             NRB        Senior Manager     3/9/2023           Liquidation Activities          Analyze Quoine India financials and business model prior to acquisition by FTX                       1.7     $900.00      $1,530.00
Bugden,Nick R             NRB        Senior Manager     3/9/2023           Liquidation Activities          Correspondence with A&M on the 2015.3 report                                                         0.3     $900.00        $270.00
Bugden,Nick R             NRB        Senior Manager     3/9/2023           Liquidation Activities          Correspondence with local EY teams following a proposed change in direction from S&C changes         0.8     $900.00       $720.00
Bugden,Nick R             NRB        Senior Manager     3/9/2023           Liquidation Activities          Correspondence with N. Rumford re: Gibraltar update                                                  0.2     $900.00       $180.00
                                                                                                           Working session to reassess approach following S&C call and updated guidance. EY attendees: N.
Bugden,Nick R             NRB        Senior Manager     3/9/2023           Liquidation Activities                                                                                                               1.6     $900.00      $1,440.00
                                                                                                           Bugden and B. Richards
                                                                                                           Analyze intercompany positions as well as funding requirements / feasibility in light of a non-
Bugden,Nick R             NRB        Senior Manager     3/9/2023           Liquidation Activities                                                                                                               1.3     $900.00      $1,170.00
                                                                                                           dismissal scenario
                                                                                                           Follow-up call regarding clarifications sought for Quoine India. EY attendees: F. ORiain, N.
Bugden,Nick R             NRB        Senior Manager     3/9/2023           Liquidation Activities                                                                                                               0.5     $900.00       $450.00
                                                                                                           Bugden, S. Venkataraman, U. Goel, and G. Jain
                                                                                                           Call with EY India to discuss available information and next steps in preparing for a local
Richards,Briana A.         BR       Partner/Principal   3/9/2023           Liquidation Activities                                                                                                               0.5     $1,150.00     $575.00
                                                                                                           liquidation. EY attendees: N. Bugden and B. Richards
                                                                                                           Working session to reassess approach following S&C call and updated guidance. EY attendees: N.
Richards,Briana A.         BR       Partner/Principal   3/9/2023           Liquidation Activities                                                                                                               1.6     $1,150.00    $1,840.00
                                                                                                           Bugden and B. Richards
                                                                                                           Meeting with K. Schultea (FTX), C. Stockwell (Deck Technologies), and EY team to walk through
Berman,Jake                JB        Senior Manager     3/10/2023       Meetings with Management           the facts of Deck Technologies for tax year 2022 purposes. EY attendees: T. Shea, K. Lowery, M.      0.4     $650.00       $260.00
                                                                                                           Musano, J. Berman, K. Wrenn, B. Mistler, and E. Hall
                                                                                                           Meeting with K. Schultea (FTX), C. Stockwell (Deck Technologies), and EY team to walk through
Hall,Emily Melissa        EMH            Senior         3/10/2023       Meetings with Management           the facts of Deck Technologies for tax year 2022 purposes. EY attendees: T. Shea, K. Lowery, M.      0.4     $395.00       $158.00
                                                                                                           Musano, J. Berman, K. Wrenn, B. Mistler, and E. Hall
                                                                                                           Meeting with K. Schultea (FTX), C. Stockwell (Deck Technologies), and EY team to walk through
                                        National
Lowery,Kristie L          KLL                           3/10/2023       Meetings with Management           the facts of Deck Technologies for tax year 2022 purposes. EY attendees: T. Shea, K. Lowery, M.      0.4     $990.00       $396.00
                                    Partner/Principal
                                                                                                           Musano, J. Berman, K. Wrenn, B. Mistler, and E. Hall
                                                                                                           Meeting with K. Schultea (FTX), C. Stockwell (Deck Technologies), and EY team to walk through
Mistler,Brian M          BMM            Manager         3/10/2023       Meetings with Management           the facts of Deck Technologies for tax year 2022 purposes. EY attendees: T. Shea, K. Lowery, M.      0.4     $525.00       $210.00
                                                                                                           Musano, J. Berman, K. Wrenn, B. Mistler, and E. Hall
                                                                                                           Meeting with K. Schultea (FTX), C. Stockwell (Deck Technologies), and EY team to walk through
Musano,Matthew Albert    MAM         Senior Manager     3/10/2023       Meetings with Management           the facts of Deck Technologies for tax year 2022 purposes. EY attendees: T. Shea, K. Lowery, M.      0.4     $650.00       $260.00
                                                                                                           Musano, J. Berman, K. Wrenn, B. Mistler, and E. Hall
                                                                                                           Meeting with K. Schultea (FTX), C. Stockwell (Deck Technologies), and EY team to walk through
Shea JR,Thomas M          TMS       Partner/Principal   3/10/2023       Meetings with Management           the facts of Deck Technologies for tax year 2022 purposes. EY attendees: T. Shea, K. Lowery, M.      0.4     $825.00       $330.00
                                                                                                           Musano, J. Berman, K. Wrenn, B. Mistler, and E. Hall
                                                                                                           Meeting with K. Schultea (FTX), C. Stockwell (Deck Technologies), and EY team to walk through
Wrenn,Kaitlin Doyle      KDW            Manager         3/10/2023       Meetings with Management           the facts of Deck Technologies for tax year 2022 purposes. EY attendees: T. Shea, K. Lowery, M.      0.4     $525.00       $210.00
                                                                                                           Musano, J. Berman, K. Wrenn, B. Mistler, and E. Hall
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/10/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    1.0     $225.00       $225.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/10/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    1.0     $525.00       $525.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/10/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    1.0     $825.00       $825.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/10/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    1.0     $395.00       $395.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/10/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    1.0     $525.00       $525.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Meeting with EY Turkey to discuss FTX Turkey matters. EY attendees: D. Hammon, C. MacLean,
Bost,Anne                  BA       Managing Director   3/10/2023             Transfer Pricing                                                                                                                  0.2     $775.00       $155.00
                                                                                                           A. Bost, H. Choudary, K. Staromiejska, K. Demirkol, E. Erdem, D. Gursoy, and E. Yildiz

                                                                                                           Meeting with EY Turkey to discuss FTX Turkey matters. EY attendees: D. Hammon, C. MacLean,
Choudary,Hira              HC             Staff         3/10/2023               Non US Tax                                                                                                                      0.2     $225.00        $45.00
                                                                                                           A. Bost, H. Choudary, K. Staromiejska, K. Demirkol, E. Erdem, D. Gursoy, and E. Yildiz

                                                                                                           Meeting with EY Turkey to discuss FTX Turkey matters. EY attendees: D. Hammon, C. MacLean,
Demirkol,Kenan             KD             Staff         3/10/2023               Non US Tax                                                                                                                      0.2     $225.00        $45.00
                                                                                                           A. Bost, H. Choudary, K. Staromiejska, K. Demirkol, E. Erdem, D. Gursoy, and E. Yildiz

                                                                                                           Meeting with EY Turkey to discuss FTX Turkey matters. EY attendees: D. Hammon, C. MacLean,
Erdem,Ersin                EE       Partner/Principal   3/10/2023               Non US Tax                                                                                                                      0.2     $825.00       $165.00
                                                                                                           A. Bost, H. Choudary, K. Staromiejska, K. Demirkol, E. Erdem, D. Gursoy, and E. Yildiz

                                                                                                           Meeting with EY Turkey to discuss FTX Turkey matters. EY attendees: D. Hammon, C. MacLean,
Gursoy,Damla               DG        Senior Manager     3/10/2023               Non US Tax                                                                                                                      0.2     $650.00       $130.00
                                                                                                           A. Bost, H. Choudary, K. Staromiejska, K. Demirkol, E. Erdem, D. Gursoy, and E. Yildiz

                                                                                                           Meeting with EY Turkey to discuss FTX Turkey matters. EY attendees: D. Hammon, C. MacLean,
Hammon,David Lane         DLH           Manager         3/10/2023               Non US Tax                                                                                                                      0.2     $525.00       $105.00
                                                                                                           A. Bost, H. Choudary, K. Staromiejska, K. Demirkol, E. Erdem, D. Gursoy, and E. Yildiz

                                                                                                           Meeting with EY Turkey to discuss FTX Turkey matters. EY attendees: D. Hammon, C. MacLean,
MacLean,Corrie            CM             Senior         3/10/2023               Non US Tax                                                                                                                      0.2     $395.00        $79.00
                                                                                                           A. Bost, H. Choudary, K. Staromiejska, K. Demirkol, E. Erdem, D. Gursoy, and E. Yildiz
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                                                           Date of
                  Name     Initials        Rank                                   Project Category                                                        Description of Services                                        Hours   Hourly Rate   Fees
                                                           Service
                                                                                                                    Meeting with EY Turkey to discuss FTX Turkey matters. EY attendees: D. Hammon, C. MacLean,
Staromiejska,Kinga           KS           Manager         3/10/2023                  Non US Tax                                                                                                                           0.2     $525.00       $105.00
                                                                                                                    A. Bost, H. Choudary, K. Staromiejska, K. Demirkol, E. Erdem, D. Gursoy, and E. Yildiz

                                                                                                                    Meeting with EY Turkey to discuss FTX Turkey matters. EY attendees: D. Hammon, C. MacLean,
Yildiz,Elif                  EY            Senior         3/10/2023                  Non US Tax                                                                                                                           0.2     $395.00        $79.00
                                                                                                                    A. Bost, H. Choudary, K. Staromiejska, K. Demirkol, E. Erdem, D. Gursoy, and E. Yildiz
                                                                                                                    Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Hammon,David Lane           DLH           Manager         3/10/2023                  Non US Tax                                                                                                                           0.5     $525.00       $262.50
                                                                                                                    T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                                    Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Knoeller,Thomas J.          TJK       Partner/Principal   3/10/2023     Project Management Office Transition                                                                                                              0.5     $825.00       $412.50
                                                                                                                    T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                                    Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
MacLean,Corrie              CM             Senior         3/10/2023                  Non US Tax                                                                                                                           0.5     $395.00       $197.50
                                                                                                                    T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                                    Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Staromiejska,Kinga           KS           Manager         3/10/2023                  Non US Tax                                                                                                                           0.5     $525.00       $262.50
                                                                                                                    T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                                    Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Ancona,Christopher           CA            Senior         3/10/2023     Project Management Office Transition                                                                                                              0.5     $395.00       $197.50
                                                                                                                    status updates and reporting. EY attendees: C. Ancona, T. Shea, and J. Scott
                                       Client Serving                                                               Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Scott,James                  JS                           3/10/2023                US Income Tax                                                                                                                          0.5     $600.00       $300.00
                                       Contractor JS                                                                status updates and reporting. EY attendees: C. Ancona, T. Shea, and J. Scott
                                                                                                                    Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Shea JR,Thomas M            TMS       Partner/Principal   3/10/2023                US Income Tax                                                                                                                          0.5     $825.00       $412.50
                                                                                                                    status updates and reporting. EY attendees: C. Ancona, T. Shea, and J. Scott
                                                                                                                    Internal meeting to discuss resources and assignment of workstreams. EY attendees: L. Lovelace,
Katelas,Andreas              KA            Senior         3/10/2023              US International Tax                                                                                                                     0.5     $395.00       $197.50
                                                                                                                    A. Katelas, L. Raulli, and P. Zhu
                                                                                                                    Internal meeting to discuss resources and assignment of workstreams. EY attendees: L. Lovelace,
Lovelace,Lauren              LL       Partner/Principal   3/10/2023              US International Tax                                                                                                                     0.5     $825.00       $412.50
                                                                                                                    A. Katelas, L. Raulli, and P. Zhu
                                                                                                                    Internal meeting to discuss resources and assignment of workstreams. EY attendees: L. Lovelace,
Raulli,Lindsay Elizabeth    LER       Senior Manager      3/10/2023              US International Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                                    A. Katelas, L. Raulli, and P. Zhu
                                                                                                                    Internal meeting to discuss resources and assignment of workstreams. EY attendees: L. Lovelace,
Zhu,Philip                   PZ            Senior         3/10/2023              US International Tax                                                                                                                     0.5     $395.00       $197.50
                                                                                                                    A. Katelas, L. Raulli, and P. Zhu
                                                                                                                    Call walking through setting up a super combined binder in OIT. EY attendees: B. Mistler, M.
Wong,Maddie                 WM              Staff         3/10/2023                US Income Tax                                                                                                                          0.5     $225.00       $112.50
                                                                                                                    Wong, and J. Berman
                                                                                                                    Call walking through setting up a super combined binder in OIT. EY attendees: B. Mistler, M.
Mistler,Brian M            BMM            Manager         3/10/2023                US Income Tax                                                                                                                          0.5     $525.00       $262.50
                                                                                                                    Wong, and J. Berman
                                                                                                                    Call walking through setting up a super combined binder in OIT. EY attendees: B. Mistler, M.
Berman,Jake                  JB       Senior Manager      3/10/2023                US Income Tax                                                                                                                          0.5     $650.00       $325.00
                                                                                                                    Wong, and J. Berman
Santoro,David               DS            Manager         3/10/2023             Information Reporting               Meeting regarding 945. EY attendees: D. Santoro and A. Richardson                                     0.3     $525.00       $157.50
Richardson,Audrey Sarah     ASR           Manager         3/10/2023             Information Reporting               Meeting regarding 945. EY attendees: D. Santoro and A. Richardson                                     0.3     $525.00       $157.50
                                                                                                                    Weekly call with R. Lee (RLA) and B. Hernandez (RLA) to discuss outstanding tax return
Mistler,Brian M            BMM            Manager         3/10/2023         Meetings with Other Advisors                                                                                                                  1.0     $525.00       $525.00
                                                                                                                    information items and IRS audits. EY attendees: J. Berman, T. Shea, and B. Mistler
                                                                                                                    Weekly call with R. Lee (RLA) and B. Hernandez (RLA) to discuss outstanding tax return
Berman,Jake                  JB       Senior Manager      3/10/2023         Meetings with Other Advisors                                                                                                                  1.0     $650.00       $650.00
                                                                                                                    information items and IRS audits. EY attendees: J. Berman, T. Shea, and B. Mistler
                                                                                                                    Weekly call with R. Lee (RLA) and B. Hernandez (RLA) to discuss outstanding tax return
Shea JR,Thomas M            TMS       Partner/Principal   3/10/2023         Meetings with Other Advisors                                                                                                                  1.0     $825.00       $825.00
                                                                                                                    information items and IRS audits. EY attendees: J. Berman, T. Shea, and B. Mistler
                                                                                                                    Review and revise FTX Project Management Office deliverables related to workstream status
Ancona,Christopher           CA            Senior         3/10/2023     Project Management Office Transition                                                                                                              1.6     $395.00       $632.00
                                                                                                                    tracking and reporting
                                                                                                                    Correspondence with workstream leads on project deliverables and updating the Project
Ancona,Christopher           CA            Senior         3/10/2023     Project Management Office Transition                                                                                                              2.6     $395.00      $1,027.00
                                                                                                                    Management Office status tracker
Ancona,Christopher           CA            Senior         3/10/2023     Project Management Office Transition        Revise the Project Management Office slide deck deliverable                                           1.1     $395.00       $434.50
                                                                                                                    Revise the monthly fee application for November - December for submission to the Debtor's
Ancona,Christopher           CA            Senior         3/10/2023     Project Management Office Transition                                                                                                              1.8     $395.00       $711.00
                                                                                                                    counsel.
Bailey,Doug                  DB       Partner/Principal   3/10/2023                 Tax Advisory                    Review Section 475 tax election analysis and documentation                                            2.7     $825.00      $2,227.50
Bailey,Doug                  DB       Partner/Principal   3/10/2023                 Tax Advisory                    Analyze trading data samples and discussions regarding findings                                       3.6     $825.00      $2,970.00
Carver,Cody R.              CRC            Senior         3/10/2023                  Payroll Tax                    Revise and revise procedure document outline for RLKS of 1099 customer intake                         1.9     $395.00        $750.50
Ferris,Tara                  TF       Partner/Principal   3/10/2023             Information Reporting               Draft 1099 form                                                                                       1.9     $825.00      $1,567.50
Hall,Emily Melissa          EMH            Senior         3/10/2023             US State and Local Tax              Draft email to FTX regarding TY2023 Q1 estimated payments due by 3/15.                                0.6     $395.00        $237.00
Hall,Emily Melissa          EMH            Senior         3/10/2023             US State and Local Tax              Revise addresses regarding Kroll noticing list                                                        1.2     $395.00        $474.00
Hamano,Taisuke               TH       Senior Manager      3/10/2023                 Tax Advisory                    Translate a sample of annual transaction report into English                                          0.4     $650.00        $260.00
Hammon,David Lane           DLH           Manager         3/10/2023                  Non US Tax                     Correspondence concerning outstanding FTX/legacy provider contacts                                    1.8     $525.00        $945.00
Hammon,David Lane           DLH           Manager         3/10/2023                  Non US Tax                     Revise of contact list and leadership summary containing next steps needing to be taken in country    1.6     $525.00       $840.00
Katelas,Andreas              KA            Senior         3/10/2023              US International Tax               Analyze mark-to-market tax election and timing requirements                                           3.4     $395.00      $1,343.00
Katelas,Andreas              KA            Senior         3/10/2023              US International Tax               Analysis of digital asset historic transactions                                                       2.6     $395.00      $1,027.00
Lasorsa,Caitlyn              CL            Senior         3/10/2023                US Income Tax                    Review prior year documents for Clifton Bay FTX entity                                                0.3     $395.00        $118.50
Li,Chunyang                  CL            Senior         3/10/2023                  Technology                     Review weekly status update                                                                           0.4     $395.00        $158.00
                                          National                                                                  Review earnings codes for TriNet to process expenses regarding Alameda Research pre-petition
Lowery,Kristie L            KLL                           3/10/2023                  Payroll Tax                                                                                                                          0.4     $990.00       $396.00
                                      Partner/Principal                                                             expenses
                                                                                                                    Update master fee tracking sheet and add/remove scope items, review contact list and update
MacLean,Corrie              CM             Senior         3/10/2023                  Non US Tax                                                                                                                           2.9     $395.00      $1,145.50
                                                                                                                    tracking sheets, foreign office communications
Mistler,Brian M            BMM            Manager         3/10/2023               US Income Tax                     Review of General Ledgers and tax returns provided by RLA                                             0.7     $525.00       $367.50
Mistler,Brian M            BMM            Manager         3/10/2023               US Income Tax                     Research of VAT tax refunds for foreign entities                                                      0.4     $525.00       $210.00
Mistler,Brian M            BMM            Manager         3/10/2023               US Income Tax                     Revise statements and schedules for state consolidation rules                                         0.6     $525.00       $315.00
Mistler,Brian M            BMM            Manager         3/10/2023   Non-Working Travel (billed at 50% of rates)   Travel from Dallas, TX to San Diego, CA                                                               3.0     $262.50       $787.50
Mistler,Brian M            BMM            Manager         3/10/2023               US Income Tax                     Prepare responses re: IRS weekly call                                                                 0.9     $525.00       $472.50
                                                                                                                    Review of database structures, tables, descriptions, and queries required for income tax reporting
Mistler,Brian M            BMM            Manager         3/10/2023                US Income Tax                                                                                                                          2.6     $525.00      $1,365.00
                                                                                                                    and workpapers.
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                                                              Date of
                 Name         Initials        Rank                         Project Category                                            Description of Services                                         Hours   Hourly Rate   Fees
                                                              Service
Richardson,Audrey Sarah        ASR           Manager         3/10/2023   Information Reporting    Review and revise 1099 FAQ inquiry responses                                                          1.4     $525.00       $735.00
Rüegg,Christoph                 CR            Senior         3/10/2023        Non US Tax          Review feedbacks and inputs of various teams regarding the Declaration of disinterestedness           0.8     $395.00       $316.00
Rüegg,Christoph                 CR            Senior         3/10/2023        Non US Tax          Coordinate with EY Finance regarding the Declaration of disinterestedness                             0.3     $395.00       $118.50
Rüegg,Christoph                 CR            Senior         3/10/2023        Non US Tax          Review the due diligence tax questionnaire for CH & FL and prepare final adjustments                  0.7     $395.00       $276.50
                                                                                                  Review information provided in DD Questionnaires for Switzerland and Liechtenstein and
Schwarzwälder,Christian         CS       Senior Manager      3/10/2023        Non US Tax          determine if out of scope in connection with the transfer of tax compliance services from FTX to      0.7     $650.00       $455.00
                                                                                                  EY
                                          Client Serving
Scott,James                     JS                           3/10/2023      US Income Tax         Analyze SOFA tax disclosures                                                                          0.7     $600.00       $420.00
                                          Contractor JS
Shea JR,Thomas M               TMS       Partner/Principal   3/10/2023      US Income Tax         Written correspondence with EY state and local team re: 3/15 extensions and payments                  0.8     $825.00       $660.00
                                                                                                  Written correspondence with EY partnership team and J. Chan (FTX) re: Clifton Bay FTX entity
Shea JR,Thomas M               TMS       Partner/Principal   3/10/2023      US Income Tax                                                                                                               0.7     $825.00       $577.50
                                                                                                  investments (for 3/15 extension filings)
                                                                                                  Written correspondence with EY Japan desk re: translation of Japanese customer transaction
Shea JR,Thomas M               TMS       Partner/Principal   3/10/2023      US Income Tax                                                                                                               0.6     $825.00       $495.00
                                                                                                  documents
Short,Victoria                  VS            Senior         3/10/2023        Payroll Tax         Revise notice worksheets for Employment Tax notice resolution and review                              0.8     $395.00       $316.00
Sun,Yuchen                      YS            Senior         3/10/2023   US State and Local Tax   Revise workpaper regarding NYS/C MFIs for combined groups                                             1.6     $395.00       $632.00
Sun,Yuchen                      YS            Senior         3/10/2023   US State and Local Tax   Research tax rates for San Francisco, Los Angeles, and Oakland regarding potential updates            2.9     $395.00      $1,145.50
Sun,Yuchen                     YS             Senior         3/10/2023   US State and Local Tax   Revise the workpaper for TY2021 regarding San Francisco, Los Angeles and Oakland taxes                1.8     $395.00       $711.00
Toi,Sarah Massey              SMT        Partner/Principal   3/10/2023   US State and Local Tax   Correspondence regarding unclaimed property considerations                                            0.6     $825.00       $495.00
Wong,Maddie                   WM               Staff         3/10/2023      US Income Tax         Prepare draft summary of EIN's and addresses to entities in OIT                                       0.8     $225.00       $180.00
Wrenn,Kaitlin Doyle           KDW            Manager         3/10/2023        Payroll Tax         Prepare for meeting to discuss employment tax state account portals access                            0.4     $525.00       $210.00
Zheng,Eva                      EZ            Manager         3/10/2023   US State and Local Tax   Review locality tax workpaper for other tax year                                                      1.6     $525.00       $840.00
Zheng,Eva                      EZ            Manager         3/10/2023   US State and Local Tax   Review 3/15 return/estimates due                                                                      1.6     $525.00       $840.00
Zheng,Eva                      EZ            Manager         3/10/2023   US State and Local Tax   Research NY Form CT-51 and provide filing instruction to prepare the form                             0.9     $525.00       $472.50
Goel,Utkarsh                    UG           Manager         3/10/2023   Liquidation Activities   Call with FTX Japan regarding Quoine India. EY attendees: G. Jain, S. Venkataraman, and U. Goel       0.4     $400.00       $160.00
                                                                                                  Internal discussions regarding clarifications requested on Chapter 11 process vs India law. EY
Goel,Utkarsh                    UG           Manager         3/10/2023   Liquidation Activities                                                                                                         0.5     $400.00       $200.00
                                                                                                  attendees: S. Venkataraman and U. Goel
Jain,Gaurav                     GJ       Senior Manager      3/10/2023   Liquidation Activities   Call with FTX Japan regarding Quoine India. EY attendees: G. Jain, S. Venkataraman, and U. Goel       0.4     $550.00       $220.00
                                                                                                  Call to review details from legal council counsel meeting on liquidations in Europe during Chapter
Maiello,Rob                    RM           Consultant       3/10/2023   Liquidation Activities                                                                                                         0.5     $445.00       $222.50
                                                                                                  11 proceeding. EY attendees: N. Bugden, F. ORiain, and R. Maiello
                                                                                                  Call to discuss findings and summary output with respect to legal issues pertaining to dual
Maiello,Rob                    RM           Consultant       3/10/2023   Liquidation Activities                                                                                                         1.5     $445.00       $667.50
                                                                                                  jurisdiction insolvency proceedings. EY attendees: F. ORiain and R. Maiello
Maiello,Rob                    RM           Consultant       3/10/2023   Liquidation Activities   Prepare summary of international legal counsel retained by FTX                                        1.2     $445.00       $534.00
                                                                                                  Call to review details from legal council counsel meeting on liquidations in Europe during Chapter
ORiain,Fionn                   ORF           Manager         3/10/2023   Liquidation Activities                                                                                                         0.5     $725.00       $362.50
                                                                                                  11 proceeding. EY attendees: N. Bugden, F. ORiain, and R. Maiello
                                                                                                  Call to discuss findings and summary output with respect to legal issues pertaining to dual
ORiain,Fionn                   ORF           Manager         3/10/2023   Liquidation Activities                                                                                                         1.5     $725.00      $1,087.50
                                                                                                  jurisdiction insolvency proceedings. EY attendees: F. ORiain and R. Maiello
ORiain,Fionn                   ORF           Manager         3/10/2023   Liquidation Activities   Review documentation on legal counsel and liquidation issues                                          2.2     $725.00      $1,595.00
                                             National
Rumford,Neil                    NR                           3/10/2023   Liquidation Activities   Review the potential impact of Chapter 11 continuing during MVL, including relevant Regulations       2.6     $990.00      $2,574.00
                                         Partner/Principal
Venkataraman,Siddharth          SV           Manager         3/10/2023   Liquidation Activities   Call with FTX Japan regarding Quoine India. EY attendees: G. Jain, S. Venkataraman, and U. Goel       0.4     $400.00       $160.00
                                                                                                  Internal discussions regarding clarifications requested on Chapter 11 process vs India law. EY
Venkataraman,Siddharth          SV           Manager         3/10/2023   Liquidation Activities                                                                                                         0.5     $400.00       $200.00
                                                                                                  attendees: S. Venkataraman and U. Goel
                                                                                                  Review list of clarifications and preliminary information requirements in preparation for the
Venkataraman,Siddharth          SV           Manager         3/10/2023   Liquidation Activities                                                                                                         0.3     $400.00       $120.00
                                                                                                  management call
Bugden,Nick R                  NRB       Senior Manager      3/10/2023   Liquidation Activities   Assess local jurisdiction legal coverage to support potential liquidation proceedings                 0.6     $900.00        $540.00
Bugden,Nick R                  NRB       Senior Manager      3/10/2023   Liquidation Activities   Review cross border insolvency regulations                                                            2.3     $900.00      $2,070.00
Bugden,Nick R                  NRB       Senior Manager      3/10/2023   Liquidation Activities   Correspondence with A&M re: FTX legal entity clarifications                                           0.3     $900.00        $270.00
Bugden,Nick R                  NRB       Senior Manager      3/10/2023   Liquidation Activities   Review precedent cases with foreign liquidations under chapter 11                                     3.2     $900.00      $2,880.00
                                                                                                  Call to discuss liquidation precedence prior to plan confirmation. EY attendees: N. Bugden and F.
Bugden,Nick R                  NRB       Senior Manager      3/10/2023   Liquidation Activities                                                                                                         0.2     $900.00       $180.00
                                                                                                  ORiain
                                                                                                  Call to review details from legal council counsel meeting on liquidations in Europe during Chapter
Bugden,Nick R                  NRB       Senior Manager      3/10/2023   Liquidation Activities                                                                                                         0.5     $900.00       $450.00
                                                                                                  11 proceeding. EY attendees: N. Bugden, F. ORiain, and R. Maiello
Hutchison,Keiran                KH       Partner/Principal   3/10/2023   Liquidation Activities   Call with FTX management India to discuss historic operations of entity and pre liquidation issues    0.5     $850.00       $425.00
Hutchison,Keiran                KH       Partner/Principal   3/10/2023   Liquidation Activities   Correspondence with team re findings and research Uncitral concerns raised                            1.6     $850.00      $1,360.00
                                                                                                  Discussion re: response to S&C on the issue of dismissal from Ch 11 for Liquidating entities. EY
Hutchison,Keiran                KH       Partner/Principal   3/10/2023   Liquidation Activities                                                                                                         0.3     $850.00       $255.00
                                                                                                  attendees: K. Hutchison, B. Richards, N. Bugden, and F. ORiain
                                                                                                  Discussion re: response to S&C on the issue of dismissal from Ch 11 for Liquidating entities. EY
Bugden,Nick R                  NRB       Senior Manager      3/10/2023   Liquidation Activities                                                                                                         0.3     $900.00       $270.00
                                                                                                  attendees: K. Hutchison, B. Richards, N. Bugden, and F. ORiain
                                                                                                  Discussion re: response to S&C on the issue of dismissal from Ch 11 for Liquidating entities. EY
Richards,Briana A.              BR       Partner/Principal   3/10/2023   Liquidation Activities                                                                                                         0.3     $1,150.00     $345.00
                                                                                                  attendees: K. Hutchison, B. Richards, N. Bugden, and F. ORiain
                                                                                                  Call to discuss liquidation precedence prior to plan confirmation. EY attendees: N. Bugden and F.
ORiain,Fionn                   ORF           Manager         3/10/2023   Liquidation Activities                                                                                                         0.2     $725.00       $145.00
                                                                                                  ORiain
                                                                                                  Discussion re: response to S&C on the issue of dismissal from Ch 11 for Liquidating entities. EY
ORiain,Fionn                   ORF           Manager         3/10/2023   Liquidation Activities                                                                                                         0.3     $725.00       $217.50
                                                                                                  attendees: K. Hutchison, B. Richards, N. Bugden, and F. ORiain
Interiano,Gerardo Alexander    GAI             Staff         3/11/2023      US Income Tax         Prepare draft of the tax extension form                                                               2.6     $225.00       $585.00
Lasorsa,Caitlyn                CL             Senior         3/11/2023      US Income Tax         Prepare the GS locator set-up for FTX                                                                 0.2     $395.00        $79.00
Zheng,Eva                      EZ            Manager         3/11/2023   US State and Local Tax   Revise Q1 workpaper                                                                                   1.2     $525.00       $630.00
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                                                          Date of
                  Name    Initials        Rank                                Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                          Service
Zhu,Philip                  PZ            Senior         3/11/2023              Tax Advisory                Perform legal search regarding the company's tax matter                                                3.1     $395.00      $1,224.50
                                                                                                            Internal call to discuss estimated Q1-2023 state and local tax payments due 3/15/2023 and walk
Hall,Emily Melissa         EMH            Senior         3/12/2023         US State and Local Tax           through state filing positions from tax year 2021. EY attendees: T. Shea, M. Musano, B. Mistler, E.    0.8     $395.00       $316.00
                                                                                                            Zheng, and E. Hall
                                                                                                            Internal call to discuss estimated Q1-2023 state and local tax payments due 3/15/2023 and walk
Mistler,Brian M           BMM            Manager         3/12/2023             US Income Tax                through state filing positions from tax year 2021. EY attendees: T. Shea, M. Musano, B. Mistler, E.    0.8     $525.00       $420.00
                                                                                                            Zheng, and E. Hall
                                                                                                            Internal call to discuss estimated Q1-2023 state and local tax payments due 3/15/2023 and walk
Musano,Matthew Albert     MAM         Senior Manager     3/12/2023         US State and Local Tax           through state filing positions from tax year 2021. EY attendees: T. Shea, M. Musano, B. Mistler, E.    0.8     $650.00       $520.00
                                                                                                            Zheng, and E. Hall
                                                                                                            Internal call to discuss estimated Q1-2023 state and local tax payments due 3/15/2023 and walk
Shea JR,Thomas M           TMS       Partner/Principal   3/12/2023             US Income Tax                through state filing positions from tax year 2021. EY attendees: T. Shea, M. Musano, B. Mistler, E.    0.8     $825.00       $660.00
                                                                                                            Zheng, and E. Hall
                                                                                                            Internal call to discuss estimated Q1-2023 state and local tax payments due 3/15/2023 and walk
Zheng,Eva                   EZ           Manager         3/12/2023         US State and Local Tax           through state filing positions from tax year 2021. EY attendees: T. Shea, M. Musano, B. Mistler, E.    0.8     $525.00       $420.00
                                                                                                            Zheng, and E. Hall
Ancona,Christopher          CA            Senior         3/12/2023   Project Management Office Transition   Correspondence with workstream leads and updating the Project Management Office status tracker         1.9     $395.00       $750.50
                                                                                                            Revise the technology requirements for the Azure Data Transfer tax workstreams that need to be
Cavusoglu,Coskun            CC       Partner/Principal   3/12/2023               Technology                                                                                                                        1.8     $825.00      $1,485.00
                                                                                                            captured to supplement FTX tax deliverables
Lasorsa,Caitlyn             CL            Senior         3/12/2023             US Income Tax                Prepare the GS locator set-up for FTX                                                                  0.3     $395.00       $118.50
                                                                                                            Review of specific entity Schedules and Statements and preliminary review of tax notes and
Shea JR,Thomas M           TMS       Partner/Principal   3/12/2023             US Income Tax                                                                                                                       2.2     $825.00      $1,815.00
                                                                                                            disclosures
                                                                                                            Review and revise the 1099 customer and vendor inquiry intake procedure documentation and
Wrenn,Kaitlin Doyle       KDW            Manager         3/12/2023               Payroll Tax                                                                                                                       1.7     $525.00       $892.50
                                                                                                            preparation of responses
Wrenn,Kaitlin Doyle       KDW            Manager         3/12/2023               Payroll Tax                Prepare meeting agenda items for discussion with FTX leadership regarding IRS Audit items              1.2     $525.00       $630.00

                                                                                                            Meeting to prepare for US payroll tax items to discuss with FTX's Chief Administrative Officer,
DeVincenzo,Jennie          JDV       Managing Director   3/13/2023               Payroll Tax                including IRS audit considerations, expense reimbursement analysis, 1099 intake process and            1.1     $775.00       $852.50
                                                                                                            procedures, federal, state and local transcript reviews. EY attendees: J. DeVincenzo and K. Wrenn

                                                                                                            Meeting to prepare for US payroll tax items to discuss with FTX's Chief Administrative Officer,
Wrenn,Kaitlin Doyle       KDW            Manager         3/13/2023               Payroll Tax                including IRS audit considerations, expense reimbursement analysis, 1099 intake process and            1.1     $525.00       $577.50
                                                                                                            procedures, federal, state and local transcript reviews. EY attendees: J. DeVincenzo and K. Wrenn

                                                                                                            Meeting with EY federal and employment tax team to discuss current IRS audit items and updates.
Berman,Jake                 JB        Senior Manager     3/13/2023             US Income Tax                                                                                                                       0.3     $650.00       $195.00
                                                                                                            EY attendees: J. DeVincenzo, C. Ellenson, B. Mistler, J. Berman, T. Shea, and K. Wrenn

                                                                                                            Meeting with EY federal and employment tax team to discuss current IRS audit items and updates.
DeVincenzo,Jennie          JDV       Managing Director   3/13/2023               Payroll Tax                                                                                                                       0.3     $775.00       $232.50
                                                                                                            EY attendees: J. DeVincenzo, C. Ellenson, B. Mistler, J. Berman, T. Shea, and K. Wrenn

                                                                                                            Meeting with EY federal and employment tax team to discuss current IRS audit items and updates.
Ellenson,Cory               CE        Senior Manager     3/13/2023            IRS Audit Matters                                                                                                                    0.3     $650.00       $195.00
                                                                                                            EY attendees: J. DeVincenzo, C. Ellenson, B. Mistler, J. Berman, T. Shea, and K. Wrenn

                                                                                                            Meeting with EY federal and employment tax team to discuss current IRS audit items and updates.
Mistler,Brian M           BMM            Manager         3/13/2023             US Income Tax                                                                                                                       0.3     $525.00       $157.50
                                                                                                            EY attendees: J. DeVincenzo, C. Ellenson, B. Mistler, J. Berman, T. Shea, and K. Wrenn

                                                                                                            Meeting with EY federal and employment tax team to discuss current IRS audit items and updates.
Shea JR,Thomas M           TMS       Partner/Principal   3/13/2023             US Income Tax                                                                                                                       0.3     $825.00       $247.50
                                                                                                            EY attendees: J. DeVincenzo, C. Ellenson, B. Mistler, J. Berman, T. Shea, and K. Wrenn

                                                                                                            Meeting with EY federal and employment tax team to discuss current IRS audit items and updates.
Wrenn,Kaitlin Doyle       KDW            Manager         3/13/2023               Payroll Tax                                                                                                                       0.3     $525.00       $157.50
                                                                                                            EY attendees: J. DeVincenzo, C. Ellenson, B. Mistler, J. Berman, T. Shea, and K. Wrenn
                                                                                                            Internal call to discuss procedure updates for intake and tracking of 1099/customer requests. EY
Carver,Cody R.             CRC            Senior         3/13/2023               Payroll Tax                                                                                                                       1.0     $395.00       $395.00
                                                                                                            attendees: K. Wrenn and C. Carver
                                                                                                            Internal call to discuss procedure updates for intake and tracking of 1099/customer requests. EY
Wrenn,Kaitlin Doyle       KDW            Manager         3/13/2023               Payroll Tax                                                                                                                       1.0     $525.00       $525.00
                                                                                                            attendees: K. Wrenn and C. Carver
                                                                                                            Internal call to discuss procedure updates for intake and tracking of 1099/customer requests. EY
Carver,Cody R.             CRC            Senior         3/13/2023               Payroll Tax                                                                                                                       0.5     $395.00       $197.50
                                                                                                            attendees: K. Wrenn, A. Richardson, and C. Carver
                                                                                                            Internal call to discuss procedure updates for intake and tracking of 1099/customer requests. EY
Richardson,Audrey Sarah    ASR           Manager         3/13/2023          Information Reporting                                                                                                                  0.5     $525.00       $262.50
                                                                                                            attendees: K. Wrenn, A. Richardson, and C. Carver
                                                                                                            Internal call to discuss procedure updates for intake and tracking of 1099/customer requests. EY
Wrenn,Kaitlin Doyle       KDW            Manager         3/13/2023               Payroll Tax                                                                                                                       0.5     $525.00       $262.50
                                                                                                            attendees: K. Wrenn, A. Richardson, and C. Carver
                                                                                                            Internal meeting to discuss latest updates from RLA and related mark to market tax elections. EY
Bailey,Doug                 DB       Partner/Principal   3/13/2023              Tax Advisory                                                                                                                       0.5     $825.00       $412.50
                                                                                                            attendees: L. Lovelace, D. Bailey, M. Stevens, and A. Katelas
                                                                                                            Internal meeting to discuss latest updates from RLA and related mark to market tax elections. EY
Katelas,Andreas             KA            Senior         3/13/2023              Tax Advisory                                                                                                                       0.5     $395.00       $197.50
                                                                                                            attendees: L. Lovelace, D. Bailey, M. Stevens, and A. Katelas
                                                                                                            Internal meeting to discuss latest updates from RLA and related mark to market tax elections. EY
Lovelace,Lauren             LL       Partner/Principal   3/13/2023           US International Tax                                                                                                                  0.5     $825.00       $412.50
                                                                                                            attendees: L. Lovelace, D. Bailey, M. Stevens, and A. Katelas
                                         National                                                           Internal meeting to discuss latest updates from RLA and related mark to market tax elections. EY
Stevens,Matthew Aaron      MAS                           3/13/2023              Tax Advisory                                                                                                                       0.5     $990.00       $495.00
                                     Partner/Principal                                                      attendees: L. Lovelace, D. Bailey, M. Stevens, and A. Katelas
                                                                                                            Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira               HC             Staff         3/13/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.8     $225.00       $180.00
                                                                                                            T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
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                                                         Date of
                  Name   Initials        Rank                                Project Category                                                    Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/13/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.8     $525.00       $420.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/13/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.8     $825.00       $660.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/13/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.8     $395.00       $316.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/13/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.8     $525.00       $420.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Meeting to discuss OGM set up and EYI checklist. EY attendees: D. Hammon, K. Goyeneche, C.
Choudary,Hira              HC             Staff         3/13/2023               Non US Tax                                                                                                                        0.8     $225.00       $180.00
                                                                                                           MacLean, and H. Choudary
                                                                                                           Meeting to discuss OGM set up and EYI checklist. EY attendees: D. Hammon, K. Goyeneche, C.
Goyeneche,Katherine        KG            Senior         3/13/2023               Non US Tax                                                                                                                        0.8     $395.00       $316.00
                                                                                                           MacLean, and H. Choudary
                                                                                                           Meeting to discuss OGM set up and EYI checklist. EY attendees: D. Hammon, K. Goyeneche, C.
Hammon,David Lane         DLH           Manager         3/13/2023               Non US Tax                                                                                                                        0.8     $525.00       $420.00
                                                                                                           MacLean, and H. Choudary
                                                                                                           Meeting to discuss OGM set up and EYI checklist. EY attendees: D. Hammon, K. Goyeneche, C.
MacLean,Corrie            CM             Senior         3/13/2023               Non US Tax                                                                                                                        0.8     $395.00       $316.00
                                                                                                           MacLean, and H. Choudary
                                                                                                           Meeting to review fee confirmations from EY foreign offices and next steps. EY attendees: K.
MacLean,Corrie            CM             Senior         3/13/2023               Non US Tax                                                                                                                        1.0     $395.00       $395.00
                                                                                                           Staromiejska and C. MacLean
                                                                                                           Meeting to review fee confirmations from EY foreign offices and next steps. EY attendees: K.
Staromiejska,Kinga         KS           Manager         3/13/2023               Non US Tax                                                                                                                        1.0     $525.00       $525.00
                                                                                                           Staromiejska and C. MacLean
                                                                                                           Call with C. Cipione (AlixPartners) to discuss Azure data transfer. EY attendees: C. Cavusoglu, D.
Mistler,Brian M          BMM            Manager         3/13/2023      Meetings with Other Advisors                                                                                                               0.5     $525.00       $262.50
                                                                                                           Jena, and B. Mistler
                                                                                                           Call with C. Cipione (AlixPartners) to discuss Azure data transfer. EY attendees: C. Cavusoglu, D.
Cavusoglu,Coskun           CC       Partner/Principal   3/13/2023      Meetings with Other Advisors                                                                                                               0.5     $825.00       $412.50
                                                                                                           Jena, and B. Mistler
                                                                                                           Call with C. Cipione (AlixPartners) to discuss Azure data transfer. EY attendees: C. Cavusoglu, D.
Jena,Deepak                DJ           Manager         3/13/2023      Meetings with Other Advisors                                                                                                               0.5     $525.00       $262.50
                                                                                                           Jena, and B. Mistler
Mistler,Brian M          BMM            Manager         3/13/2023             US Income Tax                Call to discuss tax data sources for ingestion. EY attendees: K. Gundu, B. Mistler, and C. Li          0.5     $525.00       $262.50
Gundu,Kaivalya            KG         Senior Manager     3/13/2023              Technology                  Call to discuss tax data sources for ingestion. EY attendees: K. Gundu, B. Mistler, and C. Li          0.5     $650.00       $325.00
Li,Chunyang               CL             Senior         3/13/2023              Technology                  Call to discuss tax data sources for ingestion. EY attendees: K. Gundu, B. Mistler, and C. Li          0.5     $395.00       $197.50
                                                                                                           Internal call to discuss state and local tax filing obligations for Good Luck Games, LLC FTX
Hall,Emily Melissa        EMH            Senior         3/13/2023         US State and Local Tax                                                                                                                  0.4     $395.00       $158.00
                                                                                                           entities. EY attendees: M. Musano, B. Mistler, E. Zheng, and E. Hall
                                                                                                           Internal call to discuss state and local tax filing obligations for Good Luck Games, LLC FTX
Mistler,Brian M          BMM            Manager         3/13/2023             US Income Tax                                                                                                                       0.4     $525.00       $210.00
                                                                                                           entities. EY attendees: M. Musano, B. Mistler, E. Zheng, and E. Hall
                                                                                                           Internal call to discuss state and local tax filing obligations for Good Luck Games, LLC FTX
Musano,Matthew Albert    MAM         Senior Manager     3/13/2023         US State and Local Tax                                                                                                                  0.4     $650.00       $260.00
                                                                                                           entities. EY attendees: M. Musano, B. Mistler, E. Zheng, and E. Hall
                                                                                                           Internal call to discuss state and local tax filing obligations for Good Luck Games, LLC FTX
Zheng,Eva                  EZ           Manager         3/13/2023         US State and Local Tax                                                                                                                  0.4     $525.00       $210.00
                                                                                                           entities. EY attendees: M. Musano, B. Mistler, E. Zheng, and E. Hall
                                                                                                           EY internal call to discuss outstanding FTX claims and updates to be made to the claims log going
Flagg,Nancy A.            NAF       Managing Director   3/13/2023         US State and Local Tax                                                                                                                  0.5     $775.00       $387.50
                                                                                                           forward. EY attendees: D. Johnson, N. Flagg, and K. Gatt
                                                                                                           EY internal call to discuss outstanding FTX claims and updates to be made to the claims log going
Gatt,Katie                 KG        Senior Manager     3/13/2023         US State and Local Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                           forward. EY attendees: D. Johnson, N. Flagg, and K. Gatt
                                                                                                           EY internal call to discuss outstanding FTX claims and updates to be made to the claims log going
Johnson,Derrick Joseph     DJJ            Staff         3/13/2023         US State and Local Tax                                                                                                                  0.5     $225.00       $112.50
                                                                                                           forward. EY attendees: D. Johnson, N. Flagg, and K. Gatt
Ancona,Christopher         CA            Senior         3/13/2023   Project Management Office Transition   Review and updating the Project Management Status Tracker                                              0.8     $395.00       $316.00
Ancona,Christopher         CA            Senior         3/13/2023   Project Management Office Transition   Review and follow-up on Project Management Office deliverables from each of the workstreams            1.1     $395.00       $434.50
Bailey,Doug                DB       Partner/Principal   3/13/2023              Tax Advisory                Evaluate procedural options for method of accounting related to digital assets                         1.6     $825.00      $1,320.00
                                                                                                           Prepare Q1 estimate calculations for the first quarter of 2023 for Alameda Research FTX related
Berman,Jake                JB        Senior Manager     3/13/2023             US Income Tax                                                                                                                       0.6     $650.00       $390.00
                                                                                                           entities.
                                                                                                           Creation of the company in our payroll software, review of the population, of the taxability of the
Berrette,Sandrine          SB        Senior Manager     3/13/2023               Payroll Tax                                                                                                                       2.7     $650.00      $1,755.00
                                                                                                           diverse wage types, understanding of the specificities and of the reporting required.
Bost,Anne                  BA       Managing Director   3/13/2023             Transfer Pricing             Review and respond to email correspondence                                                             0.7     $775.00       $542.50
Bost,Anne                  BA       Managing Director   3/13/2023             Transfer Pricing             Correspondence re: potential transfer pricing support in certain non-US jurisdictions                  0.7     $775.00       $542.50
                                                                                                           Review the procedure update on Forms 1099 intake tool and requests for 2022 Vendor, Customer
Carver,Cody R.            CRC            Senior         3/13/2023               Payroll Tax                                                                                                                       0.9     $395.00       $355.50
                                                                                                           and Non-employee compensation.
                                                                                                           Revise the procedure update on Forms 1099 intake tool and requests for 2022 Vendor, Customer
Carver,Cody R.            CRC            Senior         3/13/2023               Payroll Tax                                                                                                                       0.8     $395.00       $316.00
                                                                                                           and Non-employee compensation.
                                                                                                           Review and revise the procedure update on Forms 1099 intake tool and requests for 2022 Vendor,
Carver,Cody R.            CRC            Senior         3/13/2023               Payroll Tax                                                                                                                       2.9     $395.00      $1,145.50
                                                                                                           Customer and Non-employee compensation.
Cavusoglu,Coskun           CC       Partner/Principal   3/13/2023               Technology                 Review Azure Data Transfer approach and integration to EY data lake house                              1.2     $825.00       $990.00
DeVincenzo,Jennie         JDV       Managing Director   3/13/2023               Payroll Tax                Review IRS correspondence regarding the IRS Employment Tax Audits.                                     0.6     $775.00       $465.00
                                                                                                           Review and revise the agenda for discussion with FTX regarding employment tax audits,
DeVincenzo,Jennie         JDV       Managing Director   3/13/2023               Payroll Tax                                                                                                                       1.1     $775.00       $852.50
                                                                                                           employment tax accounts and 1099 status issues.
Ellenson,Cory              CE       Senior Manager      3/13/2023            IRS Audit Matters             Call with IRS team re employment tax audit                                                             0.1     $650.00         $65.00
Ferris,Tara                TF       Partner/Principal   3/13/2023          Information Reporting           Review and provide commentary regarding 1099 intake                                                    1.9     $825.00      $1,567.50
Flagg,Nancy A.            NAF       Managing Director   3/13/2023         US State and Local Tax           Correspondence regarding preparing schedules on historical tax filing disclosure requirements          0.2     $775.00       $155.00
Flagg,Nancy A.            NAF       Managing Director   3/13/2023         US State and Local Tax           Correspondence re: tax disclosures for the Schedules                                                   0.2     $775.00       $155.00
Haas,Zach                 ZH         Senior Manager     3/13/2023            US Income Tax                 Extension research and review                                                                          1.2     $650.00       $780.00
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                                                              Date of
                 Name         Initials        Rank                                   Project Category                                                        Description of Services                                         Hours   Hourly Rate   Fees
                                                              Service
                                                                                                                       Analyze validation notes for the notices that the state and local team have called jurisdictions to
Hall,Emily Melissa             EMH            Senior         3/13/2023             US State and Local Tax                                                                                                                     2.1     $395.00       $829.50
                                                                                                                       inquire about
Hammon,David Lane              DLH           Manager         3/13/2023                  Non US Tax                     Revise of KT tracker, leadership summary and entity details file                                       3.6     $525.00      $1,890.00
                                                                                                                       Correspondence with EY member firms concerning the transfer of tax compliance services from
Hammon,David Lane              DLH           Manager         3/13/2023                  Non US Tax                                                                                                                            2.6     $525.00      $1,365.00
                                                                                                                       FTX to EY
Interiano,Gerardo Alexander    GAI             Staff         3/13/2023                US Income Tax                    Revise the draft tax extension form                                                                    0.9     $225.00       $202.50
Katelas,Andreas                KA             Senior         3/13/2023                 Tax Advisory                    Revise the mark to market tax election outline for discussion purposes.                                2.4     $395.00       $948.00
Lasorsa,Caitlyn                CL             Senior         3/13/2023                US Income Tax                    Prepare and review the Clifton Bay FTX entity Fed Extension                                            1.3     $395.00       $513.50
                                             National
Lowery,Kristie L               KLL                           3/13/2023   Non-Working Travel (billed at 50% of rates)   Travel from Charlotte, NC to Dallas, TX                                                                6.0     $495.00      $2,970.00
                                         Partner/Principal
                                             National                                                                  Review and evaluation of response to questions from Forms 1099 recipients and intake of
Lowery,Kristie L               KLL                           3/13/2023                  Payroll Tax                                                                                                                           1.2     $990.00      $1,188.00
                                         Partner/Principal                                                             information
MacLean,Corrie                 CM             Senior         3/13/2023                  Non US Tax                     Review and revise foreign office fee confirmation updates and tracking sheets                          1.1     $395.00       $434.50
Musano,Matthew Albert         MAM        Senior Manager      3/13/2023             US State and Local Tax              Review of all 3/15 first quarter estimated filings, forms, and calculations for tax year 2021          0.7     $650.00       $455.00
                                                                                                                       Correspondence with FTX regarding the 3/15 state and local estimates for tax year 2023, including
Musano,Matthew Albert         MAM        Senior Manager      3/13/2023             US State and Local Tax                                                                                                                     0.2     $650.00       $130.00
                                                                                                                       NY mandatory first installment.
Odermatt,Jasmin                 JO             Staff         3/13/2023                  Non US Tax                     Correspondence regarding client Abacus datasave                                                        1.3     $225.00       $292.50
Richardson,Audrey Sarah        ASR           Manager         3/13/2023             Information Reporting               Prepare draft response to 1099 questions                                                               0.9     $525.00       $472.50
Rüegg,Christoph                CR             Senior         3/13/2023                  Non US Tax                     Revise the Declaration of disinterestedness                                                            1.8     $395.00       $711.00
Rüegg,Christoph                CR             Senior         3/13/2023                  Non US Tax                     Summarize VAT future to dos and pricing discussions with team                                          0.3     $395.00       $118.50
                                             National
Rumford,Neil                    NR                           3/13/2023                  Non US Tax                     Revise DD Questionnaire (FTX (Gib) Ltd) in light of more recent info                                   0.8     $990.00       $792.00
                                         Partner/Principal
                                          Client Serving                                                               Review of SOFA disclosures for federal and state income taxes, federal and state attributes, and
Scott,James                     JS                           3/13/2023                US Income Tax                                                                                                                           1.9     $600.00      $1,140.00
                                          Contractor JS                                                                notices
                                          Client Serving
Scott,James                     JS                           3/13/2023                US Income Tax                    Analyze tax elections made for filing entities in Alameda Silo FTX entities for period 2018-2021       0.7     $600.00       $420.00
                                          Contractor JS
                                          Client Serving
Scott,James                     JS                           3/13/2023             US State and Local Tax              Review of March 15 state extensions and required payments                                              0.4     $600.00       $240.00
                                          Contractor JS
                                                                                                                       Call with Robert Lee (prior CPA firm) RLA to determine which returns have been filed and
Sethi,Navin                     NS       Partner/Principal   3/13/2023                US Income Tax                                                                                                                           0.9     $825.00       $742.50
                                                                                                                       identifying those still required to be filed
Shea JR,Thomas M               TMS       Partner/Principal   3/13/2023               US Income Tax                     Final review of 3/15 state extensions and tax payments                                                 1.4     $825.00      $1,155.00
Shea JR,Thomas M               TMS       Partner/Principal   3/13/2023   Non-Working Travel (billed at 50% of rates)   Travel from New York, NY to Dallas, TX                                                                 3.0     $412.50      $1,237.50
Shea JR,Thomas M               TMS       Partner/Principal   3/13/2023                US Income Tax                    Internal written correspondence on tax disclosures for Statements & Schedules with EY team             0.9     $825.00       $742.50
Shea JR,Thomas M               TMS       Partner/Principal   3/13/2023                US Income Tax                    Final review, updates and submission of tax disclosures for Statements & Schedules                     0.6     $825.00       $495.00
                                                                                                                       Updates to 1099 intake process document re: customer transaction data for 2022 tax reporting
Shea JR,Thomas M               TMS       Partner/Principal   3/13/2023                US Income Tax                                                                                                                           1.3     $825.00      $1,072.50
                                                                                                                       season
                                                                                                                       Correspondence with the Tennessee Department of Revenue regarding assessment, power of
Stamper,Jace Allen             JAS       Senior Manager      3/13/2023             US State and Local Tax                                                                                                                     0.4     $650.00       $260.00
                                                                                                                       attorney, and steps to resolve
Stillman,Will                   WS             Staff         3/13/2023             US State and Local Tax              Prepare form NY CT-51 for new FTX Filing group                                                         0.6     $225.00        $135.00
Sun,Yuchen                      YS            Senior         3/13/2023             US State and Local Tax              Prepare 3/15 due estimate and extension forms through OIT.                                             3.2     $395.00      $1,264.00
                                                                                                                       Correspondence regarding setting up a kick off call for the purpose of the tax due diligence on
Tsikkouris,Anastasios           AT           Manager         3/13/2023                  Non US Tax                                                                                                                            0.3     $525.00       $157.50
                                                                                                                       Innovatia Ltd.
Tsikkouris,Anastasios           AT           Manager         3/13/2023                  Non US Tax                     Call with local external accountants regarding status of providing services to Innovatia Ltd.          0.2     $525.00       $105.00
Tsikkouris,Anastasios           AT           Manager         3/13/2023                  Non US Tax                     Correspondence regarding contacting Innovatia following the response of the local accountants.         0.2     $525.00       $105.00
Tsikkouris,Anastasios           AT           Manager         3/13/2023                  Non US Tax                     Review information in the Virtual Data Base for Innovatia Ltd.                                         0.7     $525.00       $367.50
                                                                                                                       Review the Cypriot Registrar of Companies in order to ascertain whether the Innovatia Limited
Tsikkouris,Anastasios           AT           Manager         3/13/2023                  Non US Tax                                                                                                                            1.1     $525.00       $577.50
                                                                                                                       filed its annual returns (Form HE32) and audited financial statements
                                                                                                                       Review of audited Financial Statements of Innovatia Limited for the years 2016 - 2019 for the
Tsikkouris,Anastasios           AT           Manager         3/13/2023                  Non US Tax                                                                                                                            0.9     $525.00       $472.50
                                                                                                                       purpose of preparing the Request For Information (RFI) list.
Tsikkouris,Anastasios           AT           Manager         3/13/2023                  Non US Tax                     Prepare the direct tax RFI for Innovatia Ltd for the purpose of the tax due diligence.                 0.4     $525.00       $210.00
                                                                                                                       Revise US employment tax agenda preparation for onsite meeting at FTX to discuss federal and
Wrenn,Kaitlin Doyle           KDW            Manager         3/13/2023                  Payroll Tax                                                                                                                           2.3     $525.00      $1,207.50
                                                                                                                       state transcript reviews, documentation and global payroll tax items
Wrenn,Kaitlin Doyle           KDW            Manager         3/13/2023                  Payroll Tax                    Revise 1099 vendor/customer intake procedures based on leadership feedback and review                  2.7     $525.00      $1,417.50
Zheng,Eva                      EZ            Manager         3/13/2023             US State and Local Tax              Review forms and prepare email correspondence                                                          1.7     $525.00        $892.50
                                                                                                                       Call regarding issues pertaining to FTX Germany; employment law proceedings, subordination of
Müsker,Philipp                  MP       Senior Manager      3/13/2023             Liquidation Activities              intercompany debt, funding requirement and current cash balances Germany. EY attendees: P.             1.0     $650.00       $650.00
                                                                                                                       Musker, N. Bugden, and F. ORiain
                                                                                                                       Call regarding issues pertaining to FTX Germany; employment law proceedings, subordination of
ORiain,Fionn                   ORF           Manager         3/13/2023             Liquidation Activities              intercompany debt, funding requirement and current cash balances Germany. EY attendees: P.             1.0     $725.00       $725.00
                                                                                                                       Musker, N. Bugden, and F. ORiain
                                                                                                                       Call regarding Swiss entities - further understanding of open tax matters, bookkeeping issues and
ORiain,Fionn                   ORF           Manager         3/13/2023             Liquidation Activities                                                                                                                     1.1     $725.00       $797.50
                                                                                                                       any updates with respect liquidation planning. EY attendees: F. ORiain and K. Staromiejska
                                                                                                                       Correspondence with EY India regarding bank balances & file review with respect of Asian FTX
ORiain,Fionn                   ORF           Manager         3/13/2023             Liquidation Activities                                                                                                                     2.1     $725.00      $1,522.50
                                                                                                                       entities.
                                                                                                                       Correspondence with EY Switzerland regarding status and information requests for liquidation
ORiain,Fionn                   ORF           Manager         3/13/2023             Liquidation Activities                                                                                                                     0.7     $725.00       $507.50
                                                                                                                       matters
                                                                                                                       Call regarding Swiss entities - further understanding of open tax matters, bookkeeping issues and
Staromiejska,Kinga              KS           Manager         3/13/2023                  Non US Tax                                                                                                                            0.6     $525.00       $315.00
                                                                                                                       any updates with respect liquidation planning. EY attendees: F. ORiain and K. Staromiejska
Bugden,Nick R                  NRB       Senior Manager      3/13/2023             Liquidation Activities              Correspondence with EY Cyprus re: auditor requests                                                     0.4     $900.00       $360.00
Bugden,Nick R                  NRB       Senior Manager      3/13/2023             Liquidation Activities              Call with EY Tax team to discuss S&C request re: FTX Europe AG                                         0.5     $900.00       $450.00
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                                                        Date of
                 Name   Initials        Rank                                Project Category                                                    Description of Services                                          Hours   Hourly Rate   Fees
                                                        Service
Bugden,Nick R            NRB        Senior Manager     3/13/2023          Liquidation Activities          Analyze detailed financials and employee list of FTX Europe AG                                          1.3     $900.00      $1,170.00
Bugden,Nick R            NRB        Senior Manager     3/13/2023          Liquidation Activities          Prepare analysis for and correspondence with S&C re: known intercompany liabilities tax issues          0.7     $900.00       $630.00
Bugden,Nick R            NRB        Senior Manager     3/13/2023          Liquidation Activities          Review available financial information for Cyprus entities                                              0.7     $900.00       $630.00
                                                                                                          Discussion re: intercompany liabilities held by liquidation list entities and notable missing
Bugden,Nick R            NRB        Senior Manager     3/13/2023          Liquidation Activities                                                                                                                  0.6     $900.00       $540.00
                                                                                                          information. EY attendees: B. Richards and N. Bugden
                                                                                                          Discussion re: intercompany liabilities held by liquidation list entities and notable missing
Richards,Briana A.        BR       Partner/Principal   3/13/2023          Liquidation Activities                                                                                                                  0.6     $1,150.00     $690.00
                                                                                                          information. EY attendees: B. Richards and N. Bugden
                                                                                                          Call regarding issues pertaining to FTX Germany; employment law proceedings, subordination of
Bugden,Nick R            NRB        Senior Manager     3/13/2023          Liquidation Activities          intercompany debt, funding requirement and current cash balances Germany. EY attendees: P.              1.0     $900.00       $900.00
                                                                                                          Musker, N. Bugden, and F. ORiain
                                                                                                          Internal meeting to discuss the next steps related to EY National Tax practice group's assistance in
Flagg,Nancy A.           NAF       Managing Director   3/14/2023         US State and Local Tax           sharing the power of attorney letter with jurisdictions for notice purposes. EY attendees: M.           0.2     $775.00       $155.00
                                                                                                          Musano, N. Flagg, D. Sawyer, K. Gatt, and E. Hall
                                                                                                          Internal meeting to discuss the next steps related to EY National Tax practice group's assistance in
Gatt,Katie                KG        Senior Manager     3/14/2023         US State and Local Tax           sharing the power of attorney letter with jurisdictions for notice purposes. EY attendees: M.           0.2     $650.00       $130.00
                                                                                                          Musano, N. Flagg, D. Sawyer, K. Gatt, and E. Hall
                                                                                                          Internal meeting to discuss the next steps related to EY National Tax practice group's assistance in
Hall,Emily Melissa       EMH            Senior         3/14/2023         US State and Local Tax           sharing the power of attorney letter with jurisdictions for notice purposes. EY attendees: M.           0.2     $395.00        $79.00
                                                                                                          Musano, N. Flagg, D. Sawyer, K. Gatt, and E. Hall
                                                                                                          Internal meeting to discuss the next steps related to EY National Tax practice group's assistance in
Musano,Matthew Albert   MAM         Senior Manager     3/14/2023         US State and Local Tax           sharing the power of attorney letter with jurisdictions for notice purposes. EY attendees: M.           0.2     $650.00       $130.00
                                                                                                          Musano, N. Flagg, D. Sawyer, K. Gatt, and E. Hall
                                                                                                          Internal meeting to discuss the next steps related to EY National Tax practice group's assistance in
Sawyer,David Curtis      DCS        Senior Manager     3/14/2023         US State and Local Tax           sharing the power of attorney letter with jurisdictions for notice purposes. EY attendees: M.           0.2     $650.00       $130.00
                                                                                                          Musano, N. Flagg, D. Sawyer, K. Gatt, and E. Hall
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher        CA            Senior         3/14/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug               DB       Partner/Principal   3/14/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $825.00       $412.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake               JB        Senior Manager     3/14/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                    Client Serving
Bieganski,Walter         WB                            3/14/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $200.00       $100.00
                                    Contractor WB
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                 BA       Managing Director   3/14/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $775.00       $387.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ellenson,Cory             CE        Senior Manager     3/14/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya            KG        Senior Manager     3/14/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                 ZH        Senior Manager     3/14/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa       EMH            Senior         3/14/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane        DLH           Manager         3/14/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert     JRJ       Senior Manager     3/14/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas           KA            Senior         3/14/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David          DK           Manager         3/14/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.       TJK       Partner/Principal   3/14/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $825.00       $412.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren           LL       Partner/Principal   3/14/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $825.00       $412.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie           CM             Senior         3/14/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and         0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
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                                                          Date of
                  Name    Initials         Rank                           Project Category                                              Description of Services                                         Hours   Hourly Rate   Fees
                                                          Service
                                                                                                    Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                         National
McComber,Donna             DM                            3/14/2023         Transfer Pricing         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $990.00       $495.00
                                     Partner/Principal
                                                                                                    the implementation of global compliance and reporting services
                                                                                                    Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M           BMM            Manager         3/14/2023         US Income Tax            preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                    the implementation of global compliance and reporting services
                                                                                                    Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     MAM         Senior Manager     3/14/2023     US State and Local Tax       preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                    the implementation of global compliance and reporting services
                                                                                                    Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Richardson,Audrey Sarah    ASR           Manager         3/14/2023      Information Reporting       preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                    the implementation of global compliance and reporting services
                                                                                                    Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                       Client Serving
Scott,James                 JS                           3/14/2023         US Income Tax            preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $600.00       $300.00
                                       Contractor JS
                                                                                                    the implementation of global compliance and reporting services
                                                                                                    Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M           TMS       Partner/Principal   3/14/2023         US Income Tax            preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                    the implementation of global compliance and reporting services
                                                                                                    Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Soderman,Kathy              KS       Managing Director   3/14/2023           Non US Tax             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $775.00       $387.50
                                                                                                    the implementation of global compliance and reporting services
                                                                                                    Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga          KS           Manager         3/14/2023           Non US Tax             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                    the implementation of global compliance and reporting services
                                                                                                    Call with K. Schultea (FTX) and L. Barrios (RLKS) to discuss 1099/Customer Inquiry Intake
Carver,Cody R.             CRC            Senior         3/14/2023    Meetings with Management      Procedures and Response FAQs. EY attendees: K. Lowery, J. DeVincenzo, T. Shea, K. Wrenn, M.          1.3     $395.00       $513.50
                                                                                                    Hamilton, and C. Carver
                                                                                                    Call with K. Schultea (FTX) and L. Barrios (RLKS) to discuss 1099/Customer Inquiry Intake
DeVincenzo,Jennie          JDV       Managing Director   3/14/2023    Meetings with Management      Procedures and Response FAQs. EY attendees: K. Lowery, J. DeVincenzo, T. Shea, K. Wrenn, M.          1.3     $775.00      $1,007.50
                                                                                                    Hamilton, and C. Carver
                                                                                                    Call with K. Schultea (FTX) and L. Barrios (RLKS) to discuss 1099/Customer Inquiry Intake
Hamilton,Mary Catherine   MCH             Senior         3/14/2023    Meetings with Management      Procedures and Response FAQs. EY attendees: K. Lowery, J. DeVincenzo, T. Shea, K. Wrenn, M.          1.3     $395.00       $513.50
                                                                                                    Hamilton, and C. Carver
                                                                                                    Call with K. Schultea (FTX) and L. Barrios (RLKS) to discuss 1099/Customer Inquiry Intake
                                         National
Lowery,Kristie L           KLL                           3/14/2023    Meetings with Management      Procedures and Response FAQs. EY attendees: K. Lowery, J. DeVincenzo, T. Shea, K. Wrenn, M.          1.3     $990.00      $1,287.00
                                     Partner/Principal
                                                                                                    Hamilton, and C. Carver
                                                                                                    Call with K. Schultea (FTX) and L. Barrios (RLKS) to discuss 1099/Customer Inquiry Intake
Shea JR,Thomas M           TMS       Partner/Principal   3/14/2023    Meetings with Management      Procedures and Response FAQs. EY attendees: K. Lowery, J. DeVincenzo, T. Shea, K. Wrenn, M.          1.3     $825.00      $1,072.50
                                                                                                    Hamilton, and C. Carver
                                                                                                    Call with K. Schultea (FTX) and L. Barrios (RLKS) to discuss 1099/Customer Inquiry Intake
Wrenn,Kaitlin Doyle       KDW            Manager         3/14/2023    Meetings with Management      Procedures and Response FAQs. EY attendees: K. Lowery, J. DeVincenzo, T. Shea, K. Wrenn, M.          1.3     $525.00       $682.50
                                                                                                    Hamilton, and C. Carver
                                                                                                    Call with K. Schultea (FTX) to discuss IRS US Employment Tax Audit, Expense Reimbursement
                                                                                                    Analysis, Employment Tax Account Transcript Review & Notice Support, State & Local
DeVincenzo,Jennie          JDV       Managing Director   3/14/2023    Meetings with Management                                                                                                           1.1     $775.00       $852.50
                                                                                                    Employment Tax Account Transcript Review and Global Payroll Support. EY attendees: K.
                                                                                                    Lowery, J. DeVincenzo, and M. Hamilton
                                                                                                    Call with K. Schultea (FTX) to discuss IRS US Employment Tax Audit, Expense Reimbursement
                                                                                                    Analysis, Employment Tax Account Transcript Review & Notice Support, State & Local
Hamilton,Mary Catherine   MCH             Senior         3/14/2023    Meetings with Management                                                                                                           1.1     $395.00       $434.50
                                                                                                    Employment Tax Account Transcript Review and Global Payroll Support. EY attendees: K.
                                                                                                    Lowery, J. DeVincenzo, and M. Hamilton
                                                                                                    Call with K. Schultea (FTX) to discuss IRS US Employment Tax Audit, Expense Reimbursement
                                         National                                                   Analysis, Employment Tax Account Transcript Review & Notice Support, State & Local
Lowery,Kristie L           KLL                           3/14/2023    Meetings with Management                                                                                                           1.1     $990.00      $1,089.00
                                     Partner/Principal                                              Employment Tax Account Transcript Review and Global Payroll Support. EY attendees: K.
                                                                                                    Lowery, J. DeVincenzo, and M. Hamilton
                                                                                                    Meeting to discuss the January fee application for submission to the Debtor's Counsel. EY
Ancona,Christopher          CA            Senior         3/14/2023   Fee/Employment Applications                                                                                                         0.5     $395.00       $197.50
                                                                                                    attendees: C. Ancona and D. Neziroski
                                                                                                    Meeting to discuss the January fee application for submission to the Debtor's Counsel. EY
Neziroski,David             DN           Associate       3/14/2023   Fee/Employment Applications                                                                                                         0.5     $365.00       $182.50
                                                                                                    attendees: C. Ancona and D. Neziroski
                                                                                                    Internal state and local tax field of play call to discuss property tax updates and corporate tax
Davis,Kathleen F.          KFD           Manager         3/14/2023     US State and Local Tax                                                                                                            0.3     $525.00       $157.50
                                                                                                    updates. EY attendees: N. Flagg, K. Gatt, K. Davis, D. Johnson, and E. Hall
                                                                                                    Internal state and local tax field of play call to discuss property tax updates and corporate tax
Flagg,Nancy A.             NAF       Managing Director   3/14/2023     US State and Local Tax                                                                                                            0.3     $775.00       $232.50
                                                                                                    updates. EY attendees: N. Flagg, K. Gatt, K. Davis, D. Johnson, and E. Hall
                                                                                                    Internal state and local tax field of play call to discuss property tax updates and corporate tax
Gatt,Katie                  KG        Senior Manager     3/14/2023     US State and Local Tax                                                                                                            0.3     $650.00       $195.00
                                                                                                    updates. EY attendees: N. Flagg, K. Gatt, K. Davis, D. Johnson, and E. Hall
                                                                                                    Internal state and local tax field of play call to discuss property tax updates and corporate tax
Hall,Emily Melissa         EMH            Senior         3/14/2023     US State and Local Tax                                                                                                            0.3     $395.00       $118.50
                                                                                                    updates. EY attendees: N. Flagg, K. Gatt, K. Davis, D. Johnson, and E. Hall
                                                                                                    Internal state and local tax field of play call to discuss property tax updates and corporate tax
Johnson,Derrick Joseph      DJJ            Staff         3/14/2023     US State and Local Tax                                                                                                            0.3     $225.00        $67.50
                                                                                                    updates. EY attendees: N. Flagg, K. Gatt, K. Davis, D. Johnson, and E. Hall
                                                                                                    External meeting with B. Seaway (A&M) and K. Jacobs (A&M) to discuss weekly tax technical
Bailey,Doug                 DB       Partner/Principal   3/14/2023   Meetings with Other Advisors   updates including mark-to-market tax elections. EY attendees: L. Lovelace, D. Bailey, T. Shea, J.    0.5     $825.00       $412.50
                                                                                                    Scott, J. Berman, B. Mistler, and A. Katelas
                                                                                                    External meeting with B. Seaway (A&M) and K. Jacobs (A&M) to discuss weekly tax technical
Berman,Jake                 JB        Senior Manager     3/14/2023   Meetings with Other Advisors   updates including mark-to-market tax elections. EY attendees: L. Lovelace, D. Bailey, T. Shea, J.    0.5     $650.00       $325.00
                                                                                                    Scott, J. Berman, B. Mistler, and A. Katelas
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                   Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           External meeting with B. Seaway (A&M) and K. Jacobs (A&M) to discuss weekly tax technical
Katelas,Andreas            KA            Senior         3/14/2023      Meetings with Other Advisors        updates including mark-to-market tax elections. EY attendees: L. Lovelace, D. Bailey, T. Shea, J.       0.5     $395.00       $197.50
                                                                                                           Scott, J. Berman, B. Mistler, and A. Katelas
                                                                                                           External meeting with B. Seaway (A&M) and K. Jacobs (A&M) to discuss weekly tax technical
Lovelace,Lauren            LL       Partner/Principal   3/14/2023      Meetings with Other Advisors        updates including mark-to-market tax elections. EY attendees: L. Lovelace, D. Bailey, T. Shea, J.       0.5     $825.00       $412.50
                                                                                                           Scott, J. Berman, B. Mistler, and A. Katelas
                                                                                                           External meeting with B. Seaway (A&M) and K. Jacobs (A&M) to discuss weekly tax technical
Mistler,Brian M          BMM            Manager         3/14/2023      Meetings with Other Advisors        updates including mark-to-market tax elections. EY attendees: L. Lovelace, D. Bailey, T. Shea, J.       0.5     $525.00       $262.50
                                                                                                           Scott, J. Berman, B. Mistler, and A. Katelas
                                                                                                           External meeting with B. Seaway (A&M) and K. Jacobs (A&M) to discuss weekly tax technical
                                      Client Serving
Scott,James                JS                           3/14/2023      Meetings with Other Advisors        updates including mark-to-market tax elections. EY attendees: L. Lovelace, D. Bailey, T. Shea, J.       0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                           Scott, J. Berman, B. Mistler, and A. Katelas
                                                                                                           External meeting with B. Seaway (A&M) and K. Jacobs (A&M) to discuss weekly tax technical
Shea JR,Thomas M          TMS       Partner/Principal   3/14/2023      Meetings with Other Advisors        updates including mark-to-market tax elections. EY attendees: L. Lovelace, D. Bailey, T. Shea, J.       0.5     $825.00       $412.50
                                                                                                           Scott, J. Berman, B. Mistler, and A. Katelas
                                                                                                           Internal meeting to discuss mark-to-market tax elections and alternative methods. EY attendees: B.
Katelas,Andreas            KA            Senior         3/14/2023              Tax Advisory                                                                                                                        0.5     $395.00       $197.50
                                                                                                           Mistler, S. Weiler, T. Shea, and A. Katelas
                                                                                                           Internal meeting to discuss mark-to-market tax elections and alternative methods. EY attendees: B.
Mistler,Brian M          BMM            Manager         3/14/2023             US Income Tax                                                                                                                        0.5     $525.00       $262.50
                                                                                                           Mistler, S. Weiler, T. Shea, and A. Katelas
                                                                                                           Internal meeting to discuss mark-to-market tax elections and alternative methods. EY attendees: B.
Shea JR,Thomas M          TMS       Partner/Principal   3/14/2023             US Income Tax                                                                                                                        0.5     $825.00       $412.50
                                                                                                           Mistler, S. Weiler, T. Shea, and A. Katelas
                                                                                                           Internal meeting to discuss mark-to-market tax elections and alternative methods. EY attendees: B.
Weiler,Sam P              SPW       Partner/Principal   3/14/2023              Tax Advisory                                                                                                                        0.5     $825.00       $412.50
                                                                                                           Mistler, S. Weiler, T. Shea, and A. Katelas
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/14/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.5     $225.00       $112.50
                                                                                                           T. Knoeller, K. Staromiejska, C. Maclean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/14/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.5     $525.00       $262.50
                                                                                                           T. Knoeller, K. Staromiejska, C. Maclean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/14/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.5     $825.00       $412.50
                                                                                                           T. Knoeller, K. Staromiejska, C. Maclean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/14/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.5     $395.00       $197.50
                                                                                                           T. Knoeller, K. Staromiejska, C. Maclean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/14/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.5     $525.00       $262.50
                                                                                                           T. Knoeller, K. Staromiejska, C. Maclean, and H. Choudary
                                                                                                           Meeting to discuss the knowledge transfer tracker updates. EY attendees: C. MacLean and H.
Choudary,Hira              HC             Staff         3/14/2023               Non US Tax                                                                                                                         0.2     $225.00        $45.00
                                                                                                           Choudary
                                                                                                           Meeting to discuss the knowledge transfer tracker updates. EY attendees: C. MacLean and H.
MacLean,Corrie            CM             Senior         3/14/2023               Non US Tax                                                                                                                         0.2     $395.00        $79.00
                                                                                                           Choudary
                                                                                                           Internal meeting to discuss the next steps related to EY National Tax practice group's assistance in
Musano,Matthew Albert    MAM         Senior Manager     3/14/2023         US State and Local Tax           sharing the power of attorney letter with jurisdictions for notice purposes. EY attendees: M.           0.2     $650.00       $130.00
                                                                                                           Musano, N. Flagg, D. Sawyer, K. Gatt, and E. Hall.
                                                                                                           Internal meeting to discuss the next steps related to EY National Tax practice group's assistance in
Flagg,Nancy A.            NAF       Managing Director   3/14/2023         US State and Local Tax           sharing the power of attorney letter with jurisdictions for notice purposes. EY attendees: M.           0.2     $775.00       $155.00
                                                                                                           Musano, N. Flagg, D. Sawyer, K. Gatt, and E. Hall.
                                                                                                           Internal meeting to discuss the next steps related to EY National Tax practice group's assistance in
Sawyer,David Curtis       DCS        Senior Manager     3/14/2023         US State and Local Tax           sharing the power of attorney letter with jurisdictions for notice purposes. EY attendees: M.           0.2     $650.00       $130.00
                                                                                                           Musano, N. Flagg, D. Sawyer, K. Gatt, and E. Hall.
                                                                                                           Internal meeting to discuss the next steps related to EY National Tax practice group's assistance in
Gatt,Katie                 KG        Senior Manager     3/14/2023         US State and Local Tax           sharing the power of attorney letter with jurisdictions for notice purposes. EY attendees: M.           0.2     $650.00       $130.00
                                                                                                           Musano, N. Flagg, D. Sawyer, K. Gatt, and E. Hall.
                                                                                                           Internal meeting to discuss the next steps related to EY National Tax practice group's assistance in
Hall,Emily Melissa        EMH            Senior         3/14/2023         US State and Local Tax           sharing the power of attorney letter with jurisdictions for notice purposes. EY attendees: M.           0.2     $395.00        $79.00
                                                                                                           Musano, N. Flagg, D. Sawyer, K. Gatt, and E. Hall.
Mistler,Brian M          BMM            Manager         3/14/2023             US Income Tax                Call to discuss mark to market tax research. EY attendees: B. Mistler and P. Zhu                        0.5     $525.00       $262.50
Zhu,Philip                PZ             Senior         3/14/2023           US International Tax           Call to discuss mark to market tax research. EY attendees: B. Mistler and P. Zhu                        0.5     $395.00       $197.50
                                                                                                           Internal call to discuss FTX filing procedures. EY attendees: A. Katelas, S. Weiler, B. Mistler, and
Mistler,Brian M          BMM            Manager         3/14/2023             US Income Tax                                                                                                                        0.5     $525.00       $262.50
                                                                                                           J. Berman
                                                                                                           Internal call to discuss FTX filing procedures. EY attendees: A. Katelas, S. Weiler, B. Mistler, and
Katelas,Andreas            KA            Senior         3/14/2023              Tax Advisory                                                                                                                        0.5     $395.00       $197.50
                                                                                                           J. Berman
                                                                                                           Internal call to discuss FTX filing procedures. EY attendees: A. Katelas, S. Weiler, B. Mistler, and
Weiler,Sam P              SPW       Partner/Principal   3/14/2023              Tax Advisory                                                                                                                        0.5     $825.00       $412.50
                                                                                                           J. Berman
                                                                                                           Internal call to discuss FTX filing procedures. EY attendees: A. Katelas, S. Weiler, B. Mistler, and
Berman,Jake                JB        Senior Manager     3/14/2023             US Income Tax                                                                                                                        0.5     $650.00       $325.00
                                                                                                           J. Berman
Ancona,Christopher         CA            Senior         3/14/2023   Project Management Office Transition   Revise the January fee application for submission to the debtor's counsel.                              3.3     $395.00      $1,303.50
Ancona,Christopher         CA            Senior         3/14/2023   Project Management Office Transition   Revise the Project Management Office slide deck for the Leads touchpoint call                           1.7     $395.00        $671.50
Ancona,Christopher         CA            Senior         3/14/2023   Project Management Office Transition   Correspondence with the various workstream leads on Project Management Office action items              1.6     $395.00       $632.00
Bailey,Doug                DB       Partner/Principal   3/14/2023              Tax Advisory                Evaluate procedural options for method of accounting related to digital assets                          2.4     $825.00      $1,980.00
                                                                                                           Prepare Q1 estimate calculations for the first quarter of 2023 for Alameda Research FTX related
Berman,Jake                JB        Senior Manager     3/14/2023             US Income Tax                                                                                                                        0.4     $650.00       $260.00
                                                                                                           entities.
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                                                          Date of
                 Name     Initials         Rank                           Project Category                                               Description of Services                                          Hours   Hourly Rate   Fees
                                                          Service
Bost,Anne                   BA       Managing Director   3/14/2023         Transfer Pricing        Analyze valuation of FTT tokens cryptocurrency                                                          1.3     $775.00      $1,007.50
                                                                                                   Prepare forms 1099 intake tool and requests for 2022 Vendor, Customer and Non-employee
Carver,Cody R.             CRC            Senior         3/14/2023           Payroll Tax                                                                                                                   3.9     $395.00      $1,540.50
                                                                                                   compensation.
Carver,Cody R.             CRC            Senior         3/14/2023          Payroll Tax            Correspondence regarding 1099 intake concerns                                                           1.9     $395.00        $750.50
DeVincenzo,Jennie          JDV       Managing Director   3/14/2023          Payroll Tax            Prepare for meeting with FTX's Chief Administration Officer                                             0.6     $775.00        $465.00
DeVincenzo,Jennie          JDV       Managing Director   3/14/2023          Payroll Tax            Review IRS draft agenda and responses to IRS agent on Etax audits                                       0.6     $775.00        $465.00
Dulceak,Crystal             CD           Manager         3/14/2023     US State and Local Tax      Review summary batch of AR's and review summary of receipts from 3/15 batch                             1.1     $525.00        $577.50
Haas,Zach                   ZH        Senior Manager     3/14/2023        US Income Tax            Reviewing filing extensions of FTX entities ahead of deadline                                           0.3     $650.00        $195.00
Hall,Emily Melissa         EMH            Senior         3/14/2023     US State and Local Tax      Reviewed the FTX state and local tax filings deadlines for tax year 2022                                2.1     $395.00        $829.50
Hammon,David Lane          DLH           Manager         3/14/2023          Non US Tax             Correspondence with EY member firms concerning engagement details                                       2.1     $525.00      $1,102.50
Hammon,David Lane          DLH           Manager         3/14/2023          Non US Tax             Correspondence to determine local FTX/legacy provider contacts for EY member firms                      1.4     $525.00        $735.00
Hammon,David Lane          DLH           Manager         3/14/2023          Non US Tax             Revise contact list, knowledge transfer tracker and country analysis file                               3.6     $525.00      $1,890.00
Healy,John                  JH        Senior Manager     3/14/2023       IRS Audit Matters         Notice follow-up and review POAs                                                                        0.8     $650.00        $520.00
                                                                                                   Research annual reporting requirements for AL SOS and create workbook for SOS websites
Huang,Vanesa                VH             Staff         3/14/2023     US State and Local Tax                                                                                                              1.9     $225.00       $427.50
                                                                                                   regarding Annual Reports
                                         National                                                  Prepare forms 1099 intake tool and requests for 2022 Vendor, Customer and Non-employee
Lowery,Kristie L           KLL                           3/14/2023           Payroll Tax                                                                                                                   3.9     $990.00      $3,861.00
                                     Partner/Principal                                             compensation.
MacLean,Corrie             CM             Senior         3/14/2023          Non US Tax             Review historical documents received, classify and update master document tracking sheet                1.9     $395.00       $750.50
Madhok,Kishan              KM        Senior Manager      3/14/2023        Value Added Tax          Review of VAT fees for global compliance Phase 1                                                        0.9     $650.00       $585.00
Mesa,Francisco             FM             Senior         3/14/2023        Value Added Tax          Prepare summary of next steps                                                                           0.6     $395.00       $237.00
                                                                                                   Revise 3/15 computations for New York State and New York City based on 2nd proceeding year's
Musano,Matthew Albert     MAM         Senior Manager     3/14/2023     US State and Local Tax                                                                                                              0.8     $650.00       $520.00
                                                                                                   liability.
Neziroski,David            DN            Associate       3/14/2023   Fee/Employment Applications   Confidentiality review of time detail for January                                                       1.3     $365.00       $474.50
Richardson,Audrey Sarah    ASR            Manager        3/14/2023       Information Reporting     Correspondence related to 1099 inquiries                                                                0.4     $525.00       $210.00
Richardson,Audrey Sarah    ASR            Manager        3/14/2023       Information Reporting     Research transaction reporting                                                                          0.9     $525.00       $472.50
Rüegg,Christoph            CR              Senior        3/14/2023            Non US Tax           Review polling answers regarding the Declaration of disinterestedness                                   0.2     $395.00        $79.00
Santoro,David              DS             Manager        3/14/2023       Information Reporting     Research B-notice process                                                                               0.3     $525.00       $157.50
                                       Client Serving
Scott,James                 JS                           3/14/2023         US Income Tax           Analyze tax elections made for filing entities in Alameda Silo FTX for period 2018-2021                 0.7     $600.00       $420.00
                                       Contractor JS
                                       Client Serving                                              Review and coordinate signing of Power of Attorney forms for IRS income and employment tax
Scott,James                 JS                           3/14/2023         US Income Tax                                                                                                                   0.3     $600.00       $180.00
                                       Contractor JS                                               exam
                                       Client Serving
Scott,James                 JS                           3/14/2023         US Income Tax           Analyze corporate structure for federal tax treatment                                                   0.6     $600.00       $360.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           3/14/2023     US State and Local Tax      Finalize March 15 state extension review for client payment and approval                                0.4     $600.00       $240.00
                                       Contractor JS
                                                                                                   Written correspondence with N. Molina (FTX) re: 1099 cost basis US reporting requirements for
Shea JR,Thomas M           TMS       Partner/Principal   3/14/2023         US Income Tax                                                                                                                   0.6     $825.00       $495.00
                                                                                                   2022 tax reporting season
                                                                                                   Written and verbal/in-person correspondence with M. Cilia (FTX) and EY team regarding 2022
Shea JR,Thomas M           TMS       Partner/Principal   3/14/2023         US Income Tax                                                                                                                   1.9     $825.00      $1,567.50
                                                                                                   partnership extensions (fed & states) and 3/15 tax filings and payments
                                                                                                   Written correspondence re: reconciliation of tax motion and payments with A&M and EY team
Shea JR,Thomas M           TMS       Partner/Principal   3/14/2023         US Income Tax                                                                                                                   0.7     $825.00       $577.50
                                                                                                   members
                                                                                                   Written correspondence re: execution of POAs for IRS audits between M. Cilia (FTX) and EY team
Shea JR,Thomas M           TMS       Partner/Principal   3/14/2023         US Income Tax                                                                                                                   1.4     $825.00      $1,155.00
                                                                                                   members
Stamper,Jace Allen         JAS        Senior Manager     3/14/2023     US State and Local Tax      Correspondence with Tennessee Department of Revenue regarding assessment and steps to resolve           0.4     $650.00       $260.00
Stillman,Will               WS             Staff         3/14/2023     US State and Local Tax      Prepare form NY CT-51 for new FTX Filing group and created workpaper for the CT-51 form                 2.3     $225.00       $517.50
                                                                                                   Call OIT regarding validation errors for partnership extension, clear errors and qualify, update NYS
Sun,Yuchen                  YS            Senior         3/14/2023     US State and Local Tax                                                                                                              2.3     $395.00       $908.50
                                                                                                   MFI to add bank information and re-qualify, and submit for efile and monitor status
Tsikkouris,Anastasios       AT           Manager         3/14/2023          Non US Tax             Follow-up correspondence for setting up the kick off call for the tax due diligence.                    0.2     $525.00       $105.00
Tsikkouris,Anastasios       AT           Manager         3/14/2023          Non US Tax             Email communication regarding setting up the kick off call.                                             0.3     $525.00       $157.50
                                                                                                   Correspondence regarding storage space in London with potential assets belonging to Innovatia
Tsikkouris,Anastasios       AT           Manager         3/14/2023          Non US Tax                                                                                                                     0.2     $525.00       $105.00
                                                                                                   Ltd.
                                                                                                   Review of ledgers and documents provided of Innovatia Limited for the purpose of preparing the
Tyllirou,Christiana         CT           Manager         3/14/2023      Information Reporting                                                                                                              0.9     $525.00       $472.50
                                                                                                   P&L and balance sheet for the year ended 12/31/2022.
Wrenn,Kaitlin Doyle       KDW            Manager         3/14/2023           Payroll Tax           Prepare for meeting with FTX regarding the 1099 customer intake procedures and response FAQs            2.2     $525.00      $1,155.00
Zheng,Eva                  EZ            Manager         3/14/2023     US State and Local Tax      Review XML for NYS and NYC efile                                                                        0.4     $525.00        $210.00
Zheng,Eva                  EZ            Manager         3/14/2023     US State and Local Tax      Review net method for local filings                                                                     0.8     $525.00        $420.00
Zhu,Philip                 PZ             Senior         3/14/2023          Tax Advisory           Consultation with the Federal tax team regarding IRS Case brief                                         3.2     $395.00      $1,264.00
Amacker,Ariane             AA        Senior Manager      3/14/2023      Liquidation Activities     Review correspondence regarding moratorium                                                              0.8     $650.00        $520.00
Gupta,Pulkit               PG        Partner/Principal   3/14/2023      Liquidation Activities     Correspondence with EY US team regarding Quoine India                                                   0.3     $650.00        $195.00
Jain,Gaurav                GJ        Senior Manager      3/14/2023      Liquidation Activities     Analyze bank statements and audited financial statements                                                3.3     $550.00      $1,815.00
Maiello,Rob                RM           Consultant       3/14/2023      Liquidation Activities     Summarize all financial and organizational information regarding Singaporean entities                   0.7     $445.00        $311.50
Nertz,Salome                SN          Consultant       3/14/2023      Liquidation Activities     Correspondence with EY Switzerland regarding questions on moratorium process in Switzerland             0.3     $395.00       $118.50
                                                                                                   Call with EY Turkey regarding legal proceedings, possibility of appointing a liquidator whilst legal
ORiain,Fionn               ORF           Manager         3/14/2023      Liquidation Activities     process ongoing, and understanding financial impact of MARSK investigation. EY attendees: F.            1.5     $725.00      $1,087.50
                                                                                                   ORiain and N. Bugden
                                                                                                   Call with EY NZ regarding the Singaporean insolvency processes and understanding key next steps
ORiain,Fionn               ORF           Manager         3/14/2023      Liquidation Activities                                                                                                             2.6     $725.00      $1,885.00
                                                                                                   re appointment of 3rd party liquidator.
                                                                                                   Correspondence with EY Gibraltar regarding Zubr entity, next steps in Liquidation process and
ORiain,Fionn               ORF           Manager         3/14/2023      Liquidation Activities                                                                                                             3.3     $725.00      $2,392.50
                                                                                                   review of timeline for local process.
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                                                          Date of
                  Name    Initials        Rank                                 Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                          Service
                                                                                                              Correspondence with EY Switzerland regarding provision of services for entities contemplated as
ORiain,Fionn               ORF           Manager         3/14/2023            Liquidation Activities                                                                                                                  1.2     $725.00       $870.00
                                                                                                              part of Swiss Moratorium process and potential impact on local jurisdiction liquidation processes.
ORiain,Fionn               ORF           Manager         3/14/2023            Liquidation Activities          Correspondence with S&C regarding Turkish FTX entities.                                                 3.1     $725.00      $2,247.50
                                                                                                              Follow-up correspondence with EY NZ regarding Singaporean entities providing general overview
ORiain,Fionn               ORF           Manager         3/14/2023            Liquidation Activities                                                                                                                  1.6     $725.00      $1,160.00
                                                                                                              of entities and supporting financial information.
Perez,Ellen Joy            EJP            Senior         3/14/2023            Liquidation Activities          Request for subsequent data from Jan 2023 to date (follow up)                                           0.2     $395.00        $79.00
                                         National
Rumford,Neil                NR                           3/14/2023            Liquidation Activities          Correspondence with ZUBR regarding possible sale of IT equipment                                        0.2     $990.00       $198.00
                                     Partner/Principal
Venkataraman,Siddharth      SV           Manager         3/14/2023            Liquidation Activities          Review balance sheet and historical cash flows identifying potential implications and questions         1.2     $400.00       $480.00
Bugden,Nick R              NRB        Senior Manager     3/14/2023            Liquidation Activities          Review onboarding financial package for local team re: Swiss entities                                   0.8     $900.00       $720.00
                                                                                                              Call to discuss update on Germany, Cyprus, and Singapore. EY attendees: B. Richards and N.
Bugden,Nick R              NRB        Senior Manager     3/14/2023            Liquidation Activities                                                                                                                  1.6     $900.00      $1,440.00
                                                                                                              Bugden
                                                                                                              Call to discuss update on Germany, Cyprus, and Singapore. EY attendees: B. Richards and N.
Richards,Briana A.          BR       Partner/Principal   3/14/2023            Liquidation Activities                                                                                                                  1.6     $1,150.00    $1,840.00
                                                                                                              Bugden
Bugden,Nick R              NRB        Senior Manager     3/14/2023            Liquidation Activities          Analyze latest available financial information on Singapore entities including related parties          1.3     $900.00      $1,170.00
Bugden,Nick R              NRB        Senior Manager     3/14/2023   Chapter 11 Process and Case Management   Call with EY Tax team to align on fee application procedures                                            0.5     $900.00        $450.00
                                                                                                              Call to discuss possible Singapore liquidation process. EY attendees: K. Hutchison, B. Richards, N.
Bugden,Nick R              NRB        Senior Manager     3/14/2023            Liquidation Activities                                                                                                                  0.5     $900.00       $450.00
                                                                                                              Bugden, and F. ORiain
                                                                                                              Call to discuss possible Singapore liquidation process. EY attendees: K. Hutchison, B. Richards, N.
Richards,Briana A.          BR       Partner/Principal   3/14/2023            Liquidation Activities                                                                                                                  0.5     $1,150.00     $575.00
                                                                                                              Bugden, and F. ORiain
                                                                                                              Call to discuss possible Singapore liquidation process. EY attendees: K. Hutchison, B. Richards, N.
Hutchison,Keiran            KH       Partner/Principal   3/14/2023            Liquidation Activities                                                                                                                  0.5     $850.00       $425.00
                                                                                                              Bugden, and F. ORiain
                                                                                                              Call with EY Turkey to discuss status of Turkish entities and potential liquidations. EY attendees:
Bugden,Nick R              NRB        Senior Manager     3/14/2023            Liquidation Activities                                                                                                                  0.6     $900.00       $540.00
                                                                                                              K. Hutchison, N. Bugden, and F. ORiain
                                                                                                              Call with EY Turkey to discuss status of Turkish entities and potential liquidations. EY attendees:
Hutchison,Keiran            KH       Partner/Principal   3/14/2023            Liquidation Activities                                                                                                                  0.6     $850.00       $510.00
                                                                                                              K. Hutchison, N. Bugden, and F. ORiain
                                                                                                              Call with EY Turkey regarding legal proceedings, possibility of appointing a liquidator whilst legal
Bugden,Nick R              NRB        Senior Manager     3/14/2023            Liquidation Activities          process ongoing, and understanding financial impact of MARSK investigation. EY attendees: F.            1.5     $900.00      $1,350.00
                                                                                                              ORiain and N. Bugden
Bugden,Nick R              NRB        Senior Manager     3/14/2023   Chapter 11 Process and Case Management   Team coordination call across EY services                                                               0.5     $900.00       $450.00
                                                                                                              Call to discuss possible Singapore liquidation process. EY attendees: K. Hutchison, B. Richards, N.
ORiain,Fionn               ORF           Manager         3/14/2023            Liquidation Activities                                                                                                                  0.5     $725.00       $362.50
                                                                                                              Bugden, and F. ORiain
                                                                                                              Call with EY Turkey to discuss status of Turkish entities and potential liquidations. EY attendees:
ORiain,Fionn               ORF           Manager         3/14/2023            Liquidation Activities                                                                                                                  0.6     $725.00       $435.00
                                                                                                              K. Hutchison, N. Bugden, and F. ORiain
                                         National                                                             Meeting recapping prior day US employment tax audit discussion and open items. EY attendees: K.
Lowery,Kristie L           KLL                           3/15/2023                 Payroll Tax                                                                                                                        0.5     $990.00       $495.00
                                     Partner/Principal                                                        Wrenn and K. Lowery
                                                                                                              Meeting recapping prior day US employment tax audit discussion and open items. EY attendees: K.
Wrenn,Kaitlin Doyle       KDW            Manager         3/15/2023                 Payroll Tax                                                                                                                        0.5     $525.00       $262.50
                                                                                                              Wrenn and K. Lowery
                                                                                                              Internal call to discuss backlog and procedures of logging 1099 inquires for FTX. EY attendees: K.
Carver,Cody R.             CRC            Senior         3/15/2023                 Payroll Tax                                                                                                                        0.5     $395.00       $197.50
                                                                                                              Wrenn, M. Hamilton, and C. Carver
                                                                                                              Internal call to discuss backlog and procedures of logging 1099 inquires for FTX. EY attendees: K.
Hamilton,Mary Catherine   MCH             Senior         3/15/2023                 Payroll Tax                                                                                                                        0.5     $395.00       $197.50
                                                                                                              Wrenn, M. Hamilton, and C. Carver
                                                                                                              Internal call to discuss backlog and procedures of logging 1099 inquires for FTX. EY attendees: K.
Wrenn,Kaitlin Doyle       KDW            Manager         3/15/2023                 Payroll Tax                                                                                                                        0.5     $525.00       $262.50
                                                                                                              Wrenn, M. Hamilton, and C. Carver
                                                                                                              Meeting to recap client meeting from prior day on US employment tax IRS audit, expense analysis
DeVincenzo,Jennie          JDV       Managing Director   3/15/2023                 Payroll Tax                                                                                                                        1.2     $775.00       $930.00
                                                                                                              and preparation of upcoming IRS audit agenda review. EY attendees: K. Wrenn and J. DeVincenzo

                                                                                                              Meeting to recap client meeting from prior day on US employment tax IRS audit, expense analysis
Wrenn,Kaitlin Doyle       KDW            Manager         3/15/2023                 Payroll Tax                                                                                                                        1.2     $525.00       $630.00
                                                                                                              and preparation of upcoming IRS audit agenda review. EY attendees: K. Wrenn and J. DeVincenzo
Ancona,Christopher          CA            Senior         3/15/2023        Fee/Employment Applications         Meeting to discuss the January fee application. EY attendees: C. Ancona and D. Neziroski                0.5     $395.00       $197.50
Neziroski,David             DN           Associate       3/15/2023        Fee/Employment Applications         Meeting to discuss the January fee application. EY attendees: C. Ancona and D. Neziroski                0.5     $365.00       $182.50
                                                                                                              Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane          DLH           Manager         3/15/2023                Non US Tax                  foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.5     $525.00       $262.50
                                                                                                              T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                              Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.         TJK       Partner/Principal   3/15/2023    Project Management Office Transition    foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.5     $825.00       $412.50
                                                                                                              T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                              Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie             CM             Senior         3/15/2023                Non US Tax                  foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.5     $395.00       $197.50
                                                                                                              T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                              Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga          KS           Manager         3/15/2023                Non US Tax                  foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.5     $525.00       $262.50
                                                                                                              T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                              Meeting with EY Turkey to discuss local NDA. EY attendees: D. Hammon, C. MacLean, E.
Erdem,Ersin                 EE       Partner/Principal   3/15/2023                Non US Tax                                                                                                                          0.5     $825.00       $412.50
                                                                                                              Erdem, and D. Gursoy
                                                                                                              Meeting with EY Turkey to discuss local NDA. EY attendees: D. Hammon, C. MacLean, E.
Gursoy,Damla                DG        Senior Manager     3/15/2023                Non US Tax                                                                                                                          0.5     $650.00       $325.00
                                                                                                              Erdem, and D. Gursoy
                                                                                                              Meeting with EY Turkey to discuss local NDA. EY attendees: D. Hammon, C. MacLean, E.
Hammon,David Lane          DLH           Manager         3/15/2023                Non US Tax                                                                                                                          0.5     $525.00       $262.50
                                                                                                              Erdem, and D. Gursoy
                                                                                                              Meeting with EY Turkey to discuss local NDA. EY attendees: D. Hammon, C. MacLean, E.
MacLean,Corrie             CM             Senior         3/15/2023                Non US Tax                                                                                                                          0.5     $395.00       $197.50
                                                                                                              Erdem, and D. Gursoy
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                                                          Date of
                  Name    Initials         Rank                                  Project Category                                                        Description of Services                                         Hours   Hourly Rate   Fees
                                                          Service
                                                                                                                   Call regarding Paper Bird/FTX Trading Item entities. EY attendees: A. Dubroff, D. Bailey, and B.
Berman,Jake                 JB        Senior Manager     3/15/2023                US Income Tax                                                                                                                           0.5     $650.00       $325.00
                                                                                                                   Mistler
                                                                                                                   Call regarding Paper Bird/FTX Trading Item entities. EY attendees: A. Dubroff, D. Bailey, and B.
Bailey,Doug                 DB       Partner/Principal   3/15/2023                 Tax Advisory                                                                                                                           0.5     $825.00       $412.50
                                                                                                                   Mistler
                                                                                                                   Call regarding Paper Bird/FTX Trading Item entities. EY attendees: A. Dubroff, D. Bailey, and B.
Mistler,Brian M           BMM            Manager         3/15/2023                US Income Tax                                                                                                                           0.5     $525.00       $262.50
                                                                                                                   Mistler
Healy,John                  JH        Senior Manager     3/15/2023               IRS Audit Matters                 Call regarding and FTX POAs. EY attendees: C. Ellenson and J. Healy                                    0.9     $650.00       $585.00
Ellenson,Cory               CE        Senior Manager     3/15/2023               IRS Audit Matters                 Call regarding and FTX POAs. EY attendees: C. Ellenson and J. Healy                                    0.9     $650.00       $585.00
                                                                                                                   Conference call re: research on tax specific issues with regards to the FTX entities. EY attendees:
Dubroff,Andy                AD       Managing Director   3/15/2023              US International Tax                                                                                                                      2.2     $775.00      $1,705.00
                                                                                                                   D. Bailey, K. Simpson, and A. Dubroff
                                                                                                                   Conference call re: research on tax specific issues with regards to the FTX entities. EY attendees:
Bailey,Doug                 DB       Partner/Principal   3/15/2023                 Tax Advisory                                                                                                                           2.2     $825.00      $1,815.00
                                                                                                                   D. Bailey, K. Simpson, and A. Dubroff
                                         National                                                                  Conference call re: research on tax specific issues with regards to the FTX entities. EY attendees:
Simpson,Kirsten             KS                           3/15/2023              US International Tax                                                                                                                      2.2     $990.00      $2,178.00
                                     Partner/Principal                                                             D. Bailey, K. Simpson, and A. Dubroff
                                                                                                                   Internal follow-up meeting to walk through Tennessee notice and as-filed return to determine next
Hall,Emily Melissa         EMH            Senior         3/15/2023             US State and Local Tax                                                                                                                     0.5     $395.00       $197.50
                                                                                                                   steps. EY attendees: M. Musano, J. Stamper, W. Bieganski, and E. Hall
                                                                                                                   Internal follow-up meeting to walk through Tennessee notice and as-filed return to determine next
Musano,Matthew Albert     MAM         Senior Manager     3/15/2023             US State and Local Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                                   steps. EY attendees: M. Musano, J. Stamper, W. Bieganski, and E. Hall
                                                                                                                   Internal follow-up meeting to walk through Tennessee notice and as-filed return to determine next
Stamper,Jace Allen         JAS        Senior Manager     3/15/2023             US State and Local Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                                   steps. EY attendees: M. Musano, J. Stamper, W. Bieganski, and E. Hall
                                      Client Serving                                                               Internal follow-up meeting to walk through Tennessee notice and as-filed return to determine next
Bieganski,Walter           WB                            3/15/2023             US State and Local Tax                                                                                                                     0.5     $200.00       $100.00
                                      Contractor WB                                                                steps. EY attendees: M. Musano, J. Stamper, W. Bieganski, and E. Hall
Ancona,Christopher          CA            Senior         3/15/2023     Project Management Office Transition        Revise the January fee application for review by the debtors counsel                                   1.8     $395.00       $711.00
                                                                                                                   Follow-up on various Project Management Office action items and corresponding with workstream
Ancona,Christopher          CA            Senior         3/15/2023     Project Management Office Transition                                                                                                               0.9     $395.00       $355.50
                                                                                                                   leads.
Bailey,Doug                 DB       Partner/Principal   3/15/2023                 Tax Advisory                    Analysis of prior period stock issuances for federal tax considerations                                2.4     $825.00      $1,980.00
Bailey,Doug                 DB       Partner/Principal   3/15/2023                 Tax Advisory                    Draft information of needs related to trading data                                                     2.3     $825.00      $1,897.50
                                      Client Serving
Bieganski,Walter           WB                            3/15/2023             US State and Local Tax              Correspondence regarding the Tennessee tax notice                                                      0.4     $200.00        $80.00
                                      Contractor WB
Bost,Anne                  BA        Managing Director   3/15/2023                Transfer Pricing                 Review and respond to email correspondence                                                             0.3     $775.00       $232.50
Camargos,Lorraine Silva    LSC            Senior         3/15/2023                 Non US Tax                      Prepare draft of 2023 calendar, position sheet, and contact list                                       0.6     $395.00       $237.00
                                                                                                                   Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.             CRC            Senior         3/15/2023                  Payroll Tax                                                                                                                           3.9     $395.00      $1,540.50
                                                                                                                   inquiries.
Choudary,Hira               HC            Staff          3/15/2023                  Non US Tax                     Review FTX Country Analysis and KT Tracker file                                                        0.9     $225.00       $202.50
Craven,Simone               SC          Manager          3/15/2023                  Non US Tax                     Review and analyze documents received for processing                                                   0.6     $525.00       $315.00
Dubroff,Andy                AD       Managing Director   3/15/2023              US International Tax               Analysis of prior period stock issuances for federal tax purposes                                      0.5     $775.00       $387.50
Dulceak,Crystal             CD          Manager          3/15/2023             US State and Local Tax              Review and follow-up on MTL Licenses in question from client.                                          0.4     $525.00       $210.00
Flagg,Nancy A.             NAF       Managing Director   3/15/2023             US State and Local Tax              Review claim log and claim detail information to finalize the master claim log content and format      0.2     $775.00       $155.00
                                                                                                                   Draft Tennessee return workpaper comparing as-filed calculations to amended values for tax year
Hall,Emily Melissa         EMH            Senior         3/15/2023             US State and Local Tax                                                                                                                     2.3     $395.00       $908.50
                                                                                                                   2021 purposes.
                                                                                                                   Analyze the as-filed Tennessee return from tax year 2021 and researched which entities, if any,
Hall,Emily Melissa         EMH            Senior         3/15/2023             US State and Local Tax                                                                                                                     1.2     $395.00       $474.00
                                                                                                                   have licenses in the state.
                                                                                                                   Correspondence concerning the transition of tax compliance services with EY member firms
Hammon,David Lane          DLH           Manager         3/15/2023                  Non US Tax                     (preparing declaration of disinterestedness, contractual issues, scheduling of introductory            4.3     $525.00      $2,257.50
                                                                                                                   knowledge transfer call)
Hammon,David Lane          DLH           Manager         3/15/2023                  Non US Tax                     Revise of various trackers concerning the foreign workstreams to understand each country's status      2.9     $525.00      $1,522.50
Huang,Vanesa                VH             Staff         3/15/2023             US State and Local Tax              Review and revise Annual Report credential file and created logins for other States                    2.6     $225.00        $585.00
Johnson,Derrick Joseph      DJJ            Staff         3/15/2023             US State and Local Tax              Review newly filed claims and updating the claims log                                                  1.7     $225.00        $382.50
Katelas,Andreas             KA            Senior         3/15/2023                 Tax Advisory                    Revise the mark to market tax election outline for discussion purposes.                                3.1     $395.00      $1,224.50
                                                                                                                   Prepare and review draft summary of the Clifton Bay FTX entity Fed Extension as well as the
Lasorsa,Caitlyn             CL            Senior         3/15/2023                US Income Tax                                                                                                                           0.3     $395.00       $118.50
                                                                                                                   Extension report
                                         National
Lowery,Kristie L           KLL                           3/15/2023   Non-Working Travel (billed at 50% of rates)   Travel from Dallas, TX to Charlotte, NC                                                                6.0     $495.00      $2,970.00
                                     Partner/Principal
MacLean,Corrie             CM             Senior         3/15/2023                 Non US Tax                      Review historical documents received, classify and update master document tracking sheet               2.3     $395.00       $908.50
Madhok,Kishan              KM        Senior Manager      3/15/2023               Value Added Tax                   Review of country VAT compliance fee quotes                                                            1.2     $650.00       $780.00
                                         National
McComber,Donna             DM                            3/15/2023                Transfer Pricing                 Prepare draft of TP presentation                                                                       0.6     $990.00       $594.00
                                     Partner/Principal
Mistler,Brian M           BMM            Manager         3/15/2023                US Income Tax                    Review of 11/30 financials provided by RLA                                                             0.4     $525.00       $210.00
Mistler,Brian M           BMM            Manager         3/15/2023                US Income Tax                    Correspondence re: FTX POAs                                                                            0.2     $525.00       $105.00
Mistler,Brian M           BMM            Manager         3/15/2023                US Income Tax                    Review responses following weekly IRS meeting                                                          0.7     $525.00       $367.50
                                                                                                                   Review Tennessee workpaper comparing the as-filed calculations to amended values for tax year
Musano,Matthew Albert     MAM         Senior Manager     3/15/2023             US State and Local Tax                                                                                                                     1.1     $650.00       $715.00
                                                                                                                   2021.
Musano,Matthew Albert     MAM         Senior Manager     3/15/2023             US State and Local Tax              Review the Tennessee return to determine the issues surrounding the proof of claim.                    0.3     $650.00       $195.00
                                                                                                                   Review of Innovatia Limited ledgers and documents for the purpose of preparing the P&L and
Pavlou,Pantelis             PP           Manager         3/15/2023             Information Reporting                                                                                                                      0.4     $525.00       $210.00
                                                                                                                   balance sheet for the year ended 12/31/2022.
                                                                                                                   Call with J. Sequeira (A&M) in order to clarify questions raised regarding the ledgers and
Pavlou,Pantelis             PP           Manager         3/15/2023             Information Reporting                                                                                                                      0.5     $525.00       $262.50
                                                                                                                   documents provided for Innovatia Limited. EY attendees: P. Pavlou and C. Tyllirou
                                                                                                                   Review approvals of involved partners and the coordination and adjustments regarding the
Rüegg,Christoph             CR            Senior         3/15/2023                  Non US Tax                                                                                                                            1.2     $395.00       $474.00
                                                                                                                   Declaration of disinterestedness
                                       Client Serving
Scott,James                 JS                           3/15/2023                US Income Tax                    Analysis of prior period stock issuances for federal tax purposes                                      1.1     $600.00       $660.00
                                       Contractor JS
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                                                          Date of
                  Name    Initials         Rank                                  Project Category                                                        Description of Services                                          Hours   Hourly Rate   Fees
                                                          Service
                                       Client Serving
Scott,James                 JS                           3/15/2023                US Income Tax                    Analyze tax elections made for filing entities in Alameda Silo FTX for period 2018-2021                 0.4     $600.00       $240.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           3/15/2023                US Income Tax                    Analyze California and Tennessee notices                                                                0.4     $600.00       $240.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           3/15/2023             US State and Local Tax              Review of lender license renewal request                                                                0.3     $600.00       $180.00
                                       Contractor JS
Shea JR,Thomas M           TMS       Partner/Principal   3/15/2023                US Income Tax                    Written correspondence with EY international tax team re: tax treatment of certain transactions         0.7     $825.00       $577.50
Shea JR,Thomas M           TMS       Partner/Principal   3/15/2023   Non-Working Travel (billed at 50% of rates)   Travel from Dallas, TX to New York, NY                                                                  3.0     $412.50      $1,237.50
                                                                                                                   Correspondence with Tennessee Department of Revenue to confirm next steps regarding
Stamper,Jace Allen         JAS        Senior Manager     3/15/2023             US State and Local Tax                                                                                                                      0.8     $650.00       $520.00
                                                                                                                   assessment
Staromiejska,Kinga          KS           Manager         3/15/2023                  Non US Tax                     Review of quality procedures in connection with service delivery for non-US workstreams.                1.1     $525.00       $577.50
Tsikkouris,Anastasios       AT           Manager         3/15/2023                  Non US Tax                     Review opening balance sheet of Innovatia Ltd.                                                          0.7     $525.00       $367.50
                                                                                                                   Correspondence with EY US General Counsel's Office regarding the ’declaration of
Tsikkouris,Anastasios       AT           Manager         3/15/2023                  Non US Tax                                                                                                                             0.3     $525.00       $157.50
                                                                                                                   disinterestedness’
                                                                                                                   Call with J. Sequeira (A&M) in order to clarify questions raised regarding the ledgers and
Tyllirou,Christiana         CT           Manager         3/15/2023             Information Reporting                                                                                                                       0.5     $525.00       $262.50
                                                                                                                   documents provided for Innovatia Limited. EY attendees: P. Pavlou and C. Tyllirou
                                                                                                                   Review 1099 intake process documentation updates based on meeting and draft response
Wrenn,Kaitlin Doyle       KDW            Manager         3/15/2023                  Payroll Tax                                                                                                                            2.6     $525.00      $1,365.00
                                                                                                                   preparation for sign off from appropriate individuals from EY and S&C
Wrenn,Kaitlin Doyle       KDW            Manager         3/15/2023                  Payroll Tax                    Prepare summary of the IRS employment tax audit documentation updates                                   0.8     $525.00       $420.00
Zheng,Eva                  EZ            Manager         3/15/2023             US State and Local Tax              Correspondence with NYS, NYC, and MFI for efile acceptance.                                             0.1     $525.00        $52.50
                                                                                                                   Call to review questionnaire regarding bankruptcy and debt proceedings, esp. moratoria in
Cadisch,Michael            MC        Managing Director   3/15/2023             Liquidation Activities                                                                                                                      1.0     $775.00       $775.00
                                                                                                                   Switzerland. EY attendees: M. Cadisch and C. Peiry
Maiello,Rob                RM           Consultant       3/15/2023             Liquidation Activities              Coordinate with other EY countries on winddown procedural matters and addressed questions               1.1     $445.00       $489.50
                                                                                                                   Prepare internal memorandum to enable the following jurisdictions to review financial information
Maiello,Rob                RM           Consultant       3/15/2023             Liquidation Activities                                                                                                                      0.7     $445.00       $311.50
                                                                                                                   and provide liquidation related advice: New Zealand
                                                                                                                   Reconcile Statements of Assets and Liabilities & Statement of Financial Affairs for Analisya,
Maiello,Rob                RM           Consultant       3/15/2023             Liquidation Activities                                                                                                                      3.1     $445.00      $1,379.50
                                                                                                                   Liquid Securities, & Quoine India to identify variances in comparison with the latest balance sheets
                                                                                                                   Review Statements of Assets and Liabilities & Statement of Financial Affairs and coordinate with
Maiello,Rob                RM           Consultant       3/15/2023             Liquidation Activities                                                                                                                      0.3     $445.00       $133.50
                                                                                                                   India and Singapore
                                                                                                                   Discussion regarding legal clarifications and draft of response to questions on moratorium process
Nertz,Salome                SN          Consultant       3/15/2023             Liquidation Activities                                                                                                                      3.0     $395.00      $1,185.00
                                                                                                                   in Switzerland. EY attendees: S. Nertz and C. Peiry
                                                                                                                   Correspondence with EY Turkey re Turkish entities and understanding of next steps and pertinent
ORiain,Fionn               ORF           Manager         3/15/2023             Liquidation Activities                                                                                                                      3.9     $725.00      $2,827.50
                                                                                                                   items to discuss with local counsel.
ORiain,Fionn               ORF           Manager         3/15/2023             Liquidation Activities              Correspondence with S&C regarding Turkish FTX entities.                                                 2.8     $725.00      $2,030.00
ORiain,Fionn               ORF           Manager         3/15/2023             Liquidation Activities              Email correspondence with EY NZ regarding Singaporean entities                                          3.7     $725.00      $2,682.50
                                                                                                                   Prepare internal progress update with respect to 17 entities including progress to date, next steps
ORiain,Fionn               ORF           Manager         3/15/2023             Liquidation Activities                                                                                                                      0.4     $725.00       $290.00
                                                                                                                   and action items for each entity.
ORiain,Fionn               ORF           Manager         3/15/2023             Liquidation Activities              Review SOFA & SOAL for German entities & issuance of same to local team.                                1.3     $725.00        $942.50
ORiain,Fionn               ORF           Manager         3/15/2023             Liquidation Activities              Review SOFA & SOAL for Gibraltar entities & issuance of same to local team.                             0.4     $725.00        $290.00
ORiain,Fionn               ORF           Manager         3/15/2023             Liquidation Activities              Review SOFA & SOAL for Indian entities & issuance of same to local team.                                1.7     $725.00      $1,232.50
ORiain,Fionn               ORF           Manager         3/15/2023             Liquidation Activities              Review SOFA & SOAL for Singaporean entities & issuance of same to local team.                           0.8     $725.00        $580.00
                                                                                                                   Call to review questionnaire regarding bankruptcy and debt proceedings, esp. moratoria in
Peiry,Corina                CP           Manager         3/15/2023             Liquidation Activities                                                                                                                      1.0     $525.00       $525.00
                                                                                                                   Switzerland. EY attendees: M. Cadisch and C. Peiry
                                                                                                                   Discussion regarding legal clarifications and draft of response to questions on moratorium process
Peiry,Corina                CP           Manager         3/15/2023             Liquidation Activities                                                                                                                      3.0     $525.00      $1,575.00
                                                                                                                   in Switzerland. EY attendees: S. Nertz and C. Peiry
Perez,Ellen Joy            EJP            Senior         3/15/2023             Liquidation Activities              Request for subsequent data from Jan 2023 to date (reply to the query)                                  0.2     $395.00        $79.00
Bugden,Nick R              NRB        Senior Manager     3/15/2023             Liquidation Activities              Correspondence re: status of FTX Crypto Services Ltd entities., FTX EMEA Ltd, FTX EU Ltd                0.4     $900.00       $360.00
                                                                                                                   Call to discuss Cyprus entities and independent liquidation options. EY attendees: B. Richards and
Bugden,Nick R              NRB        Senior Manager     3/15/2023             Liquidation Activities                                                                                                                      1.2     $900.00      $1,080.00
                                                                                                                   N. Bugden
                                                                                                                   Call to discuss Cyprus entities and independent liquidation options. EY attendees: B. Richards and
Richards,Briana A.          BR       Partner/Principal   3/15/2023             Liquidation Activities                                                                                                                      1.2     $1,150.00    $1,380.00
                                                                                                                   N. Bugden
Bugden,Nick R              NRB       Senior Manager      3/15/2023             Liquidation Activities              Review SOFAs & SOALs for entities on liquidation list                                                   2.6     $900.00      $2,340.00
Hutchison,Keiran           KH        Partner/Principal   3/15/2023             Liquidation Activities              Correspondence with team on progress with Singapore and Cyprus entities                                 0.2     $850.00        $170.00
                                                                                                                   Call re: SOFA / SOAL financials pertinent to liquidations. EY attendees: B. Richards and N.
Bugden,Nick R              NRB        Senior Manager     3/15/2023             Liquidation Activities                                                                                                                      0.7     $900.00       $630.00
                                                                                                                   Bugden
                                                                                                                   Call re: SOFA / SOAL financials pertinent to liquidations. EY attendees: B. Richards and N.
Richards,Briana A.          BR       Partner/Principal   3/15/2023             Liquidation Activities                                                                                                                      0.7     $1,150.00     $805.00
                                                                                                                   Bugden
Bugden,Nick R              NRB        Senior Manager     3/15/2023             Liquidation Activities              Review FTX liquidation update summary prepared by F. ORiain                                             0.6     $900.00       $540.00
Bugden,Nick R              NRB        Senior Manager     3/15/2023             Liquidation Activities              Review latest available information on Maltese entities and operational connectivity to debtors         0.6     $900.00       $540.00
                                                                                                                   Call with L. Barrios (RLKS) to review updates to the 1099 intake file, including what key focus
Carver,Cody R.             CRC            Senior         3/16/2023         Meetings with Other Advisors            areas, canned email responses to use, and how to update the tracker when emails responses are sent.     0.8     $395.00       $316.00
                                                                                                                   EY attendees: C. Carver, M. Hamilton and K. Wrenn
                                                                                                                   Call with L. Barrios (RLKS) to review updates to the 1099 intake file, including what key focus
Hamilton,Mary Catherine   MCH             Senior         3/16/2023         Meetings with Other Advisors            areas, canned email responses to use, and how to update the tracker when emails responses are sent.     0.8     $395.00       $316.00
                                                                                                                   EY attendees: C. Carver, M. Hamilton and K. Wrenn
                                                                                                                   Call with L. Barrios (RLKS) to review updates to the 1099 intake file, including what key focus
Wrenn,Kaitlin Doyle       KDW            Manager         3/16/2023         Meetings with Other Advisors            areas, canned email responses to use, and how to update the tracker when emails responses are sent.     0.8     $525.00       $420.00
                                                                                                                   EY attendees: C. Carver, M. Hamilton and K. Wrenn
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                                                          Date of
                  Name    Initials         Rank                               Project Category                                                   Description of Services                                        Hours   Hourly Rate   Fees
                                                          Service
                                                                                                            Internal call to discuss issues with sharing Excel file in BOX. EY attendees: K. Wrenn, M.
Carver,Cody R.             CRC            Senior         3/16/2023               Payroll Tax                                                                                                                     0.2     $395.00        $79.00
                                                                                                            Hamilton, and C. Carver
                                                                                                            Internal call to discuss issues with sharing Excel file in BOX. EY attendees: K. Wrenn, M.
Hamilton,Mary Catherine   MCH             Senior         3/16/2023               Payroll Tax                                                                                                                     0.2     $395.00        $79.00
                                                                                                            Hamilton, and C. Carver
                                                                                                            Internal call to discuss issues with sharing Excel file in BOX. EY attendees: K. Wrenn, M.
Wrenn,Kaitlin Doyle       KDW            Manager         3/16/2023               Payroll Tax                                                                                                                     0.2     $525.00       $105.00
                                                                                                            Hamilton, and C. Carver
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher          CA            Senior         3/16/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                 DB       Partner/Principal   3/16/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                 JB        Senior Manager     3/16/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Bieganski,Walter           WB                            3/16/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $200.00       $120.00
                                      Contractor WB
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                   BA       Managing Director   3/16/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $775.00       $465.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Cavusoglu,Coskun            CC       Partner/Principal   3/16/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ellenson,Cory               CE        Senior Manager     3/16/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya              KG        Senior Manager     3/16/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                   ZH        Senior Manager     3/16/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa         EMH            Senior         3/16/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane          DLH           Manager         3/16/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas             KA            Senior         3/16/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David            DK           Manager         3/16/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.         TJK       Partner/Principal   3/16/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren             LL       Partner/Principal   3/16/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie             CM             Senior         3/16/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                         National
McComber,Donna             DM                            3/16/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $990.00       $594.00
                                     Partner/Principal
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M           BMM            Manager         3/16/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     MAM         Senior Manager     3/16/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                       Client Serving
Scott,James                 JS                           3/16/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $600.00       $360.00
                                       Contractor JS
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M           TMS       Partner/Principal   3/16/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga          KS           Manager         3/16/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                            the implementation of global compliance and reporting services
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                                                         Date of
                  Name   Initials        Rank                                Project Category                                                   Description of Services                                        Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle      KDW            Manager         3/16/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Internal discussion regarding state and local corporate income tax and employment tax notice
Hall,Emily Melissa        EMH            Senior         3/16/2023         US State and Local Tax                                                                                                                0.3     $395.00       $118.50
                                                                                                           updates. EY attendees: M. Musano, K. Wrenn, and E. Hall
                                                                                                           Internal discussion regarding state and local corporate income tax and employment tax notice
Musano,Matthew Albert    MAM        Senior Manager      3/16/2023         US State and Local Tax                                                                                                                0.3     $650.00       $195.00
                                                                                                           updates. EY attendees: M. Musano, K. Wrenn, and E. Hall
                                                                                                           Internal discussion regarding state and local corporate income tax and employment tax notice
Wrenn,Kaitlin Doyle      KDW            Manager         3/16/2023               Payroll Tax                                                                                                                     0.3     $525.00       $157.50
                                                                                                           updates. EY attendees: M. Musano, K. Wrenn, and E. Hall
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Adegun,Adeyemi             AA       Senior Manager      3/16/2023       Meetings with Management                                                                                                                0.4     $650.00       $260.00
                                                                                                           EY attendees: C. Ancona, B. Richards, T. Shea, J. Scott, B. Mistler, A. Adegun, and D. Akpan

                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Akpan,Dorcas               DA             Staff         3/16/2023       Meetings with Management                                                                                                                0.4     $225.00        $90.00
                                                                                                           EY attendees: C. Ancona, B. Richards, T. Shea, J. Scott, B. Mistler, A. Adegun, and D. Akpan

                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher         CA            Senior         3/16/2023       Meetings with Management                                                                                                                0.4     $395.00       $158.00
                                                                                                           EY attendees: C. Ancona, B. Richards, T. Shea, J. Scott, B. Mistler, A. Adegun, and D. Akpan

                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M          BMM            Manager         3/16/2023       Meetings with Management                                                                                                                0.4     $525.00       $210.00
                                                                                                           EY attendees: C. Ancona, B. Richards, T. Shea, J. Scott, B. Mistler, A. Adegun, and D. Akpan

                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Richards,Briana A.         BR       Partner/Principal   3/16/2023          Liquidation Activities                                                                                                               0.4     $1,150.00     $460.00
                                                                                                           EY attendees: C. Ancona, B. Richards, T. Shea, J. Scott, B. Mistler, A. Adegun, and D. Akpan

                                     Client Serving                                                        Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                JS                           3/16/2023       Meetings with Management                                                                                                                0.4     $600.00       $240.00
                                     Contractor JS                                                         EY attendees: C. Ancona, B. Richards, T. Shea, J. Scott, B. Mistler, A. Adegun, and D. Akpan

                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M          TMS       Partner/Principal   3/16/2023       Meetings with Management                                                                                                                0.4     $825.00       $330.00
                                                                                                           EY attendees: C. Ancona, B. Richards, T. Shea, J. Scott, B. Mistler, A. Adegun, and D. Akpan
                                                                                                           Meeting to discuss the January fee application. EY attendees: T. Shea, B. Richards, C. Ancona, J.
Ancona,Christopher         CA            Senior         3/16/2023      Fee/Employment Applications                                                                                                              0.6     $395.00       $237.00
                                                                                                           Scott, D. Neziroski, N. Bugden, and N. Flagg
                                                                                                           Meeting to discuss the January fee application. EY attendees: T. Shea, B. Richards, C. Ancona, J.
Bugden,Nick R             NRB       Senior Manager      3/16/2023      Fee/Employment Applications                                                                                                              0.6     $900.00       $540.00
                                                                                                           Scott, D. Neziroski, N. Bugden, and N. Flagg
                                                                                                           Meeting to discuss the January fee application. EY attendees: T. Shea, B. Richards, C. Ancona, J.
Neziroski,David            DN          Associate        3/16/2023      Fee/Employment Applications                                                                                                              0.6     $365.00       $219.00
                                                                                                           Scott, D. Neziroski, N. Bugden, and N. Flagg
                                                                                                           Meeting to discuss the January fee application. EY attendees: T. Shea, B. Richards, C. Ancona, J.
Richards,Briana A.         BR       Partner/Principal   3/16/2023      Fee/Employment Applications                                                                                                              0.6     $1,150.00     $690.00
                                                                                                           Scott, D. Neziroski, N. Bugden, and N. Flagg
                                     Client Serving                                                        Meeting to discuss the January fee application. EY attendees: T. Shea, B. Richards, C. Ancona, J.
Scott,James                JS                           3/16/2023      Fee/Employment Applications                                                                                                              0.6     $600.00       $360.00
                                     Contractor JS                                                         Scott, D. Neziroski, N. Bugden, and N. Flagg
                                                                                                           Meeting to discuss the January fee application. EY attendees: T. Shea, B. Richards, C. Ancona, J.
Shea JR,Thomas M          TMS       Partner/Principal   3/16/2023      Fee/Employment Applications                                                                                                              0.6     $825.00       $495.00
                                                                                                           Scott, D. Neziroski, N. Bugden, and N. Flagg
                                                                                                           Meeting to understand Lake House workstream and kick off data upload on Raptor as well as FDF
Cavusoglu,Coskun           CC       Partner/Principal   3/16/2023               Technology                                                                                                                      1.9     $825.00      $1,567.50
                                                                                                           configuration. EY attendees: K. Gundu, C. Li, C. Velpuri, D. Jena, and C. Cavusoglu
                                                                                                           Meeting to understand Lake House workstream and kick off data upload on Raptor as well as FDF
Gundu,Kaivalya             KG       Senior Manager      3/16/2023               Technology                                                                                                                      1.9     $650.00      $1,235.00
                                                                                                           configuration. EY attendees: K. Gundu, C. Li, C. Velpuri, D. Jena, and C. Cavusoglu
                                                                                                           Meeting to understand Lake House workstream and kick off data upload on Raptor as well as FDF
Jena,Deepak                DJ           Manager         3/16/2023               Technology                                                                                                                      1.9     $525.00       $997.50
                                                                                                           configuration. EY attendees: K. Gundu, C. Li, C. Velpuri, D. Jena, and C. Cavusoglu
                                                                                                           Meeting to understand Lake House workstream and kick off data upload on Raptor as well as FDF
Li,Chunyang                CL            Senior         3/16/2023               Technology                                                                                                                      1.9     $395.00       $750.50
                                                                                                           configuration. EY attendees: K. Gundu, C. Li, C. Velpuri, D. Jena, and C. Cavusoglu
                                                                                                           Meeting to understand Lake House workstream and kick off data upload on Raptor as well as FDF
Velpuri,Cury               CV             Staff         3/16/2023               Technology                                                                                                                      1.9     $225.00       $427.50
                                                                                                           configuration. EY attendees: K. Gundu, C. Li, C. Velpuri, D. Jena, and C. Cavusoglu
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/16/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.5     $225.00       $112.50
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/16/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.5     $525.00       $262.50
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/16/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.5     $825.00       $412.50
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/16/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.5     $395.00       $197.50
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/16/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.5     $525.00       $262.50
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Meeting with EY Canada to discuss fee confirmations and engagement acceptance status. EY
Hammon,David Lane         DLH           Manager         3/16/2023               Non US Tax                                                                                                                      0.5     $525.00       $262.50
                                                                                                           attendees: D. Hammon, K. Staromiejska, and C. MacLean
                                                                                                           Meeting with EY Canada to discuss fee confirmations and engagement acceptance status. EY
MacLean,Corrie            CM             Senior         3/16/2023               Non US Tax                                                                                                                      0.5     $395.00       $197.50
                                                                                                           attendees: D. Hammon, K. Staromiejska, and C. MacLean
                                                                                                           Meeting with EY Canada to discuss fee confirmations and engagement acceptance status. EY
Staromiejska,Kinga         KS           Manager         3/16/2023               Non US Tax                                                                                                                      0.5     $525.00       $262.50
                                                                                                           attendees: D. Hammon, K. Staromiejska, and C. MacLean
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                                                           Date of
                   Name    Initials         Rank                               Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                           Service
                                                                                                             Kickoff meeting with FTX re: knowledge transfer of the accounting specificities for the 3 entities
Bouza,Victor                 VB           Manager         3/16/2023               Non US Tax                                                                                                                          1.0     $525.00       $525.00
                                                                                                             under scope of services. EY attendees: J. Leston and V. Bouza
                                                                                                             Kickoff meeting with FTX re: knowledge transfer of the accounting specificities for the 3 entities
Leston,Juan                  JL       Partner/Principal   3/16/2023               Non US Tax                                                                                                                          1.0     $825.00       $825.00
                                                                                                             under scope of services. EY attendees: J. Leston and V. Bouza
                                                                                                             Meeting to discuss the March payroll calculation with client. EY attendees: S. Berrette and L. Silva-
Berrette,Sandrine            SB        Senior Manager     3/16/2023               Payroll Tax                                                                                                                         0.8     $650.00       $520.00
                                                                                                             Camargos
                                                                                                             Meeting to discuss the March payroll calculation with client. EY attendees: S. Berrette and L. Silva-
Camargos,Lorraine Silva     LSC            Senior         3/16/2023               Payroll Tax                                                                                                                         0.8     $395.00       $316.00
                                                                                                             Camargos
                                                                                                             Call regarding VAT compliance fee approach. EY attendees: K. Madhok, A. Cotopoulis, and T.
Shea JR,Thomas M            TMS       Partner/Principal   3/16/2023      Fee/Employment Applications                                                                                                                  0.3     $825.00       $247.50
                                                                                                             Shea
Wong,Maddie                 WM              Staff         3/16/2023             US Income Tax                Call walking through how to do quarterly tax calc estimates. EY attendees: B. Mistler and M. Wong        0.2     $225.00        $45.00

Mistler,Brian M            BMM            Manager         3/16/2023             US Income Tax                Call walking through how to do quarterly tax calc estimates. EY attendees: B. Mistler and M. Wong        0.2     $525.00       $105.00
                                                                                                             Discussion with client regarding the different elements of the due diligence process, reviewing
Bouza,Victor                 VB           Manager         3/16/2023               Non US Tax                 historical data analysis and BS/P&L in order to assess the level of complexity for each entity. EY       3.5     $525.00      $1,837.50
                                                                                                             attendees: J. Leston and V. Bouza
                                                                                                             Discussion with client regarding the different elements of the due diligence process, reviewing
Leston,Juan                  JL       Partner/Principal   3/16/2023               Non US Tax                 historical data analysis and BS/P&L in order to assess the level of complexity for each entity. EY       3.5     $825.00      $2,887.50
                                                                                                             attendees: J. Leston and V. Bouza
Ancona,Christopher           CA            Senior         3/16/2023   Project Management Office Transition   Prepare agenda updates for meeting with FTX                                                              0.9     $395.00       $355.50
                                                                                                             Follow-up on action items related to the ACE cost template, corresponding with Matt Cohen and
Ancona,Christopher           CA            Senior         3/16/2023   Project Management Office Transition                                                                                                            1.9     $395.00       $750.50
                                                                                                             workstream leads
Ancona,Christopher           CA            Senior         3/16/2023   Project Management Office Transition   Revise the EY/Alvarez and Marsal Project Management Office slide deck for review                         1.1     $395.00        $434.50
Ancona,Christopher           CA            Senior         3/16/2023   Project Management Office Transition   Process action items related to the January Fee application                                              1.3     $395.00        $513.50
Bailey,Doug                  DB       Partner/Principal   3/16/2023              Tax Advisory                Evaluate procedural options for method of accounting related to digital assets                           3.9     $825.00      $3,217.50
                                       Client Serving
Bieganski,Walter            WB                            3/16/2023         US State and Local Tax           Review Tennessee tax calculations                                                                        0.9     $200.00       $180.00
                                       Contractor WB
Bost,Anne                    BA       Managing Director   3/16/2023             Transfer Pricing             Correspondence re: potential transfer pricing support in certain non-US jurisdictions                    0.4     $775.00       $310.00
Bost,Anne                    BA       Managing Director   3/16/2023             Transfer Pricing             Review and respond to email correspondence                                                               0.6     $775.00       $465.00
                                                                                                             Correspondence sent to the EY US coordination team regarding both the due diligence and scope of
Bouza,Victor                 VB           Manager         3/16/2023               Non US Tax                                                                                                                          3.8     $525.00      $1,995.00
                                                                                                             services/pricing files for review
Bouza,Victor                 VB           Manager         3/16/2023               Non US Tax                 Analyze the historical data available and prepare for the due diligence session with the client          1.7     $525.00       $892.50
Camargos,Lorraine Silva     LSC            Senior         3/16/2023               Non US Tax                 Meeting with FTX regarding the Swiss payroll along with support for UK and Germany                       0.9     $395.00       $355.50
                                                                                                             Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.              CRC            Senior         3/16/2023               Payroll Tax                                                                                                                         3.9     $395.00      $1,540.50
                                                                                                             inquiries.
Cavusoglu,Coskun             CC       Partner/Principal   3/16/2023              Technology                  Review the requirements for the tax trading data reports.                                                0.4     $825.00        $330.00
Dulceak,Crystal              CD           Manager         3/16/2023         US State and Local Tax           Correspondence with FTX regarding new AR/SOS account set up.                                             0.6     $525.00        $315.00
Ferris,Tara                  TF       Partner/Principal   3/16/2023         Information Reporting            Revise 1099 claimant questions                                                                           1.7     $825.00      $1,402.50
Hall,Emily Melissa          EMH            Senior         3/16/2023         US State and Local Tax           Review and analyzed TN workpaper                                                                         0.2     $395.00         $79.00
Hall,Emily Melissa          EMH            Senior         3/16/2023         US State and Local Tax           Draft additional scoping language for state and local tax services that are time and material            1.2     $395.00        $474.00
                                                                                                             Correspondence concerning outstanding local FTX/legacy provider contacts required for knowledge
Hammon,David Lane           DLH           Manager         3/16/2023               Non US Tax                                                                                                                          0.7     $525.00       $367.50
                                                                                                             transfer
                                                                                                             Revise of trackers concerning the foreign workstreams (contact list, knowledge transfer summary,
Hammon,David Lane           DLH           Manager         3/16/2023               Non US Tax                                                                                                                          2.6     $525.00      $1,365.00
                                                                                                             entity details)
Hammon,David Lane           DLH           Manager         3/16/2023               Non US Tax                 Revise summary for engagement leadership (issues for escalation, suggest resolutions, key updates)       3.6     $525.00      $1,890.00
Huang,Vanesa                 VH             Staff         3/16/2023         US State and Local Tax           Create login credentials for NM and SC                                                                   1.8     $225.00       $405.00
Huang,Vanesa                 VH             Staff         3/16/2023         US State and Local Tax           Revise Annual Report credentials tracker and escalated VA SOS Account issue                              1.7     $225.00       $382.50
Liassides,Petros             PL       Partner/Principal   3/16/2023              Non US Tax                  Review audited Financial Statements of Innovatia Limited for the years 2016 - 2019                       0.7     $825.00       $577.50
                                                                                                             Call regarding FTX Innovatia Limited to discuss process, contact persons, and next steps with
Liassides,Petros             PL       Partner/Principal   3/16/2023               Non US Tax                 regards to the transfer of tax compliance work . EY attendees: P. Liassides, A. Tsikkouris, and E.       0.5     $825.00       $412.50
                                                                                                             Papachristodoulou
MacLean,Corrie              CM             Senior         3/16/2023               Non US Tax                 Review historical documents received, classify and update master document tracking sheet                 1.1     $395.00       $434.50
                                                                                                             Call regarding FTX Innovatia Limited to discuss process, contact persons, and next steps with
Papachristodoulou,Elpida     EP        Senior Manager     3/16/2023            Value Added Tax               regards to the transfer of tax compliance work . EY attendees: P. Liassides, A. Tsikkouris, and E.       0.5     $650.00       $325.00
                                                                                                             Papachristodoulou
                                                                                                             Internal meeting regarding status of FTX VAT returns and next steps. EY attendees: V. Themistou
Papachristodoulou,Elpida     EP        Senior Manager     3/16/2023            Value Added Tax                                                                                                                        0.3     $650.00       $195.00
                                                                                                             and E. Papachristodoulou
                                                                                                             Review of email in relation to pending items, ledgers and documents for Innovatia Limited for the
Pavlou,Pantelis              PP           Manager         3/16/2023          Information Reporting                                                                                                                    0.9     $525.00       $472.50
                                                                                                             purpose of preparing the profit and loss and balance sheet for the year ended 12/31/2022.
Richardson,Audrey Sarah     ASR            Manager        3/16/2023          Information Reporting           Draft responses to 1099 client inquires                                                                  0.9     $525.00       $472.50
                                        Client Serving
Scott,James                  JS                           3/16/2023             US Income Tax                Coordinate assistance with Hong Kong tax and bookkeeping requirements                                    1.4     $600.00       $840.00
                                        Contractor JS
                                        Client Serving
Scott,James                  JS                           3/16/2023             US Income Tax                Analyze federal tax elections 2019-2021                                                                  1.1     $600.00       $660.00
                                        Contractor JS
                                        Client Serving
Scott,James                  JS                           3/16/2023             US Income Tax                Review of IRS exam draft IDR for income tax related corporate documents                                  0.9     $600.00       $540.00
                                        Contractor JS
                                                                                                             Internal written correspondence with controversy team regarding latest updates from IRS exam
Shea JR,Thomas M            TMS       Partner/Principal   3/16/2023             US Income Tax                                                                                                                         1.1     $825.00       $907.50
                                                                                                             weekly touchpoint
Shea JR,Thomas M            TMS       Partner/Principal   3/16/2023             US Income Tax                Prep for meeting with FTX Chief Financial Officer and Chief Administrative Officer                       0.2     $825.00       $165.00
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                                                         Date of
                  Name   Initials         Rank                                Project Category                                                      Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                             Internal meeting regarding status of FTX VAT returns and next steps. EY attendees: V. Themistou
Themistou,Victoria         VT            Senior         3/16/2023              Value Added Tax                                                                                                                       0.3     $395.00       $118.50
                                                                                                             and E. Papachristodoulou
                                                                                                             Review of the Innovatia Limited FS for the years 2016 to 2019 for the purpose of preparing the
Themistou,Victoria         VT            Senior         3/16/2023              Value Added Tax                                                                                                                       0.9     $395.00       $355.50
                                                                                                             Request For Information (RFI) list.
                                                                                                             Review information with the VAT Authorities regarding the VAT registration status of Innovatia
Themistou,Victoria         VT            Senior         3/16/2023              Value Added Tax                                                                                                                       0.4     $395.00       $158.00
                                                                                                             Limited and its VAT position
                                                                                                             Call regarding FTX Innovatia Limited to discuss process, contact persons, and next steps with
Tsikkouris,Anastasios      AT           Manager         3/16/2023                Non US Tax                  regards to the transfer of tax compliance work . EY attendees: P. Liassides, A. Tsikkouris, and E.      0.5     $525.00       $262.50
                                                                                                             Papachristodoulou
Tsikkouris,Anastasios      AT           Manager         3/16/2023                Non US Tax                  Correspondence regarding an update on the tax due diligence of Innovatia Ltd                            0.2     $525.00       $105.00
                                                                                                             Correspondence regarding the pending items for the purpose of preparing the P&L and balance
Tyllirou,Christiana        CT           Manager         3/16/2023            Information Reporting                                                                                                                   3.7     $525.00      $1,942.50
                                                                                                             sheet for the year ended 12/31/2022.
                                                                                                             Analyze Q1 2023 estimate calculations for Paper Bird Inc. and Alameda Research Holdings FTX
Wong,Maddie               WM              Staff         3/16/2023               US Income Tax                                                                                                                        0.6     $225.00       $135.00
                                                                                                             entities
Wrenn,Kaitlin Doyle      KDW            Manager         3/16/2023                 Payroll Tax                Review of FTX vendor data response draft and coordination with team on file sharing issues              2.3     $525.00      $1,207.50
                                                                                                             Discussion regarding moratorium proceedings and liquidation balance sheet. EY attendees: M.
Amacker,Ariane             AA        Senior Manager     3/16/2023            Liquidation Activities                                                                                                                  0.6     $650.00       $390.00
                                                                                                             Cadisch and A. Amacker
Amacker,Ariane             AA        Senior Manager     3/16/2023            Liquidation Activities          Review correspondence regarding liquidation/moratorium                                                  0.6     $650.00       $390.00
                                                                                                             Discussion regarding moratorium proceedings and liquidation balance sheet. EY attendees: M.
Cadisch,Michael           MC        Managing Director   3/16/2023            Liquidation Activities                                                                                                                  0.6     $775.00       $465.00
                                                                                                             Cadisch and A. Amacker
Jain,Gaurav                GJ        Senior Manager     3/16/2023            Liquidation Activities          Review financial statements for Flying Saucer E-Commerce Private Limited FTX entities                   2.7     $550.00      $1,485.00
                                                                                                             Prepare summary of assets & liabilities from Statements of Financial Affairs and Schedules of
Maiello,Rob               RM           Consultant       3/16/2023            Liquidation Activities                                                                                                                  1.9     $445.00       $845.50
                                                                                                             Assets and Liabilities for six debtor entities
                                                                                                             Reconcile Statements of Assets and Liabilities & Statement of Financial Affairs for FTX Digital
Maiello,Rob               RM           Consultant       3/16/2023            Liquidation Activities          Holdings, FTX Trading GmbH, & Zubr Exchange to identify variances in comparison with the                2.8     $445.00      $1,246.00
                                                                                                             latest balance sheets
                                                                                                             Review Statements of Assets and Liabilities & Statement of Financial Affairs and coordinate with
Maiello,Rob               RM           Consultant       3/16/2023            Liquidation Activities                                                                                                                  0.4     $445.00       $178.00
                                                                                                             teams in Gibraltar and Germany
Nertz,Salome               SN          Consultant       3/16/2023            Liquidation Activities          Correspondence with EY Switzerland regarding updated questions of the liquidation/balance sheets        0.1     $395.00        $39.50
                                                                                                             Call with respect to legal issues for Debtor entities and the possibility of dismissal and review of
ORiain,Fionn              ORF           Manager         3/16/2023            Liquidation Activities          intended restructuring process for Swiss entities. EY attendees: B. Richards, N. Bugden, and F.         1.0     $725.00       $725.00
                                                                                                             ORiain
Bugden,Nick R             NRB       Senior Manager      3/16/2023            Liquidation Activities          Call re: overall liquidation process update. EY attendees: B. Richards and N. Bugden                    0.8      $900.00      $720.00
Richards,Briana A.        BR        Partner/Principal   3/16/2023            Liquidation Activities          Call re: overall liquidation process update. EY attendees: B. Richards and N. Bugden                    0.8     $1,150.00     $920.00
Bugden,Nick R             NRB       Senior Manager      3/16/2023            Liquidation Activities          Correspondence re: status of Singapore and India liquidation prep                                       0.7      $900.00      $630.00
                                                                                                             Call with respect to legal issues for Debtor entities and the possibility of dismissal and review of
Richards,Briana A.         BR       Partner/Principal   3/16/2023            Liquidation Activities          intended restructuring process for Swiss entities. EY attendees: B. Richards, N. Bugden, and F.         1.0     $1,150.00    $1,150.00
                                                                                                             ORiain
                                                                                                             Call with respect to legal issues for Debtor entities and the possibility of dismissal and review of
Bugden,Nick R             NRB        Senior Manager     3/16/2023            Liquidation Activities          intended restructuring process for Swiss entities. EY attendees: B. Richards, N. Bugden, and F.         1.0     $900.00       $900.00
                                                                                                             ORiain
Bugden,Nick R             NRB        Senior Manager     3/16/2023   Chapter 11 Process and Case Management   Team coordination call across EY services                                                               0.5     $900.00       $450.00
Bugden,Nick R             NRB        Senior Manager     3/16/2023            Liquidation Activities          Correspondence with S&C re: dismissal, interco liabilities, and Swiss debtors                           0.2     $900.00       $180.00
Bugden,Nick R             NRB        Senior Manager     3/16/2023            Liquidation Activities          Review summary view of SOFA / SOAL info for liquidation entities                                        0.3     $900.00       $270.00
                                                                                                             Internal call to discuss issues with sharing Excel file in BOX. EY attendees: K. Wrenn and C.
Carver,Cody R.            CRC            Senior         3/17/2023                 Payroll Tax                                                                                                                        0.8     $395.00       $316.00
                                                                                                             Carver
                                                                                                             Internal call to discuss issues with sharing Excel file in BOX. EY attendees: K. Wrenn and C.
Wrenn,Kaitlin Doyle      KDW            Manager         3/17/2023                 Payroll Tax                                                                                                                        0.8     $525.00       $420.00
                                                                                                             Carver
Ancona,Christopher         CA            Senior         3/17/2023        Fee/Employment Applications         Meeting with to discuss the monthly fee application. EY attendees: C. Ancona and D. Neziroski           0.4     $395.00       $158.00

Neziroski,David            DN           Associate       3/17/2023        Fee/Employment Applications         Meeting with to discuss the monthly fee application. EY attendees: C. Ancona and D. Neziroski           0.4     $365.00       $146.00

                                                                                                             Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Ancona,Christopher         CA            Senior         3/17/2023    Project Management Office Transition                                                                                                            0.2     $395.00        $79.00
                                                                                                             status updates and reporting. EY attendees: C. Ancona, T. Shea, B. Mistler, J. Scott, and J. Berman

                                                                                                             Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Berman,Jake                JB        Senior Manager     3/17/2023               US Income Tax                                                                                                                        0.2     $650.00       $130.00
                                                                                                             status updates and reporting. EY attendees: C. Ancona, T. Shea, B. Mistler, J. Scott, and J. Berman

                                                                                                             Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Mistler,Brian M          BMM            Manager         3/17/2023               US Income Tax                                                                                                                        0.2     $525.00       $105.00
                                                                                                             status updates and reporting. EY attendees: C. Ancona, T. Shea, B. Mistler, J. Scott, and J. Berman

                                      Client Serving                                                         Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Scott,James                JS                           3/17/2023               US Income Tax                                                                                                                        0.2     $600.00       $120.00
                                      Contractor JS                                                          status updates and reporting. EY attendees: C. Ancona, T. Shea, B. Mistler, J. Scott, and J. Berman

                                                                                                             Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Shea JR,Thomas M          TMS       Partner/Principal   3/17/2023               US Income Tax                                                                                                                        0.2     $825.00       $165.00
                                                                                                             status updates and reporting. EY attendees: C. Ancona, T. Shea, B. Mistler, J. Scott, and J. Berman
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/17/2023                Non US Tax                  foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: T. Knoeller,     0.5     $225.00       $112.50
                                                                                                             K. Staromiejska, C. MacLean, and H. Choudary
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                                                           Date of
                   Name    Initials         Rank                               Project Category                                                    Description of Services                                         Hours   Hourly Rate   Fees
                                                           Service
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.          TJK       Partner/Principal   3/17/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: T. Knoeller,    0.5     $825.00       $412.50
                                                                                                             K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie              CM             Senior         3/17/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: T. Knoeller,    0.5     $395.00       $197.50
                                                                                                             K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga           KS           Manager         3/17/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: T. Knoeller,    0.5     $525.00       $262.50
                                                                                                             K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                             Meeting to discuss and prepare OGM set up. EY attendees: K. Goyeneche, C. MacLean, and H.
Choudary,Hira                HC             Staff         3/17/2023               Non US Tax                                                                                                                        1.2     $225.00       $270.00
                                                                                                             Choudary
                                                                                                             Meeting to discuss and prepare OGM set up. EY attendees: K. Goyeneche, C. MacLean, and H.
Goyeneche,Katherine          KG            Senior         3/17/2023               Non US Tax                                                                                                                        1.2     $395.00       $474.00
                                                                                                             Choudary
                                                                                                             Meeting to discuss and prepare OGM set up. EY attendees: K. Goyeneche, C. MacLean, and H.
MacLean,Corrie              CM             Senior         3/17/2023               Non US Tax                                                                                                                        1.2     $395.00       $474.00
                                                                                                             Choudary
                                                                                                             Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Knoeller,Thomas J.          TJK       Partner/Principal   3/17/2023   Project Management Office Transition                                                                                                          0.5     $825.00       $412.50
                                                                                                             T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                             Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
MacLean,Corrie              CM             Senior         3/17/2023               Non US Tax                                                                                                                        0.5     $395.00       $197.50
                                                                                                             T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                             Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Staromiejska,Kinga           KS           Manager         3/17/2023               Non US Tax                                                                                                                        0.5     $525.00       $262.50
                                                                                                             T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                             Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Hammon,David Lane           DLH           Manager         3/17/2023               Non US Tax                                                                                                                        0.5     $525.00       $262.50
                                                                                                             T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                             Weekly call with D. Hariton (S&C) and C. Howe (A&M) to review progress on tax workstreams
Berman,Jake                  JB        Senior Manager     3/17/2023      Meetings with Other Advisors                                                                                                               0.5     $650.00       $325.00
                                                                                                             and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                                                                                             Weekly call with D. Hariton (S&C) and C. Howe (A&M) to review progress on tax workstreams
Mistler,Brian M            BMM            Manager         3/17/2023      Meetings with Other Advisors                                                                                                               0.5     $525.00       $262.50
                                                                                                             and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                        Client Serving                                                       Weekly call with D. Hariton (S&C) and C. Howe (A&M) to review progress on tax workstreams
Scott,James                  JS                           3/17/2023      Meetings with Other Advisors                                                                                                               0.5     $600.00       $300.00
                                        Contractor JS                                                        and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                                                                                             Weekly call with D. Hariton (S&C) and C. Howe (A&M) to review progress on tax workstreams
Shea JR,Thomas M            TMS       Partner/Principal   3/17/2023      Meetings with Other Advisors                                                                                                               0.5     $825.00       $412.50
                                                                                                             and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman
Ancona,Christopher           CA            Senior         3/17/2023   Project Management Office Transition   Call regarding time template and other matters. EY attendees: C. Ancona and D. Neziroski               1.0     $395.00       $395.00
                                                                                                             Follow-up regarding Project Management Office action items and correspondence with workstream
Ancona,Christopher           CA            Senior         3/17/2023   Project Management Office Transition                                                                                                          2.1     $395.00       $829.50
                                                                                                             leads
Ancona,Christopher           CA            Senior         3/17/2023   Project Management Office Transition   Revise the A&M/EY Project Management Office Deck                                                       1.1     $395.00       $434.50
Ancona,Christopher           CA            Senior         3/17/2023   Project Management Office Transition   Revise the January Fee Application for review by the Debtor's counsel.                                 0.8     $395.00       $316.00
Benjamin,Uri                 UB        Senior Manager     3/17/2023           Information Reporting          Review IRW data for statements to clients and discuss tables/structure                                 0.8     $650.00       $520.00
Bost,Anne                    BA       Managing Director   3/17/2023              Transfer Pricing            Review and respond to email correspondence                                                             0.4     $775.00       $310.00
                                                                                                             Correspondence with IT team to organize the accounting data transfer from the previous external
Bouza,Victor                 VB           Manager         3/17/2023               Non US Tax                                                                                                                        0.8     $525.00       $420.00
                                                                                                             provider to the accounting ERP
                                                                                                             Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.              CRC            Senior         3/17/2023               Payroll Tax                                                                                                                       2.8     $395.00      $1,106.00
                                                                                                             inquiries.
Choudary,Hira                HC             Staff         3/17/2023              Non US Tax                  Prepare setup of OMG for FTX                                                                           1.1     $225.00       $247.50
Dulceak,Crystal              CD           Manager         3/17/2023         US State and Local Tax           Follow-up regarding Annual Report notices and account set up.                                          0.9     $525.00       $472.50
Hall,Emily Melissa          EMH            Senior         3/17/2023         US State and Local Tax           Draft additional scoping language for state and local tax services that are time and material          1.4     $395.00       $553.00
                                                                                                             Analyze notes taken from notice validation calls to determine how each jurisdiction will accept
Hall,Emily Melissa          EMH            Senior         3/17/2023         US State and Local Tax                                                                                                                  2.4     $395.00       $948.00
                                                                                                             updated officer listing and power of attorney for bankruptcy purposes
Hall,Emily Melissa          EMH            Senior         3/17/2023         US State and Local Tax           Draft edits to the authorized representative cover letter for state purposes.                          0.9     $395.00       $355.50
Katelas,Andreas              KA            Senior         3/17/2023             Tax Advisory                 Revise draft trading activities outline for discussion purposes                                        0.9     $395.00       $355.50
Katelas,Andreas              KA            Senior         3/17/2023             Tax Advisory                 Revise legal entity tracker and foreign filing requirements                                            1.1     $395.00       $434.50
Li,Chunyang                  CL            Senior         3/17/2023              Technology                  Discussion regarding the LE upload                                                                     2.0     $395.00       $790.00
Liassides,Petros             PL       Partner/Principal   3/17/2023               Non US Tax                 Meeting with Local General Counsel's Office regarding the ’declaration of disinterestedness’’          0.4     $825.00       $330.00
MacLean,Corrie              CM             Senior         3/17/2023               Non US Tax                 Review historical documents received, classify and update master document tracking sheet               0.9     $395.00       $355.50
Musano,Matthew Albert      MAM         Senior Manager     3/17/2023         US State and Local Tax           Review of business and regulatory filing requirements for several FTX entities within the US           2.1     $650.00      $1,365.00
                                                                                                             Review audited Financial Statements of Innovatia Limited for the years 2016 - 2019 for the purpose
Papachristodoulou,Elpida     EP        Senior Manager     3/17/2023            Value Added Tax                                                                                                                      0.9     $650.00       $585.00
                                                                                                             of preparing the Request For Information (RFI) list.
Papachristodoulou,Elpida     EP        Senior Manager     3/17/2023            Value Added Tax               Review and finalization of VAT RFI for the DD                                                          0.4     $650.00       $260.00
Richardson,Audrey Sarah     ASR            Manager        3/17/2023          Information Reporting           Research inquiry related to 1099 reporting and responded to note                                       1.9     $525.00       $997.50
                                        Client Serving
Scott,James                  JS                           3/17/2023             US Income Tax                Prepare draft response to IRS IDR                                                                      0.8     $600.00       $480.00
                                        Contractor JS
                                                                                                             Written correspondence with EY Federal team re: summary of 2022 extensions/2023 payments due
Shea JR,Thomas M            TMS       Partner/Principal   3/17/2023             US Income Tax                                                                                                                       1.1     $825.00       $907.50
                                                                                                             3/15
                                                                                                             Written correspondence on local member firm (HK, SG) tax, accounting support with relevant
Shea JR,Thomas M            TMS       Partner/Principal   3/17/2023             US Income Tax                                                                                                                       1.3     $825.00      $1,072.50
                                                                                                             country/region leads
Shea JR,Thomas M            TMS       Partner/Principal   3/17/2023             US Income Tax                Prep/agenda for S&C/A&M tax team leads call                                                            0.3     $825.00       $247.50
Tsikkouris,Anastasios        AT           Manager         3/17/2023               Non US Tax                 Correspondence in relation to the RFI for the purpose of the tax due diligence of Innovatia Ltd.       0.2     $525.00       $105.00
Wong,Maddie                 WM              Staff         3/17/2023             US Income Tax                Revise IRS Audit IDR Tracker                                                                           0.4     $225.00        $90.00
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                                                         Date of
                Name     Initials        Rank                                Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Prepare summary and follow-up items for FTX re: US payroll tax meeting and finalize 1099 intake
Wrenn,Kaitlin Doyle      KDW            Manager         3/17/2023               Payroll Tax                                                                                                                         1.8     $525.00       $945.00
                                                                                                           process documentation approved by S&C
                                                                                                           Follow-up call regarding action items and next steps for progressing liquidation candidate entities.
Bugden,Nick R             NRB        Senior Manager     3/17/2023          Liquidation Activities                                                                                                                   0.2     $900.00       $180.00
                                                                                                           EY attendees: F. ORiain and N. Bugden
                                                                                                           Meeting to discuss status of information, pending items, and tentative next steps. EY attendees: P.
Gupta,Pulkit               PG       Partner/Principal   3/17/2023          Liquidation Activities                                                                                                                   0.3     $650.00       $195.00
                                                                                                           Gupta, S. Venkataraman, and G. Jain
                                                                                                           Meeting to discuss status of information, pending items, and tentative next steps. EY attendees: P.
Jain,Gaurav                GJ        Senior Manager     3/17/2023          Liquidation Activities                                                                                                                   0.3     $550.00       $165.00
                                                                                                           Gupta, S. Venkataraman, and G. Jain
Jain,Gaurav               GJ         Senior Manager     3/17/2023          Liquidation Activities          Review Statement of Financial Affairs / Schedule of Assets & Liabilities for Quoine India                3.2     $550.00      $1,760.00
Maiello,Rob               RM           Consultant       3/17/2023          Liquidation Activities          Coordinate with Singapore and New Zealand regarding potential liquidation matters                        0.6     $445.00        $267.00
                                                                                                           Draft reporting template with respect to additional entities selected as liquidation candidates
Maiello,Rob               RM           Consultant       3/17/2023          Liquidation Activities          including progress to date, next steps, milestones, balance sheet information, incorporation details,    3.1     $445.00      $1,379.50
                                                                                                           and current directorships
                                                                                                           Prepare internal memorandum to enable the following jurisdictions to review financial information
Maiello,Rob               RM           Consultant       3/17/2023          Liquidation Activities                                                                                                                   1.6     $445.00       $712.00
                                                                                                           and provide liquidation related advice: Cyprus, Liechtenstein, UAE, Vietnam
Nertz,Salome               SN          Consultant       3/17/2023          Liquidation Activities          Correspondence with EY Switzerland regarding updated questions of the liquidation/balance sheets         0.1     $395.00        $39.50
                                                                                                           Follow-up call regarding action items and next steps for progressing liquidation candidate entities.
ORiain,Fionn              ORF           Manager         3/17/2023          Liquidation Activities                                                                                                                   0.2     $725.00       $145.00
                                                                                                           EY attendees: F. ORiain and N. Bugden
                                                                                                           Call with S&C regarding (i) Liquidation candidates (ii) issue with Intercompany positions and
ORiain,Fionn              ORF           Manager         3/17/2023          Liquidation Activities                                                                                                                   1.7     $725.00      $1,232.50
                                                                                                           Ch11 (iii) funding and flow of funds for FTX entities.
ORiain,Fionn              ORF           Manager         3/17/2023          Liquidation Activities          Review of intercompany related queries with EY India and associated legal documentation                  0.7     $725.00       $507.50
                                        National
Rumford,Neil               NR                           3/17/2023          Liquidation Activities          Correspondence with A&M regarding Innovatia's IT equipment in London                                     0.3     $990.00       $297.00
                                    Partner/Principal
                                                                                                           Meeting to discuss status of information, pending items, and tentative next steps. EY attendees: P.
Venkataraman,Siddharth     SV           Manager         3/17/2023          Liquidation Activities                                                                                                                   0.3     $400.00       $120.00
                                                                                                           Gupta, S. Venkataraman, and G. Jain
                                                                                                           Call with S&C re: dismissal, interco liabilities, and Swiss debtors. EY attendees: B. Richards, F.
Bugden,Nick R             NRB        Senior Manager     3/17/2023          Liquidation Activities                                                                                                                   0.3     $900.00       $270.00
                                                                                                           ORiain, and N. Bugden
                                                                                                           Call with S&C re: dismissal, interco liabilities, and Swiss debtors. EY attendees: B. Richards, F.
Richards,Briana A.         BR       Partner/Principal   3/17/2023          Liquidation Activities                                                                                                                   0.3     $1,150.00     $345.00
                                                                                                           ORiain, and N. Bugden
                                                                                                           Call with S&C re: dismissal, interco liabilities, and Swiss debtors. EY attendees: B. Richards, F.
ORiain,Fionn              ORF           Manager         3/17/2023          Liquidation Activities                                                                                                                   0.3     $725.00       $217.50
                                                                                                           ORiain, and N. Bugden
                                                                                                           Call re: FTX management feedback and prep for S&C call. EY attendees: B. Richards and N.
Bugden,Nick R             NRB        Senior Manager     3/17/2023          Liquidation Activities                                                                                                                   0.4     $900.00       $360.00
                                                                                                           Bugden
                                                                                                           Call re: FTX management feedback and prep for S&C call. EY attendees: B. Richards and N.
Richards,Briana A.         BR       Partner/Principal   3/17/2023          Liquidation Activities                                                                                                                   0.4     $1,150.00     $460.00
                                                                                                           Bugden
                                                                                                           Call following discussion with S&C re: action items and next steps for progressing liquidation
Bugden,Nick R             NRB        Senior Manager     3/17/2023          Liquidation Activities                                                                                                                   0.2     $900.00       $180.00
                                                                                                           candidate entities. EY attendees: F. ORiain and N. Bugden
Bugden,Nick R             NRB        Senior Manager     3/17/2023          Liquidation Activities          Review of inter-office related queries with EY India and associated legal documentation                  0.5     $900.00       $450.00
                                                                                                           Review status of wind up progress in all locations and review updates from teams for report to
Hutchison,Keiran           KH       Partner/Principal   3/17/2023          Liquidation Activities                                                                                                                   0.8     $850.00       $680.00
                                                                                                           client
                                                                                                           Call following discussion with S&C re: action items and next steps for progressing liquidation
ORiain,Fionn              ORF           Manager         3/17/2023          Liquidation Activities                                                                                                                   0.2     $725.00       $145.00
                                                                                                           candidate entities. EY attendees: F. ORiain and N. Bugden
                                                                                                           Review and analyze files provided by the client pertaining to potential collateral posted and Sub
Karan,Anna Suncheuri      ASK             Staff         3/18/2023           US International Tax                                                                                                                    3.1     $225.00       $697.50
                                                                                                           Part F and GILTI income.
                                                                                                           Follow-up written correspondence on local member firm (HK, SG) tax, accounting support with
Shea JR,Thomas M          TMS       Partner/Principal   3/19/2023             US Income Tax                                                                                                                         0.9     $825.00       $742.50
                                                                                                           relevant country/region leads
                                                                                                           Review, updates, and submission of written summary of 2022 Partnership Extensions and 3/15
Shea JR,Thomas M          TMS       Partner/Principal   3/19/2023             US Income Tax                                                                                                                         0.6     $825.00       $495.00
                                                                                                           Payments for M. Cilia (FTX) and K. Schultea (FTX)
                                                                                                           Meeting to prepare for IRS employment tax examination opening conference agenda discussion.
DeVincenzo,Jennie         JDV       Managing Director   3/20/2023               Payroll Tax                                                                                                                         1.0     $775.00       $775.00
                                                                                                           EY attendees: K. Wrenn, K. Lowery, J. DeVincenzo, and M. Rule
                                        National                                                           Meeting to prepare for IRS employment tax examination opening conference agenda discussion.
Lowery,Kristie L          KLL                           3/20/2023               Payroll Tax                                                                                                                         1.0     $990.00       $990.00
                                    Partner/Principal                                                      EY attendees: K. Wrenn, K. Lowery, J. DeVincenzo, and M. Rule
                                                                                                           Meeting to prepare for IRS employment tax examination opening conference agenda discussion.
Rule,Martin Daniel       MDR         Senior Manager     3/20/2023               Payroll Tax                                                                                                                         1.0     $650.00       $650.00
                                                                                                           EY attendees: K. Wrenn, K. Lowery, J. DeVincenzo, and M. Rule
                                                                                                           Meeting to prepare for IRS employment tax examination opening conference agenda discussion.
Wrenn,Kaitlin Doyle      KDW            Manager         3/20/2023               Payroll Tax                                                                                                                         1.0     $525.00       $525.00
                                                                                                           EY attendees: K. Wrenn, K. Lowery, J. DeVincenzo, and M. Rule
                                                                                                           Meeting to discuss employee wage and 1099 claimant reporting questions in preparation for UCC.
DeVincenzo,Jennie         JDV       Managing Director   3/20/2023               Payroll Tax                                                                                                                         0.5     $775.00       $387.50
                                                                                                           EY attendees: S. LaGarde, K. Lowery, J. DeVincenzo, and K. Wrenn
                                        National                                                           Meeting to discuss employee wage and 1099 claimant reporting questions in preparation for UCC.
Lowery,Kristie L          KLL                           3/20/2023               Payroll Tax                                                                                                                         0.5     $990.00       $495.00
                                    Partner/Principal                                                      EY attendees: S. LaGarde, K. Lowery, J. DeVincenzo, and K. Wrenn
                                                                                                           Meeting to discuss employee wage and 1099 claimant reporting questions in preparation for UCC.
Wrenn,Kaitlin Doyle      KDW            Manager         3/20/2023               Payroll Tax                                                                                                                         0.5     $525.00       $262.50
                                                                                                           EY attendees: S. LaGarde, K. Lowery, J. DeVincenzo, and K. Wrenn
                                                                                                           Meeting to discuss employee wage and 1099 claimant reporting questions in preparation for UCC.
LaGarde,Stephen            SL       Partner/Principal   3/20/2023               Payroll Tax                                                                                                                         0.5     $825.00       $412.50
                                                                                                           EY attendees: S. LaGarde, K. Lowery, J. DeVincenzo, and K. Wrenn
                                                                                                           Meeting to discuss Project Management Office action items and deliverables. EY attendees: C.
Ancona,Christopher         CA            Senior         3/20/2023   Project Management Office Transition                                                                                                            0.5     $395.00       $197.50
                                                                                                           Ancona and C. Tong
                                                                                                           Meeting to discuss Project Management Office action items and deliverables. EY attendees: C.
Tong,Chia-Hui             CHT        Senior Manager     3/20/2023   Project Management Office Transition                                                                                                            0.5     $650.00       $325.00
                                                                                                           Ancona and C. Tong
                                                                                                           Meeting with D. Hariton (S&C) and UCC to discuss the claimant documentation for Kroll
DeVincenzo,Jennie         JDV       Managing Director   3/20/2023      Meetings with Other Advisors        regarding wage and non-wage claims. EY attendees: K. Lowery, J. DeVincenzo, T. Ferris, and K.            0.5     $775.00       $387.50
                                                                                                           Wrenn
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                                                           Date of
                 Name      Initials         Rank                               Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                           Service
                                                                                                             Meeting with D. Hariton (S&C) and UCC to discuss the claimant documentation for Kroll
                                          National
Lowery,Kristie L            KLL                           3/20/2023      Meetings with Other Advisors        regarding wage and non-wage claims. EY attendees: K. Lowery, J. DeVincenzo, T. Ferris, and K.          0.5     $990.00       $495.00
                                      Partner/Principal
                                                                                                             Wrenn
                                                                                                             Meeting with D. Hariton (S&C) and UCC to discuss the claimant documentation for Kroll
Wrenn,Kaitlin Doyle        KDW            Manager         3/20/2023      Meetings with Other Advisors        regarding wage and non-wage claims. EY attendees: K. Lowery, J. DeVincenzo, T. Ferris, and K.          0.5     $525.00       $262.50
                                                                                                             Wrenn
                                                                                                             Meeting with D. Hariton (S&C) and UCC to discuss the claimant documentation for Kroll
Ferris,Tara                  TF       Partner/Principal   3/20/2023      Meetings with Other Advisors        regarding wage and non-wage claims. EY attendees: K. Lowery, J. DeVincenzo, T. Ferris, and K.          0.5     $825.00       $412.50
                                                                                                             Wrenn
                                                                                                             Internal meeting to discuss mark to market tax election and trading activity documentation. EY
Bailey,Doug                  DB       Partner/Principal   3/20/2023              Tax Advisory                attendees: L. Lovelace, D. Bailey, T. Shea, M. Stevens, J. Scott, S. Weiler, M. Musano, and A.         0.5     $825.00       $412.50
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss mark to market tax election and trading activity documentation. EY
Katelas,Andreas              KA            Senior         3/20/2023           US International Tax           attendees: L. Lovelace, D. Bailey, T. Shea, M. Stevens, J. Scott, S. Weiler, M. Musano, and A.         0.5     $395.00       $197.50
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss mark to market tax election and trading activity documentation. EY
Lovelace,Lauren              LL       Partner/Principal   3/20/2023           US International Tax           attendees: L. Lovelace, D. Bailey, T. Shea, M. Stevens, J. Scott, S. Weiler, M. Musano, and A.         0.5     $825.00       $412.50
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss mark to market tax election and trading activity documentation. EY
Musano,Matthew Albert      MAM         Senior Manager     3/20/2023         US State and Local Tax           attendees: L. Lovelace, D. Bailey, T. Shea, M. Stevens, J. Scott, S. Weiler, M. Musano, and A.         0.5     $650.00       $325.00
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss mark to market tax election and trading activity documentation. EY
                                        Client Serving
Scott,James                  JS                           3/20/2023             US Income Tax                attendees: L. Lovelace, D. Bailey, T. Shea, M. Stevens, J. Scott, S. Weiler, M. Musano, and A.         0.5     $600.00       $300.00
                                        Contractor JS
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss mark to market tax election and trading activity documentation. EY
Shea JR,Thomas M            TMS       Partner/Principal   3/20/2023             US Income Tax                attendees: L. Lovelace, D. Bailey, T. Shea, M. Stevens, J. Scott, S. Weiler, M. Musano, and A.         0.5     $825.00       $412.50
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss mark to market tax election and trading activity documentation. EY
                                          National
Stevens,Matthew Aaron       MAS                           3/20/2023              Tax Advisory                attendees: L. Lovelace, D. Bailey, T. Shea, M. Stevens, J. Scott, S. Weiler, M. Musano, and A.         0.5     $990.00       $495.00
                                      Partner/Principal
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss ITTS compliance workstreams and walk-through of structure chart. EY
Katelas,Andreas              KA            Senior         3/20/2023           US International Tax                                                                                                                  0.5     $395.00       $197.50
                                                                                                             attendees: L. Lovelace, A. Katelas, L. Raulli, and R. Yang
                                                                                                             Internal meeting to discuss ITTS compliance workstreams and walk-through of structure chart. EY
Lovelace,Lauren              LL       Partner/Principal   3/20/2023           US International Tax                                                                                                                  0.5     $825.00       $412.50
                                                                                                             attendees: L. Lovelace, A. Katelas, L. Raulli, and R. Yang
                                                                                                             Internal meeting to discuss ITTS compliance workstreams and walk-through of structure chart. EY
Yang,Rachel Sim             RSY        Senior Manager     3/20/2023           US International Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                             attendees: L. Lovelace, A. Katelas, L. Raulli, and R. Yang
                                                                                                             Internal meeting to discuss ITTS compliance workstreams and walk-through of structure chart. EY
Raulli,Lindsay Elizabeth    LER        Senior Manager     3/20/2023           US International Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                             attendees: L. Lovelace, A. Katelas, L. Raulli, and R. Yang
                                                                                                             Internal meeting to discuss findings related to passive foreign investment company and tax
Karan,Anna Suncheuri        ASK             Staff         3/20/2023           US International Tax                                                                                                                  1.0     $225.00       $225.00
                                                                                                             exposures. EY attendees: L. Raulli and A. Karan
                                                                                                             Internal meeting to discuss findings related to passive foreign investment company and tax
Raulli,Lindsay Elizabeth    LER        Senior Manager     3/20/2023           US International Tax                                                                                                                  1.0     $650.00       $650.00
                                                                                                             exposures. EY attendees: L. Raulli and A. Karan
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira                HC             Staff         3/20/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      1.0     $225.00       $225.00
                                                                                                             T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane           DLH           Manager         3/20/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      1.0     $525.00       $525.00
                                                                                                             T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.          TJK       Partner/Principal   3/20/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      1.0     $825.00       $825.00
                                                                                                             T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie              CM             Senior         3/20/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      1.0     $395.00       $395.00
                                                                                                             T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga           KS           Manager         3/20/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      1.0     $525.00       $525.00
                                                                                                             T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
Gundu,Kaivalya               KG        Senior Manager     3/20/2023               Technology                 Meeting to discuss data upload process on FDF and Raptor. EY attendees: C. Li and K. Gundu             0.8     $650.00       $520.00

Li,Chunyang                  CL            Senior         3/20/2023               Technology                 Meeting to discuss data upload process on FDF and Raptor. EY attendees: C. Li and K. Gundu             0.8     $395.00       $316.00
                                                                                                             Internal call on the analysis of the financial data shared by RLA. EY attendees: D. McComber and
Di Stefano,Giulia           GDS            Senior         3/20/2023             Transfer Pricing                                                                                                                    0.2     $395.00        $79.00
                                                                                                             G. Di Stefano
                                          National                                                           Internal call on the analysis of the financial data shared by RLA. EY attendees: D. McComber and
McComber,Donna              DM                            3/20/2023             Transfer Pricing                                                                                                                    0.2     $990.00       $198.00
                                      Partner/Principal                                                      G. Di Stefano
                                                                                                             Internal call to discuss outstanding claims and updates to be made to the claims log going forward.
Gatt,Katie                   KG        Senior Manager     3/20/2023         US State and Local Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                             EY attendees: D. Johnson, N. Flagg, and K. Gatt
                                                                                                             Internal call to discuss outstanding claims and updates to be made to the claims log going forward.
Johnson,Derrick Joseph       DJJ            Staff         3/20/2023         US State and Local Tax                                                                                                                  0.5     $225.00       $112.50
                                                                                                             EY attendees: D. Johnson, N. Flagg, and K. Gatt
                                                                                                             Internal call to discuss outstanding claims and updates to be made to the claims log going forward.
Flagg,Nancy A.              NAF       Managing Director   3/20/2023         US State and Local Tax                                                                                                                  0.5     $775.00       $387.50
                                                                                                             EY attendees: D. Johnson, N. Flagg, and K. Gatt
                                                                                                             Follow-up regarding Project Management Office action items from status tracker and
Ancona,Christopher           CA            Senior         3/20/2023   Project Management Office Transition                                                                                                          1.1     $395.00       $434.50
                                                                                                             correspondence with workstream leads
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                 Name      Initials        Rank                                   Project Category                                                         Description of Services                                      Hours   Hourly Rate   Fees
                                                           Service
                                                                                                                    Correspondence and follow-up on Project Management Office action items related to FTX tax
Ancona,Christopher           CA            Senior         3/20/2023     Project Management Office Transition                                                                                                             1.6     $395.00       $632.00
                                                                                                                    deliverables
                                                                                                                    Prepare documentation related to procedural considerations related to method of accounting for
Bailey,Doug                  DB       Partner/Principal   3/20/2023                 Tax Advisory                                                                                                                         3.9     $825.00      $3,217.50
                                                                                                                    digital assets
Bailey,Doug                  DB       Partner/Principal   3/20/2023                 Tax Advisory                    Review crypto balances information provided by A&M                                                   3.7     $825.00      $3,052.50
Berman,Jake                  JB        Senior Manager     3/20/2023                US Income Tax                    Correspondence and discussion regarding Alameda                                                      0.3     $650.00        $195.00
Bost,Anne                    BA       Managing Director   3/20/2023                Transfer Pricing                 Review 2020 and 2021 audited financials of Cottonwood                                                2.3     $775.00      $1,782.50
Bost,Anne                    BA       Managing Director   3/20/2023                Transfer Pricing                 Prepare deck for in-person meeting with C Suite                                                      0.4     $775.00        $310.00
Bouza,Victor                 VB           Manager         3/20/2023                 Non US Tax                      Prepare for call regarding FTX Swiss entities coordination                                           0.5     $525.00        $262.50
                                                                                                                    Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.              CRC            Senior         3/20/2023                  Payroll Tax                                                                                                                         3.3     $395.00      $1,303.50
                                                                                                                    inquiries.
                                                                                                                    Review and revise summary 1099 email intake backlog and updating process with curating new
Carver,Cody R.              CRC            Senior         3/20/2023                  Payroll Tax                                                                                                                         1.7     $395.00       $671.50
                                                                                                                    responses for inquiries.
Choudary,Hira                HC             Staff         3/20/2023                  Non US Tax                     Revise contact list to match completed questionnaire                                                 0.9     $225.00        $202.50
DeVincenzo,Jennie           JDV       Managing Director   3/20/2023                  Payroll Tax                    Review data files in preparation for call with IRS auditor                                           1.4     $775.00      $1,085.00
DeVincenzo,Jennie           JDV       Managing Director   3/20/2023                  Payroll Tax                    Prepare for UCC and S&C regarding claimant taxation reporting                                        0.6     $775.00        $465.00
Di Stefano,Giulia           GDS            Senior         3/20/2023                Transfer Pricing                 Analyze trial balances                                                                               2.2     $395.00        $869.00
Dudrear,David               DD        Managing Director   3/20/2023             US State and Local Tax              Review Delaware desk questions related to franchise tax calculations due 3/31                        1.0     $775.00        $775.00
Ferris,Tara                  TF       Partner/Principal   3/20/2023             Information Reporting               Revise 1099 claimant questions document                                                              0.9     $825.00        $742.50
Gundu,Kaivalya              KG         Senior Manager     3/20/2023                  Technology                     Discussions regarding the Technology Strategy & Architecture workstream                              0.3     $650.00        $195.00
                                                                                                                    Analyze corporate income tax notice logs to determine which jurisdictions will accept a letter in
Hall,Emily Melissa          EMH            Senior         3/20/2023             US State and Local Tax                                                                                                                   1.1     $395.00       $434.50
                                                                                                                    lieu of an SOW.
                                                                                                                    Review of entities under the draft entity listing from a state and local tax perspective for
Hall,Emily Melissa          EMH            Senior         3/20/2023             US State and Local Tax                                                                                                                   1.8     $395.00       $711.00
                                                                                                                    combination filing purposes.
Hall,Olivia                 OH             Staff          3/20/2023              Transfer Pricing                   Review and analyze trial balances                                                                    0.9     $225.00        $202.50
Hammon,David Lane           DLH           Manager         3/20/2023                Non US Tax                       Correspondence regarding Turkey NDA                                                                  0.6     $525.00        $315.00
Hammon,David Lane           DLH           Manager         3/20/2023                Non US Tax                       Correspondence with EY member firms concerning engagement details                                    2.1     $525.00      $1,102.50
Hammon,David Lane           DLH           Manager         3/20/2023                Non US Tax                       Revise various trackers concerning the foreign workstreams                                           2.2     $525.00      $1,155.00
Hammon,David Lane           DLH           Manager         3/20/2023   Non-Working Travel (billed at 50% of rates)   Travel from Cleveland, OH to New York, NY                                                            2.9     $262.50        $761.25
Huang,Vanesa                VH             Staff          3/20/2023           US State and Local Tax                Revise the SOS accounts in order to file Annual Reports online                                       3.1     $225.00        $697.50
Huang,Vanesa                VH             Staff          3/20/2023           US State and Local Tax                Revise password tracker with SOS account info to document for future Annual Reports                  0.4     $225.00         $90.00
Karan,Anna Suncheuri        ASK            Staff          3/20/2023            US International Tax                 Research PFIC foreign entities information                                                           1.4     $225.00        $315.00
                                                                                                                    Correspondence with investment firm PWP requesting information related to investments for the
Karan,Anna Suncheuri        ASK             Staff         3/20/2023              US International Tax                                                                                                                    0.6     $225.00       $135.00
                                                                                                                    passive foreign investment company analysis entityanalysis
Katelas,Andreas             KA             Senior         3/20/2023              US International Tax               Revise draft trading activities outline for discussion purposes                                      1.6     $395.00       $632.00
Li,Chunyang                 CL             Senior         3/20/2023                  Technology                     Review the overview data architecture deck                                                           1.6     $395.00       $632.00
MacLean,Corrie              CM             Senior         3/20/2023                 Non US Tax                      Revise tracking sheet and review historical documents received                                       2.2     $395.00       $869.00
                                          National
McComber,Donna              DM                            3/20/2023                Transfer Pricing                 Analyze 2022 financials and prepare slides for TP 101 session                                        1.8     $990.00      $1,782.00
                                      Partner/Principal
Mistler,Brian M            BMM            Manager         3/20/2023   Non-Working Travel (billed at 50% of rates)   Travel from San Diego, CA to New York, NY                                                            3.0     $262.50        $787.50
Mistler,Brian M            BMM            Manager         3/20/2023               US Income Tax                     Prep for call with N. Molina (FTX) on database extraction                                            0.4     $525.00        $210.00
Mistler,Brian M            BMM            Manager         3/20/2023               US Income Tax                     Prep for IRS and tax extension work session                                                          0.4     $525.00        $210.00
Musano,Matthew Albert      MAM        Senior Manager      3/20/2023           US State and Local Tax                Review the Power of Attorney letter template regarding the notice process                            1.7     $650.00      $1,105.00
Raulli,Lindsay Elizabeth   LER        Senior Manager      3/20/2023            US International Tax                 Compliance prep                                                                                      0.4     $650.00        $260.00
Raulli,Lindsay Elizabeth   LER        Senior Manager      3/20/2023            US International Tax                 Review of Cottonwood Grove foreign subsidiary                                                        0.4     $650.00        $260.00
Richardson,Audrey Sarah    ASR            Manager         3/20/2023           Information Reporting                 Prepare draft summary of transaction data                                                            1.9     $525.00        $997.50
Richardson,Audrey Sarah    ASR            Manager         3/20/2023           Information Reporting                 Revise draft summary of transaction data                                                             0.4     $525.00        $210.00
Rüegg,Christoph             CR             Senior         3/20/2023                Non US Tax                       Call with GCR team regarding scoping and pricing + OOS entities                                      0.6     $395.00        $237.00
Rüegg,Christoph             CR             Senior         3/20/2023                Non US Tax                       Alignment call with GCR team regarding scoping and pricing + OOO entities                            0.6     $395.00        $237.00
                                       Client Serving
Scott,James                  JS                           3/20/2023                US Income Tax                    Analyze Federal tax filing elections                                                                 1.2     $600.00       $720.00
                                       Contractor JS
                                       Client Serving
Scott,James                  JS                           3/20/2023                US Income Tax                    Analyze Delaware franchise tax filing and stock ownership                                            0.4     $600.00       $240.00
                                       Contractor JS
                                       Client Serving
Scott,James                  JS                           3/20/2023                US Income Tax                    Provide assistance analyzing tax compliance for Canada and Panama                                    0.4     $600.00       $240.00
                                       Contractor JS
                                       Client Serving
Scott,James                  JS                           3/20/2023   Non-Working Travel (billed at 50% of rates)   Travel from Raleigh, NC to New York, NY                                                              1.6     $300.00       $480.00
                                       Contractor JS
                                                                                                                    Review of deck regarding treatment of certain transactions for income tax purposes and potential
Shea JR,Thomas M            TMS       Partner/Principal   3/20/2023                US Income Tax                                                                                                                         0.3     $825.00       $247.50
                                                                                                                    remediative steps
Soderman,Kathy               KS       Managing Director   3/20/2023                  Non US Tax                     Review requirement for German local engagement letter                                                0.3     $775.00       $232.50
Staromiejska,Kinga           KS           Manager         3/20/2023                  Non US Tax                     Analyze entities to be liquidated                                                                    0.6     $525.00       $315.00
                                          National
Stevens,Matthew Aaron       MAS                           3/20/2023                 Tax Advisory                    Teleconference with team                                                                             0.3     $990.00       $297.00
                                      Partner/Principal
Tong,Chia-Hui               CHT        Senior Manager     3/20/2023     Project Management Office Transition        Review overall workstream status against timelines and validate dependencies                         1.6     $650.00      $1,040.00
Tong,Chia-Hui               CHT        Senior Manager     3/20/2023     Project Management Office Transition        Prepare agenda for internal workstream leads call                                                    0.8     $650.00        $520.00
                                                                                                                    Determine the basis of the preparation of the financial statements (US GAAP or IFRS) of Innovatia
Tsikkouris,Anastasios        AT           Manager         3/20/2023             Information Reporting                                                                                                                    0.6     $525.00       $315.00
                                                                                                                    Limited for year ended 11/22/22
Tyllirou,Christiana          CT           Manager         3/20/2023             Information Reporting               Review of information provided for the bookkeeping of Innovatia                                      0.8     $525.00       $420.00
                                                                                                                    Internal meeting to discuss mark to market tax election and trading activity documentation. EY
Weiler,Sam P                SPW       Partner/Principal   3/20/2023                 Tax Advisory                    attendees: L. Lovelace, D. Bailey, T. Shea, M. Stevens, J. Scott, S. Weiler, M. Musano, and A.       0.5     $825.00       $412.50
                                                                                                                    Katelas
Wrenn,Kaitlin Doyle        KDW            Manager         3/20/2023                  Payroll Tax                    Prepare for IRS auditor call, pulling referenced publications and outlining data available.          2.3     $525.00      $1,207.50
Wrenn,Kaitlin Doyle        KDW            Manager         3/20/2023                  Payroll Tax                    Prepare for call with UCC and S&C regarding claimant taxation reporting                              0.8     $525.00        $420.00
Wrenn,Kaitlin Doyle        KDW            Manager         3/20/2023                  Payroll Tax                    Review of 1099 intake progress completed                                                             0.9     $525.00        $472.50
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                                                       Date of
                Name   Initials        Rank                                Project Category                                                   Description of Services                                        Hours   Hourly Rate   Fees
                                                       Service
Zhu,Philip               PZ            Senior         3/20/2023           US International Tax           Review and revise tokens data for the International Tax team                                         1.7     $395.00       $671.50
                                                                                                         Coordinate with Cayman, Cyprus, Germany, Gibraltar on liquidation procedures and required
Maiello,Rob             RM           Consultant       3/20/2023          Liquidation Activities                                                                                                               1.8     $445.00       $801.00
                                                                                                         information
                                                                                                         Email correspondence with EY teams in Switzerland, Turkey, UAE, Vietnam regarding liquidation
Maiello,Rob             RM           Consultant       3/20/2023          Liquidation Activities                                                                                                               1.5     $445.00       $667.50
                                                                                                         matters and required information
                                                                                                         Email correspondence with India, Liechtenstein, Malta, Singapore on liquidation procedures and
Maiello,Rob             RM           Consultant       3/20/2023          Liquidation Activities                                                                                                               2.1     $445.00       $934.50
                                                                                                         required information
Maiello,Rob             RM           Consultant       3/20/2023          Liquidation Activities          Review FTX connections regarding EY Singapore and email correspondence regarding the same            2.1     $445.00       $934.50
Bugden,Nick R           NRB       Senior Manager      3/20/2023          Liquidation Activities          Correspondence re: liquidation of Swiss entity                                                       0.2      $900.00      $180.00
Bugden,Nick R           NRB       Senior Manager      3/20/2023          Liquidation Activities          Discussion re: update call with EY Germany. EY attendees: N. Bugden and F. ORiain                    0.3      $900.00      $270.00
Bugden,Nick R           NRB       Senior Manager      3/20/2023          Liquidation Activities          Call re: Singapore liquidation considerations. EY attendees: B. Richards and N. Bugden               0.4      $900.00      $360.00
Richards,Briana A.      BR        Partner/Principal   3/20/2023          Liquidation Activities          Call re: Singapore liquidation considerations. EY attendees: B. Richards and N. Bugden               0.4     $1,150.00     $460.00
                                                                                                         Project update call re: Bermuda considerations. EY attendees: B. Richards, N. Bugden, and K.
Bugden,Nick R           NRB        Senior Manager     3/20/2023          Liquidation Activities                                                                                                               0.5     $900.00       $450.00
                                                                                                         Hutchison
                                                                                                         Project update call re: Bermuda considerations. EY attendees: B. Richards, N. Bugden, and K.
Richards,Briana A.       BR       Partner/Principal   3/20/2023          Liquidation Activities                                                                                                               0.5     $1,150.00     $575.00
                                                                                                         Hutchison
                                                                                                         Project update call re: Bermuda considerations. EY attendees: B. Richards, N. Bugden, and K.
Hutchison,Keiran         KH       Partner/Principal   3/20/2023          Liquidation Activities                                                                                                               0.5     $850.00       $425.00
                                                                                                         Hutchison
Hutchison,Keiran        KH        Partner/Principal   3/20/2023          Liquidation Activities          Review recent docket filings relevant to liquidation entities                                        0.4     $850.00       $340.00
ORiain,Fionn            ORF           Manager         3/20/2023          Liquidation Activities          Discussion re: update call with EY Germany. EY attendees: N. Bugden and F. ORiain                    0.3     $725.00       $217.50
                                                                                                         Bi-weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher       CA            Senior         3/21/2023   Project Management Office Transition                                                                                                        0.8     $395.00       $316.00
                                                                                                         attendees: C. Ancona and C. Tong
                                                                                                         Bi-weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui           CHT        Senior Manager     3/21/2023   Project Management Office Transition                                                                                                        0.8     $650.00       $520.00
                                                                                                         attendees: C. Ancona and C. Tong
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher       CA            Senior         3/21/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug              DB       Partner/Principal   3/21/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake              JB        Senior Manager     3/21/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                   Client Serving
Bieganski,Walter        WB                            3/21/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $200.00       $120.00
                                   Contractor WB
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                BA       Managing Director   3/21/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $775.00       $465.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Choudary,Hira            HC             Staff         3/21/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $225.00       $135.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ellenson,Cory            CE        Senior Manager     3/21/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne              AF       Partner/Principal   3/21/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya           KG        Senior Manager     3/21/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                ZH        Senior Manager     3/21/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa      EMH            Senior         3/21/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane       DLH           Manager         3/21/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John               JH        Senior Manager     3/21/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas          KA            Senior         3/21/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David         DK           Manager         3/21/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.      TJK       Partner/Principal   3/21/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                         the implementation of global compliance and reporting services
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                   Description of Services                                        Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren            LL       Partner/Principal   3/21/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
Lowery,Kristie L          KLL                           3/21/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $990.00       $594.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         3/21/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
McComber,Donna            DM                            3/21/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $990.00       $594.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         3/21/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           3/21/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $600.00       $360.00
                                      Contractor JS
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M          TMS       Partner/Principal   3/21/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Soderman,Kathy             KS       Managing Director   3/21/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $775.00       $465.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga         KS           Manager         3/21/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     3/21/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle      KDW            Manager         3/21/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                           the implementation of global compliance and reporting services
Ancona,Christopher         CA            Senior         3/21/2023      Fee/Employment Applications         Meeting with to discuss fee application procedures. EY attendees: C. Ancona and D. Neziroski         0.4     $395.00       $158.00
                                                                                                           Meeting with IRS Auditor B. Nichols (IRS) and K. Schultea (FTX) for opening agenda review to
DeVincenzo,Jennie         JDV       Managing Director   3/21/2023       Meetings with Management           discuss audit logistics, initial Information Document Request. EY attendees: K. Lowery, J.           1.5     $775.00      $1,162.50
                                                                                                           DeVincenzo, M. Rule, and K. Wrenn
                                                                                                           Meeting with IRS Auditor B. Nichols (IRS) and K. Schultea (FTX) for opening agenda review to
                                        National
Lowery,Kristie L          KLL                           3/21/2023       Meetings with Management           discuss audit logistics, initial Information Document Request. EY attendees: K. Lowery, J.           1.5     $990.00      $1,485.00
                                    Partner/Principal
                                                                                                           DeVincenzo, M. Rule, and K. Wrenn
                                                                                                           Meeting with IRS Auditor B. Nichols (IRS) and K. Schultea (FTX) for opening agenda review to
Rule,Martin Daniel       MDR         Senior Manager     3/21/2023       Meetings with Management           discuss audit logistics, initial Information Document Request. EY attendees: K. Lowery, J.           1.5     $650.00       $975.00
                                                                                                           DeVincenzo, M. Rule, and K. Wrenn
                                                                                                           Meeting with IRS Auditor B. Nichols (IRS) and K. Schultea (FTX) for opening agenda review to
Wrenn,Kaitlin Doyle      KDW            Manager         3/21/2023       Meetings with Management           discuss audit logistics, initial Information Document Request. EY attendees: K. Lowery, J.           1.5     $525.00       $787.50
                                                                                                           DeVincenzo, M. Rule, and K. Wrenn
                                                                                                           Meeting to recap discussion regarding initial IRS call with examiner and discussionand walk
DeVincenzo,Jennie         JDV       Managing Director   3/21/2023               Payroll Tax                                                                                                                     0.6     $775.00       $465.00
                                                                                                           through next steps. EY attendees: K. Lowery, J. DeVincenzo, M. Rule, and K. Wrenn
                                        National                                                           Meeting to recap discussion regarding initial IRS call with examiner and discussionand walk
Lowery,Kristie L          KLL                           3/21/2023               Payroll Tax                                                                                                                     0.6     $990.00       $594.00
                                    Partner/Principal                                                      through next steps. EY attendees: K. Lowery, J. DeVincenzo, M. Rule, and K. Wrenn
                                                                                                           Meeting to recap discussion regarding initial IRS call with examiner and discussionand walk
Rule,Martin Daniel       MDR         Senior Manager     3/21/2023               Payroll Tax                                                                                                                     0.6     $650.00       $390.00
                                                                                                           through next steps. EY attendees: K. Lowery, J. DeVincenzo, M. Rule, and K. Wrenn
                                                                                                           Meeting to recap discussion regarding initial IRS call with examiner and discussionand walk
Wrenn,Kaitlin Doyle      KDW            Manager         3/21/2023               Payroll Tax                                                                                                                     0.6     $525.00       $315.00
                                                                                                           through next steps. EY attendees: K. Lowery, J. DeVincenzo, M. Rule, and K. Wrenn
                                                                                                           Call with L. Barrios (RLKS) and F. Buenrostro (RLKS) to review updates to the 1099 intake file,
Carver,Cody R.            CRC            Senior         3/21/2023      Meetings with Other Advisors        including what key focus areas, canned email responses to use, and how to update the tracker when    0.6     $395.00       $237.00
                                                                                                           emails responses are sent. EY attendees: C. Carver and K. Wrenn
                                                                                                           Call with L. Barrios (RLKS) and F. Buenrostro (RLKS) to review updates to the 1099 intake file,
Wrenn,Kaitlin Doyle      KDW            Manager         3/21/2023      Meetings with Other Advisors        including what key focus areas, canned email responses to use, and how to update the tracker when    0.6     $525.00       $315.00
                                                                                                           emails responses are sent. EY attendees: C. Carver and K. Wrenn
                                                                                                           Internal call to prepare for state tax notice discussion with FTX team. EY attendees: T. Shea, J.
Flagg,Nancy A.            NAF       Managing Director   3/21/2023         US State and Local Tax                                                                                                                0.5     $775.00       $387.50
                                                                                                           Scott, N. Flagg, E. Hall, and M. Musano
                                                                                                           Internal call to prepare for state tax notice discussion with FTX team. EY attendees: T. Shea, J.
Hall,Emily Melissa        EMH            Senior         3/21/2023         US State and Local Tax                                                                                                                0.5     $395.00       $197.50
                                                                                                           Scott, N. Flagg, E. Hall, and M. Musano
                                                                                                           Internal call to prepare for state tax notice discussion with FTX team. EY attendees: T. Shea, J.
Musano,Matthew Albert    MAM         Senior Manager     3/21/2023         US State and Local Tax                                                                                                                0.5     $650.00       $325.00
                                                                                                           Scott, N. Flagg, E. Hall, and M. Musano
                                      Client Serving                                                       Internal call to prepare for state tax notice discussion with FTX team. EY attendees: T. Shea, J.
Scott,James                JS                           3/21/2023             US Income Tax                                                                                                                     0.5     $600.00       $300.00
                                      Contractor JS                                                        Scott, N. Flagg, E. Hall, and M. Musano
                                                                                                           Internal call to prepare for state tax notice discussion with FTX team. EY attendees: T. Shea, J.
Shea JR,Thomas M          TMS       Partner/Principal   3/21/2023             US Income Tax                                                                                                                     0.5     $825.00       $412.50
                                                                                                           Scott, N. Flagg, E. Hall, and M. Musano
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher         CA            Senior         3/21/2023       Meetings with Management                                                                                                                0.4     $395.00       $158.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
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                                                         Date of
                  Name   Initials        Rank                                Project Category                                                    Description of Services                                            Hours   Hourly Rate   Fees
                                                         Service
                                        National                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Lowery,Kristie L          KLL                           3/21/2023       Meetings with Management                                                                                                                     0.4     $990.00       $396.00
                                    Partner/Principal                                                      EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M          BMM            Manager         3/21/2023       Meetings with Management                                                                                                                     0.4     $525.00       $210.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                     Client Serving                                                        Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                JS                           3/21/2023       Meetings with Management                                                                                                                     0.4     $600.00       $240.00
                                     Contractor JS                                                         EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M          TMS       Partner/Principal   3/21/2023       Meetings with Management                                                                                                                     0.4     $825.00       $330.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui             CHT       Senior Manager      3/21/2023       Meetings with Management                                                                                                                     0.4     $650.00       $260.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                    Client Serving                                                         State and Local Tax field of play call to discuss admin updates and tax workstream updates. EY
Bieganski,Walter          WB                            3/21/2023         US State and Local Tax                                                                                                                     0.5     $200.00       $100.00
                                    Contractor WB                                                          attendees: M. Musano, W. Bieganski, K. Gatt, J. Jimenez, D. Johnson, and E. Hall
                                                                                                           State and Local Tax field of play call to discuss admin updates and tax workstream updates. EY
Gatt,Katie                 KG       Senior Manager      3/21/2023         US State and Local Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                           attendees: M. Musano, W. Bieganski, K. Gatt, J. Jimenez, D. Johnson, and E. Hall
                                                                                                           State and Local Tax field of play call to discuss admin updates and tax workstream updates. EY
Hall,Emily Melissa        EMH            Senior         3/21/2023         US State and Local Tax                                                                                                                     0.5     $395.00       $197.50
                                                                                                           attendees: M. Musano, W. Bieganski, K. Gatt, J. Jimenez, D. Johnson, and E. Hall
                                                                                                           State and Local Tax field of play call to discuss admin updates and tax workstream updates. EY
Jimenez,Joseph Robert      JRJ      Senior Manager      3/21/2023         US State and Local Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                           attendees: M. Musano, W. Bieganski, K. Gatt, J. Jimenez, D. Johnson, and E. Hall
                                                                                                           State and Local Tax field of play call to discuss admin updates and tax workstream updates. EY
Johnson,Derrick Joseph     DJJ            Staff         3/21/2023         US State and Local Tax                                                                                                                     0.5     $225.00       $112.50
                                                                                                           attendees: M. Musano, W. Bieganski, K. Gatt, J. Jimenez, D. Johnson, and E. Hall
                                                                                                           State and Local Tax field of play call to discuss admin updates and tax workstream updates. EY
Musano,Matthew Albert    MAM        Senior Manager      3/21/2023         US State and Local Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                           attendees: M. Musano, W. Bieganski, K. Gatt, J. Jimenez, D. Johnson, and E. Hall
                                                                                                           Meeting with K. Jacobs (A&M) and B. Seaway (A&M) to discuss elections and treatment of
Bailey,Doug                DB       Partner/Principal   3/21/2023      Meetings with Other Advisors        certain transactions. EY attendees: L. Lovelace, D. Bailey, A. Katelas, T. Shea, B. Mistler, J. Scott,    0.7     $825.00       $577.50
                                                                                                           and J. Berman
                                                                                                           Meeting with K. Jacobs (A&M) and B. Seaway (A&M) to discuss elections and treatment of
Berman,Jake                JB       Senior Manager      3/21/2023      Meetings with Other Advisors        certain transactions. EY attendees: L. Lovelace, D. Bailey, A. Katelas, T. Shea, B. Mistler, J. Scott,    0.7     $650.00       $455.00
                                                                                                           and J. Berman
                                                                                                           Meeting with K. Jacobs (A&M) and B. Seaway (A&M) to discuss elections and treatment of
Katelas,Andreas            KA            Senior         3/21/2023      Meetings with Other Advisors        certain transactions. EY attendees: L. Lovelace, D. Bailey, A. Katelas, T. Shea, B. Mistler, J. Scott,    0.7     $395.00       $276.50
                                                                                                           and J. Berman
                                                                                                           Meeting with K. Jacobs (A&M) and B. Seaway (A&M) to discuss elections and treatment of
Lovelace,Lauren            LL       Partner/Principal   3/21/2023      Meetings with Other Advisors        certain transactions. EY attendees: L. Lovelace, D. Bailey, A. Katelas, T. Shea, B. Mistler, J. Scott,    0.7     $825.00       $577.50
                                                                                                           and J. Berman
                                                                                                           Meeting with K. Jacobs (A&M) and B. Seaway (A&M) to discuss elections and treatment of
Mistler,Brian M          BMM            Manager         3/21/2023      Meetings with Other Advisors        certain transactions. EY attendees: L. Lovelace, D. Bailey, A. Katelas, T. Shea, B. Mistler, J. Scott,    0.7     $525.00       $367.50
                                                                                                           and J. Berman
                                                                                                           Meeting with K. Jacobs (A&M) and B. Seaway (A&M) to discuss elections and treatment of
                                     Client Serving
Scott,James                JS                           3/21/2023      Meetings with Other Advisors        certain transactions. EY attendees: L. Lovelace, D. Bailey, A. Katelas, T. Shea, B. Mistler, J. Scott,    0.7     $600.00       $420.00
                                     Contractor JS
                                                                                                           and J. Berman
                                                                                                           Meeting with K. Jacobs (A&M) and B. Seaway (A&M) to discuss elections and treatment of
Shea JR,Thomas M          TMS       Partner/Principal   3/21/2023      Meetings with Other Advisors        certain transactions. EY attendees: L. Lovelace, D. Bailey, A. Katelas, T. Shea, B. Mistler, J. Scott,    0.7     $825.00       $577.50
                                                                                                           and J. Berman
                                                                                                           Meeting with R. Hoskins (RLKS) to discuss December 31st financials. EY attendees: J. Scott, T.
Berman,Jake                JB       Senior Manager      3/21/2023      Meetings with Other Advisors                                                                                                                  0.5     $650.00       $325.00
                                                                                                           Shea, B. Mistler, and J. Berman
                                                                                                           Meeting with R. Hoskins (RLKS) to discuss December 31st financials. EY attendees: J. Scott, T.
Mistler,Brian M          BMM            Manager         3/21/2023      Meetings with Other Advisors                                                                                                                  0.5     $525.00       $262.50
                                                                                                           Shea, B. Mistler, and J. Berman
                                     Client Serving                                                        Meeting with R. Hoskins (RLKS) to discuss December 31st financials. EY attendees: J. Scott, T.
Scott,James                JS                           3/21/2023      Meetings with Other Advisors                                                                                                                  0.5     $600.00       $300.00
                                     Contractor JS                                                         Shea, B. Mistler, and J. Berman
                                                                                                           Meeting with R. Hoskins (RLKS) to discuss December 31st financials. EY attendees: J. Scott, T.
Shea JR,Thomas M          TMS       Partner/Principal   3/21/2023      Meetings with Other Advisors                                                                                                                  0.5     $825.00       $412.50
                                                                                                           Shea, B. Mistler, and J. Berman
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/21/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,         0.6     $225.00       $135.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/21/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,         0.6     $525.00       $315.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/21/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,         0.6     $825.00       $495.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/21/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,         0.6     $395.00       $237.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/21/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,         0.6     $525.00       $315.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
Gundu,Kaivalya             KG       Senior Manager      3/21/2023               Technology                 Meeting to go over the FTX project plan and timeline. EY attendees: C. Li, D. Jena, and K. Gundu          0.5     $650.00       $325.00

Jena,Deepak                DJ           Manager         3/21/2023               Technology                 Meeting to go over the FTX project plan and timeline. EY attendees: C. Li, D. Jena, and K. Gundu          0.5     $525.00       $262.50

Li,Chunyang                CL            Senior         3/21/2023               Technology                 Meeting to go over the FTX project plan and timeline. EY attendees: C. Li, D. Jena, and K. Gundu          0.5     $395.00       $197.50
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                                                           Date of
                 Name      Initials         Rank                               Project Category                                                    Description of Services                                         Hours   Hourly Rate   Fees
                                                           Service
                                                                                                             Meeting to discuss hosting FTX tax data in support of the tax workstreams. EY attendees: D. Jena,
Gundu,Kaivalya               KG        Senior Manager     3/21/2023               Technology                                                                                                                        1.0     $650.00       $650.00
                                                                                                             C. Li, C. Velpuri, and K. Gundu
                                                                                                             Meeting to discuss hosting FTX tax data in support of the tax workstreams. EY attendees: D. Jena,
Jena,Deepak                  DJ           Manager         3/21/2023               Technology                                                                                                                        1.0     $525.00       $525.00
                                                                                                             C. Li, C. Velpuri, and K. Gundu
                                                                                                             Meeting to discuss hosting FTX tax data in support of the tax workstreams. EY attendees: D. Jena,
Li,Chunyang                  CL            Senior         3/21/2023               Technology                                                                                                                        1.0     $395.00       $395.00
                                                                                                             C. Li, C. Velpuri, and K. Gundu
                                                                                                             Meeting to discuss hosting FTX tax data in support of the tax workstreams. EY attendees: D. Jena,
Velpuri,Cury                 CV             Staff         3/21/2023               Technology                                                                                                                        1.0     $225.00       $225.00
                                                                                                             C. Li, C. Velpuri, and K. Gundu
Di Stefano,Giulia           GDS             Senior        3/21/2023             Transfer Pricing             Internal call regarding trial balance analysis. EY attendees: G. Di Stefano and O. Hall                0.3     $395.00       $118.50
Hall,Olivia                 OH               Staff        3/21/2023             Transfer Pricing             Internal call regarding trial balance analysis. EY attendees: G. Di Stefano and O. Hall                0.3     $225.00        $67.50
                                        Client Serving
Scott,James                  JS                           3/21/2023             US Income Tax                Weekly CEO PMO meeting with S&C and A&M                                                                0.8     $600.00       $480.00
                                        Contractor JS
Ancona,Christopher           CA             Senior        3/21/2023   Project Management Office Transition   Correspondence regarding process to record time for fee application                                    3.3     $395.00      $1,303.50
Ancona,Christopher           CA             Senior        3/21/2023   Project Management Office Transition   Prepare for meeting with FTX to discuss tax project status updates                                     0.9     $395.00        $355.50
                                                                                                             Follow-up regarding Project Management Office action items from status tracker and
Ancona,Christopher           CA            Senior         3/21/2023   Project Management Office Transition                                                                                                          1.6     $395.00       $632.00
                                                                                                             correspondence with workstream leads
                                                                                                             Prepare meeting materials for the EY Leads touchpoint to discuss project status updates with
Ancona,Christopher           CA            Senior         3/21/2023   Project Management Office Transition                                                                                                          0.8     $395.00       $316.00
                                                                                                             workstream leads
Bailey,Doug                 DB        Partner/Principal   3/21/2023              Tax Advisory                Analyze historical filings and updating method of accounting table                                     2.2     $825.00      $1,815.00
Bailey,Doug                 DB        Partner/Principal   3/21/2023              Tax Advisory                Review of 2020 and 2021 Cottonwood financial statements                                                1.8     $825.00      $1,485.00
Camargos,Lorraine Silva     LSC            Senior         3/21/2023               Payroll Tax                Correspondence regarding UK Payroll coordination with EY Team from UK                                  0.9     $395.00        $355.50
Carreras,Stephen              C           Manager         3/21/2023               Non US Tax                 Review the monthly payrun schedule, gross-to-net salary schedule, and payslips for March 2023          0.9     $525.00       $472.50
Carreras,Stephen              C           Manager         3/21/2023               Non US Tax                 Review the tax & SI calc plus remittance generation for tax payment for March 2023                     0.4     $525.00       $210.00
Carreras,Stephen              C           Manager         3/21/2023               Non US Tax                 Prepare monthly payroll and gross-to-net salary schedule for March 2023                                1.7     $525.00       $892.50
                                                                                                             Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.              CRC            Senior         3/21/2023               Payroll Tax                                                                                                                       1.4     $395.00       $553.00
                                                                                                             inquiries.
                                                                                                             Review and revise summary 1099 email intake backlog and updating process with curating new
Carver,Cody R.              CRC            Senior         3/21/2023               Payroll Tax                                                                                                                       3.4     $395.00      $1,343.00
                                                                                                             responses for inquiries.
Choudary,Hira                HC             Staff         3/21/2023               Non US Tax                 Prepare summary tracking overall status for each country in the KT Tracker                             1.6     $225.00       $360.00
DeVincenzo,Jennie           JDV       Managing Director   3/21/2023               Payroll Tax                Review transcript documentation and entity summary in preparation for call with IRS auditor            1.8     $775.00      $1,395.00
DeVincenzo,Jennie           JDV       Managing Director   3/21/2023              Payroll Tax                 Review of IRS provided agenda agendas for LedgerPrime and Alameda 941-X. FTX entities                  1.3     $775.00      $1,007.50
Di Stefano,Giulia           GDS            Senior         3/21/2023            Transfer Pricing              Draft slides on TP 101 for meeting to be held on 3/31/2023                                             1.4     $395.00        $553.00
Dulceak,Crystal              CD           Manager         3/21/2023         US State and Local Tax           Correspondence with team to check on status of Annual Report batch due 3/31-4/15.                      0.6     $525.00        $315.00
Ferris,Tara                  TF       Partner/Principal   3/21/2023         Information Reporting            Review of 1099 reporting files for data gaps                                                           1.4     $825.00      $1,155.00
Hall,Emily Melissa          EMH            Senior         3/21/2023         US State and Local Tax           Inquire about opportunities to reduce franchise tax payment for prospective years.                     0.3     $395.00        $118.50
Hall,Emily Melissa          EMH            Senior         3/21/2023         US State and Local Tax           Analyze California proofs of claim and created chart in preparation for 3/22 call.                     0.6     $395.00        $237.00
Hall,Emily Melissa          EMH            Senior         3/21/2023         US State and Local Tax           Analyze corporate income tax notices received, categorized by tax type, and revised tracker            0.8     $395.00        $316.00
Hammon,David Lane           DLH           Manager         3/21/2023              Non US Tax                  Correspondence with engagement leadership concerning the foreign workstreams                           2.1     $525.00      $1,102.50
Hammon,David Lane           DLH           Manager         3/21/2023              Non US Tax                  Correspondence with EY Germany concerning the FY21 financial statements                                0.3     $525.00        $157.50
Hammon,David Lane           DLH           Manager         3/21/2023              Non US Tax                  Correspondence regarding Cyprus payroll tax/social insurance calculations                              0.4     $525.00        $210.00
                                                                                                             Correspondence with various EY member firms clarifying the scope of the engagement and the
Hammon,David Lane           DLH           Manager         3/21/2023               Non US Tax                                                                                                                        1.7     $525.00       $892.50
                                                                                                             requirement to prepare a declaration of disinterestedness
                                                                                                             Revise of the knowledge transfer tracker and engagement acceptance tracker to capture the status of
Hammon,David Lane           DLH           Manager         3/21/2023               Non US Tax                                                                                                                        1.3     $525.00       $682.50
                                                                                                             each EY member firm with regard to the due diligence procedures
Huang,Vanesa                VH              Staff         3/21/2023         US State and Local Tax           Prepare SOS online accounts to file Annual Reports online: GA, NC, NM                                  3.1     $225.00       $697.50
Huang,Vanesa                VH              Staff         3/21/2023         US State and Local Tax           Prepare SOS online accounts to file Annual Reports online: HI, DC, TN, NH                              3.1     $225.00       $697.50
Kallinicou,Korina           KK              Staff         3/21/2023         Information Reporting            Prepare bookkeeping of the information provided until 12/31/2022                                       1.9     $225.00       $427.50
Karan,Anna Suncheuri        ASK             Staff         3/21/2023          US International Tax            Analyze subpart F related foreign transactions                                                         3.9     $225.00       $877.50
Katelas,Andreas             KA             Senior         3/21/2023          US International Tax            Revise internal ITTS tracker and FTX entity control list                                               0.9     $395.00       $355.50
                                                                                                             Review and analyze whether an auto change is allowed when an accounting method was incorrectly
Lovelace,Lauren              LL       Partner/Principal   3/21/2023           US International Tax                                                                                                                  0.7     $825.00       $577.50
                                                                                                             applied
MacLean,Corrie              CM             Senior         3/21/2023               Non US Tax                 Revise tracking sheet updates and review historical documents received                                 1.6     $395.00       $632.00
MacLean,Corrie              CM             Senior         3/21/2023               Non US Tax                 Review historical documents received, classify and update master document tracking sheet               1.4     $395.00       $553.00
                                          National
McComber,Donna              DM                            3/21/2023             Transfer Pricing             Revise draft of TP presentation                                                                        1.2     $990.00      $1,188.00
                                      Partner/Principal
Mistler,Brian M            BMM            Manager         3/21/2023             US Income Tax                Correspondence re: Alameda FTX DB and data exports                                                     0.3     $525.00        $157.50
Mistler,Brian M            BMM            Manager         3/21/2023             US Income Tax                Review of Deck Tools tax returns                                                                       0.4     $525.00        $210.00
Mistler,Brian M            BMM            Manager         3/21/2023             US Income Tax                Develop IRS Audit tracker                                                                              1.2     $525.00        $630.00
Neziroski,David             DN           Associate        3/21/2023      Fee/Employment Applications         Confidentiality review of time detail for January                                                      3.5     $365.00      $1,277.50
Raulli,Lindsay Elizabeth   LER        Senior Manager      3/21/2023           US International Tax           Review of Cottonwood Grove foreign subsidiary                                                          0.4     $650.00        $260.00
Raulli,Lindsay Elizabeth   LER        Senior Manager      3/21/2023           US International Tax           Review of PFIC foreign entities                                                                        0.4     $650.00        $260.00
Richardson,Audrey Sarah    ASR            Manager         3/21/2023          Information Reporting           Prepare for upcoming leads call                                                                        0.4     $525.00        $210.00
Rüegg,Christoph              CR            Senior         3/21/2023               Non US Tax                 Follow-up questions and coordination with team regarding the Declaration of disinterestedness          0.4     $395.00       $158.00
Rüegg,Christoph              CR             Senior        3/21/2023               Non US Tax                 Review follow-up questions regarding the Declaration of disinterestedness                              0.6     $395.00       $237.00
                                        Client Serving
Scott,James                  JS                           3/21/2023             US Income Tax                Analyze Federal tax digital asset transactions                                                         0.9     $600.00       $540.00
                                        Contractor JS
                                        Client Serving
Scott,James                  JS                           3/21/2023             US Income Tax                Revise state tax notice tracker and action item review for CFO                                         0.6     $600.00       $360.00
                                        Contractor JS
                                        Client Serving
Scott,James                  JS                           3/21/2023             US Income Tax                Provide assistance analyzing tax compliance for Hong Kong and Singapore                                0.4     $600.00       $240.00
                                        Contractor JS
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                  Name   Initials        Rank                                 Project Category                                                      Description of Services                                            Hours   Hourly Rate   Fees
                                                         Service
                                     Client Serving
Scott,James                JS                           3/21/2023               US Income Tax                Prepare for bi-weekly call with CAF and CFO                                                                0.4     $600.00       $240.00
                                     Contractor JS
Shea JR,Thomas M          TMS       Partner/Principal   3/21/2023               US Income Tax                Weekly PMO update meeting for executive group with FTX, RLKS, A&M, and S&C                                 0.3     $825.00       $247.50
Shea JR,Thomas M          TMS       Partner/Principal   3/21/2023               US Income Tax                Prep for weekly PMO and follow-up written correspondence with EY, A&M teams                                0.9     $825.00       $742.50
Shea JR,Thomas M          TMS       Partner/Principal   3/21/2023               US Income Tax                Prep for meeting with FTX Chief Financial Officer and Chief Administrative Officer                         0.8     $825.00       $660.00
                                                                                                             Discussion with the Tennessee Department of Revenue regarding next steps to resolve notice and
Stamper,Jace Allen        JAS       Senior Manager      3/21/2023           US State and Local Tax                                                                                                                      0.7     $650.00       $455.00
                                                                                                             correct return filing
                                                                                                             Revise filing tracker to include/add filing entities and jurisdictions in state and local tax extension
Sun,Yuchen                 YS            Senior         3/21/2023           US State and Local Tax                                                                                                                      2.2     $395.00       $869.00
                                                                                                             and tax quarterly estimate trackers.
Tong,Chia-Hui             CHT       Senior Manager      3/21/2023    Project Management Office Transition    Summarize action items from internal workstream leads call                                                 0.4     $650.00       $260.00
Tong,Chia-Hui             CHT       Senior Manager      3/21/2023    Project Management Office Transition    Prepare agenda for call with FTX leadership                                                                0.8     $650.00       $520.00
Tong,Chia-Hui             CHT       Senior Manager      3/21/2023    Project Management Office Transition    Document next steps following call with FTX leadership                                                     0.7     $650.00       $455.00
Tong,Chia-Hui             CHT       Senior Manager      3/21/2023    Project Management Office Transition    Review and follow-up with workstream leads on next steps for upcoming FTX deliverables                     1.2     $650.00       $780.00
                                                                                                             Review information relating to FTX Crypto Services Ltd, FTX EMEA Ltd and FTX EU Ltd for the
Tsikkouris,Anastasios      AT           Manager         3/21/2023                Non US Tax                                                                                                                             0.9     $525.00       $472.50
                                                                                                             purpose of the tax due diligence.
                                                                                                             Follow-up with client with regards to providing information for Innovatia Limited in relation to the
Tsikkouris,Anastasios      AT           Manager         3/21/2023                Non US Tax                                                                                                                             0.3     $525.00       $157.50
                                                                                                             tax due diligence.
Tyllirou,Christiana       CT            Manager         3/21/2023            Information Reporting           Review of information provided for the bookkeeping of Innovatia and provide commentary                     1.2     $525.00       $630.00
Wrenn,Kaitlin Doyle      KDW            Manager         3/21/2023                 Payroll Tax                Review of UCC customer claimant requested updates                                                          0.3     $525.00       $157.50
Wrenn,Kaitlin Doyle      KDW            Manager         3/21/2023                 Payroll Tax                Prepare for IRS auditor call, pulling transcript documentation and outline of summary of entities          2.6     $525.00      $1,365.00
Zheng,Eva                  EZ           Manager         3/21/2023           US State and Local Tax           Follow-up on requesting FTX TY22 compliance resource                                                       0.2     $525.00       $105.00
Zheng,Eva                  EZ           Manager         3/21/2023           US State and Local Tax           Correspondence with federal team on compliance timing                                                      0.2     $525.00       $105.00
Zheng,Eva                  EZ           Manager         3/21/2023           US State and Local Tax           Review local state return calculation due to the substantial tax liability due                             0.4     $525.00       $210.00
Goel,Utkarsh               UG           Manager         3/21/2023            Liquidation Activities          Review Collaboration Agreement and complaint filed against Flying Saucer dated Jan 7, 2021                 2.9     $400.00      $1,160.00
Jain,Gaurav                GJ       Senior Manager      3/21/2023            Liquidation Activities          Review of HDFC Bank Statements and invoices raised by advisors                                             2.8     $550.00      $1,540.00
Bugden,Nick R             NRB       Senior Manager      3/21/2023            Liquidation Activities          Correspondence re: FTX Turkey liquidator recommendations                                                   0.3     $900.00        $270.00
Bugden,Nick R             NRB       Senior Manager      3/21/2023            Liquidation Activities          Prepare for call with EY Cyprus re: liquidation analysis                                                   0.8     $900.00        $720.00
Bugden,Nick R             NRB       Senior Manager      3/21/2023   Chapter 11 Process and Case Management   Team coordination call across EY services                                                                  0.5     $900.00        $450.00
Hutchison,Keiran          KH        Partner/Principal   3/21/2023            Liquidation Activities          Exchange re next steps on Turkey Liq and re Singapore                                                      0.3     $850.00        $255.00
                                                                                                             Internal call regarding Employment Tax Notice resolution and Transcript Review. EY attendees: M.
Pulliam,Michelle           MP             Staff         3/22/2023                 Payroll Tax                                                                                                                           1.0     $225.00       $225.00
                                                                                                             Pulliam, V. Short, and K. Wrenn
                                                                                                             Internal call regarding Employment Tax Notice resolution and Transcript Review. EY attendees: M.
Short,Victoria             VS            Senior         3/22/2023                 Payroll Tax                                                                                                                           1.0     $395.00       $395.00
                                                                                                             Pulliam, V. Short, and K. Wrenn
                                                                                                             Internal call regarding Employment Tax Notice resolution and Transcript Review. EY attendees: M.
Wrenn,Kaitlin Doyle      KDW            Manager         3/22/2023                 Payroll Tax                                                                                                                           1.0     $525.00       $525.00
                                                                                                             Pulliam, V. Short, and K. Wrenn
                                                                                                             Meeting with J. Chan (FTX) to discuss open items, questions, and action items. EY attendees: C.
Ancona,Christopher         CA            Senior         3/22/2023         Meetings with Management           Ancona, B. Mistler, D. Hammon, K. Staromiejska, C. MacLean, L. Lovelace, D. Bailey, and J.                 0.5     $395.00       $197.50
                                                                                                             Scott
                                                                                                             Meeting with J. Chan (FTX) to discuss open items, questions, and action items. EY attendees: C.
Bailey,Doug                DB       Partner/Principal   3/22/2023         Meetings with Management           Ancona, B. Mistler, D. Hammon, K. Staromiejska, C. MacLean, L. Lovelace, D. Bailey, and J.                 0.5     $825.00       $412.50
                                                                                                             Scott
                                                                                                             Meeting with J. Chan (FTX) to discuss open items, questions, and action items. EY attendees: C.
Hammon,David Lane         DLH           Manager         3/22/2023         Meetings with Management           Ancona, B. Mistler, D. Hammon, K. Staromiejska, C. MacLean, L. Lovelace, D. Bailey, and J.                 0.5     $525.00       $262.50
                                                                                                             Scott
                                                                                                             Meeting with J. Chan (FTX) to discuss open items, questions, and action items. EY attendees: C.
Lovelace,Lauren            LL       Partner/Principal   3/22/2023         Meetings with Management           Ancona, B. Mistler, D. Hammon, K. Staromiejska, C. MacLean, L. Lovelace, D. Bailey, and J.                 0.5     $825.00       $412.50
                                                                                                             Scott
                                                                                                             Meeting with J. Chan (FTX) to discuss open items, questions, and action items. EY attendees: C.
MacLean,Corrie            CM             Senior         3/22/2023         Meetings with Management           Ancona, B. Mistler, D. Hammon, K. Staromiejska, C. MacLean, L. Lovelace, D. Bailey, and J.                 0.5     $395.00       $197.50
                                                                                                             Scott
                                                                                                             Meeting with J. Chan (FTX) to discuss open items, questions, and action items. EY attendees: C.
Mistler,Brian M          BMM            Manager         3/22/2023         Meetings with Management           Ancona, B. Mistler, D. Hammon, K. Staromiejska, C. MacLean, L. Lovelace, D. Bailey, and J.                 0.5     $525.00       $262.50
                                                                                                             Scott
                                                                                                             Meeting with J. Chan (FTX) to discuss open items, questions, and action items. EY attendees: C.
                                     Client Serving
Scott,James                JS                           3/22/2023         Meetings with Management           Ancona, B. Mistler, D. Hammon, K. Staromiejska, C. MacLean, L. Lovelace, D. Bailey, and J.                 0.5     $600.00       $300.00
                                     Contractor JS
                                                                                                             Scott
                                                                                                             Meeting with J. Chan (FTX) to discuss open items, questions, and action items. EY attendees: C.
Staromiejska,Kinga         KS           Manager         3/22/2023         Meetings with Management           Ancona, B. Mistler, D. Hammon, K. Staromiejska, C. MacLean, L. Lovelace, D. Bailey, and J.                 0.5     $525.00       $262.50
                                                                                                             Scott
                                                                                                             Weekly Meeting to review workstream project status, discuss progress on deliverables, risks,
Ancona,Christopher         CA            Senior         3/22/2023    Project Management Office Transition    identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, K.               0.6     $395.00       $237.00
                                                                                                             Gundu, and C. Cavusoglu
                                                                                                             Weekly Meeting to review workstream project status, discuss progress on deliverables, risks,
Cavusoglu,Coskun           CC       Partner/Principal   3/22/2023                 Technology                 identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, K.               0.6     $825.00       $495.00
                                                                                                             Gundu, and C. Cavusoglu
                                                                                                             Weekly Meeting to review workstream project status, discuss progress on deliverables, risks,
Farrar,Anne                AF       Partner/Principal   3/22/2023    Project Management Office Transition    identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, K.               0.6     $825.00       $495.00
                                                                                                             Gundu, and C. Cavusoglu
                                                                                                             Weekly Meeting to review workstream project status, discuss progress on deliverables, risks,
Gundu,Kaivalya             KG       Senior Manager      3/22/2023                 Technology                 identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, K.               0.6     $650.00       $390.00
                                                                                                             Gundu, and C. Cavusoglu
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                                                          Date of
                 Name     Initials        Rank                                Project Category                                                    Description of Services                                            Hours   Hourly Rate   Fees
                                                          Service
                                                                                                            Weekly Meeting to review workstream project status, discuss progress on deliverables, risks,
Tong,Chia-Hui              CHT        Senior Manager     3/22/2023   Project Management Office Transition   identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, K.              0.6     $650.00       $390.00
                                                                                                            Gundu, and C. Cavusoglu
                                                                                                            Call with L. Barrios (RLKS) to review updates to the 1099 intake file, including what key focus
Carver,Cody R.             CRC            Senior         3/22/2023      Meetings with Other Advisors                                                                                                                  0.5     $395.00       $197.50
                                                                                                            areas, canned email responses to use, and how to update the tracker when emails responses are sent.

                                                                                                            Internal call to review updates to the 1099 intake file including what the client should focus on, the
Carver,Cody R.             CRC            Senior         3/22/2023               Payroll Tax                                                                                                                          0.5     $395.00       $197.50
                                                                                                            canned email responses to use, and tracker updates. EY attendees: K. Wrenn and C. Carver

                                                                                                            Internal call to review updates to the 1099 intake file including what the client should focus on, the
Wrenn,Kaitlin Doyle       KDW            Manager         3/22/2023               Payroll Tax                                                                                                                          0.5     $525.00       $262.50
                                                                                                            canned email responses to use, and tracker updates. EY attendees: K. Wrenn and C. Carver
                                                                                                            Meeting to discuss required new timekeeping process with employment tax workstream
Carver,Cody R.             CRC            Senior         3/22/2023               Payroll Tax                participants. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver, M.                 0.2     $395.00        $79.00
                                                                                                            Pulliam, V. Short, S. LaGarde, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss required new timekeeping process with employment tax workstream
DeVincenzo,Jennie          JDV       Managing Director   3/22/2023               Payroll Tax                participants. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver, M.                 0.2     $775.00       $155.00
                                                                                                            Pulliam, V. Short, S. LaGarde, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss required new timekeeping process with employment tax workstream
Dickerson,Kelsey            KD           Manager         3/22/2023               Payroll Tax                participants. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver, M.                 0.2     $525.00       $105.00
                                                                                                            Pulliam, V. Short, S. LaGarde, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss required new timekeeping process with employment tax workstream
Hamilton,Mary Catherine   MCH             Senior         3/22/2023               Payroll Tax                participants. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver, M.                 0.2     $395.00        $79.00
                                                                                                            Pulliam, V. Short, S. LaGarde, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss required new timekeeping process with employment tax workstream
LaGarde,Stephen             SL       Partner/Principal   3/22/2023               Payroll Tax                participants. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver, M.                 0.2     $825.00       $165.00
                                                                                                            Pulliam, V. Short, S. LaGarde, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss required new timekeeping process with employment tax workstream
                                         National
Lowery,Kristie L           KLL                           3/22/2023               Payroll Tax                participants. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver, M.                 0.2     $990.00       $198.00
                                     Partner/Principal
                                                                                                            Pulliam, V. Short, S. LaGarde, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss required new timekeeping process with employment tax workstream
Pulliam,Michelle            MP             Staff         3/22/2023               Payroll Tax                participants. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver, M.                 0.2     $225.00        $45.00
                                                                                                            Pulliam, V. Short, S. LaGarde, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss required new timekeeping process with employment tax workstream
Rule,Martin Daniel        MDR         Senior Manager     3/22/2023               Payroll Tax                participants. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver, M.                 0.2     $650.00       $130.00
                                                                                                            Pulliam, V. Short, S. LaGarde, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss required new timekeeping process with employment tax workstream
Short,Victoria              VS            Senior         3/22/2023               Payroll Tax                participants. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver, M.                 0.2     $395.00        $79.00
                                                                                                            Pulliam, V. Short, S. LaGarde, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss required new timekeeping process with employment tax workstream
Wrenn,Kaitlin Doyle       KDW            Manager         3/22/2023               Payroll Tax                participants. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver, M.                 0.2     $525.00       $105.00
                                                                                                            Pulliam, V. Short, S. LaGarde, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss the FTX employment tax workstream lead, roles and responsibilities, current
Carver,Cody R.             CRC            Senior         3/22/2023               Payroll Tax                status and next steps. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver,           0.4     $395.00       $158.00
                                                                                                            M. Pulliam, V. Short, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss the FTX employment tax workstream lead, roles and responsibilities, current
DeVincenzo,Jennie          JDV       Managing Director   3/22/2023               Payroll Tax                status and next steps. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver,           0.4     $775.00       $310.00
                                                                                                            M. Pulliam, V. Short, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss the FTX employment tax workstream lead, roles and responsibilities, current
Dickerson,Kelsey            KD           Manager         3/22/2023               Payroll Tax                status and next steps. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver,           0.4     $525.00       $210.00
                                                                                                            M. Pulliam, V. Short, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss the FTX employment tax workstream lead, roles and responsibilities, current
Hamilton,Mary Catherine   MCH             Senior         3/22/2023               Payroll Tax                status and next steps. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver,           0.4     $395.00       $158.00
                                                                                                            M. Pulliam, V. Short, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss the FTX employment tax workstream lead, roles and responsibilities, current
                                         National
Lowery,Kristie L           KLL                           3/22/2023               Payroll Tax                status and next steps. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver,           0.4     $990.00       $396.00
                                     Partner/Principal
                                                                                                            M. Pulliam, V. Short, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss the FTX employment tax workstream lead, roles and responsibilities, current
Pulliam,Michelle            MP             Staff         3/22/2023               Payroll Tax                status and next steps. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver,           0.4     $225.00        $90.00
                                                                                                            M. Pulliam, V. Short, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss the FTX employment tax workstream lead, roles and responsibilities, current
Rule,Martin Daniel        MDR         Senior Manager     3/22/2023               Payroll Tax                status and next steps. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver,           0.4     $650.00       $260.00
                                                                                                            M. Pulliam, V. Short, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss the FTX employment tax workstream lead, roles and responsibilities, current
Short,Victoria              VS            Senior         3/22/2023               Payroll Tax                status and next steps. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver,           0.4     $395.00       $158.00
                                                                                                            M. Pulliam, V. Short, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss the FTX employment tax workstream lead, roles and responsibilities, current
Wrenn,Kaitlin Doyle       KDW            Manager         3/22/2023               Payroll Tax                status and next steps. EY attendees: M. Rule, K. Lowery, J. DeVincenzo, M. Hamilton, C. Carver,           0.4     $525.00       $210.00
                                                                                                            M. Pulliam, V. Short, K. Dickerson, and K. Wrenn
                                                                                                            Meeting to discuss open items, action items, and follow-up items in the Project Management Office
Ancona,Christopher          CA            Senior         3/22/2023   Project Management Office Transition                                                                                                             0.5     $395.00       $197.50
                                                                                                            status tracker. EY attendees: C. Ancona and C. Tong
                                                                                                            Meeting to discuss open items, action items, and follow-up items in the Project Management Office
Tong,Chia-Hui              CHT        Senior Manager     3/22/2023   Project Management Office Transition                                                                                                             0.5     $650.00       $325.00
                                                                                                            status tracker. EY attendees: C. Ancona and C. Tong
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                                                           Date of
                  Name     Initials         Rank                               Project Category                                                   Description of Services                                        Hours   Hourly Rate   Fees
                                                           Service
                                                                                                             Meeting with Federal team to discuss initial conference with IRS employment tax auditor debrief .
DeVincenzo,Jennie           JDV       Managing Director   3/22/2023               Payroll Tax                                                                                                                     0.3     $775.00       $232.50
                                                                                                             EY attendees: C. Ellenson, J, DeVincenzo, K. Wrenn, and K. Lowery
                                                                                                             Meeting with Federal team to discuss initial conference with IRS employment tax auditor debrief .
Ellenson,Cory                CE        Senior Manager     3/22/2023            IRS Audit Matters                                                                                                                  0.3     $650.00       $195.00
                                                                                                             EY attendees: C. Ellenson, J, DeVincenzo, K. Wrenn, and K. Lowery
                                          National                                                           Meeting with Federal team to discuss initial conference with IRS employment tax auditor debrief .
Lowery,Kristie L            KLL                           3/22/2023               Payroll Tax                                                                                                                     0.3     $990.00       $297.00
                                      Partner/Principal                                                      EY attendees: C. Ellenson, J, DeVincenzo, K. Wrenn, and K. Lowery
                                                                                                             Meeting with Federal team to discuss initial conference with IRS employment tax auditor debrief .
Wrenn,Kaitlin Doyle        KDW            Manager         3/22/2023               Payroll Tax                                                                                                                     0.3     $525.00       $157.50
                                                                                                             EY attendees: C. Ellenson, J, DeVincenzo, K. Wrenn, and K. Lowery
                                                                                                             Internal meeting to discuss California proofs of claim received. EY attendees: M. Musano, J.
Hall,Emily Melissa          EMH            Senior         3/22/2023         US State and Local Tax                                                                                                                0.5     $395.00       $197.50
                                                                                                             Booth, E. Zheng, and E. Hall
                                                                                                             Internal meeting to discuss California proofs of claim received. EY attendees: M. Musano, J.
Zheng,Eva                    EZ           Manager         3/22/2023         US State and Local Tax                                                                                                                0.5     $525.00       $262.50
                                                                                                             Booth, E. Zheng, and E. Hall
                                                                                                             Internal meeting to discuss California proofs of claim received. EY attendees: M. Musano, J.
Musano,Matthew Albert      MAM         Senior Manager     3/22/2023         US State and Local Tax                                                                                                                0.5     $650.00       $325.00
                                                                                                             Booth, E. Zheng, and E. Hall
                                                                                                             Internal meeting to discuss California proofs of claim received. EY attendees: M. Musano, J.
Booth,Joshua Daniel         JDB        Senior Manager     3/22/2023         US State and Local Tax                                                                                                                0.5     $650.00       $325.00
                                                                                                             Booth, E. Zheng, and E. Hall
                                                                                                             Internal call to walk through rollover of SALT Estimate Tax workpaper for 4/15 filings. EY
Stillman,Will                WS             Staff         3/22/2023         US State and Local Tax                                                                                                                0.4     $225.00        $90.00
                                                                                                             attendees: E. Zheng, Y. Sun, and W. Stillman
                                                                                                             Internal call to walk through rollover of SALT Estimate Tax workpaper for 4/15 filings. EY
Sun,Yuchen                   YS            Senior         3/22/2023         US State and Local Tax                                                                                                                0.4     $395.00       $158.00
                                                                                                             attendees: E. Zheng, Y. Sun, and W. Stillman
                                                                                                             Internal call to walk through rollover of SALT Estimate Tax workpaper for 4/15 filings. EY
Zheng,Eva                    EZ           Manager         3/22/2023         US State and Local Tax                                                                                                                0.4     $525.00       $210.00
                                                                                                             attendees: E. Zheng, Y. Sun, and W. Stillman
                                                                                                             Internal meeting to discuss ongoing passive foreign investment company (PFIC) entity analysis and
Bailey,Doug                  DB       Partner/Principal   3/22/2023              Tax Advisory                                                                                                                     0.5     $825.00       $412.50
                                                                                                             upcoming action items. EY attendees: L. Lovelace, D. Bailey, A. Katelas, L. Raulli, and A. Karan

                                                                                                             Internal meeting to discuss ongoing passive foreign investment company (PFIC) entity analysis and
Karan,Anna Suncheuri        ASK             Staff         3/22/2023           US International Tax                                                                                                                0.5     $225.00       $112.50
                                                                                                             upcoming action items. EY attendees: L. Lovelace, D. Bailey, A. Katelas, L. Raulli, and A. Karan

                                                                                                             Internal meeting to discuss ongoing passive foreign investment company (PFIC) entity analysis and
Katelas,Andreas              KA            Senior         3/22/2023           US International Tax                                                                                                                0.5     $395.00       $197.50
                                                                                                             upcoming action items. EY attendees: L. Lovelace, D. Bailey, A. Katelas, L. Raulli, and A. Karan

                                                                                                             Internal meeting to discuss ongoing passive foreign investment company (PFIC) entity analysis and
Lovelace,Lauren              LL       Partner/Principal   3/22/2023           US International Tax                                                                                                                0.5     $825.00       $412.50
                                                                                                             upcoming action items. EY attendees: L. Lovelace, D. Bailey, A. Katelas, L. Raulli, and A. Karan

                                                                                                             Internal meeting to discuss ongoing passive foreign investment company (PFIC) entity analysis and
Raulli,Lindsay Elizabeth    LER        Senior Manager     3/22/2023           US International Tax                                                                                                                0.5     $650.00       $325.00
                                                                                                             upcoming action items. EY attendees: L. Lovelace, D. Bailey, A. Katelas, L. Raulli, and A. Karan
                                                                                                             Internal meeting to discuss the FTT tokens cryptocurrency, analysis, and various transactions. EY
Bailey,Doug                  DB       Partner/Principal   3/22/2023              Tax Advisory                attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, A. Karan, B. Mistler, M. Musano, and A.        0.5     $825.00       $412.50
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss the FTT tokens cryptocurrency, analysis, and various transactions. EY
Karan,Anna Suncheuri        ASK             Staff         3/22/2023           US International Tax           attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, A. Karan, B. Mistler, M. Musano, and A.        0.5     $225.00       $112.50
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss the FTT tokens cryptocurrency, analysis, and various transactions. EY
Katelas,Andreas              KA            Senior         3/22/2023           US International Tax           attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, A. Karan, B. Mistler, M. Musano, and A.        0.5     $395.00       $197.50
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss the FTT tokens cryptocurrency, analysis, and various transactions. EY
Lovelace,Lauren              LL       Partner/Principal   3/22/2023           US International Tax           attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, A. Karan, B. Mistler, M. Musano, and A.        0.5     $825.00       $412.50
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss the FTT tokens cryptocurrency, analysis, and various transactions. EY
Mistler,Brian M            BMM            Manager         3/22/2023             US Income Tax                attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, A. Karan, B. Mistler, M. Musano, and A.        0.5     $525.00       $262.50
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss the FTT tokens cryptocurrency, analysis, and various transactions. EY
Musano,Matthew Albert      MAM         Senior Manager     3/22/2023         US State and Local Tax           attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, A. Karan, B. Mistler, M. Musano, and A.        0.5     $650.00       $325.00
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss the FTT tokens cryptocurrency, analysis, and various transactions. EY
                                        Client Serving
Scott,James                  JS                           3/22/2023             US Income Tax                attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, A. Karan, B. Mistler, M. Musano, and A.        0.5     $600.00       $300.00
                                        Contractor JS
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss the FTT tokens cryptocurrency, analysis, and various transactions. EY
Shea JR,Thomas M            TMS       Partner/Principal   3/22/2023             US Income Tax                attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, A. Karan, B. Mistler, M. Musano, and A.        0.5     $825.00       $412.50
                                                                                                             Katelas
                                                                                                             Internal meeting to discuss latest guidance on FTX timekeeping and administrative procedures. EY
Katelas,Andreas              KA            Senior         3/22/2023           US International Tax                                                                                                                0.5     $395.00       $197.50
                                                                                                             attendees: L. Lovelace and A. Katelas
                                                                                                             Internal meeting to discuss latest guidance on FTX timekeeping and administrative procedures. EY
Lovelace,Lauren              LL       Partner/Principal   3/22/2023           US International Tax                                                                                                                0.5     $825.00       $412.50
                                                                                                             attendees: L. Lovelace and A. Katelas
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira                HC             Staff         3/22/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.8     $225.00       $180.00
                                                                                                             T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane           DLH           Manager         3/22/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.8     $525.00       $420.00
                                                                                                             T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                             Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.          TJK       Partner/Principal   3/22/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,    0.8     $825.00       $660.00
                                                                                                             T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
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                                                          Date of
                  Name    Initials        Rank                                   Project Category                                                       Description of Services                                          Hours   Hourly Rate   Fees
                                                          Service
                                                                                                                   Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie             CM             Senior         3/22/2023                  Non US Tax                     foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.8     $395.00       $316.00
                                                                                                                   T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                   Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga          KS           Manager         3/22/2023                  Non US Tax                     foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.8     $525.00       $420.00
                                                                                                                   T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                   Meeting to discuss Germany 2021 financial statements. EY attendees: D. Hammon, K.
Hammon,David Lane          DLH           Manager         3/22/2023                  Non US Tax                                                                                                                            0.3     $525.00       $157.50
                                                                                                                   Staromiejska, and C. MacLean
                                                                                                                   Meeting to discuss Germany 2021 financial statements. EY attendees: D. Hammon, K.
MacLean,Corrie             CM             Senior         3/22/2023                  Non US Tax                                                                                                                            0.3     $395.00       $118.50
                                                                                                                   Staromiejska, and C. MacLean
                                                                                                                   Meeting to discuss Germany 2021 financial statements. EY attendees: D. Hammon, K.
Staromiejska,Kinga          KS           Manager         3/22/2023                  Non US Tax                                                                                                                            0.3     $525.00       $157.50
                                                                                                                   Staromiejska, and C. MacLean
                                                                                                                   Call to share update and work on FTX related tasks with. EY attendees: C. Li, K. Gundu, D. Jena,
Gundu,Kaivalya              KG        Senior Manager     3/22/2023                  Technology                                                                                                                            0.5     $650.00       $325.00
                                                                                                                   and C. Velpuri
                                                                                                                   Call to share update and work on FTX related tasks with. EY attendees: C. Li, K. Gundu, D. Jena,
Jena,Deepak                 DJ           Manager         3/22/2023                  Technology                                                                                                                            0.5     $525.00       $262.50
                                                                                                                   and C. Velpuri
                                                                                                                   Call to share update and work on FTX related tasks with. EY attendees: C. Li, K. Gundu, D. Jena,
Li,Chunyang                 CL            Senior         3/22/2023                  Technology                                                                                                                            0.5     $395.00       $197.50
                                                                                                                   and C. Velpuri
                                                                                                                   Call to share update and work on FTX related tasks with. EY attendees: C. Li, K. Gundu, D. Jena,
Velpuri,Cury                CV             Staff         3/22/2023                  Technology                                                                                                                            0.5     $225.00       $112.50
                                                                                                                   and C. Velpuri
                                                                                                                   Internal meeting to discuss FTX entity list and IRS audits. EY attendees: J. Berman, C. Ellenson,
Mistler,Brian M           BMM            Manager         3/22/2023                US Income Tax                                                                                                                           0.5     $525.00       $262.50
                                                                                                                   and B. Mistler
                                                                                                                   Internal meeting to discuss FTX entity list and IRS audits. EY attendees: J. Berman, C. Ellenson,
Ellenson,Cory               CE        Senior Manager     3/22/2023               IRS Audit Matters                                                                                                                        0.5     $650.00       $325.00
                                                                                                                   and B. Mistler
                                                                                                                   Internal meeting to discuss FTX entity list and IRS audits. EY attendees: J. Berman, C. Ellenson,
Berman,Jake                 JB        Senior Manager     3/22/2023                US Income Tax                                                                                                                           0.5     $650.00       $325.00
                                                                                                                   and B. Mistler
                                                                                                                   Meeting regarding 2022 Federal Entity structure for FTX entities. EY attendees: B. Mistler and J.
Berman,Jake                 JB        Senior Manager     3/22/2023                US Income Tax                                                                                                                           0.4     $650.00       $260.00
                                                                                                                   Berman
                                                                                                                   Meeting regarding 2022 Federal Entity structure for FTX entities. EY attendees: B. Mistler and J.
Mistler,Brian M           BMM            Manager         3/22/2023                US Income Tax                                                                                                                           0.4     $525.00       $210.00
                                                                                                                   Berman
Camargos,Lorraine Silva    LSC            Senior         3/22/2023                  Payroll Tax                    Review UK payroll requirements and process/documentations needed to comply with SS and Tax             0.5     $395.00       $197.50
Ancona,Christopher         CA             Senior         3/22/2023     Project Management Office Transition        Prepare Project Management Office deliverables and following up on related action items                1.8     $395.00        $711.00
Ancona,Christopher         CA             Senior         3/22/2023     Project Management Office Transition        Correspondence and follow-up on action items related to the fee application                            2.1     $395.00        $829.50
Ancona,Christopher         CA             Senior         3/22/2023     Project Management Office Transition        Revise the agenda for meeting with FTX leadership                                                      0.6     $395.00        $237.00
Ancona,Christopher         CA             Senior         3/22/2023     Project Management Office Transition        Prepare for meeting with FTX regarding project status and action items                                 0.7     $395.00        $276.50
Ancona,Christopher         CA             Senior         3/22/2023     Project Management Office Transition        Prepare for EY lead touchpoint meeting with tax workstream leads                                       0.9     $395.00        $355.50
Bailey,Doug                DB        Partner/Principal   3/22/2023                Tax Advisory                     Summarize Cottonwood notes and cryptocurrency analysis regarding FTT                                   2.7     $825.00      $2,227.50
Berman,Jake                 JB        Senior Manager     3/22/2023               US Income Tax                     Review of FTX Master File entity tracker                                                               1.2     $650.00        $780.00
Bost,Anne                  BA        Managing Director   3/22/2023               Transfer Pricing                  Review notes following Cottonwood previous meeting                                                     0.3     $775.00        $232.50
Bost,Anne                  BA        Managing Director   3/22/2023               Transfer Pricing                  Review and respond to email correspondence                                                             0.4     $775.00        $310.00
Camargos,Lorraine Silva    LSC            Senior         3/22/2023                 Payroll Tax                     Review the calculation, reports and posting files regarding the March 2023 Payroll                     1.6     $395.00        $632.00
                                                                                                                   Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.             CRC            Senior         3/22/2023                  Payroll Tax                                                                                                                           3.7     $395.00      $1,461.50
                                                                                                                   inquiries.
Choudary,Hira               HC            Staff          3/22/2023                  Non US Tax                     Review local contacts from countries that have accepted the engagement                                 0.4     $225.00         $90.00
DeVincenzo,Jennie          JDV       Managing Director   3/22/2023                  Payroll Tax                    Reconcile Forms 941/941X with Forms W2 for 2017 through 2022 for 4 entities                            2.6     $775.00      $2,015.00
Di Stefano,Giulia          GDS           Senior          3/22/2023                Transfer Pricing                 Review and implemented slides for 3/31/2023 meeting                                                    3.9     $395.00      $1,540.50
Dulceak,Crystal             CD          Manager          3/22/2023             US State and Local Tax              Correspondence with team to check on status of Annual Report batch due 3/31-4/15.                      0.6     $525.00        $315.00
Dulceak,Crystal             CD          Manager          3/22/2023             US State and Local Tax              Review, prepare and send Data Request needed for Annual Reports due 3/31-4/15.                         0.8     $525.00        $420.00
Hall,Emily Melissa         EMH           Senior          3/22/2023             US State and Local Tax              Reconcile Q12022 payments to determine total amount paid as of 3/15/2023.                              0.4     $395.00        $158.00
Hall,Emily Melissa         EMH           Senior          3/22/2023             US State and Local Tax              Analyze Tennessee workpaper for tax year 2021.                                                         0.3     $395.00        $118.50
Hall,Emily Melissa         EMH            Senior         3/22/2023             US State and Local Tax              Correspondence requesting team to contact WA to determine filing obligations for relevant entities.    0.4     $395.00       $158.00
Hall,Emily Melissa         EMH            Senior         3/22/2023             US State and Local Tax              Correspondence regarding Digital Custody Inc FTX entity.                                               0.1     $395.00        $39.50
Hammon,David Lane          DLH           Manager         3/22/2023                  Non US Tax                     Correspondence concerning which foreign countries require bookkeeping support                          0.9     $525.00       $472.50
                                                                                                                   Correspondence concerning missing local contacts for EY member firms to conduct knowledge
Hammon,David Lane          DLH           Manager         3/22/2023                  Non US Tax                                                                                                                            1.9     $525.00       $997.50
                                                                                                                   transfer with
Hammon,David Lane          DLH           Manager         3/22/2023                  Non US Tax                     Correspondence concerning Germany FY21 financials statements                                           0.2     $525.00       $105.00
Hammon,David Lane          DLH           Manager         3/22/2023                  Non US Tax                     Draft the Inherent Risk Assessment needed to engage third provider service provider in Seychelles      0.8     $525.00       $420.00
Hammon,David Lane          DLH           Manager         3/22/2023                Non US Tax                       Correspondence concerning due diligence procedures in Turkey and UAE                                   0.7     $525.00       $367.50
Hammon,David Lane          DLH           Manager         3/22/2023   Non-Working Travel (billed at 50% of rates)   Travel from New York, NY to Cleveland, OH                                                              3.4     $262.50       $892.50
Healy,John                  JH        Senior Manager     3/22/2023             IRS Audit Matters                   Research the ability of the IRS to summons for customer information                                    1.1     $650.00       $715.00
Huang,Vanesa                VH             Staff         3/22/2023             US State and Local Tax              Prepare draft summary of Annual Report information request workbook required to file Reports           3.9     $225.00       $877.50
Huang,Vanesa               VH              Staff         3/22/2023             US State and Local Tax              Review and analyze Annual Reports for foreign corporations                                             3.9     $225.00       $877.50
Huang,Vanesa               VH              Staff         3/22/2023             US State and Local Tax              Revise Annual reports per information request response received                                        1.7     $225.00       $382.50
Kallinicou,Korina          KK              Staff         3/22/2023             Information Reporting               Prepare bookkeeping of the information provided until 12/31/2022                                       0.6     $225.00       $135.00
Karan,Anna Suncheuri       ASK             Staff         3/22/2023              US International Tax               Research related to potential Subpart F foreign income                                                 3.9     $225.00       $877.50
Katelas,Andreas            KA             Senior         3/22/2023              US International Tax               Prepare FTT Token cryptocurrency summary table for discussion purposes                                 1.1     $395.00       $434.50
Li,Chunyang                 CL            Senior         3/22/2023                  Technology                     Reconcile business requirements for data flow                                                          2.4     $395.00       $948.00
MacLean,Corrie             CM             Senior         3/22/2023                  Non US Tax                     Review foreign office due diligence follow up items and tracking sheet updates                         1.3     $395.00       $513.50
MacLean,Corrie             CM             Senior         3/22/2023                  Non US Tax                     Follow-up with foreign office due diligence and one offs and tracking sheet updates                    1.3     $395.00       $513.50
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                                                           Date of
                Name       Initials        Rank                                   Project Category                                                         Description of Services                                          Hours   Hourly Rate   Fees
                                                           Service
                                          National                                                                  Review FTX project updates, issues and risks with regards to providing preliminary tax diligence
McComber,Donna              DM                            3/22/2023                Transfer Pricing                                                                                                                          1.1     $990.00      $1,089.00
                                      Partner/Principal                                                             service in connection with FTX Chapter 11 Bankruptcy proceedings
Mistler,Brian M            BMM            Manager         3/22/2023               US Income Tax                     Correspondence with Mercury team re: debtor addresses                                                    0.4     $525.00       $210.00
Mistler,Brian M            BMM            Manager         3/22/2023               US Income Tax                     Summary of Alameda silo FTX entities filing positions                                                    0.3     $525.00       $157.50
Mistler,Brian M            BMM            Manager         3/22/2023               US Income Tax                     Correspondence re: Point of Contact for IRS notices                                                      0.4     $525.00       $210.00
Mistler,Brian M            BMM            Manager         3/22/2023               US Income Tax                     Correspondence re: Investment K-1s                                                                       0.8     $525.00       $420.00
Mistler,Brian M            BMM            Manager         3/22/2023               US Income Tax                     Summarize 12/31 QuickBooks financials for tax teams                                                      0.6     $525.00       $315.00
Neziroski,David             DN           Associate        3/22/2023         Fee/Employment Applications             Continue confidentiality review for January entries                                                      1.3     $365.00       $474.50
Odermatt,Jasmin             JO              Staff         3/22/2023                Non US Tax                       Correspondence regarding client Abacus datasave                                                          0.6     $225.00       $135.00
Raulli,Lindsay Elizabeth   LER        Senior Manager      3/22/2023             US International Tax                Review of prior period tax filings for Alameda silo FTX entities                                         0.3     $650.00       $195.00
Raulli,Lindsay Elizabeth   LER        Senior Manager      3/22/2023             US International Tax                Review of PFIC foreign entities                                                                          0.4     $650.00       $260.00
                                       Client Serving
Scott,James                  JS                           3/22/2023                US Income Tax                    Review IRS exam IDR assignments                                                                          0.6     $600.00       $360.00
                                       Contractor JS
                                       Client Serving
Scott,James                  JS                           3/22/2023                US Income Tax                    Analyze corporate tax issues related to digital asset transactions                                       1.4     $600.00       $840.00
                                       Contractor JS
                                       Client Serving
Scott,James                  JS                           3/22/2023   Non-Working Travel (billed at 50% of rates)   Travel from New York, NY to Raleigh, NC                                                                  1.8     $300.00       $540.00
                                       Contractor JS
Shea JR,Thomas M            TMS       Partner/Principal   3/22/2023                US Income Tax                    Review of various alternatives re: remediation of entity with rejected tax return filings                1.8     $825.00      $1,485.00
                                                                                                                    Written correspondence with EY regional member firm leadership re: transition of tax compliance
Shea JR,Thomas M            TMS       Partner/Principal   3/22/2023                US Income Tax                                                                                                                             1.1     $825.00       $907.50
                                                                                                                    services from FTX to EY
Stamper,Jace Allen          JAS        Senior Manager     3/22/2023            US State and Local Tax               Review return workpaper calculation regarding Tennessee notice                                           0.3     $650.00       $195.00
Sun,Yuchen                   YS            Senior         3/22/2023            US State and Local Tax               Revise tax compliance tracker to include all filing entities and jurisdictions                           1.6     $395.00       $632.00
Tong,Chia-Hui               CHT        Senior Manager     3/22/2023     Project Management Office Transition        Prepare agenda for internal workstream leads call                                                        0.8     $650.00       $520.00
Tong,Chia-Hui               CHT        Senior Manager     3/22/2023     Project Management Office Transition        Review revised draft of fee application                                                                  0.6     $650.00       $390.00
Tong,Chia-Hui               CHT        Senior Manager     3/22/2023     Project Management Office Transition        Review next steps on data transfer work for discussion with technology team                              0.3     $650.00       $195.00
Tsikkouris,Anastasios       AT            Manager         3/22/2023                  Non US Tax                     Correspondence regarding Cypriot entities tax obligations                                                0.9     $525.00       $472.50
Tyllirou,Christiana          CT           Manager         3/22/2023             Information Reporting               Review of the bookkeeping for Innovatia                                                                  1.1     $525.00       $577.50
                                                                                                                    Review of IRS provided agenda agendas for Ledger Prime and Alameda 941-X return draft FTX
Wrenn,Kaitlin Doyle        KDW            Manager         3/22/2023                  Payroll Tax                                                                                                                             2.3     $525.00      $1,207.50
                                                                                                                    entities
Wrenn,Kaitlin Doyle        KDW            Manager         3/22/2023                  Payroll Tax                    Reconcile expense submissions for FTX                                                                    0.8     $525.00       $420.00
Zheng,Eva                   EZ            Manager         3/22/2023             US State and Local Tax              Review WA notes to determine filing frequency                                                            0.3     $525.00       $157.50
Zheng,Eva                   EZ            Manager         3/22/2023             US State and Local Tax              Review NYS form CT-51                                                                                    0.9     $525.00       $472.50
Zheng,Eva                   EZ            Manager         3/22/2023             US State and Local Tax              Review MT Water's Edge Election Form and drafted filing instruction for client to file online            1.8     $525.00       $945.00
                                                                                                                    Review extension workpaper and support files to prepare for the Internal call to walk through
Zheng,Eva                    EZ           Manager         3/22/2023             US State and Local Tax                                                                                                                       0.6     $525.00       $315.00
                                                                                                                    rollover of SALT Estimate Tax workpaper for 4/15 filings.
                                                                                                                    Call re status of clarifications re entity liquidation in Switzerland/Liechtenstein. EY attendees: M.
Cadisch,Michael             MC        Managing Director   3/22/2023             Liquidation Activities                                                                                                                       0.3     $775.00       $232.50
                                                                                                                    Cadisch, C. Peiry, and S. Nertz
                                                                                                                    Meeting to discuss the key findings and plan next steps regarding drafting an internal document for
Goel,Utkarsh                 UG           Manager         3/22/2023             Liquidation Activities                                                                                                                       2.0     $400.00       $800.00
                                                                                                                    discussion with EY US team. EY attendees: P. Gupta, S. Venkataraman, G. Jain, and U. Goel
Goel,Utkarsh                 UG           Manager         3/22/2023             Liquidation Activities              Review Settlement MOU between Quoine Pte Limited and Flying Saucer                                       3.2     $400.00      $1,280.00
                                                                                                                    Meeting to discuss the key findings and plan next steps regarding drafting an internal document for
Gupta,Pulkit                 PG       Partner/Principal   3/22/2023             Liquidation Activities                                                                                                                       2.0     $650.00      $1,300.00
                                                                                                                    discussion with EY US team. EY attendees: P. Gupta, S. Venkataraman, G. Jain, and U. Goel

                                                                                                                    Meeting to discuss the key findings and plan next steps regarding drafting an internal document for
Jain,Gaurav                  GJ        Senior Manager     3/22/2023             Liquidation Activities                                                                                                                       2.0     $550.00      $1,100.00
                                                                                                                    discussion with EY US team. EY attendees: P. Gupta, S. Venkataraman, G. Jain, and U. Goel

Jain,Gaurav                  GJ        Senior Manager     3/22/2023             Liquidation Activities              Prepare for internal meeting identifying the key matters and challenges along with next steps            3.1     $550.00      $1,705.00
                                                                                                                    Call to discuss analysis to explore silo structure and non-operating entities for potential expedited
Maiello,Rob                 RM           Consultant       3/22/2023             Liquidation Activities                                                                                                                       0.5     $445.00       $222.50
                                                                                                                    liquidation. EY attendees: N. Bugden, F. ORiain, and R. Maiello
                                                                                                                    Prepare silo breakdown of 119 entities in FTX portfolio including number of jurisdictions per silo
Maiello,Rob                 RM           Consultant       3/22/2023             Liquidation Activities                                                                                                                       2.4     $445.00      $1,068.00
                                                                                                                    and number of entities in the sales process
Maiello,Rob                 RM           Consultant       3/22/2023             Liquidation Activities              Prepare summary analysis of SOALs for 8 non-operating entities not currently in-scope                    3.1     $445.00      $1,379.50
                                                                                                                    Call re status of clarifications re entity liquidation in Switzerland/Liechtenstein. EY attendees: M.
Nertz,Salome                 SN          Consultant       3/22/2023             Liquidation Activities                                                                                                                       0.3     $395.00       $118.50
                                                                                                                    Cadisch, C. Peiry, and S. Nertz
                                                                                                                    Call to discuss analysis to explore silo structure and non-operating entities for potential expedited
ORiain,Fionn                ORF           Manager         3/22/2023             Liquidation Activities                                                                                                                       0.5     $725.00       $362.50
                                                                                                                    liquidation. EY attendees: N. Bugden, F. ORiain, and R. Maiello
                                                                                                                    Review of detailed financial information regarding non-operating entities, preparation of initial
ORiain,Fionn                ORF           Manager         3/22/2023             Liquidation Activities                                                                                                                       1.1     $725.00       $797.50
                                                                                                                    liquidation planning criteria and considerations, by jurisdiction
ORiain,Fionn                ORF           Manager         3/22/2023             Liquidation Activities              Prepare legal entity summary, outlining entities which are subject to sales processes by silo            2.8     $725.00      $2,030.00
                                                                                                                    Call re status of clarifications re entity liquidation in Switzerland/Liechtenstein. EY attendees: M.
Peiry,Corina                 CP           Manager         3/22/2023             Liquidation Activities                                                                                                                       0.3     $525.00       $157.50
                                                                                                                    Cadisch, C. Peiry, and S. Nertz
                                                                                                                    Meeting to discuss the key findings and plan next steps regarding drafting an internal document for
Venkataraman,Siddharth       SV           Manager         3/22/2023             Liquidation Activities                                                                                                                       2.0     $400.00       $800.00
                                                                                                                    discussion with EY US team. EY attendees: P. Gupta, S. Venkataraman, G. Jain, and U. Goel
                                                                                                                    Call to discuss analysis to explore silo structure and non-operating entities for potential expedited
Bugden,Nick R               NRB        Senior Manager     3/22/2023             Liquidation Activities                                                                                                                       0.5     $900.00       $450.00
                                                                                                                    liquidation. EY attendees: N. Bugden, F. ORiain, and R. Maiello
Bugden,Nick R               NRB        Senior Manager     3/22/2023             Liquidation Activities              Review summary update prepared by F. ORiain and R. Maiello (EY)                                          0.8     $900.00       $720.00
Bugden,Nick R               NRB        Senior Manager     3/22/2023             Liquidation Activities              Prepare review comments on summary update for distribution                                               0.4     $900.00       $360.00
                                                                                                                    Meeting to discuss fee application process for bankruptcy court guidelines. EY attendees: C.
Ancona,Christopher           CA            Senior         3/23/2023         Fee/Employment Applications                                                                                                                      0.4     $395.00       $158.00
                                                                                                                    Ancona and J. Klauber
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                                                         Date of
                  Name   Initials         Rank                           Project Category                                                Description of Services                                            Hours   Hourly Rate   Fees
                                                         Service
                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
DeVincenzo,Jennie         JDV       Managing Director   3/23/2023           Payroll Tax            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $775.00       $387.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Ellenson,Cory              CE        Senior Manager     3/23/2023        IRS Audit Matters         C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $650.00       $325.00
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Lovelace,Lauren            LL       Partner/Principal   3/23/2023       US International Tax       C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $825.00       $412.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Wrenn,Kaitlin Doyle      KDW            Manager         3/23/2023           Payroll Tax            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $525.00       $262.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Shea JR,Thomas M          TMS       Partner/Principal   3/23/2023         US Income Tax            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $825.00       $412.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Mistler,Brian M          BMM            Manager         3/23/2023         US Income Tax            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $525.00       $262.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Bailey,Doug                DB       Partner/Principal   3/23/2023          Tax Advisory            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $825.00       $412.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Howard,Rebecca M.        RMH         Senior Manager     3/23/2023        IRS Audit Matters         C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $650.00       $325.00
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Dilorio,John               JD       Managing Director   3/23/2023         US Income Tax            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $775.00       $387.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Fultz,Richard Donald      RDF       Managing Director   3/23/2023         US Income Tax            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $775.00       $387.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Weiler,Sam P              SPW       Partner/Principal   3/23/2023          Tax Advisory            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $825.00       $412.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
                                      Client Serving
Scott,James                JS                           3/23/2023         US Income Tax            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
                                        National
Lowery,Kristie L          KLL                           3/23/2023           Payroll Tax            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Musano,Matthew Albert    MAM         Senior Manager     3/23/2023     US State and Local Tax       C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $650.00       $325.00
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Katelas,Andreas            KA            Senior         3/23/2023          Tax Advisory            C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $395.00       $197.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Call re Alameda Silo FTX entities to discuss various tax related issues and open items . Attendees:
Ferris,Tara                TF       Partner/Principal   3/23/2023      Information Reporting       C. Ellenson, T. Shea, B. Mistler, D. Bailey, R. Howard, J. DeVincenzo, K. Wrenn, L. Lovelace, J.          0.5     $825.00       $412.50
                                                                                                   Dilorio, R. Fultz, S. Weiler, T. Ferris, J. Scott, K. Lowery, M. Musano, and A. Katelas

                                                                                                   Internal call to review updates to the 1099 intake file including what the client should focus on, the
Carver,Cody R.            CRC            Senior         3/23/2023           Payroll Tax                                                                                                                      0.5     $395.00       $197.50
                                                                                                   canned email responses to use, and tracker updates. EY attendees: K. Wrenn and C. Carver

                                                                                                   Internal call to review updates to the 1099 intake file including what the client should focus on, the
Wrenn,Kaitlin Doyle      KDW            Manager         3/23/2023           Payroll Tax                                                                                                                      0.5     $525.00       $262.50
                                                                                                   canned email responses to use, and tracker updates. EY attendees: K. Wrenn and C. Carver
                                                                                                   Call with L. Barrios (RLKS) to review updates to the 1099 intake file, including what key focus
Carver,Cody R.            CRC            Senior         3/23/2023   Meetings with Other Advisors   areas, canned email responses to use, and how to update the tracker when emails responses are sent.       0.5     $395.00       $197.50
                                                                                                   EY attendees: C. Carver and K. Wrenn
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Call with L. Barrios (RLKS) to review updates to the 1099 intake file, including what key focus
Wrenn,Kaitlin Doyle      KDW            Manager         3/23/2023      Meetings with Other Advisors        areas, canned email responses to use, and how to update the tracker when emails responses are sent.    0.5     $525.00       $262.50
                                                                                                           EY attendees: C. Carver and K. Wrenn
                                                                                                           Meeting with K. Schultea (FTX) to discuss Ledger Holdings and LedgerX 401k balance transfer
Bierma,Christa             CB       Partner/Principal   3/23/2023       Meetings with Management                                                                                                                  0.5     $825.00       $412.50
                                                                                                           requirements. EY attendees: K. Wrenn, C. Bierma, K. Lowery, and J. DeVincenzo
                                                                                                           Meeting with K. Schultea (FTX) to discuss Ledger Holdings and LedgerX 401k balance transfer
DeVincenzo,Jennie         JDV       Managing Director   3/23/2023       Meetings with Management                                                                                                                  0.5     $775.00       $387.50
                                                                                                           requirements. EY attendees: K. Wrenn, C. Bierma, K. Lowery, and J. DeVincenzo
                                        National                                                           Meeting with K. Schultea (FTX) to discuss Ledger Holdings and LedgerX 401k balance transfer
Lowery,Kristie L          KLL                           3/23/2023       Meetings with Management                                                                                                                  0.5     $990.00       $495.00
                                    Partner/Principal                                                      requirements. EY attendees: K. Wrenn, C. Bierma, K. Lowery, and J. DeVincenzo
                                                                                                           Meeting with K. Schultea (FTX) to discuss Ledger Holdings and LedgerX 401k balance transfer
Wrenn,Kaitlin Doyle      KDW            Manager         3/23/2023       Meetings with Management                                                                                                                  0.5     $525.00       $262.50
                                                                                                           requirements. EY attendees: K. Wrenn, C. Bierma, K. Lowery, and J. DeVincenzo
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         3/23/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                DB       Partner/Principal   3/23/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                JB        Senior Manager     3/23/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                     Client Serving
Bieganski,Walter          WB                            3/23/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $200.00       $100.00
                                     Contractor WB
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   3/23/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $775.00       $387.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne                AF       Partner/Principal   3/23/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya             KG        Senior Manager     3/23/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                  ZH        Senior Manager     3/23/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa        EMH            Senior         3/23/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane         DLH           Manager         3/23/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John                 JH        Senior Manager     3/23/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Jimenez,Joseph Robert      JRJ       Senior Manager     3/23/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         3/23/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         3/23/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.        TJK       Partner/Principal   3/23/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren            LL       Partner/Principal   3/23/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
Lowery,Kristie L          KLL                           3/23/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         3/23/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
McComber,Donna            DM                            3/23/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         3/23/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           3/23/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                           the implementation of global compliance and reporting services
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                                                       Date of
                Name   Initials         Rank                               Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                       Service
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M        TMS       Partner/Principal   3/23/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $825.00       $412.50
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Soderman,Kathy           KS       Managing Director   3/23/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $775.00       $387.50
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga       KS           Manager         3/23/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $525.00       $262.50
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui           CHT        Senior Manager     3/23/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $650.00       $325.00
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle    KDW            Manager         3/23/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $525.00       $262.50
                                                                                                         the implementation of global compliance and reporting services
                                                                                                         Bi-weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher       CA            Senior         3/23/2023   Project Management Office Transition                                                                                                            0.5     $395.00       $197.50
                                                                                                         attendees: C. Ancona and C. Tong
                                                                                                         Bi-weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui           CHT        Senior Manager     3/23/2023   Project Management Office Transition                                                                                                            0.5     $650.00       $325.00
                                                                                                         attendees: C. Ancona and C. Tong
Ancona,Christopher       CA            Senior         3/23/2023      Fee/Employment Applications         Meeting to discuss updates to the fee application. EY attendees: H. Choudary and C. Ancona               0.4     $395.00       $158.00

Choudary,Hira            HC             Staff         3/23/2023      Fee/Employment Applications         Meeting to discuss updates to the fee application. EY attendees: H. Choudary and C. Ancona               0.4     $225.00        $90.00
                                                                                                         Meeting to discuss UCC 1099 claimant documentation modifications and responses to S&C. EY
DeVincenzo,Jennie       JDV       Managing Director   3/23/2023               Payroll Tax                                                                                                                         0.4     $775.00       $310.00
                                                                                                         attendees: T. Ferris, K. Lowery, J. DeVincenzo, and K. Wrenn
                                      National                                                           Meeting to discuss UCC 1099 claimant documentation modifications and responses to S&C. EY
Lowery,Kristie L        KLL                           3/23/2023               Payroll Tax                                                                                                                         0.4     $990.00       $396.00
                                  Partner/Principal                                                      attendees: T. Ferris, K. Lowery, J. DeVincenzo, and K. Wrenn
                                                                                                         Meeting to discuss UCC 1099 claimant documentation modifications and responses to S&C. EY
Wrenn,Kaitlin Doyle    KDW            Manager         3/23/2023               Payroll Tax                                                                                                                         0.4     $525.00       $210.00
                                                                                                         attendees: T. Ferris, K. Lowery, J. DeVincenzo, and K. Wrenn
                                                                                                         Meeting to discuss UCC 1099 claimant documentation modifications and responses to S&C. EY
Ferris,Tara              TF       Partner/Principal   3/23/2023          Information Reporting                                                                                                                    0.4     $825.00       $330.00
                                                                                                         attendees: T. Ferris, K. Lowery, J. DeVincenzo, and K. Wrenn
                                                                                                         Meeting to discuss UCC response on 1099 and wage claimant documentation, other US payroll tax
DeVincenzo,Jennie       JDV       Managing Director   3/23/2023               Payroll Tax                                                                                                                         0.6     $775.00       $465.00
                                                                                                         items for notices, and 1099 intake process. EY attendees: J. DeVincenzo, K. Lowery, and K. Wrenn

                                      National                                                           Meeting to discuss UCC response on 1099 and wage claimant documentation, other US payroll tax
Lowery,Kristie L        KLL                           3/23/2023               Payroll Tax                                                                                                                         0.6     $990.00       $594.00
                                  Partner/Principal                                                      items for notices, and 1099 intake process. EY attendees: J. DeVincenzo, K. Lowery, and K. Wrenn

                                                                                                         Meeting to discuss UCC response on 1099 and wage claimant documentation, other US payroll tax
Wrenn,Kaitlin Doyle    KDW            Manager         3/23/2023               Payroll Tax                                                                                                                         0.6     $525.00       $315.00
                                                                                                         items for notices, and 1099 intake process. EY attendees: J. DeVincenzo, K. Lowery, and K. Wrenn
                                                                                                         Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher       CA            Senior         3/23/2023       Meetings with Management                                                                                                                    0.5     $395.00       $197.50
                                                                                                         EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, K. Lowery, and B. Richards
                                      National                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Lowery,Kristie L        KLL                           3/23/2023       Meetings with Management                                                                                                                    0.5     $990.00       $495.00
                                  Partner/Principal                                                      EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, K. Lowery, and B. Richards
                                                                                                         Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Richards,Briana A.       BR       Partner/Principal   3/23/2023          Liquidation Activities                                                                                                                   0.5     $1,150.00     $575.00
                                                                                                         EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, K. Lowery, and B. Richards
                                    Client Serving                                                       Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James              JS                           3/23/2023       Meetings with Management                                                                                                                    0.5     $600.00       $300.00
                                    Contractor JS                                                        EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, K. Lowery, and B. Richards
                                                                                                         Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M        TMS       Partner/Principal   3/23/2023       Meetings with Management                                                                                                                    0.5     $825.00       $412.50
                                                                                                         EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, K. Lowery, and B. Richards
                                                                                                         Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui           CHT        Senior Manager     3/23/2023       Meetings with Management                                                                                                                    0.5     $650.00       $325.00
                                                                                                         EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, K. Lowery, and B. Richards
                                                                                                         Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Bailey,Doug              DB       Partner/Principal   3/23/2023              Tax Advisory                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $825.00       $495.00
                                                                                                         Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                         Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
DeVincenzo,Jennie       JDV       Managing Director   3/23/2023               Payroll Tax                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $775.00       $465.00
                                                                                                         Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                         Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Dilorio,John             JD       Managing Director   3/23/2023               Payroll Tax                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $775.00       $465.00
                                                                                                         Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                         Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Ellenson,Cory            CE        Senior Manager     3/23/2023            IRS Audit Matters             Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $650.00       $390.00
                                                                                                         Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                         Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Ferris,Tara              TF       Partner/Principal   3/23/2023          Information Reporting           Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $825.00       $495.00
                                                                                                         Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Fultz,Richard Donald      RDF       Managing Director   3/23/2023               Payroll Tax                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $775.00       $465.00
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Howard,Rebecca M.        RMH         Senior Manager     3/23/2023            IRS Audit Matters             Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $650.00       $390.00
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Katelas,Andreas            KA            Senior         3/23/2023           US International Tax           Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $395.00       $237.00
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Lovelace,Lauren            LL       Partner/Principal   3/23/2023           US International Tax           Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $825.00       $495.00
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
                                        National
Lowery,Kristie L          KLL                           3/23/2023               Payroll Tax                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $990.00       $594.00
                                    Partner/Principal
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Mistler,Brian M          BMM            Manager         3/23/2023             US Income Tax                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $525.00       $315.00
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Musano,Matthew Albert    MAM         Senior Manager     3/23/2023         US State and Local Tax           Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $650.00       $390.00
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Rule,Martin Daniel       MDR         Senior Manager     3/23/2023               Payroll Tax                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $650.00       $390.00
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
                                      Client Serving
Scott,James                JS                           3/23/2023             US Income Tax                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $600.00       $360.00
                                      Contractor JS
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Shea JR,Thomas M          TMS       Partner/Principal   3/23/2023             US Income Tax                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $825.00       $495.00
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Weiler,Sam P              SPW       Partner/Principal   3/23/2023              Tax Advisory                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $825.00       $495.00
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas

                                                                                                           Internal meeting to discuss the FTX entities and latest developments with IRS. EY attendees: L.
Wrenn,Kaitlin Doyle      KDW            Manager         3/23/2023               Payroll Tax                Lovelace, D. Bailey, J. Dilorio, T. Shea, J. Scott, S. Weiler, C. Ellenson, B. Mistler, M. Musano, R.    0.6     $525.00       $315.00
                                                                                                           Fultz, T. Ferris, J. DeVincenzo, K. Wrenn, K. Lowery, M. Rule, R. Howard, and A. Katelas
                                                                                                           Meeting to discuss Project Management Office fee application deliverables. EY attendees: C.
Ancona,Christopher         CA            Senior         3/23/2023      Fee/Employment Applications                                                                                                                  0.5     $395.00       $197.50
                                                                                                           Ancona, D. Neziroski, and C. Tong
                                                                                                           Meeting to discuss Project Management Office fee application deliverables. EY attendees: C.
Tong,Chia-Hui             CHT        Senior Manager     3/23/2023      Fee/Employment Applications                                                                                                                  0.5     $650.00       $325.00
                                                                                                           Ancona, D. Neziroski, and C. Tong
                                                                                                           Meeting to discuss Project Management Office fee application deliverables. EY attendees: C.
Neziroski,David            DN           Associate       3/23/2023      Fee/Employment Applications                                                                                                                  0.5     $365.00       $182.50
                                                                                                           Ancona, D. Neziroski, and C. Tong
                                                                                                           Internal call to discuss state and local tax and employment tax notices updates. EY attendees: K.
Hall,Emily Melissa        EMH            Senior         3/23/2023         US State and Local Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                           Wrenn and E. Hall
                                                                                                           Internal call to discuss state and local tax and employment tax notices updates. EY attendees: K.
Wrenn,Kaitlin Doyle      KDW            Manager         3/23/2023               Payroll Tax                                                                                                                         0.5     $525.00       $262.50
                                                                                                           Wrenn and E. Hall
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/23/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.8     $225.00       $180.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/23/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.8     $525.00       $420.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Knoeller,Thomas J.        TJK       Partner/Principal   3/23/2023   Project Management Office Transition   foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.8     $825.00       $660.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/23/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.8     $395.00       $316.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/23/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.8     $525.00       $420.00
                                                                                                           T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
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                                                          Date of
                 Name     Initials        Rank                                Project Category                                                    Description of Services                                            Hours   Hourly Rate   Fees
                                                          Service
                                                                                                            Meeting to discuss state of Canada engagement acceptance. EY attendees: D. Hammon, T.
Hammon,David Lane          DLH           Manager         3/23/2023               Non US Tax                                                                                                                           0.2     $525.00       $105.00
                                                                                                            Knoeller, K. Staromiejska, and C. MacLean
                                                                                                            Meeting to discuss state of Canada engagement acceptance. EY attendees: D. Hammon, T.
MacLean,Corrie             CM             Senior         3/23/2023               Non US Tax                                                                                                                           0.2     $395.00        $79.00
                                                                                                            Knoeller, K. Staromiejska, and C. MacLean
                                                                                                            Meeting to discuss state of Canada engagement acceptance. EY attendees: D. Hammon, T.
Staromiejska,Kinga          KS           Manager         3/23/2023               Non US Tax                                                                                                                           0.2     $525.00       $105.00
                                                                                                            Knoeller, K. Staromiejska, and C. MacLean
                                                                                                            Meeting to discuss state of Canada engagement acceptance. EY attendees: D. Hammon, T.
Knoeller,Thomas J.         TJK       Partner/Principal   3/23/2023   Project Management Office Transition                                                                                                             0.2     $825.00       $165.00
                                                                                                            Knoeller, K. Staromiejska, and C. MacLean
                                                                                                            Meeting to review FTX data requirements and alternative approaches . EY attendees: K. Gundu, C.
Gundu,Kaivalya              KG        Senior Manager     3/23/2023               Technology                                                                                                                           0.3     $650.00       $195.00
                                                                                                            Li, and D. Jena
                                                                                                            Meeting to review FTX data requirements and alternative approaches . EY attendees: K. Gundu, C.
Jena,Deepak                 DJ           Manager         3/23/2023               Technology                                                                                                                           0.3     $525.00       $157.50
                                                                                                            Li, and D. Jena
                                                                                                            Meeting to review FTX data requirements and alternative approaches . EY attendees: K. Gundu, C.
Li,Chunyang                 CL            Senior         3/23/2023               Technology                                                                                                                           0.3     $395.00       $118.50
                                                                                                            Li, and D. Jena
                                                                                                            Follow-up meeting to review open items related to onboarding FTX tax data. EY attendees: K.
Gundu,Kaivalya              KG        Senior Manager     3/23/2023               Technology                                                                                                                           1.5     $650.00       $975.00
                                                                                                            Gundu and D. Jena
                                                                                                            Meeting to understand FTX & Raptor functionality for FTX data flow. EY attendees: K. Gundu and
Gundu,Kaivalya              KG        Senior Manager     3/23/2023               Technology                                                                                                                           0.9     $650.00       $585.00
                                                                                                            C. Li
                                                                                                            Meeting to understand FTX & Raptor functionality for FTX data flow. EY attendees: K. Gundu and
Li,Chunyang                 CL            Senior         3/23/2023               Technology                                                                                                                           0.9     $395.00       $355.50
                                                                                                            C. Li
                                                                                                            Review the available information in relation to FTX Crypto Services Ltd, FTX EMEA Ltd and
Tsikkouris,Anastasios       AT           Manager         3/23/2023               Non US Tax                                                                                                                           0.4     $525.00       $210.00
                                                                                                            FTX EU Ltd for the purpose of the tax due diligence.
                                                                                                            Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss 1099 Correction process, B-Notice
Santoro,David               DS           Manager         3/23/2023       Meetings with Management           Process and Remediation. EY attendees: D. Santoro, K. Wrenn, T.J. Nichol, A. Richardson, and T.           0.7     $525.00       $367.50
                                                                                                            Ferris
                                                                                                            Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss 1099 Correction process, B-Notice
Wrenn,Kaitlin Doyle       KDW            Manager         3/23/2023       Meetings with Management           Process and Remediation. EY attendees: D. Santoro, K. Wrenn, T.J. Nichol, A. Richardson, and T.           0.7     $525.00       $367.50
                                                                                                            Ferris
                                                                                                            Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss 1099 Correction process, B-Notice
Nichol,T.J.                TJN        Senior Manager     3/23/2023       Meetings with Management           Process and Remediation. EY attendees: D. Santoro, K. Wrenn, T.J. Nichol, A. Richardson, and T.           0.7     $650.00       $455.00
                                                                                                            Ferris
                                                                                                            Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss 1099 Correction process, B-Notice
Richardson,Audrey Sarah    ASR           Manager         3/23/2023       Meetings with Management           Process and Remediation. EY attendees: D. Santoro, K. Wrenn, T.J. Nichol, A. Richardson, and T.           0.7     $525.00       $367.50
                                                                                                            Ferris
                                                                                                            Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss 1099 Correction process, B-Notice
Ferris,Tara                 TF       Partner/Principal   3/23/2023       Meetings with Management           Process and Remediation. EY attendees: D. Santoro, K. Wrenn, T.J. Nichol, A. Richardson, and T.           0.7     $825.00       $577.50
                                                                                                            Ferris
Liassides,Petros            PL       Partner/Principal   3/23/2023               Non US Tax                 Meeting with Local General Counsel's Office regarding the declaration of disinterestedness                0.8     $825.00       $660.00
Ancona,Christopher          CA            Senior         3/23/2023   Project Management Office Transition   Revise the agenda in preparation for meeting with FTX                                                     0.3     $395.00       $118.50
                                                                                                            Correspondence with workstream leads on Project Management Office various action items to
Ancona,Christopher          CA            Senior         3/23/2023   Project Management Office Transition                                                                                                             2.6     $395.00      $1,027.00
                                                                                                            determine status updates and additional follow ups
Ancona,Christopher          CA             Senior        3/23/2023   Project Management Office Transition   Revise the Project Management Office resource estimate to for new resource information                    0.8     $395.00        $316.00
Ancona,Christopher          CA             Senior        3/23/2023   Project Management Office Transition   Revise the Project Management Office status tracker and following up on action items                      0.9     $395.00        $355.50
Ancona,Christopher          CA             Senior        3/23/2023   Project Management Office Transition   Follow-up regarding actions items from FTX                                                                0.7     $395.00        $276.50
Ancona,Christopher          CA             Senior        3/23/2023   Project Management Office Transition   Review and revise new fee application process to be used for processing time entries                      1.4     $395.00        $553.00
Bailey,Doug                 DB       Partner/Principal   3/23/2023              Tax Advisory                Review crypto holding strategy deck and evaluate options                                                  2.1     $825.00      $1,732.50
Berman,Jake                 JB        Senior Manager     3/23/2023             US Income Tax                Review of FTX Master File entity tracker                                                                  1.2     $650.00        $780.00
                                       Client Serving                                                       Review facts regarding potential mark-to-market transactions, federal options regarding same, and
Bieganski,Walter           WB                            3/23/2023         US State and Local Tax                                                                                                                     1.7     $200.00       $340.00
                                      Contractor WB                                                         consider state tax implications
                                       Client Serving
Bieganski,Walter           WB                            3/23/2023         US State and Local Tax           Analyze unitary combinations for state tax purposes                                                       0.3     $200.00        $60.00
                                      Contractor WB
Bost,Anne                   BA       Managing Director   3/23/2023             Transfer Pricing             Review and respond to email correspondence                                                                0.3     $775.00       $232.50
Bouza,Victor                VB           Manager         3/23/2023               Non US Tax                 Follow-up correspondence regarding organizing the transfer of data and the status of the transition       0.3     $525.00       $157.50
                                                                                                            Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.             CRC            Senior         3/23/2023               Payroll Tax                                                                                                                          3.9     $395.00      $1,540.50
                                                                                                            inquiries.
                                                                                                            Call with state of WA regarding Confidential Tax Information Form and how to update officer
Castillo,Irvin Giovanni    IGC             Staff         3/23/2023         US State and Local Tax                                                                                                                     0.6     $225.00       $135.00
                                                                                                            listing for accounts
Castillo,Irvin Giovanni    IGC             Staff         3/23/2023         US State and Local Tax           Call with the state of LA regarding information from the Call log questions and notice                    0.4     $225.00        $90.00
Cavusoglu,Coskun            CC       Partner/Principal   3/23/2023              Technology                  Revise requirements for infrastructure to host the FTX datasets on the EY servers.                        0.7     $825.00       $577.50
Choudary,Hira              HC              Staff         3/23/2023              Non US Tax                  Correspondence regarding status of the December fee application.                                          2.1     $225.00       $472.50
                                                                                                            Call with D. Hariton (S&C) regarding tax reporting for customers and editing tax reporting for
DeVincenzo,Jennie          JDV       Managing Director   3/23/2023               Payroll Tax                                                                                                                          0.7     $775.00       $542.50
                                                                                                            customers document
Dulceak,Crystal             CD           Manager         3/23/2023          US State and Local Tax          Follow-up with internal team on Annual Report Data request 3/31-4/15.                                     0.4     $525.00        $210.00
Dulceak,Crystal             CD           Manager         3/23/2023          US State and Local Tax          Revise Annual Report filing calendar and draft funding request                                            1.9     $525.00        $997.50
Dulceak,Crystal             CD           Manager         3/23/2023          US State and Local Tax          Review draft ARs due 3/31-4/15.                                                                           2.4     $525.00      $1,260.00
Farrar,Anne                 AF       Partner/Principal   3/23/2023   Project Management Office Transition   Review of FTX material for meeting on 3/23/23                                                             0.4     $825.00        $330.00
Hall,Emily Melissa         EMH            Senior         3/23/2023          US State and Local Tax          Draft questions for S&C regarding stock                                                                   0.4     $395.00        $158.00
                                                                                                            Review trial balances and balance sheets ending 12/31/2022 to determine if the contents are
Hall,Emily Melissa         EMH            Senior         3/23/2023         US State and Local Tax                                                                                                                     0.4     $395.00       $158.00
                                                                                                            sufficient for annual report purposes.
                                                                                                            Revise notice authorization letter to include FEINs of all relevant entities and remove specific state
Hall,Emily Melissa         EMH            Senior         3/23/2023         US State and Local Tax                                                                                                                     0.7     $395.00       $276.50
                                                                                                            language.
Hall,Emily Melissa         EMH            Senior         3/23/2023         US State and Local Tax           Correspondence with Maryland revenue specialist inquiring about the FEIN on file for Alameda.             0.1     $395.00        $39.50
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                                                           Date of
                Name       Initials        Rank                                 Project Category                                                     Description of Services                                          Hours   Hourly Rate   Fees
                                                           Service
                                                                                                               Correspondence concerning outstanding local contacts needed for EY member firms to conduct
Hammon,David Lane           DLH           Manager         3/23/2023                Non US Tax                                                                                                                          1.1     $525.00       $577.50
                                                                                                               knowledge transfer
Hammon,David Lane           DLH           Manager         3/23/2023                Non US Tax                  Revise various trackers concerning the foreign workstreams                                              2.3     $525.00      $1,207.50
                                                                                                               Finalize the Inherent Risk Assessment needed to engage third provider service provider in
Hammon,David Lane           DLH           Manager         3/23/2023                Non US Tax                                                                                                                          1.4     $525.00       $735.00
                                                                                                               Seychelles
Hammon,David Lane           DLH           Manager         3/23/2023                Non US Tax                  Correspondence concerning newly obtained historical documents on FTX foreign entities                   1.1     $525.00       $577.50
                                                                                                               Calls with practice office, determined what types of IRS transcripts are needed, coordinated with
Howard,Rebecca M.          RMH        Senior Manager      3/23/2023             IRS Audit Matters                                                                                                                      0.9     $650.00       $585.00
                                                                                                               staff to secure transcripts, and initial review of transcripts secured
Huang,Vanesa                VH              Staff         3/23/2023           US State and Local Tax           Process Annual Reports for March batch                                                                  2.4     $225.00       $540.00
Huang,Vanesa                VH              Staff         3/23/2023           US State and Local Tax           Continue processing online annual reports for March batch                                               2.4     $225.00       $540.00
Huang,Vanesa                VH              Staff         3/23/2023           US State and Local Tax           Revise Annual Report tracker for completed documentation                                                0.2     $225.00        $45.00
Huang,Vanesa                VH              Staff         3/23/2023           US State and Local Tax           Review status of annual reports outstanding as part of the March batch                                  0.6     $225.00       $135.00
Karan,Anna Suncheuri        ASK             Staff         3/23/2023            US International Tax            Research PFIC foreign entities information                                                              2.3     $225.00       $517.50
Karan,Anna Suncheuri        ASK             Staff         3/23/2023            US International Tax            Further research PFIC foreign entities information                                                      0.4     $225.00        $90.00
Li,Chunyang                  CL            Senior         3/23/2023                Technology                  Reconcile all LE and TB files to for consistency                                                        1.8     $395.00       $711.00
                                                                                                               Review consideration for method of accounting implications in situation where multiple years of
Lovelace,Lauren              LL       Partner/Principal   3/23/2023            US International Tax                                                                                                                    0.6     $825.00       $495.00
                                                                                                               returns not processed
MacLean,Corrie              CM             Senior         3/23/2023                Non US Tax                  Review historical documents received and classify the master document tracking sheet                    2.1     $395.00       $829.50
MacLean,Corrie              CM             Senior         3/23/2023                Non US Tax                  Review of historical documents received and follow-up with foreign office due diligence items           2.1     $395.00       $829.50
Neziroski,David              DN          Associate        3/23/2023        Fee/Employment Applications         Continue confidentiality review for January entries                                                     3.1     $365.00      $1,131.50
Owen,Karen                   KO            Staff          3/23/2023             IRS Audit Matters              Prepare forms 8821 for two entities and called IRS to order multiple transcripts                        3.6     $225.00        $810.00
                                                                                                               Review of latest management accounts/audited financial statements for the purpose of preparing the
Papachristodoulou,Elpida     EP       Senior Manager      3/23/2023              Value Added Tax                                                                                                                       2.1     $650.00      $1,365.00
                                                                                                               Request For Information (RFI) list.
Pavlou,Pantelis              PP          Manager          3/23/2023            Information Reporting           Review of information provided and internal calls for the bookkeeping of Innovatia                      2.8     $525.00      $1,470.00
Raulli,Lindsay Elizabeth    LER       Senior Manager      3/23/2023             US International Tax           Compliance prep                                                                                         0.4     $650.00        $260.00
Raulli,Lindsay Elizabeth    LER       Senior Manager      3/23/2023             US International Tax           Review of PFIC foreign entities                                                                         0.4     $650.00        $260.00
Richardson,Audrey Sarah     ASR          Manager          3/23/2023            Information Reporting           Prepare for call with FTX to review vendors without tin population                                      1.4     $525.00        $735.00
Richardson,Audrey Sarah     ASR          Manager          3/23/2023            Information Reporting           Prepare for upcoming leads call                                                                         0.4     $525.00        $210.00
                                                                                                               Assess FTX Derivatives GmbH & FTX General Partners AG entities regarding whether they should
Rüegg,Christoph              CR            Senior         3/23/2023                Non US Tax                                                                                                                          0.3     $395.00       $118.50
                                                                                                               be included as part of tax filing obligations
Rüegg,Christoph              CR            Senior         3/23/2023                Non US Tax                  Request clarifications from CH Teams regarding the Declaration of disinterestedness                     0.9     $395.00       $355.50
Rüegg,Christoph              CR            Senior         3/23/2023                Non US Tax                  Correspondence with CH Teams regarding the Declaration of disinterestedness                             1.2     $395.00       $474.00
                                                                                                               Review FTX Derivatives GmbH & FTX General Partners AG regarding whether they should be
Rüegg,Christoph              CR            Senior         3/23/2023                Non US Tax                                                                                                                          0.3     $395.00       $118.50
                                                                                                               included as part of tax filing obligations
                                       Client Serving
Scott,James                  JS                           3/23/2023               US Income Tax                Review of cash tax estimates for April 15, 2023                                                         0.3     $600.00       $180.00
                                       Contractor JS
                                       Client Serving
Scott,James                  JS                           3/23/2023               US Income Tax                Analyze FTT cryptocurrency exchange data transactions for federal tax considerations                    0.8     $600.00       $480.00
                                       Contractor JS
                                       Client Serving
Scott,James                  JS                           3/23/2023               US Income Tax                Review of annual report data requests                                                                   0.4     $600.00       $240.00
                                       Contractor JS
Shea JR,Thomas M            TMS       Partner/Principal   3/23/2023              US Income Tax                 Prep for meeting with FTX Chief Financial Officer and Chief Administrative Officer                      0.6     $825.00       $495.00
Stillman,Will               WS              Staff         3/23/2023           US State and Local Tax           Review CT-51 forms and creating workpapers                                                              3.2     $225.00       $720.00
                                                                                                               Review of the latest management accounts / audited financial statements for the purpose of
Themistou,Victoria           VT            Senior         3/23/2023              Value Added Tax                                                                                                                       1.3     $395.00       $513.50
                                                                                                               preparing the Request For Information (RFI) list.
Tong,Chia-Hui               CHT       Senior Manager      3/23/2023    Project Management Office Transition    Prepare agenda for call with FTX leadership                                                             0.8     $650.00       $520.00
Tong,Chia-Hui               CHT       Senior Manager      3/23/2023    Project Management Office Transition    Review revised draft of fee application                                                                 0.8     $650.00       $520.00
Tong,Chia-Hui               CHT       Senior Manager      3/23/2023    Project Management Office Transition    Revise weekly slide for Alvarez and Marsal/EY Project Management deck                                   0.4     $650.00       $260.00
                                                                                                               Review of the latest management accounts / audited financial statements for the purpose of
Tsikkouris,Anastasios        AT           Manager         3/23/2023                Non US Tax                                                                                                                          2.4     $525.00      $1,260.00
                                                                                                               preparing the Request For Information (RFI) list.
Tyllirou,Christiana         CT            Manager         3/23/2023           Information Reporting            Review of information provided regarding the bookkeeping of Innovatia                                   0.9     $525.00       $472.50
Weiler,Sam P               SPW        Partner/Principal   3/23/2023               Tax Advisory                 Review and revise the methods implication on MTM issues and non-timely filed returns                    1.0     $825.00       $825.00
Wrenn,Kaitlin Doyle        KDW            Manager         3/23/2023                Payroll Tax                 Revise the tracker regarding 1099 intake responses                                                      1.2     $525.00       $630.00
Zheng,Eva                   EZ            Manager         3/23/2023           US State and Local Tax           Revise tracker to include AL and SC annual report filings                                               0.4     $525.00       $210.00
                                                                                                               Call to discuss results of silo and non-operating entity analysis. EY attendees: B. Richards, N.
Bugden,Nick R               NRB       Senior Manager      3/23/2023            Liquidation Activities                                                                                                                  1.0     $900.00       $900.00
                                                                                                               Bugden, F. ORiain, and R. Maiello
                                                                                                               Call to discuss results of silo and non-operating entity analysis. EY attendees: B. Richards, N.
Maiello,Rob                 RM           Consultant       3/23/2023            Liquidation Activities                                                                                                                  1.0     $445.00       $445.00
                                                                                                               Bugden, F. ORiain, and R. Maiello
                                                                                                               Call to discuss results of silo and non-operating entity analysis. EY attendees: B. Richards, N.
ORiain,Fionn                ORF           Manager         3/23/2023            Liquidation Activities                                                                                                                  1.0     $725.00       $725.00
                                                                                                               Bugden, F. ORiain, and R. Maiello
                                                                                                               Call to discuss results of silo and non-operating entity analysis. EY attendees: B. Richards, N.
Richards,Briana A.           BR       Partner/Principal   3/23/2023            Liquidation Activities                                                                                                                  1.0     $1,150.00    $1,150.00
                                                                                                               Bugden, F. ORiain, and R. Maiello
Bugden,Nick R               NRB       Senior Manager      3/23/2023            Liquidation Activities          Call to discuss next steps for each foreign liquidation. EY attendees: B. Richards and N. Bugden        1.1     $900.00       $990.00

Richards,Briana A.           BR       Partner/Principal   3/23/2023            Liquidation Activities          Call to discuss next steps for each foreign liquidation. EY attendees: B. Richards and N. Bugden        1.1     $1,150.00    $1,265.00

                                                                                                               Call to discuss results of silo and non-operating entity analysis and how to craft them into talking
Richards,Briana A.           BR       Partner/Principal   3/23/2023            Liquidation Activities                                                                                                                  1.0     $1,150.00    $1,150.00
                                                                                                               points for call with FTX CFO. EY attendees: B. Richards, N. Bugden, F. ORiain, and R. Maiello

                                                                                                               Call to discuss results of silo and non-operating entity analysis and how to craft them into talking
Bugden,Nick R               NRB       Senior Manager      3/23/2023            Liquidation Activities                                                                                                                  1.0     $900.00       $900.00
                                                                                                               points for call with FTX CFO. EY attendees: B. Richards, N. Bugden, F. ORiain, and R. Maiello
Bugden,Nick R               NRB       Senior Manager      3/23/2023   Chapter 11 Process and Case Management   Team coordination call across EY services                                                               0.5     $900.00       $450.00
Bugden,Nick R               NRB       Senior Manager      3/23/2023            Liquidation Activities          Correspondence with A&M re: SOFA SOAL files                                                             0.1     $900.00        $90.00
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                                                         Date of
                 Name    Initials         Rank                               Project Category                                                    Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Call to discuss results of silo and non-operating entity analysis and how to craft them into talking
ORiain,Fionn              ORF           Manager         3/23/2023          Liquidation Activities                                                                                                                  1.0     $725.00       $725.00
                                                                                                           points for call with FTX CFO. EY attendees: B. Richards, N. Bugden, F. ORiain, and R. Maiello

                                                                                                           Call to discuss results of silo and non-operating entity analysis and how to craft them into talking
Maiello,Rob               RM           Consultant       3/23/2023          Liquidation Activities                                                                                                                  1.0     $445.00       $445.00
                                                                                                           points for call with FTX CFO. EY attendees: B. Richards, N. Bugden, F. ORiain, and R. Maiello
                                                                                                           Alignment call regarding open tasks of phase I and II concerning CH and FL entities. EY attendees:
Rüegg,Christoph            CR            Senior         3/24/2023               Non US Tax                                                                                                                         1.0     $395.00       $395.00
                                                                                                           C. Ruegg and K. Wagner
                                                                                                           Alignment call regarding open tasks of phase I and II concerning CH and FL entities. EY attendees:
Wagner,Kaspar             KW             Senior         3/24/2023               Non US Tax                                                                                                                         1.0     $395.00       $395.00
                                                                                                           C. Ruegg and K. Wagner
                                                                                                           Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Ancona,Christopher         CA            Senior         3/24/2023   Project Management Office Transition                                                                                                           0.3     $395.00       $118.50
                                                                                                           status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, and J. Berman

                                                                                                           Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Berman,Jake                JB        Senior Manager     3/24/2023             US Income Tax                                                                                                                        0.3     $650.00       $195.00
                                                                                                           status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, and J. Berman

                                      Client Serving                                                       Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Scott,James                JS                           3/24/2023             US Income Tax                                                                                                                        0.3     $600.00       $180.00
                                      Contractor JS                                                        status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, and J. Berman

                                                                                                           Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Shea JR,Thomas M          TMS       Partner/Principal   3/24/2023             US Income Tax                                                                                                                        0.3     $825.00       $247.50
                                                                                                           status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, and J. Berman

                                                                                                           Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Tong,Chia-Hui             CHT        Senior Manager     3/24/2023   Project Management Office Transition                                                                                                           0.3     $650.00       $195.00
                                                                                                           status updates and reporting. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, and J. Berman
                                                                                                           Discussion regarding preparation for in-person meetings with FTX on March 31st. EY attendees: C.
Ancona,Christopher         CA            Senior         3/24/2023   Project Management Office Transition                                                                                                           0.4     $395.00       $158.00
                                                                                                           Ancona and C. Tong
                                                                                                           Discussion regarding preparation for in-person meetings with FTX on March 31st. EY attendees: C.
Tong,Chia-Hui             CHT        Senior Manager     3/24/2023   Project Management Office Transition                                                                                                           0.4     $650.00       $260.00
                                                                                                           Ancona, C. Tong, D. Johnson, and J. Lubic
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/24/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.7     $225.00       $157.50
                                                                                                           K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/24/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.7     $525.00       $367.50
                                                                                                           K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/24/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.7     $395.00       $276.50
                                                                                                           K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Staromiejska,Kinga         KS           Manager         3/24/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,       0.7     $525.00       $367.50
                                                                                                           K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Hammon,David Lane         DLH           Manager         3/24/2023               Non US Tax                                                                                                                         0.5     $525.00       $262.50
                                                                                                           T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                           Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
MacLean,Corrie            CM             Senior         3/24/2023               Non US Tax                                                                                                                         0.5     $395.00       $197.50
                                                                                                           T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                           Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Staromiejska,Kinga         KS           Manager         3/24/2023               Non US Tax                                                                                                                         0.5     $525.00       $262.50
                                                                                                           T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                           Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Knoeller,Thomas J.        TJK       Partner/Principal   3/24/2023   Project Management Office Transition                                                                                                           0.5     $825.00       $412.50
                                                                                                           T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                           EY internal meeting to discuss the Master Claims Log. EY attendees: D. Johnson, N. Flagg, K.
Flagg,Nancy A.            NAF       Managing Director   3/24/2023         US State and Local Tax                                                                                                                   0.5     $775.00       $387.50
                                                                                                           Gatt, and J. Lubic
                                                                                                           EY internal meeting to discuss the Master Claims Log. EY attendees: D. Johnson, N. Flagg, K.
Gatt,Katie                 KG        Senior Manager     3/24/2023         US State and Local Tax                                                                                                                   0.5     $650.00       $325.00
                                                                                                           Gatt, and J. Lubic
                                                                                                           EY internal meeting to discuss the Master Claims Log. EY attendees: D. Johnson, N. Flagg, K.
Johnson,Derrick Joseph     DJJ            Staff         3/24/2023         US State and Local Tax                                                                                                                   0.5     $225.00       $112.50
                                                                                                           Gatt, and J. Lubic
                                                                                                           EY internal meeting to discuss the Master Claims Log. EY attendees: D. Johnson, N. Flagg, K.
Lubic,Jake                 JL             Staff         3/24/2023         US State and Local Tax                                                                                                                   0.5     $225.00       $112.50
                                                                                                           Gatt, and J. Lubic
Johnson,Derrick Joseph     DJJ            Staff         3/24/2023         US State and Local Tax           EY Internal meeting to discuss the Master Claims Log. EY attendees: D. Johnson and J. Lubic             0.4     $225.00        $90.00

Lubic,Jake                 JL             Staff         3/24/2023         US State and Local Tax           EY Internal meeting to discuss the Master Claims Log. EY attendees: D. Johnson and J. Lubic             0.4     $225.00        $90.00
                                                                                                           Meeting to discuss and review Project Management Office deliverables. EY attendees: C. Ancona,
Ancona,Christopher         CA            Senior         3/24/2023   Project Management Office Transition                                                                                                           0.5     $395.00       $197.50
                                                                                                           T. Shea, and C. Tong
                                                                                                           Meeting to discuss and review Project Management Office deliverables. EY attendees: C. Ancona,
Shea JR,Thomas M          TMS       Partner/Principal   3/24/2023             US Income Tax                                                                                                                        0.5     $825.00       $412.50
                                                                                                           T. Shea, and C. Tong
                                                                                                           Meeting to discuss and review Project Management Office deliverables. EY attendees: C. Ancona,
Tong,Chia-Hui             CHT        Senior Manager     3/24/2023   Project Management Office Transition                                                                                                           0.5     $650.00       $325.00
                                                                                                           T. Shea, and C. Tong
Ancona,Christopher         CA            Senior         3/24/2023   Project Management Office Transition   Discussion regarding preparation for meeting with FTX. EY attendees: C. Ancona and C. Tong              0.3     $395.00       $118.50

Tong,Chia-Hui             CHT        Senior Manager     3/24/2023   Project Management Office Transition   Discussion regarding preparation for meeting with FTX. EY attendees: C. Ancona and C. Tong              0.3     $650.00       $195.00
                                                                                                           Internal meeting to discuss ITTS workstreams and administrative procedures. EY attendees: M.
Katelas,Andreas            KA            Senior         3/24/2023           US International Tax                                                                                                                   0.5     $395.00       $197.50
                                                                                                           Zhuo and A. Katelas
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                                                        Date of
               Name     Initials         Rank                               Project Category                                                   Description of Services                                           Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Internal meeting to discuss ITTS workstreams and administrative procedures. EY attendees: M.
Zhuo,Melody               MZ             Staff         3/24/2023           US International Tax                                                                                                                   0.5     $225.00       $112.50
                                                                                                          Zhuo and A. Katelas
                                                                                                          Follow-up meeting to review open items related to onboarding FTX tax data. EY attendees: K.
Jena,Deepak               DJ           Manager         3/24/2023               Technology                                                                                                                         1.5     $525.00       $787.50
                                                                                                          Gundu and D. Jena
                                                                                                          Daily connect to work on fingerprint FTX TB data and data upload. EY attendees: C. Li, K. Gundu,
Gundu,Kaivalya            KG        Senior Manager     3/24/2023               Technology                                                                                                                         1.7     $650.00      $1,105.00
                                                                                                          D. Jena, and C. Velpuri
                                                                                                          Daily connect to work on fingerprint FTX TB data and data upload. EY attendees: C. Li, K. Gundu,
Jena,Deepak               DJ           Manager         3/24/2023               Technology                                                                                                                         1.7     $525.00       $892.50
                                                                                                          D. Jena, and C. Velpuri
                                                                                                          Daily connect to work on fingerprint FTX TB data and data upload. EY attendees: C. Li, K. Gundu,
Li,Chunyang               CL            Senior         3/24/2023               Technology                                                                                                                         1.7     $395.00       $671.50
                                                                                                          D. Jena, and C. Velpuri
                                                                                                          Daily connect to work on fingerprint FTX TB data and data upload. EY attendees: C. Li, K. Gundu,
Velpuri,Cury              CV             Staff         3/24/2023               Technology                                                                                                                         1.7     $225.00       $382.50
                                                                                                          D. Jena, and C. Velpuri
                                                                                                          Internal call to discuss which entities should be included in the super combined group for state tax
Berman,Jake               JB        Senior Manager     3/24/2023             US Income Tax                purposes. EY attendees: T. Shea, J. Scott, M. Musano, W. Bieganski, J. Berman, E. Zheng, and E.         0.5     $650.00       $325.00
                                                                                                          Hall
                                                                                                          Internal call to discuss which entities should be included in the super combined group for state tax
                                    Client Serving
Bieganski,Walter         WB                            3/24/2023         US State and Local Tax           purposes. EY attendees: T. Shea, J. Scott, M. Musano, W. Bieganski, J. Berman, E. Zheng, and E.         0.5     $200.00       $100.00
                                    Contractor WB
                                                                                                          Hall
                                                                                                          Internal call to discuss which entities should be included in the super combined group for state tax
Hall,Emily Melissa       EMH            Senior         3/24/2023         US State and Local Tax           purposes. EY attendees: T. Shea, J. Scott, M. Musano, W. Bieganski, J. Berman, E. Zheng, and E.         0.5     $395.00       $197.50
                                                                                                          Hall
                                                                                                          Internal call to discuss which entities should be included in the super combined group for state tax
Musano,Matthew Albert   MAM         Senior Manager     3/24/2023         US State and Local Tax           purposes. EY attendees: T. Shea, J. Scott, M. Musano, W. Bieganski, J. Berman, E. Zheng, and E.         0.5     $650.00       $325.00
                                                                                                          Hall
                                                                                                          Internal call to discuss which entities should be included in the super combined group for state tax
                                     Client Serving
Scott,James               JS                           3/24/2023             US Income Tax                purposes. EY attendees: T. Shea, J. Scott, M. Musano, W. Bieganski, J. Berman, E. Zheng, and E.         0.5     $600.00       $300.00
                                     Contractor JS
                                                                                                          Hall
                                                                                                          Internal call to discuss which entities should be included in the super combined group for state tax
Shea JR,Thomas M         TMS       Partner/Principal   3/24/2023             US Income Tax                purposes. EY attendees: T. Shea, J. Scott, M. Musano, W. Bieganski, J. Berman, E. Zheng, and E.         0.5     $825.00       $412.50
                                                                                                          Hall
                                                                                                          Internal call to discuss which entities should be included in the super combined group for state tax
Zheng,Eva                 EZ           Manager         3/24/2023         US State and Local Tax           purposes. EY attendees: T. Shea, J. Scott, M. Musano, W. Bieganski, J. Berman, E. Zheng, and E.         0.5     $525.00       $262.50
                                                                                                          Hall
                                    Client Serving                                                        Internal call to discuss water's edge election and combined group for Montana corporate income tax
Bieganski,Walter         WB                            3/24/2023         US State and Local Tax                                                                                                                   0.5     $200.00       $100.00
                                    Contractor WB                                                         purposes. EY attendees: B. Nolan, M. Musano, W. Bieganski, E. Zheng, and E. Hall

                                                                                                          Internal call to discuss water's edge election and combined group for Montana corporate income tax
Hall,Emily Melissa       EMH            Senior         3/24/2023         US State and Local Tax                                                                                                                   0.5     $395.00       $197.50
                                                                                                          purposes. EY attendees: B. Nolan, M. Musano, W. Bieganski, E. Zheng, and E. Hall

                                                                                                          Internal call to discuss water's edge election and combined group for Montana corporate income tax
Musano,Matthew Albert   MAM         Senior Manager     3/24/2023         US State and Local Tax                                                                                                                   0.5     $650.00       $325.00
                                                                                                          purposes. EY attendees: B. Nolan, M. Musano, W. Bieganski, E. Zheng, and E. Hall

                                                                                                          Internal call to discuss water's edge election and combined group for Montana corporate income tax
Nolan,Bill                BN       Managing Director   3/24/2023         US State and Local Tax                                                                                                                   0.5     $775.00       $387.50
                                                                                                          purposes. EY attendees: B. Nolan, M. Musano, W. Bieganski, E. Zheng, and E. Hall

                                                                                                          Internal call to discuss water's edge election and combined group for Montana corporate income tax
Zheng,Eva                 EZ           Manager         3/24/2023         US State and Local Tax                                                                                                                   0.5     $525.00       $262.50
                                                                                                          purposes. EY attendees: B. Nolan, M. Musano, W. Bieganski, E. Zheng, and E. Hall
                                                                                                          Daily working session to configure FDF UI and upload TB data. EY attendees: C. Li, K. Gundu, C.
Gundu,Kaivalya            KG        Senior Manager     3/24/2023               Technology                                                                                                                         1.7     $650.00      $1,105.00
                                                                                                          Velpuri, and D. Jena
                                                                                                          Daily working session to configure FDF UI and upload TB data. EY attendees: C. Li, K. Gundu, C.
Jena,Deepak               DJ           Manager         3/24/2023               Technology                                                                                                                         1.7     $525.00       $892.50
                                                                                                          Velpuri, and D. Jena
                                                                                                          Daily working session to configure FDF UI and upload TB data. EY attendees: C. Li, K. Gundu, C.
Li,Chunyang               CL            Senior         3/24/2023               Technology                                                                                                                         1.7     $395.00       $671.50
                                                                                                          Velpuri, and D. Jena
                                                                                                          Daily working session to configure FDF UI and upload TB data. EY attendees: C. Li, K. Gundu, C.
Velpuri,Cury              CV             Staff         3/24/2023               Technology                                                                                                                         1.7     $225.00       $382.50
                                                                                                          Velpuri, and D. Jena
                                                                                                          Internal call to discuss tax year 2020 payroll and authorization letter approach. EY attendees: K.
Hall,Emily Melissa       EMH            Senior         3/24/2023         US State and Local Tax                                                                                                                   0.3     $395.00       $118.50
                                                                                                          Wrenn and E. Hall
                                                                                                          Internal call to discuss tax year 2020 payroll and authorization letter approach. EY attendees: K.
Wrenn,Kaitlin Doyle     KDW            Manager         3/24/2023               Payroll Tax                                                                                                                        0.3     $525.00       $157.50
                                                                                                          Wrenn and E. Hall
                                                                                                          Meeting regarding compliance entity structure for FTX. EY attendees: J. Berman, M. Musano, E.
Berman,Jake               JB        Senior Manager     3/24/2023             US Income Tax                                                                                                                        0.5     $650.00       $325.00
                                                                                                          Zheng, J. Scott, T. Shea, and E. Hall
                                                                                                          Meeting regarding compliance entity structure for FTX. EY attendees: J. Berman, M. Musano, E.
Musano,Matthew Albert   MAM         Senior Manager     3/24/2023         US State and Local Tax                                                                                                                   0.5     $650.00       $325.00
                                                                                                          Zheng, J. Scott, T. Shea, and E. Hall
                                                                                                          Meeting regarding compliance entity structure for FTX. EY attendees: J. Berman, M. Musano, E.
Zheng,Eva                 EZ           Manager         3/24/2023         US State and Local Tax                                                                                                                   0.5     $525.00       $262.50
                                                                                                          Zheng, J. Scott, T. Shea, and E. Hall
                                     Client Serving                                                       Meeting regarding compliance entity structure for FTX. EY attendees: J. Berman, M. Musano, E.
Scott,James               JS                           3/24/2023             US Income Tax                                                                                                                        0.5     $600.00       $300.00
                                     Contractor JS                                                        Zheng, J. Scott, T. Shea, and E. Hall
                                                                                                          Meeting regarding compliance entity structure for FTX. EY attendees: J. Berman, M. Musano, E.
Shea JR,Thomas M         TMS       Partner/Principal   3/24/2023             US Income Tax                                                                                                                        0.5     $825.00       $412.50
                                                                                                          Zheng, J. Scott, T. Shea, and E. Hall
                                                                                                          Meeting regarding compliance entity structure for FTX. EY attendees: J. Berman, M. Musano, E.
Hall,Emily Melissa       EMH            Senior         3/24/2023         US State and Local Tax                                                                                                                   0.5     $395.00       $197.50
                                                                                                          Zheng, J. Scott, T. Shea, and E. Hall
Ancona,Christopher        CA            Senior         3/24/2023   Project Management Office Transition   Prepare for in-person meetings with FTX leadership on March 31st                                        1.3     $395.00       $513.50
Ancona,Christopher        CA            Senior         3/24/2023   Project Management Office Transition   Revise new process to record time for fee application                                                   0.9     $395.00       $355.50
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                                                           Date of
                 Name      Initials        Rank                                Project Category                                                     Description of Services                                       Hours   Hourly Rate   Fees
                                                           Service
Bailey,Doug                  DB       Partner/Principal   3/24/2023              Tax Advisory                Analyze intercompany lending arrangements and draftDraft summary talking points                       3.2     $825.00      $2,640.00
Bost,Anne                    BA       Managing Director   3/24/2023             Transfer Pricing             Review and respond to email correspondence                                                            0.4     $775.00        $310.00
Bouza,Victor                 VB           Manager         3/24/2023              Non US Tax                  Correspondence with external provider from PY in order to organize the transfer of the data           4.3     $525.00      $2,257.50
                                                                                                             Correspondence with Pension Fund to obtain the BVG contribution for the year and confirm the
Camargos,Lorraine Silva     LSC            Senior         3/24/2023               Payroll Tax                                                                                                                      0.3     $395.00       $118.50
                                                                                                             amounts invoiced to the client for the reconciliation of the quarter
Carreras,Stephen              C           Manager         3/24/2023               Non US Tax                 Calculate tax, SI, and remittance generation tax payment for March 2023.                              0.9     $525.00       $472.50
                                                                                                             Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.              CRC            Senior         3/24/2023               Payroll Tax                                                                                                                      3.9     $395.00      $1,540.50
                                                                                                             inquiries.
                                                                                                             Call with the state of RI regarding information on pending Tax Returns not filed and updated
Castillo,Irvin Giovanni     IGC             Staff         3/24/2023         US State and Local Tax                                                                                                                 2.1     $225.00       $472.50
                                                                                                             outstanding balance information
Castillo,Irvin Giovanni     IGC             Staff         3/24/2023          US State and Local Tax          Call with state of WA regarding how to update the officer listing                                     0.9     $225.00        $202.50
Choudary,Hira               HC              Staff         3/24/2023                Non US Tax                Review and revise the KT Tracker                                                                      0.3     $225.00         $67.50
Choudary,Hira               HC              Staff         3/24/2023                Non US Tax                Follow-up correspondence regarding the December fee application                                       0.4     $225.00         $90.00
Di Stefano,Giulia           GDS            Senior         3/24/2023              Transfer Pricing            Review risk analysis for allocation of post-bankruptcy expenses                                       1.7     $395.00        $671.50
Dilorio,John                 JD       Managing Director   3/24/2023              US Income Tax               Review of transcripts summarizing entity history and filing history.                                  1.0     $775.00        $775.00
Espley-Ault,Olivia          OEA        Senior Manager     3/24/2023                Non US Tax                Revise the Bahamas, BVI, and Cayman tax filings workbook                                              1.2     $650.00        $780.00
Farrar,Anne                  AF       Partner/Principal   3/24/2023   Project Management Office Transition   Prepare materials for FTX team meeting                                                                0.3     $825.00        $247.50
Ferris,Tara                  TF       Partner/Principal   3/24/2023           Information Reporting          Review of 1099 reporting files for data gaps                                                          1.9     $825.00      $1,567.50
Geisler,Arthur              AG              Staff         3/24/2023           Information Reporting          Analyze of the documentation booking January - February CHF account                                   2.9     $225.00        $652.50
                                                                                                             Analyze Q1/2023 for the following entities : FTX Europe AG, FTX Switzerland GmbH and FTX
Geisler,Arthur               AG             Staff         3/24/2023               Non US Tax                                                                                                                       3.1     $225.00       $697.50
                                                                                                             Certificates entities
                                                                                                             Draft California power of attorney for Digital Custody, Inc. FTX entity in response to proof of
Hall,Emily Melissa          EMH            Senior         3/24/2023         US State and Local Tax                                                                                                                 0.3     $395.00       $118.50
                                                                                                             claim
                                                                                                             Draft California power of claim attorney for Hilltop Technology Services FTX entity in response to
Hall,Emily Melissa          EMH            Senior         3/24/2023         US State and Local Tax                                                                                                                 0.3     $395.00       $118.50
                                                                                                             proof of claim
Hall,Emily Melissa          EMH            Senior         3/24/2023         US State and Local Tax           Draft California power of attorney for Alameda Research FTX entity in response to proof of claim      0.4     $395.00       $158.00
Hall,Emily Melissa          EMH            Senior         3/24/2023         US State and Local Tax           Revise state and local tax issue tracker .                                                            0.4     $395.00       $158.00
Hall,Emily Melissa          EMH            Senior         3/24/2023         US State and Local Tax           Prepare follow-up correspondence regarding open item requests related to FTX entity information       0.2     $395.00        $79.00
Hall,Emily Melissa          EMH            Senior         3/24/2023         US State and Local Tax           Respond to Maryland revenue agent email                                                               0.1     $395.00        $39.50
Hall,Emily Melissa          EMH            Senior         3/24/2023         US State and Local Tax           Prepare for notice meeting with EY team and FTX                                                       0.8     $395.00       $316.00
Hall,Emily Melissa          EMH            Senior         3/24/2023         US State and Local Tax           Draft documentation for state and local super combined unitary determination                          1.6     $395.00       $632.00
Hall,Emily Melissa          EMH            Senior         3/24/2023         US State and Local Tax           Analyze Alabama business privilege notice                                                             0.4     $395.00       $158.00
                                                                                                             Correspondence concerning outstanding local FTX/legacy provider contacts needed for EY member
Hammon,David Lane           DLH           Manager         3/24/2023               Non US Tax                                                                                                                       2.2     $525.00      $1,155.00
                                                                                                             firms to conduct knowledge transfer
Hammon,David Lane           DLH           Manager         3/24/2023               Non US Tax                 Coordinate Turkey NDA for EY Turkey to speak with FTX local contacts                                  0.3     $525.00       $157.50
                                                                                                             Research and correspondence concerning the requirement for financial statements to be filed with
Hammon,David Lane           DLH           Manager         3/24/2023               Non US Tax                                                                                                                       1.8     $525.00       $945.00
                                                                                                             the annual CIT returns for in-scope countries
Hammon,David Lane          DLH            Manager         3/24/2023              Non US Tax                  Revise various trackers concerning the foreign workstreams                                            2.7     $525.00      $1,417.50
Hammon,David Lane          DLH            Manager         3/24/2023              Non US Tax                  Correspondence regarding on-call support for the foreign workstreams                                  0.9     $525.00        $472.50
Howard,Rebecca M.          RMH         Senior Manager     3/24/2023           IRS Audit Matters              Review transcripts and determined returns rcvd/processed and letters issued by IRS                    3.3     $650.00      $2,145.00
Huang,Vanesa                VH              Staff         3/24/2023         US State and Local Tax           Follow-up regarding TN SOS site issue                                                                 0.1     $225.00         $22.50
                                                                                                             Review and update of the Use Tax calculations per additional information retrieved related to the
Jimenez,Joseph Robert        JRJ       Senior Manager     3/24/2023         US State and Local Tax                                                                                                                 2.1     $650.00      $1,365.00
                                                                                                             employee office State location.
Johnson,Derrick Joseph       DJJ            Staff         3/24/2023         US State and Local Tax           Revise the FTX Master Claims Log                                                                      2.4     $225.00       $540.00
Li,Chunyang                  CL            Senior         3/24/2023              Technology                  Review FTX TB Data and identify items to fix bugs                                                     1.3     $395.00       $513.50
                                                                                                             Research and analyze potential tax impact of Modulo funds being returned, including rescission
Lovelace,Lauren              LL       Partner/Principal   3/24/2023           US International Tax                                                                                                                 1.1     $825.00       $907.50
                                                                                                             considerations and/or gain/loss impact
                                          National
Lowery,Kristie L            KLL                           3/24/2023               Payroll Tax                Review Form 1099 reporting requirements and prepare required modifications                            2.3     $990.00      $2,277.00
                                      Partner/Principal
MacLean,Corrie              CM             Senior         3/24/2023               Non US Tax                 Review of historical documents received and follow-up with foreign office due diligence items         2.3     $395.00       $908.50
MacLean,Corrie              CM             Senior         3/24/2023               Non US Tax                 Review historical documents received and classify the master document tracking sheet                  2.3     $395.00       $908.50
                                          National
McComber,Donna              DM                            3/24/2023             Transfer Pricing             Prepare outline re transactions/TP policy                                                             1.2     $990.00      $1,188.00
                                      Partner/Principal
Neziroski,David             DN            Associate       3/24/2023      Fee/Employment Applications         Begin preparation of exhibit work sheet                                                               2.9     $365.00      $1,058.50
Nolan,Bill                  BN        Managing Director   3/24/2023         US State and Local Tax           Review Montana statutes containing the definition for "unitary business"                              0.3     $775.00        $232.50
Odermatt,Jasmin              JO             Staff         3/24/2023               Non US Tax                 Review FTX Europe AG in Abacus and reloaded client save from Mazars.                                  0.6     $225.00        $135.00
Owen,Karen                  KO              Staff         3/24/2023            IRS Audit Matters             Review additional transcripts for Alameda Research FTX entities                                       1.4     $225.00        $315.00
Papachristodoulou,Elpida     EP        Senior Manager     3/24/2023            Value Added Tax               Review and finalization of the RFI list                                                               0.7     $650.00        $455.00
Pulliam,Michelle            MP              Staff         3/24/2023               Payroll Tax                Review employment tax notice and outline of next steps                                                0.2     $225.00         $45.00
Raulli,Lindsay Elizabeth    LER        Senior Manager     3/24/2023           US International Tax           Summary of Alameda silo FTX filing positions                                                          0.4     $650.00        $260.00
Raulli,Lindsay Elizabeth    LER        Senior Manager     3/24/2023           US International Tax           Review of PFIC foreign entities                                                                       0.4     $650.00        $260.00
Richardson,Audrey Sarah     ASR           Manager         3/24/2023          Information Reporting           Identify debits for the missing tin population and review next steps                                  2.1     $525.00      $1,102.50
Richardson,Audrey Sarah     ASR           Manager         3/24/2023          Information Reporting           Prepare draft summary of transaction data                                                             0.9     $525.00        $472.50
Rüegg,Christoph             CR             Senior         3/24/2023               Non US Tax                 Coordinate CH & FL teams regarding declaration in connection with upcoming tax issues                 1.9     $395.00        $750.50
                                                                                                             ReviewAssess client request regarding providing services for FTX Derivatives GmbH & FTX
Rüegg,Christoph              CR            Senior         3/24/2023               Non US Tax                                                                                                                       0.4     $395.00       $158.00
                                                                                                             General Partners AG entities
                                                                                                             Assess client request regarding providing services for FTX Derivatives GmbH & FTX General
Rüegg,Christoph              CR            Senior         3/24/2023               Non US Tax                                                                                                                       0.4     $395.00       $158.00
                                                                                                             Partners AG entities
                                                                                                             Correspondence with CH & FL teams regarding preparation of declaration of disinterestedness in
Rüegg,Christoph              CR            Senior         3/24/2023               Non US Tax                                                                                                                       1.9     $395.00       $750.50
                                                                                                             connection with upcoming tax issues
Schwarzwälder,Christian      CS        Senior Manager     3/24/2023               Non US Tax                 Review FTX Swiss entities scope and liquidation considerations                                        0.4     $650.00       $260.00
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                                                         Date of
                  Name   Initials        Rank                                Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                     Client Serving
Scott,James                JS                           3/24/2023             US Income Tax                Review agenda for weekly S&C, A&M meeting                                                                0.4     $600.00       $240.00
                                     Contractor JS
Shea JR,Thomas M          TMS       Partner/Principal   3/24/2023             US Income Tax                Tax Team Leads call with D. Hariton (S&C)                                                                0.4     $825.00       $330.00
Shea JR,Thomas M          TMS       Partner/Principal   3/24/2023             US Income Tax                Prep for team leads call and follow-up written correspondence with EY team                               0.6     $825.00       $495.00
                                                                                                           Weekly touchpoint with RLA to discuss latest draft IDR requests, status of other prior year tax
Shea JR,Thomas M          TMS       Partner/Principal   3/24/2023             US Income Tax                                                                                                                         0.3     $825.00       $247.50
                                                                                                           filings
Soderman,Kathy             KS       Managing Director   3/24/2023              Non US Tax                  Finalize services descriptions and current payroll status by country                                     0.4     $775.00       $310.00
Stillman,Will              WS            Staff          3/24/2023         US State and Local Tax           Analyze CT-51 forms and creating workpapers                                                              2.3     $225.00       $517.50
                                                                                                           Prepare, update, and review state and local Quarterly Estimate Tax (first quarter of tax year 2023)
Sun,Yuchen                 YS            Senior         3/24/2023         US State and Local Tax                                                                                                                    1.6     $395.00       $632.00
                                                                                                           workpaper for April 15, 2023 deadline filings
                                                                                                           Prepare RFI for FTX Crypto Services Ltd, FTX EMEA Ltd and FTX EU Ltd entities for the
Themistou,Victoria         VT            Senior         3/24/2023            Value Added Tax                                                                                                                        0.7     $395.00       $276.50
                                                                                                           purpose of the VAT due diligence.
Tong,Chia-Hui             CHT        Senior Manager     3/24/2023   Project Management Office Transition   Finalize weekly status slide for Alvarez and Marsal                                                      0.2     $650.00       $130.00
                                                                                                           Revise additional scope statements and roles and responsibilities for next phase of work and
Tong,Chia-Hui             CHT        Senior Manager     3/24/2023   Project Management Office Transition                                                                                                            2.1     $650.00      $1,365.00
                                                                                                           validate with stakeholders
Tong,Chia-Hui            CHT         Senior Manager     3/24/2023   Project Management Office Transition   Develop preparation talk points for upcoming meeting                                                     0.4     $650.00       $260.00
Wrenn,Kaitlin Doyle      KDW            Manager         3/24/2023               Payroll Tax                Final review of FTX authorization letter and steps for presentation to CFO on notice call.               0.8     $525.00       $420.00
                                                                                                           Meeting with D. Ornelas (FTX) to discuss West Realm Shires Services Inc and Alameda Research
Wrenn,Kaitlin Doyle      KDW            Manager         3/24/2023               Payroll Tax                                                                                                                         1.4     $525.00       $735.00
                                                                                                           LLC employment FTX entitiesemployment tax state account access and login set up.
Wrenn,Kaitlin Doyle      KDW            Manager         3/24/2023               Payroll Tax                Reconcile state tax account listing and online access set up.                                            1.1     $525.00        $577.50
Wrenn,Kaitlin Doyle      KDW            Manager         3/24/2023               Payroll Tax                Finalize employee and 1099 claimant documentation and format updates                                     0.7     $525.00        $367.50
Goel,Utkarsh              UG            Manager         3/24/2023          Liquidation Activities          Review aspects related to the tax & regulatory framework in India                                        3.1     $400.00      $1,240.00
                                                                                                           Draft key activities to be undertaken and timelines for (a) Solvent Liquidation and (b) Insolvent
Goel,Utkarsh               UG           Manager         3/24/2023          Liquidation Activities                                                                                                                   3.7     $400.00      $1,480.00
                                                                                                           Liquidation
                                                                                                           Draft of Overview for Quoine India Private Limited highlighting key considerations and challenges
Jain,Gaurav                GJ        Senior Manager     3/24/2023          Liquidation Activities                                                                                                                   3.9     $550.00      $2,145.00
                                                                                                           for both (a) Insolvent Liquidation and (b) Solvent Liquidation
                                                                                                           Review of country level FTX entities and liquidation progress, consolidation of updates from local
ORiain,Fionn              ORF           Manager         3/24/2023          Liquidation Activities                                                                                                                   2.2     $725.00      $1,595.00
                                                                                                           teams and preparation of summary note for legal advisors
                                        National
Rumford,Neil               NR                           3/24/2023          Liquidation Activities          Call with J. Sequeira (A&M) regarding IT in storage                                                      0.7     $990.00       $693.00
                                    Partner/Principal
Venkataraman,Siddharth     SV           Manager         3/24/2023          Liquidation Activities          Draft executive summary covering the solvent and insolvent liquidation                                   3.7     $400.00      $1,480.00
Bugden,Nick R             NRB       Senior Manager      3/24/2023          Liquidation Activities          Correspondence with S&C re: SOFA SOAL files                                                              0.1     $900.00         $90.00
                                                                                                           Call to discuss required correspondence for local teams re: liquidation next steps. EY attendees: F.
Bugden,Nick R             NRB        Senior Manager     3/24/2023          Liquidation Activities                                                                                                                   0.9     $900.00       $810.00
                                                                                                           ORiain and N. Bugden
                                                                                                           Call to discuss required correspondence for local teams re: liquidation next steps. EY attendees: F.
ORiain,Fionn              ORF           Manager         3/24/2023          Liquidation Activities                                                                                                                   0.9     $725.00       $652.50
                                                                                                           ORiain and N. Bugden
Neziroski,David           DN            Associate       3/25/2023      Fee/Employment Applications         Continue confidentiality review for January entries                                                      3.4     $365.00      $1,241.00
Bugden,Nick R             NRB        Senior Manager     3/25/2023          Liquidation Activities          Review draft correspondence for local teams re: liquidation next steps                                   0.8     $900.00        $720.00
Espley-Ault,Olivia        OEA        Senior Manager     3/26/2023              Non US Tax                  CIT workbook - review and edit for BBC jurisdictions                                                     0.7     $650.00        $455.00
                                                                                                           Meeting to discuss ftx.com and ftx.us databases and data ingestion. EY attendees: C. Ancona, C.
Ancona,Christopher         CA            Senior         3/27/2023   Project Management Office Transition                                                                                                            0.2     $395.00        $79.00
                                                                                                           Tong, D. Bailey, B. Mistler, and T. Shea
                                                                                                           Meeting to discuss ftx.com and ftx.us databases and data ingestion. EY attendees: C. Ancona, C.
Bailey,Doug                DB       Partner/Principal   3/27/2023              Tax Advisory                                                                                                                         0.2     $825.00       $165.00
                                                                                                           Tong, D. Bailey, B. Mistler, and T. Shea
                                                                                                           Meeting to discuss ftx.com and ftx.us databases and data ingestion. EY attendees: C. Ancona, C.
Mistler,Brian M          BMM            Manager         3/27/2023             US Income Tax                                                                                                                         0.2     $525.00       $105.00
                                                                                                           Tong, D. Bailey, B. Mistler, and T. Shea
                                                                                                           Meeting to discuss ftx.com and ftx.us databases and data ingestion. EY attendees: C. Ancona, C.
Shea JR,Thomas M          TMS       Partner/Principal   3/27/2023             US Income Tax                                                                                                                         0.2     $825.00       $165.00
                                                                                                           Tong, D. Bailey, B. Mistler, and T. Shea
                                                                                                           Meeting to discuss ftx.com and ftx.us databases and data ingestion. EY attendees: C. Ancona, C.
Tong,Chia-Hui             CHT        Senior Manager     3/27/2023   Project Management Office Transition                                                                                                            0.2     $650.00       $130.00
                                                                                                           Tong, D. Bailey, B. Mistler, and T. Shea
Ancona,Christopher         CA            Senior         3/27/2023      Fee/Employment Applications         Meeting to discuss fee application process. EY attendees: C. Ancona and H. Choudary                      0.4     $395.00       $158.00
Choudary,Hira              HC             Staff         3/27/2023      Fee/Employment Applications         Meeting to discuss fee application process. EY attendees: C. Ancona and H. Choudary                      0.4     $225.00        $90.00
                                                                                                           Meeting to discuss Project Management Office deliverables. EY attendees: C. Ancona, T. Shea,
Ancona,Christopher         CA            Senior         3/27/2023   Project Management Office Transition                                                                                                            0.2     $395.00        $79.00
                                                                                                           and C. Tong
                                                                                                           Meeting to discuss Project Management Office deliverables. EY attendees: C. Ancona, T. Shea,
Shea JR,Thomas M          TMS       Partner/Principal   3/27/2023             US Income Tax                                                                                                                         0.2     $825.00       $165.00
                                                                                                           and C. Tong
                                                                                                           Meeting to discuss Project Management Office deliverables. EY attendees: C. Ancona, T. Shea,
Tong,Chia-Hui             CHT        Senior Manager     3/27/2023   Project Management Office Transition                                                                                                            0.2     $650.00       $130.00
                                                                                                           and C. Tong
                                                                                                           Meeting to discuss the review and revision of the country filing deadlines document. EY attendees:
Hammon,David Lane         DLH           Manager         3/27/2023               Non US Tax                                                                                                                          0.2     $525.00       $105.00
                                                                                                           D. Hammon and J. Klauber
                                                                                                           Meeting to discuss the review and revision of the country filing deadlines document. EY attendees:
Klauber,Jaime              JK            Senior         3/27/2023   Project Management Office Transition                                                                                                            0.2     $395.00        $79.00
                                                                                                           D. Hammon and J. Klauber
                                                                                                           Meeting with M. Cilia (FTX) to walk through approach for corporate income tax notices based on
Coffey,Mandy V.          MVC         Senior Manager     3/27/2023       Meetings with Management           level of complexity and a brief overview of the broad authorization letter. EY attendees: T. Shea, J.    0.5     $650.00       $325.00
                                                                                                           Scott, N. Flagg, M. Musano, M. Coffey, K. Gatt, K. Wrenn, and E. Hall
                                                                                                           Meeting with M. Cilia (FTX) to walk through approach for corporate income tax notices based on
Flagg,Nancy A.            NAF       Managing Director   3/27/2023       Meetings with Management           level of complexity and a brief overview of the broad authorization letter. EY attendees: T. Shea, J.    0.5     $775.00       $387.50
                                                                                                           Scott, N. Flagg, M. Musano, M. Coffey, K. Gatt, K. Wrenn, and E. Hall
                                                                                                           Meeting with M. Cilia (FTX) to walk through approach for corporate income tax notices based on
Gatt,Katie                 KG        Senior Manager     3/27/2023       Meetings with Management           level of complexity and a brief overview of the broad authorization letter. EY attendees: T. Shea, J.    0.5     $650.00       $325.00
                                                                                                           Scott, N. Flagg, M. Musano, M. Coffey, K. Gatt, K. Wrenn, and E. Hall
                                                                                                           Meeting with M. Cilia (FTX) to walk through approach for corporate income tax notices based on
Hall,Emily Melissa        EMH            Senior         3/27/2023       Meetings with Management           level of complexity and a brief overview of the broad authorization letter. EY attendees: T. Shea, J.    0.5     $395.00       $197.50
                                                                                                           Scott, N. Flagg, M. Musano, M. Coffey, K. Gatt, K. Wrenn, and E. Hall
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                                                          Date of
                  Name    Initials         Rank                               Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                          Service
                                                                                                            Meeting with M. Cilia (FTX) to walk through approach for corporate income tax notices based on
Musano,Matthew Albert     MAM         Senior Manager     3/27/2023       Meetings with Management           level of complexity and a brief overview of the broad authorization letter. EY attendees: T. Shea, J.    0.5     $650.00       $325.00
                                                                                                            Scott, N. Flagg, M. Musano, M. Coffey, K. Gatt, K. Wrenn, and E. Hall
                                                                                                            Meeting with M. Cilia (FTX) to walk through approach for corporate income tax notices based on
                                       Client Serving
Scott,James                 JS                           3/27/2023       Meetings with Management           level of complexity and a brief overview of the broad authorization letter. EY attendees: T. Shea, J.    0.5     $600.00       $300.00
                                       Contractor JS
                                                                                                            Scott, N. Flagg, M. Musano, M. Coffey, K. Gatt, K. Wrenn, and E. Hall
                                                                                                            Meeting with M. Cilia (FTX) to walk through approach for corporate income tax notices based on
Shea JR,Thomas M           TMS       Partner/Principal   3/27/2023       Meetings with Management           level of complexity and a brief overview of the broad authorization letter. EY attendees: T. Shea, J.    0.5     $825.00       $412.50
                                                                                                            Scott, N. Flagg, M. Musano, M. Coffey, K. Gatt, K. Wrenn, and E. Hall
                                                                                                            Meeting with M. Cilia (FTX) to walk through approach for corporate income tax notices based on
Wrenn,Kaitlin Doyle       KDW            Manager         3/27/2023       Meetings with Management           level of complexity and a brief overview of the broad authorization letter. EY attendees: T. Shea, J.    0.5     $525.00       $262.50
                                                                                                            Scott, N. Flagg, M. Musano, M. Coffey, K. Gatt, K. Wrenn, and E. Hall
                                                                                                            Internal call to walk through additional edits to corporate income/employment tax authorization
Gatt,Katie                  KG        Senior Manager     3/27/2023         US State and Local Tax                                                                                                                    0.2     $650.00       $130.00
                                                                                                            letter. EY attendees: N. Flagg, K. Gatt, K. Wrenn, and E. Hall
                                                                                                            Internal call to walk through additional edits to corporate income/employment tax authorization
Hall,Emily Melissa         EMH            Senior         3/27/2023         US State and Local Tax                                                                                                                    0.2     $395.00        $79.00
                                                                                                            letter. EY attendees: N. Flagg, K. Gatt, K. Wrenn, and E. Hall
                                                                                                            Internal call to walk through additional edits to corporate income/employment tax authorization
Wrenn,Kaitlin Doyle       KDW            Manager         3/27/2023               Payroll Tax                                                                                                                         0.2     $525.00       $105.00
                                                                                                            letter. EY attendees: N. Flagg, K. Gatt, K. Wrenn, and E. Hall
                                                                                                            Internal call to walk through additional edits to corporate income/employment tax authorization
Flagg,Nancy A.             NAF       Managing Director   3/27/2023         US State and Local Tax                                                                                                                    0.2     $775.00       $155.00
                                                                                                            letter. EY attendees: N. Flagg, K. Gatt, K. Wrenn, and E. Hall
                                                                                                            Daily working session to work on FTX data upload. EY attendees: K. Gundu, C. Velpuri, D. Jena,
Gundu,Kaivalya              KG        Senior Manager     3/27/2023               Technology                                                                                                                          0.6     $650.00       $390.00
                                                                                                            and C. Li
                                                                                                            Daily working session to work on FTX data upload. EY attendees: K. Gundu, C. Velpuri, D. Jena,
Jena,Deepak                 DJ           Manager         3/27/2023               Technology                                                                                                                          0.6     $525.00       $315.00
                                                                                                            and C. Li
                                                                                                            Daily working session to work on FTX data upload. EY attendees: K. Gundu, C. Velpuri, D. Jena,
Li,Chunyang                 CL            Senior         3/27/2023               Technology                                                                                                                          0.6     $395.00       $237.00
                                                                                                            and C. Li
                                                                                                            Daily working session to work on FTX data upload. EY attendees: K. Gundu, C. Velpuri, D. Jena,
Velpuri,Cury                CV             Staff         3/27/2023               Technology                                                                                                                          0.6     $225.00       $135.00
                                                                                                            and C. Li
                                                                                                            Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira               HC             Staff         3/27/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        1.0     $225.00       $225.00
                                                                                                            C. MacLean, and H. Choudary
                                                                                                            Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane          DLH           Manager         3/27/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        1.0     $525.00       $525.00
                                                                                                            C. MacLean, and H. Choudary
                                                                                                            Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie             CM             Senior         3/27/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        1.0     $395.00       $395.00
                                                                                                            C. MacLean, and H. Choudary
                                                                                                            Meeting with K. Jacobs (A&M) and B. Seeway (A&M) regarding amending international returns.
Bailey,Doug                 DB       Partner/Principal   3/27/2023      Meetings with Other Advisors                                                                                                                 1.0     $825.00       $825.00
                                                                                                            EY attendees: A. Karan, J. Berman, L. Lovelace, B. Mistler, D. Bailey, and T. Shea
                                                                                                            Meeting with K. Jacobs (A&M) and B. Seeway (A&M) regarding amending international returns.
Berman,Jake                 JB        Senior Manager     3/27/2023      Meetings with Other Advisors                                                                                                                 1.0     $650.00       $650.00
                                                                                                            EY attendees: A. Karan, J. Berman, L. Lovelace, B. Mistler, D. Bailey, and T. Shea
                                                                                                            Meeting with K. Jacobs (A&M) and B. Seeway (A&M) regarding amending international returns.
Karan,Anna Suncheuri       ASK             Staff         3/27/2023      Meetings with Other Advisors                                                                                                                 1.0     $225.00       $225.00
                                                                                                            EY attendees: A. Karan, J. Berman, L. Lovelace, B. Mistler, D. Bailey, and T. Shea
                                                                                                            Meeting with K. Jacobs (A&M) and B. Seeway (A&M) regarding amending international returns.
Mistler,Brian M           BMM            Manager         3/27/2023      Meetings with Other Advisors                                                                                                                 1.0     $525.00       $525.00
                                                                                                            EY attendees: A. Karan, J. Berman, L. Lovelace, B. Mistler, D. Bailey, and T. Shea
                                                                                                            Meeting with K. Jacobs (A&M) and B. Seeway (A&M) regarding amending international returns.
Lovelace,Lauren             LL       Partner/Principal   3/27/2023      Meetings with Other Advisors                                                                                                                 1.0     $825.00       $825.00
                                                                                                            EY attendees: A. Karan, J. Berman, L. Lovelace, B. Mistler, D. Bailey, and T. Shea
                                                                                                            Meeting with K. Jacobs (A&M) and B. Seeway (A&M) regarding amending international returns.
Shea JR,Thomas M           TMS       Partner/Principal   3/27/2023      Meetings with Other Advisors                                                                                                                 1.0     $825.00       $825.00
                                                                                                            EY attendees: A. Karan, J. Berman, L. Lovelace, B. Mistler, D. Bailey, and T. Shea
Berman,Jake                JB         Senior Manager     3/27/2023             US Income Tax                Meeting regarding preliminary IRS IDRs. EY attendees: T. Shea and B. Mistler                             0.5     $650.00        $325.00
Mistler,Brian M           BMM            Manager         3/27/2023             US Income Tax                Meeting regarding preliminary IRS IDRs. EY attendees: T. Shea and B. Mistler                             0.5     $525.00        $262.50
Di Stefano,Giulia         GDS             Senior         3/27/2023             Transfer Pricing             Discussion regarding trial balances. EY attendees: G. Di Stefano and O. Hall                             0.1     $395.00         $39.50
Hall,Olivia                OH              Staff         3/27/2023             Transfer Pricing             Discussion regarding trial balances. EY attendees: G. Di Stefano and O. Hall                             0.1     $225.00         $22.50
Ancona,Christopher         CA             Senior         3/27/2023   Project Management Office Transition   Revise the Project Management Office resource estimate                                                   1.2     $395.00        $474.00
Ancona,Christopher         CA             Senior         3/27/2023   Project Management Office Transition   Revise the FTX Project Management Office deliverables                                                    0.9     $395.00        $355.50
Ancona,Christopher         CA             Senior         3/27/2023   Project Management Office Transition   Revise agenda for meeting with FTX to discuss project status and open items                              0.8     $395.00        $316.00
Bailey,Doug                DB        Partner/Principal   3/27/2023              Tax Advisory                Analysis of prior period stock issuances for federal tax purposes                                        1.7     $825.00      $1,402.50
Bailey,Doug                DB        Partner/Principal   3/27/2023              Tax Advisory                Review FTT burn cryptocurrency data and analysis                                                         1.2     $825.00        $990.00
Bost,Anne                  BA        Managing Director   3/27/2023             Transfer Pricing             Review and respond to email correspondence                                                               1.2     $775.00        $930.00
Bouza,Victor               VB            Manager         3/27/2023               Non US Tax                 Review the February 2023 accounting close, reporting, BS, IS, and payroll reconciliation                 3.9     $525.00      $2,047.50
Camargos,Lorraine Silva   LSC             Senior         3/27/2023               Payroll Tax                Prepare PoA SS and tax in order to act in client's behalf in SS and Tax matters                          0.7     $395.00        $276.50
                                                                                                            Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.             CRC            Senior         3/27/2023               Payroll Tax                                                                                                                         2.2     $395.00       $869.00
                                                                                                            inquiries.
Choudary,Hira               HC            Staff          3/27/2023              Non US Tax                  Follow-up correspondence regarding status of UAE                                                         0.2     $225.00        $38.25
DeVincenzo,Jennie          JDV       Managing Director   3/27/2023              Payroll Tax                 Review IRS next steps and correspondence with IRS auditor                                                0.4     $775.00       $310.00
DeVincenzo,Jennie          JDV       Managing Director   3/27/2023              Payroll Tax                 Draft response to IRS on payroll tax reporting summary                                                   0.8     $775.00       $620.00
DeVincenzo,Jennie          JDV       Managing Director   3/27/2023              Payroll Tax                 Create summary matrix of IRS audit status                                                                1.2     $775.00       $930.00
Dulceak,Crystal             CD          Manager          3/27/2023         US State and Local Tax           Review draft ARs due 3/31-4/15.                                                                          1.9     $525.00       $997.50
Espley-Ault,Olivia         OEA        Senior Manager     3/27/2023               Non US Tax                 Review background data provided by US team to understand scope in preparation for kick off call.         1.1     $650.00       $715.00
Geisler,Arthur              AG             Staff         3/27/2023              Non US Tax                  Analyze Q1/2023 of the AP for FTX Europe AG and e-mails with Jürg a issue with VAT.                      1.9     $225.00       $427.50
Hall,Emily Melissa         EMH            Senior         3/27/2023         US State and Local Tax           Review Tax Year 2022 payroll to determine which localities had employee presence.                        0.6     $395.00       $237.00
Hall,Emily Melissa         EMH            Senior         3/27/2023         US State and Local Tax           Review Tennessee return for West Realm Shires Services Inc.                                              0.4     $395.00       $158.00
Hall,Emily Melissa         EMH            Senior         3/27/2023         US State and Local Tax           Review information for annual reports due 3/31 and 4/1.                                                  2.1     $395.00       $829.50
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                                                          Date of
                Name      Initials        Rank                                   Project Category                                                        Description of Services                                           Hours   Hourly Rate   Fees
                                                          Service
Hall,Olivia                 OH             Staff         3/27/2023                Transfer Pricing                 Review risk analysis for the allocation of post-bankruptcy expenses                                      1.1     $225.00       $247.50
Hammon,David Lane          DLH           Manager         3/27/2023                  Non US Tax                     Correspondence concerning the contract to engage the third-party service provider in Seychelles          1.1     $525.00       $577.50
Hammon,David Lane          DLH           Manager         3/27/2023                  Non US Tax                     Correspondence with EY member firms regarding engagement specifics                                       2.9     $525.00      $1,522.50
Hammon,David Lane          DLH           Manager         3/27/2023                  Non US Tax                     Review template to be used for executive summary updates during service delivery                         0.6     $525.00        $315.00
Hammon,David Lane          DLH           Manager         3/27/2023                  Non US Tax                     Revise various trackers concerning the foreign workstreams                                               1.9     $525.00        $997.50
                                                                                                                   Correspondence to kick off knowledge transfer in various foreign jurisdictions, including
Hammon,David Lane          DLH           Manager         3/27/2023                  Non US Tax                                                                                                                              1.7     $525.00       $892.50
                                                                                                                   confirmation of local FTX/third-party contacts
Jena,Deepak                 DJ           Manager         3/27/2023                  Technology                     Revise legal entity dashboard, Raptor integration, and TB Cleansed job failures                          2.4     $525.00      $1,260.00
Johnson,Derrick Joseph      DJJ            Staff         3/27/2023             US State and Local Tax              Revise the claims log to include a tab for each claim and provide additional details for each claim      2.6     $225.00       $585.00
Klauber,Jaime              JK             Senior         3/27/2023     Project Management Office Transition        Review and updating the Country Filing Deadline document                                                 2.0     $395.00       $790.00
Leston,Juan                JL        Partner/Principal   3/27/2023                 Non US Tax                      Review draft of FS 2022                                                                                  0.5     $825.00       $412.50
Li,Chunyang                CL             Senior         3/27/2023                 Technology                      Review business requirements for data configuration and source data mapping standards                    1.9     $395.00       $750.50
MacLean,Corrie             CM             Senior         3/27/2023                 Non US Tax                      Review foreign office due diligence and one off responses and revise tracking sheet                      2.2     $395.00       $869.00
                                         National
McComber,Donna             DM                            3/27/2023                Transfer Pricing                 Review loan agreements                                                                                   0.9     $990.00       $891.00
                                     Partner/Principal
Mistler,Brian M           BMM            Manager         3/27/2023   Non-Working Travel (billed at 50% of rates)   Travel from New York, NY to San Diego, CA                                                                3.5     $262.50        $918.75
Mistler,Brian M           BMM            Manager         3/27/2023               US Income Tax                     IRS IDR walkthrough                                                                                      0.8     $525.00        $420.00
Musano,Matthew Albert     MAM        Senior Manager      3/27/2023           US State and Local Tax                Prepare for call with FTX regarding the notice process                                                   2.1     $650.00      $1,365.00
Neziroski,David            DN           Associate        3/27/2023        Fee/Employment Applications              Continue confidentiality review for January entries                                                      3.8     $365.00      $1,387.00
Reece,William              WR            Manager         3/27/2023                 Non US Tax                      Review and analyze UK pensions for FTX Europe                                                            1.0     $525.00        $525.00
Richardson,Audrey Sarah   ASR            Manager         3/27/2023            Information Reporting                Review vendor and client requests population regarding updates to 1099s                                  2.6     $525.00      $1,365.00
                                      Client Serving
Scott,James                 JS                           3/27/2023                US Income Tax                    Review of federal tax filings and elections made to prepare for IRS exam                                 0.7     $600.00       $420.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/27/2023             US State and Local Tax              Review source data required to complete March 31 annual reports                                          0.4     $600.00       $240.00
                                      Contractor JS
                                                                                                                   Review and analyze the filing requirements for Good Luck Games FTX entities and assess the
Sethi,Navin                 NS       Partner/Principal   3/27/2023                US Income Tax                                                                                                                             1.1     $825.00       $907.50
                                                                                                                   potential for additional information needed
                                                                                                                   Written correspondence internally with EY information reporting team and D. Hariton (S&C) re:
Shea JR,Thomas M           TMS       Partner/Principal   3/27/2023                US Income Tax                                                                                                                             0.7     $825.00       $577.50
                                                                                                                   customer transaction data
                                                                                                                   Coordinate services for Germany, UK, Switzerland and Gibraltar, transmit March files for
Soderman,Kathy              KS       Managing Director   3/27/2023                  Non US Tax                                                                                                                              1.9     $775.00      $1,472.50
                                                                                                                   Gibraltar, and engagement setup in UK
                                                                                                                   Review information with the VAT Authorities regarding the VAT registration status of FTX Crypto
Themistou,Victoria          VT            Senior         3/27/2023               Value Added Tax                                                                                                                            1.4     $395.00       $553.00
                                                                                                                   Services Ltd, FTX EMEA Ltd and FTX EU Ltd and their VAT position entities
Tong,Chia-Hui              CHT        Senior Manager     3/27/2023     Project Management Office Transition        Review the open items on database file transfer provided by technology team                              0.4     $650.00       $260.00
Tong,Chia-Hui              CHT        Senior Manager     3/27/2023     Project Management Office Transition        Review the updated Project Management Office deliverables and upcoming due dates                         0.7     $650.00       $455.00
Tong,Chia-Hui              CHT        Senior Manager     3/27/2023     Project Management Office Transition        Prepare questions for fee application open items                                                         0.2     $650.00       $130.00
Tong,Chia-Hui              CHT        Senior Manager     3/27/2023     Project Management Office Transition        Follow-up with stakeholders on project deliverables in advance of internal call                          0.4     $650.00       $260.00
Tong,Chia-Hui              CHT        Senior Manager     3/27/2023     Project Management Office Transition        Coordinate meeting logistics with stakeholders                                                           1.1     $650.00       $715.00
Tong,Chia-Hui              CHT        Senior Manager     3/27/2023     Project Management Office Transition        Revise roles and responsibilities for central coordination                                               0.6     $650.00       $390.00
                                                                                                                   Prepare RFI for FTX Crypto Services Ltd, FTX EMEA Ltd and FTX EU Ltd entities for the
Tsikkouris,Anastasios       AT           Manager         3/27/2023                  Non US Tax                                                                                                                              0.9     $525.00       $472.50
                                                                                                                   purpose of the tax due diligence.
                                                                                                                   Review of open IRS items, recap email to respective payroll leads for Ledger Prime LLC and
Wrenn,Kaitlin Doyle       KDW            Manager         3/27/2023                  Payroll Tax                                                                                                                             2.4     $525.00      $1,260.00
                                                                                                                   Ledger Holdings
Wrenn,Kaitlin Doyle       KDW            Manager         3/27/2023                  Payroll Tax                    Prepare for upcoming meeting with FTX regarding open payroll tax items                                   0.8     $525.00       $420.00
                                                                                                                   Internal meeting to (a) deliberate on the option analysis considering the key findings (b) take stock
Goel,Utkarsh                UG           Manager         3/27/2023             Liquidation Activities              of available information & timelines and (c) discuss the presentation for internal discussion            1.5     $400.00       $600.00
                                                                                                                   covering the key findings. EY attendees: P. Gupta, S. Venkataraman, G. Jain, and U. Goel

                                                                                                                   Internal meeting to (a) deliberate on the option analysis considering the key findings (b) take stock
Gupta,Pulkit                PG       Partner/Principal   3/27/2023             Liquidation Activities              of available information & timelines and (c) discuss the presentation for internal discussion            1.5     $650.00       $975.00
                                                                                                                   covering the key findings. EY attendees: P. Gupta, S. Venkataraman, G. Jain, and U. Goel

                                                                                                                   Internal meeting to (a) deliberate on the option analysis considering the key findings (b) take stock
Jain,Gaurav                 GJ        Senior Manager     3/27/2023             Liquidation Activities              of available information & timelines and (c) discuss the presentation for internal discussion            1.5     $550.00       $825.00
                                                                                                                   covering the key findings. EY attendees: P. Gupta, S. Venkataraman, G. Jain, and U. Goel
                                                                                                                   Prepare update regarding liquidation processes and considerations for FTX Germany, Malta,
ORiain,Fionn               ORF           Manager         3/27/2023             Liquidation Activities                                                                                                                       1.1     $725.00       $797.50
                                                                                                                   Gibraltar and India
                                                                                                                   Call with S&C regarding liquidation approach and cessation of immediate requirements to facilitate
ORiain,Fionn               ORF           Manager         3/27/2023             Liquidation Activities                                                                                                                       1.8     $725.00      $1,305.00
                                                                                                                   further analysis on the Chapter 11 proceeding
                                                                                                                   Internal meeting to (a) deliberate on the option analysis considering the key findings (b) take stock
Venkataraman,Siddharth      SV           Manager         3/27/2023             Liquidation Activities              of available information & timelines and (c) discuss the presentation for internal discussion            1.5     $400.00       $600.00
                                                                                                                   covering the key findings. EY attendees: P. Gupta, S. Venkataraman, G. Jain, and U. Goel
                                                                                                                   Call with S&C re: liquidation planning. EY attendees: B. Richards, F. ORiain, K. Hutchison, and
Bugden,Nick R              NRB        Senior Manager     3/27/2023             Liquidation Activities                                                                                                                       0.4     $900.00       $360.00
                                                                                                                   N. Bugden
                                                                                                                   Call with S&C re: liquidation planning. EY attendees: B. Richards, F. ORiain, K. Hutchison, and
Richards,Briana A.          BR       Partner/Principal   3/27/2023             Liquidation Activities                                                                                                                       0.4     $1,150.00     $460.00
                                                                                                                   N. Bugden
                                                                                                                   Call with S&C re: liquidation planning. EY attendees: B. Richards, F. ORiain, K. Hutchison, and
Hutchison,Keiran            KH       Partner/Principal   3/27/2023             Liquidation Activities                                                                                                                       0.4     $850.00       $340.00
                                                                                                                   N. Bugden
Hutchison,Keiran            KH       Partner/Principal   3/27/2023             Liquidation Activities              Call to discuss next steps re liquidation hold. EY attendees: B. Richards and K. Hutchison               0.4      $850.00      $340.00
Richards,Briana A.          BR       Partner/Principal   3/27/2023             Liquidation Activities              Call to discuss next steps re liquidation hold. EY attendees: B. Richards and K. Hutchison               0.4     $1,150.00     $460.00
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Call with S&C re: liquidation planning. EY attendees: B. Richards, F. ORiain, K. Hutchison, and
ORiain,Fionn              ORF           Manager         3/27/2023          Liquidation Activities                                                                                                                0.4     $725.00       $290.00
                                                                                                           N. Bugden
Bugden,Nick R             NRB        Senior Manager     3/27/2023          Liquidation Activities          Discussion to review progress to-date for each liquidation candidate and prepare for call with S&C    1.4     $900.00      $1,260.00

Richards,Briana A.         BR       Partner/Principal   3/27/2023          Liquidation Activities          Discussion to review progress to-date for each liquidation candidate and prepare for call with S&C    0.3     $1,150.00     $345.00
Ancona,Christopher         CA            Senior         3/28/2023      Fee/Employment Applications         Meeting to discuss fee application process. EY attendees: C. Ancona and                               0.2     $395.00        $79.00
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                DB       Partner/Principal   3/28/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $825.00       $495.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                JB        Senior Manager     3/28/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $650.00       $390.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                     Client Serving
Bieganski,Walter          WB                            3/28/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $200.00       $120.00
                                     Contractor WB
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   3/28/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $775.00       $465.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Cavusoglu,Coskun           CC       Partner/Principal   3/28/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $825.00       $495.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ellenson,Cory              CE        Senior Manager     3/28/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $650.00       $390.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne                AF       Partner/Principal   3/28/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $825.00       $495.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya             KG        Senior Manager     3/28/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $650.00       $390.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                  ZH        Senior Manager     3/28/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $650.00       $390.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa        EMH            Senior         3/28/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $395.00       $237.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane         DLH           Manager         3/28/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $525.00       $315.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John                 JH        Senior Manager     3/28/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $650.00       $390.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         3/28/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $525.00       $315.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.        TJK       Partner/Principal   3/28/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $825.00       $495.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren            LL       Partner/Principal   3/28/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $825.00       $495.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
Lowery,Kristie L          KLL                           3/28/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $990.00       $594.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         3/28/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $395.00       $237.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
McComber,Donna            DM                            3/28/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $990.00       $594.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         3/28/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $525.00       $315.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           3/28/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $600.00       $360.00
                                      Contractor JS
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M          TMS       Partner/Principal   3/28/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $825.00       $495.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga         KS           Manager         3/28/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.6     $525.00       $315.00
                                                                                                           the implementation of global compliance and reporting services
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     3/28/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.6     $650.00       $390.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle      KDW            Manager         3/28/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.6     $525.00       $315.00
                                                                                                           the implementation of global compliance and reporting services
Ancona,Christopher         CA            Senior         3/28/2023      Fee/Employment Applications         Meeting to discuss January fee application. EY attendees: C. Ancona and D. Neziroski                   0.2     $395.00        $79.00
Neziroski,David            DN           Associate       3/28/2023      Fee/Employment Applications         Meeting to discuss January fee application. EY attendees: C. Ancona and D. Neziroski                   0.2     $365.00        $73.00
                                                                                                           Bi-weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher         CA            Senior         3/28/2023   Project Management Office Transition                                                                                                          0.3     $395.00       $118.50
                                                                                                           attendees: C. Ancona and C. Tong
                                                                                                           Bi-weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui             CHT        Senior Manager     3/28/2023   Project Management Office Transition                                                                                                          0.3     $650.00       $195.00
                                                                                                           attendees: C. Ancona and C. Tong
                                                                                                           Bi-weekly meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and
Ancona,Christopher         CA            Senior         3/28/2023       Meetings with Management           action items. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Lowery, and J.       0.6     $395.00       $237.00
                                                                                                           Berman
                                                                                                           Bi-weekly meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and
Berman,Jake                JB        Senior Manager     3/28/2023       Meetings with Management           action items. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Lowery, and J.       0.6     $650.00       $390.00
                                                                                                           Berman
                                                                                                           Bi-weekly meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and
                                        National
Lowery,Kristie L          KLL                           3/28/2023       Meetings with Management           action items. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Lowery, and J.       0.6     $990.00       $594.00
                                    Partner/Principal
                                                                                                           Berman
                                                                                                           Bi-weekly meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and
Mistler,Brian M          BMM            Manager         3/28/2023       Meetings with Management           action items. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Lowery, and J.       0.6     $525.00       $315.00
                                                                                                           Berman
                                                                                                           Bi-weekly meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and
                                      Client Serving
Scott,James                JS                           3/28/2023       Meetings with Management           action items. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Lowery, and J.       0.6     $600.00       $360.00
                                      Contractor JS
                                                                                                           Berman
                                                                                                           Bi-weekly meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and
Shea JR,Thomas M          TMS       Partner/Principal   3/28/2023       Meetings with Management           action items. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Lowery, and J.       0.6     $825.00       $495.00
                                                                                                           Berman
                                                                                                           Bi-weekly meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and
Tong,Chia-Hui             CHT        Senior Manager     3/28/2023       Meetings with Management           action items. EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Lowery, and J.       0.6     $650.00       $390.00
                                                                                                           Berman
                                                                                                           Meeting to discuss engagement setup and economics. EY attendees: C. Ancona, C. Tong, and D.
Ancona,Christopher         CA            Senior         3/28/2023   Project Management Office Transition                                                                                                          0.4     $395.00       $158.00
                                                                                                           Neziroski
                                                                                                           Meeting to discuss engagement setup and economics. EY attendees: C. Ancona, C. Tong, and D.
Tong,Chia-Hui             CHT        Senior Manager     3/28/2023   Project Management Office Transition                                                                                                          0.4     $650.00       $260.00
                                                                                                           Neziroski
                                                                                                           Internal discussion to review facts and discuss locality tax calculations and nexus considerations.
Golkar,Ladan               LG        Senior Manager     3/28/2023         US State and Local Tax                                                                                                                  0.4     $650.00       $260.00
                                                                                                           EY attendees: L. Golkar, E. Zheng, and E. Hall
                                                                                                           Internal discussion to review facts and discuss locality tax calculations and nexus considerations.
Hall,Emily Melissa        EMH            Senior         3/28/2023         US State and Local Tax                                                                                                                  0.4     $395.00       $158.00
                                                                                                           EY attendees: L. Golkar, E. Zheng, and E. Hall
                                                                                                           Internal discussion to review facts and discuss locality tax calculations and nexus considerations.
Zheng,Eva                  EZ           Manager         3/28/2023         US State and Local Tax                                                                                                                  0.4     $525.00       $210.00
                                                                                                           EY attendees: L. Golkar, E. Zheng, and E. Hall
                                                                                                           Meeting to discuss IRS requested outline of entities, payroll Professional Employer Organization
DeVincenzo,Jennie         JDV       Managing Director   3/28/2023               Payroll Tax                (PEO) and the Alameda entities issue response to be prepared for IRS examiner. EY attendees: J.        1.2     $775.00       $930.00
                                                                                                           DeVincenzo and K. Wrenn
                                                                                                           Meeting to discuss IRS requested outline of entities, payroll Professional Employer Organization
Wrenn,Kaitlin Doyle      KDW            Manager         3/28/2023               Payroll Tax                (PEO) and the Alameda entities issue response to be prepared for IRS examiner. EY attendees: J.        1.2     $525.00       $630.00
                                                                                                           DeVincenzo and K. Wrenn
Jena,Deepak                DJ           Manager         3/28/2023               Technology                 Daily working session to upload FTX data. EY attendees: C. Li, C. Velpuri, and D. Jena                 1.2     $525.00       $630.00
Li,Chunyang                CL            Senior         3/28/2023               Technology                 Daily working session to upload FTX data. EY attendees: C. Li, C. Velpuri, and D. Jena                 1.2     $395.00       $474.00
Velpuri,Cury               CV             Staff         3/28/2023               Technology                 Daily working session to upload FTX data. EY attendees: C. Li, C. Velpuri, and D. Jena                 1.2     $225.00       $270.00
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/28/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.5     $225.00       $112.50
                                                                                                           C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/28/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.5     $525.00       $262.50
                                                                                                           C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/28/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,      0.5     $395.00       $197.50
                                                                                                           C. MacLean, and H. Choudary
                                                                                                           Meeting to discuss status of BRIDGE for third party contracting. EY attendees: D. Hammon and C.
Hammon,David Lane         DLH           Manager         3/28/2023               Non US Tax                                                                                                                        0.3     $525.00       $157.50
                                                                                                           MacLean
                                                                                                           Meeting to discuss status of BRIDGE for third party contracting. EY attendees: D. Hammon and C.
MacLean,Corrie            CM             Senior         3/28/2023               Non US Tax                                                                                                                        0.3     $395.00       $118.50
                                                                                                           MacLean
                                                                                                           Meeting to discuss payroll tracking and monitoring on FTX engagement. EY attendees: D.
Choudary,Hira              HC             Staff         3/28/2023               Non US Tax                                                                                                                        0.3     $225.00        $67.50
                                                                                                           Hammon, C. MacLean, H. Choudary, and K. Soderman
                                                                                                           Meeting to discuss payroll tracking and monitoring on FTX engagement. EY attendees: D.
Hammon,David Lane         DLH           Manager         3/28/2023               Non US Tax                                                                                                                        0.3     $525.00       $157.50
                                                                                                           Hammon, C. MacLean, H. Choudary, and K. Soderman
                                                                                                           Meeting to discuss payroll tracking and monitoring on FTX engagement. EY attendees: D.
MacLean,Corrie            CM             Senior         3/28/2023               Non US Tax                                                                                                                        0.3     $395.00       $118.50
                                                                                                           Hammon, C. MacLean, H. Choudary, and K. Soderman
Colantuoni,Francesca      FC         Senior Manager     3/28/2023             Transfer Pricing             Meeting regarding Transfer Pricing related to Alameda silo FTX entity                                  1.0     $650.00       $650.00
Katsnelson,David          DK            Manager         3/28/2023             Transfer Pricing             Meeting regarding Transfer Pricing related to Alameda silo FTX entity                                  1.0     $525.00       $525.00
Marie,Hameed              HM             Senior         3/28/2023             Transfer Pricing             Meeting regarding Transfer Pricing related to Alameda silo FTX entity                                  1.0     $395.00       $395.00
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                                                          Date of
                  Name    Initials        Rank                                Project Category                                                     Description of Services                                      Hours   Hourly Rate   Fees
                                                          Service
                                                                                                            Revise the Project Management Office status tracker and following-up on action items including
Ancona,Christopher          CA            Senior         3/28/2023   Project Management Office Transition                                                                                                        2.1     $395.00       $829.50
                                                                                                            reaching out to workstream leads
                                                                                                            Revise the agenda and correspond with workstream leads in preparation for meeting with FTX
Ancona,Christopher          CA            Senior         3/28/2023   Project Management Office Transition                                                                                                        1.1     $395.00       $434.50
                                                                                                            regarding project status and open items
Ancona,Christopher          CA             Senior        3/28/2023   Project Management Office Transition   Review and revise the Project Management Office status tracker                                       0.4     $395.00       $158.00
Ancona,Christopher          CA             Senior        3/28/2023   Project Management Office Transition   Revise the Project Management Office slide deck for internal call with workstream                    0.7     $395.00       $276.50
Ancona,Christopher          CA             Senior        3/28/2023   Project Management Office Transition   Review updates to the Project Management Office resource estimate                                    0.4     $395.00       $158.00
Bailey,Doug                 DB       Partner/Principal   3/28/2023               Tax Advisory               Correspondence regarding movements and valuation considerations                                      0.6     $825.00       $495.00
Bailey,Doug                 DB       Partner/Principal   3/28/2023               Tax Advisory               Review feedback for crypto holdings strategy                                                         0.4     $825.00       $330.00
Benjamin,Uri                UB        Senior Manager     3/28/2023           Information Reporting          Review IRW data for statements to clients and discuss tables/structure                               1.1     $650.00       $715.00
                                       Client Serving
Bieganski,Walter           WB                            3/28/2023         US State and Local Tax           Review state tax compliance developments in light of new facts regarding Alameda federal filings     0.3     $200.00        $60.00
                                      Contractor WB
                                       Client Serving                                                       Analyze Montana guidance regarding which entities should be included in worldwide combined tax
Bieganski,Walter           WB                            3/28/2023         US State and Local Tax                                                                                                                0.3     $200.00        $60.00
                                      Contractor WB                                                         return
Bost,Anne                  BA        Managing Director   3/28/2023             Transfer Pricing             Research certain historical treatment of expenses                                                    1.9     $775.00      $1,472.50
Camargos,Lorraine Silva    LSC             Senior        3/28/2023               Payroll Tax                Correspondence regarding GE Payroll coordination with local EY Team                                  0.6     $395.00        $237.00
Carreras,Stephen            C             Manager        3/28/2023              Non US Tax                  Review the tax & SI calc plus remittance generation for tax payment for February 2023                0.6     $525.00        $315.00
                                                                                                            Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.             CRC            Senior         3/28/2023               Payroll Tax                                                                                                                     2.4     $395.00       $948.00
                                                                                                            inquiries.
Choudary,Hira               HC             Staff         3/28/2023              Non US Tax                  Prepare revisions to resource estimate for PMO in ACE Solution template                              1.6     $225.00        $360.00
Choudary,Hira               HC             Staff         3/28/2023              Non US Tax                  Revise March reconciliation file                                                                     0.9     $225.00        $202.50
Colantuoni,Francesca        FC        Senior Manager     3/28/2023            Transfer Pricing              Correspondence regarding conversations on collateral lending                                         0.2     $650.00        $130.00
DeVincenzo,Jennie          JDV       Managing Director   3/28/2023              Payroll Tax                 Create summary matrix of IRS audit status                                                            0.9     $775.00        $697.50
DeVincenzo,Jennie          JDV       Managing Director   3/28/2023              Payroll Tax                 Review response to IRS auditor regarding payroll tax reporting summary                               0.6     $775.00        $465.00
DeVincenzo,Jennie          JDV       Managing Director   3/28/2023              Payroll Tax                 Review documents and drafting response to auditor regarding Alameda FTX entities                     2.3     $775.00      $1,782.50
Di Stefano,Giulia          GDS            Senior         3/28/2023            Transfer Pricing              Analyze trial balances to reconciliate with available intercompany agreements                        3.1     $395.00      $1,224.50
Dulceak,Crystal             CD           Manager         3/28/2023         US State and Local Tax           Review corporate information docs                                                                    0.4     $525.00        $210.00
Dulceak,Crystal             CD           Manager         3/28/2023         US State and Local Tax           Review draft ARs due 3/31-4/15.                                                                      2.4     $525.00      $1,260.00
Dulceak,Crystal             CD           Manager         3/28/2023         US State and Local Tax           Prepare and send funding batch for 3/31-4/15 ARs.                                                    1.9     $525.00        $997.50
Golkar,Ladan                LG        Senior Manager     3/28/2023         US State and Local Tax           Locality tax research and review of calculations workbook                                            0.6     $650.00        $390.00
                                                                                                            Review of locality municipal code and rulings for registration and filing obligations as well as
Golkar,Ladan                LG        Senior Manager     3/28/2023         US State and Local Tax                                                                                                                0.7     $650.00       $455.00
                                                                                                            research for apportionment rules.
Golkar,Ladan                LG        Senior Manager     3/28/2023         US State and Local Tax           Draft summary of research findings                                                                   0.4     $650.00       $260.00
Golkar,Ladan                LG        Senior Manager     3/28/2023         US State and Local Tax           Conduct further research into "nexus" definition                                                     0.6     $650.00       $390.00
Gundu,Kaivalya              KG        Senior Manager     3/28/2023              Technology                  Discussions regarding the Technology Strategy & Architecture workstream                              0.3     $650.00       $195.00
Haas,Zach                   ZH        Senior Manager     3/28/2023            US Income Tax                 Good Luck GamesFTX entity Document Request and analysis                                              0.2     $650.00       $130.00
Hall,Emily Melissa         EMH            Senior         3/28/2023         US State and Local Tax           Finalize broad notice authorization and send to FTX for execution.                                   0.3     $395.00       $118.50
Hall,Emily Melissa         EMH            Senior         3/28/2023         US State and Local Tax           Draft documentation for state and local super combined unitary determination                         1.2     $395.00       $474.00
Hall,Emily Melissa         EMH            Senior         3/28/2023         US State and Local Tax           Review information for annual reports due 3/31 and 4/1.                                              1.1     $395.00       $434.50
Hall,Emily Melissa         EMH            Senior         3/28/2023         US State and Local Tax           Draft email correspondence to S&C requesting additional information for annual report purposes.      0.2     $395.00        $79.00
Hall,Olivia                OH             Staff          3/28/2023             Transfer Pricing             Reconcile trial balances with intercompany agreements                                                1.9     $225.00        $427.50
Hammon,David Lane          DLH           Manager         3/28/2023              Non US Tax                  Review and revise CIT compliance calendar for all in-scope jurisdictions                             3.9     $525.00      $2,047.50
                                                                                                            Correspondence concerning the 30-day exception approval for the FY21 German financial
Hammon,David Lane          DLH           Manager         3/28/2023               Non US Tax                                                                                                                      0.3     $525.00       $157.50
                                                                                                            statements
                                                                                                            Correspondence requesting updates and providing next steps for knowledge transfer for the foreign
Hammon,David Lane          DLH           Manager         3/28/2023               Non US Tax                                                                                                                      1.3     $525.00       $682.50
                                                                                                            workstreams
                                                                                                            Correspondence concerning outstanding local FTX/legacy provider contacts required for EY
Hammon,David Lane          DLH           Manager         3/28/2023               Non US Tax                                                                                                                      0.8     $525.00       $420.00
                                                                                                            member firms
Hammon,David Lane          DLH           Manager         3/28/2023              Non US Tax                  Correspondence concerning on-call support in Gibraltar and Germany                                   0.4     $525.00       $210.00
Hammon,David Lane          DLH           Manager         3/28/2023              Non US Tax                  Leadership update regarding upcoming CIT deadlines                                                   0.4     $525.00       $210.00
Hammon,David Lane          DLH           Manager         3/28/2023              Non US Tax                  Revise various trackers concerning the foreign workstreams                                           1.6     $525.00       $840.00
Huang,Vanesa               VH             Staff          3/28/2023         US State and Local Tax           Amend Annual Reports following internal review                                                       3.2     $225.00       $720.00
Huang,Vanesa               VH             Staff          3/28/2023         US State and Local Tax           Review Annual Reports and provide comments                                                           3.1     $225.00       $697.50
                                                                                                            Revise the Annual Report Tracker
Huang,Vanesa                VH             Staff         3/28/2023         US State and Local Tax                                                                                                                0.3     $225.00        $67.50
Huang,Vanesa               VH              Staff         3/28/2023         US State and Local Tax           Prepare amendments as needed before sending Reports to manager review                                3.7     $225.00       $832.50
Jena,Deepak                 DJ           Manager         3/28/2023              Technology                  Revise legal entity dashboard, Raptor integration, and TB Cleansed job failures                      1.4     $525.00       $735.00
Karan,Anna Suncheuri       ASK             Staff         3/28/2023             Tax Advisory                 Prepare for upcoming Leads call                                                                      0.4     $225.00        $90.00
Karan,Anna Suncheuri       ASK             Staff         3/28/2023             Tax Advisory                 Prepare summary notes of meetings                                                                    0.7     $225.00       $157.50
Li,Chunyang                 CL            Senior         3/28/2023              Technology                  Prepare summary mapping TB to LE and configure TB files                                              2.3     $395.00       $908.50
MacLean,Corrie             CM             Senior         3/28/2023               Non US Tax                 Review of historical documents received and follow-up with foreign office due diligence items        1.8     $395.00       $711.00
Magner,Andrew Michael     AMM             Senior         3/28/2023         US State and Local Tax           Conduct locality tax research to determine how tax is imposed and how nexus is defined.              1.4     $395.00       $553.00
                                         National
McComber,Donna             DM                            3/28/2023             Transfer Pricing             Prepare draft of the functional profile matrix                                                       0.9     $990.00       $891.00
                                     Partner/Principal
Mistler,Brian M           BMM            Manager         3/28/2023             US Income Tax                Review of transaction data for tax return reporting                                                  1.2     $525.00        $630.00
Mistler,Brian M           BMM            Manager         3/28/2023             US Income Tax                Research and correspondence for Digital Custody FTX entity                                           0.9     $525.00        $472.50
Neziroski,David            DN           Associate        3/28/2023      Fee/Employment Applications         Continue confidentiality review for January entries                                                  3.8     $365.00      $1,387.00
Nichol,T.J.                TJN       Senior Manager      3/28/2023          Information Reporting           Meeting with N. Molina (FTX) to discuss transaction data                                             1.6     $650.00      $1,040.00
Pavlou,Pantelis             PP           Manager         3/28/2023          Information Reporting           Review of additional documents provided and internal calls for the bookkeeping of Innovatia          2.2     $525.00      $1,155.00
Richardson,Audrey Sarah    ASR           Manager         3/28/2023          Information Reporting           Identify required changes to 1099s based on request                                                  1.9     $525.00        $997.50
Richardson,Audrey Sarah    ASR           Manager         3/28/2023          Information Reporting           Generate updated 1099 reporting templates                                                            2.1     $525.00      $1,102.50
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                                                          Date of
                Name      Initials        Rank                                 Project Category                                                     Description of Services                                      Hours   Hourly Rate   Fees
                                                          Service
Richardson,Audrey Sarah    ASR           Manager         3/28/2023            Information Reporting           Validate reporting templates ahead of form generation                                               1.9     $525.00       $997.50
Rüegg,Christoph            CR             Senior         3/28/2023                 Non US Tax                 Coordinate with QRM leader CH regarding the Declaration of disinterestedness                        1.7     $395.00       $671.50
Rüegg,Christoph            CR             Senior         3/28/2023                 Non US Tax                 Coordinate with GCO leader CH regarding the Declaration of disinterestedness                        1.7     $395.00       $671.50
                                      Client Serving
Scott,James                 JS                           3/28/2023               US Income Tax                Review of PMO slide deck provide update for crypto activity to federal tax team                     0.4     $600.00       $240.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/28/2023               US Income Tax                Analyze historic and current crypto transaction detail for federal and state tax purposes           0.7     $600.00       $420.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/28/2023               US Income Tax                Analyze federal tax filings and elections for IRS examination implications                          0.9     $600.00       $540.00
                                      Contractor JS
Shea JR,Thomas M           TMS       Partner/Principal   3/28/2023               US Income Tax                Written correspondence with EY internal and A&M teams as follow-ups from PMO meeting                1.3     $825.00      $1,072.50
Shea JR,Thomas M           TMS       Partner/Principal   3/28/2023               US Income Tax                Prep for meeting with FTX Chief Financial Officer and Chief Administrative Officer                  0.4     $825.00        $330.00
                                                                                                              Meeting to discuss payroll tracking and monitoring on FTX engagement. EY attendees: D.
Soderman,Kathy              KS       Managing Director   3/28/2023                Non US Tax                                                                                                                      0.3     $775.00       $232.50
                                                                                                              Hammon, C. MacLean, H. Choudary, and K. Soderman
Soderman,Kathy              KS       Managing Director   3/28/2023                Non US Tax                  Review payroll questions related to Switzerland regarding employee legal entity work arrangement    0.3     $775.00       $232.50
Stillman,Will               WS             Staff         3/28/2023           US State and Local Tax           Review FTX WA POA's                                                                                 1.1     $225.00       $247.50
                                                                                                              Prepare West Realm Shires, Inc. TY2021 Tennessee return after received a notice from Tennessee
Sun,Yuchen                  YS            Senior         3/28/2023           US State and Local Tax                                                                                                               1.8     $395.00       $711.00
                                                                                                              Department of Revenue, stating there was a balance due.
Tong,Chia-Hui              CHT        Senior Manager     3/28/2023    Project Management Office Transition    Prepare agenda for internal workstream leads call                                                   0.8     $650.00       $520.00
Tong,Chia-Hui              CHT        Senior Manager     3/28/2023    Project Management Office Transition    Prepare agenda for call with FTX leadership                                                         0.8     $650.00       $520.00
Tong,Chia-Hui              CHT        Senior Manager     3/28/2023    Project Management Office Transition    Review engagement economics and engagement setup next steps                                         1.2     $650.00       $780.00
Tong,Chia-Hui              CHT        Senior Manager     3/28/2023    Project Management Office Transition    Document next steps following call with FTX leadership                                              0.3     $650.00       $195.00
Tsikkouris,Anastasios      AT            Manager         3/28/2023                Non US Tax                  Correspondence regarding the RFI for the purpose of the tax due diligence                           0.1     $525.00        $52.50
Tyllirou,Christiana         CT           Manager         3/28/2023            Information Reporting           Review of additional documents provided and internal calls for the bookkeeping of Innovatia         2.2     $525.00      $1,155.00
Wrenn,Kaitlin Doyle       KDW            Manager         3/28/2023                  Payroll Tax               Prepare summary of state reconciliation and outline of open items                                   1.8     $525.00       $945.00
Wrenn,Kaitlin Doyle       KDW            Manager         3/28/2023                  Payroll Tax               Finalize 1099 intake documentation and response delivery as approved by S&C                         1.2     $525.00       $630.00
Zheng,Eva                  EZ            Manager         3/28/2023            US State and Local Tax          Prepare workpapers and review research of WA B&O                                                    0.7     $525.00       $367.50
Cadisch,Michael            MC        Managing Director   3/28/2023             Liquidation Activities         Call regarding fee reporting and status quo. EY attendees: M. Cadisch and S. Nertz                  0.3     $775.00       $232.50
Nertz,Salome               SN           Consultant       3/28/2023             Liquidation Activities         Call regarding fee reporting and status quo. EY attendees: M. Cadisch and S. Nertz                  0.3     $395.00       $118.50
Venkataraman,Siddharth     SV            Manager         3/28/2023             Liquidation Activities         Finalize the presentation for internal discussion                                                   2.1     $400.00       $840.00
Bugden,Nick R             NRB         Senior Manager     3/28/2023   Chapter 11 Process and Case Management   Team coordination call across EY services                                                           0.5     $900.00       $450.00
                                                                                                              Meeting to discuss central coordination with foreign teams. EY attendees: C. Ancona, D. Hammon,
Ancona,Christopher          CA            Senior         3/29/2023    Project Management Office Transition                                                                                                        0.4     $395.00       $158.00
                                                                                                              and C. Tong
                                                                                                              Meeting to discuss central coordination with foreign teams. EY attendees: C. Ancona, D. Hammon,
Hammon,David Lane          DLH           Manager         3/29/2023                Non US Tax                                                                                                                      0.4     $525.00       $210.00
                                                                                                              and C. Tong
                                                                                                              Meeting to discuss central coordination with foreign teams. EY attendees: C. Ancona, D. Hammon,
Tong,Chia-Hui              CHT        Senior Manager     3/29/2023    Project Management Office Transition                                                                                                        0.4     $650.00       $260.00
                                                                                                              and C. Tong
                                                                                                              Weekly Meeting to review workstream project status, discuss progress on deliverables, risks,
Ancona,Christopher          CA            Senior         3/29/2023    Project Management Office Transition    identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, K.        0.5     $395.00       $197.50
                                                                                                              Gundu, and C. Cavusoglu
                                                                                                              Weekly Meeting to review workstream project status, discuss progress on deliverables, risks,
Cavusoglu,Coskun            CC       Partner/Principal   3/29/2023                Technology                  identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, K.        0.5     $825.00       $412.50
                                                                                                              Gundu, and C. Cavusoglu
                                                                                                              Weekly Meeting to review workstream project status, discuss progress on deliverables, risks,
Farrar,Anne                 AF       Partner/Principal   3/29/2023    Project Management Office Transition    identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, K.        0.5     $825.00       $412.50
                                                                                                              Gundu, and C. Cavusoglu
                                                                                                              Weekly Meeting to review workstream project status, discuss progress on deliverables, risks,
Gundu,Kaivalya              KG        Senior Manager     3/29/2023                Technology                  identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, K.        0.5     $650.00       $325.00
                                                                                                              Gundu, and C. Cavusoglu
                                                                                                              Weekly Meeting to review workstream project status, discuss progress on deliverables, risks,
Tong,Chia-Hui              CHT        Senior Manager     3/29/2023    Project Management Office Transition    identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, K.        0.5     $650.00       $325.00
                                                                                                              Gundu, and C. Cavusoglu
Ellenson,Cory               CE       Senior Manager      3/29/2023              IRS Audit Matters             Weekly IRS status meeting. EY attendees: C. Ellenson and T. Ferris                                  0.8     $650.00       $520.00
Ferris,Tara                 TF       Partner/Principal   3/29/2023            Information Reporting           Weekly IRS status meeting. EY attendees: C. Ellenson and T. Ferris                                  0.8     $825.00       $660.00
                                                                                                              Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Ancona,Christopher          CA            Senior         3/29/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,     0.2     $395.00        $79.00
                                                                                                              L. Lovelace, J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                              Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Bailey,Doug                 DB       Partner/Principal   3/29/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,     0.2     $825.00       $165.00
                                                                                                              L. Lovelace, J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                              Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Berman,Jake                 JB        Senior Manager     3/29/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,     0.2     $650.00       $130.00
                                                                                                              L. Lovelace, J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                              Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Bost,Anne                   BA       Managing Director   3/29/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,     0.2     $775.00       $155.00
                                                                                                              L. Lovelace, J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                              Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Hammon,David Lane          DLH           Manager         3/29/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,     0.2     $525.00       $105.00
                                                                                                              L. Lovelace, J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                              Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Lovelace,Lauren             LL       Partner/Principal   3/29/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,     0.2     $825.00       $165.00
                                                                                                              L. Lovelace, J. Berman, D. Bailey, J. Scott, and A. Bost
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                   Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
MacLean,Corrie            CM             Senior         3/29/2023       Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,         0.2     $395.00        $79.00
                                                                                                           L. Lovelace, J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Mistler,Brian M          BMM            Manager         3/29/2023       Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,         0.2     $525.00       $105.00
                                                                                                           L. Lovelace, J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
                                      Client Serving
Scott,James                JS                           3/29/2023       Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,         0.2     $600.00       $120.00
                                      Contractor JS
                                                                                                           L. Lovelace, J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                           Meeting to discuss Project Management Office deliverables related to the FTX workstream
Ancona,Christopher         CA            Senior         3/29/2023   Project Management Office Transition                                                                                                           0.5     $395.00       $197.50
                                                                                                           resource estimates. EY attendees: C. Ancona and C. Tong
                                                                                                           Meeting to discuss Project Management Office deliverables related to the FTX workstream
Tong,Chia-Hui             CHT        Senior Manager     3/29/2023   Project Management Office Transition                                                                                                           0.5     $650.00       $325.00
                                                                                                           resource estimates. EY attendees: C. Ancona and C. Tong
                                                                                                           Meeting to discuss coordinating FTX fee application process with EY foreign member firms. EY
Ancona,Christopher         CA            Senior         3/29/2023      Fee/Employment Applications                                                                                                                 0.4     $395.00       $158.00
                                                                                                           attendees: C. Ancona and A. Tsikkouris
                                                                                                           Meeting to discuss coordinating FTX fee application process with EY foreign member firms. EY
Tsikkouris,Anastasios      AT           Manager         3/29/2023      Fee/Employment Applications                                                                                                                 0.4     $525.00       $210.00
                                                                                                           attendees: C. Ancona and A. Tsikkouris
                                                                                                           Internal meeting to discuss agenda for the meeting with FTX representatives and post-bankruptcy
Di Stefano,Giulia         GDS            Senior         3/29/2023             Transfer Pricing             expenses allocation methodologies analyzed so far, from TP and VAT perspective. EY attendees:           1.0     $395.00       $395.00
                                                                                                           G. Di Stefano, D. McComber, O. Hall, T. Shea, C. Tong, and K. Madhok

                                                                                                           Internal meeting to discuss agenda for the meeting with FTX representatives and post-bankruptcy
Hall,Olivia                OH             Staff         3/29/2023             Transfer Pricing             expenses allocation methodologies analyzed so far, from TP and VAT perspective. EY attendees:           1.0     $225.00       $225.00
                                                                                                           G. Di Stefano, D. McComber, O. Hall, T. Shea, C. Tong, and K. Madhok

                                                                                                           Internal meeting to discuss agenda for the meeting with FTX representatives and post-bankruptcy
Madhok,Kishan             KM         Senior Manager     3/29/2023             Transfer Pricing             expenses allocation methodologies analyzed so far, from TP and VAT perspective. EY attendees:           1.0     $650.00       $650.00
                                                                                                           G. Di Stefano, D. McComber, O. Hall, T. Shea, C. Tong, and K. Madhok

                                                                                                           Internal meeting to discuss agenda for the meeting with FTX representatives and post-bankruptcy
                                        National
McComber,Donna            DM                            3/29/2023             Transfer Pricing             expenses allocation methodologies analyzed so far, from TP and VAT perspective. EY attendees:           1.0     $990.00       $990.00
                                    Partner/Principal
                                                                                                           G. Di Stefano, D. McComber, O. Hall, T. Shea, C. Tong, and K. Madhok

                                                                                                           Internal meeting to discuss agenda for the meeting with FTX representatives and post-bankruptcy
Shea JR,Thomas M          TMS       Partner/Principal   3/29/2023             US Income Tax                expenses allocation methodologies analyzed so far, from TP and VAT perspective. EY attendees:           1.0     $825.00       $825.00
                                                                                                           G. Di Stefano, D. McComber, O. Hall, T. Shea, C. Tong, and K. Madhok

                                                                                                           Internal meeting to discuss agenda for the meeting with FTX representatives and post-bankruptcy
Tong,Chia-Hui             CHT        Senior Manager     3/29/2023   Project Management Office Transition   expenses allocation methodologies analyzed so far, from TP and VAT perspective. EY attendees:           1.0     $650.00       $650.00
                                                                                                           G. Di Stefano, D. McComber, O. Hall, T. Shea, C. Tong, and K. Madhok
                                                                                                           Internal call to discuss Washington Business & Occupation tax online filing approach. EY
Hall,Emily Melissa        EMH            Senior         3/29/2023         US State and Local Tax                                                                                                                   0.2     $395.00        $79.00
                                                                                                           attendees: D. Kooiker and E. Hall
                                                                                                           Internal call to discuss Washington Business & Occupation tax online filing approach. EY
Kooiker,Darcy              DK       Managing Director   3/29/2023         US State and Local Tax                                                                                                                   0.2     $775.00       $155.00
                                                                                                           attendees: D. Kooiker and E. Hall
                                     Client Serving                                                        Internal discussion to discuss locality tax calculations and Washington Business and Occupation tax
Bieganski,Walter          WB                            3/29/2023         US State and Local Tax                                                                                                                   0.8     $200.00       $160.00
                                     Contractor WB                                                         approach. EY attendees: W. Bieganski, E. Zheng, and E. Hall
                                                                                                           Internal discussion to discuss locality tax calculations and Washington Business and Occupation tax
Hall,Emily Melissa        EMH            Senior         3/29/2023         US State and Local Tax                                                                                                                   0.8     $395.00       $316.00
                                                                                                           approach. EY attendees: W. Bieganski, E. Zheng, and E. Hall
                                                                                                           Internal discussion to discuss locality tax calculations and Washington Business and Occupation tax
Zheng,Eva                  EZ           Manager         3/29/2023         US State and Local Tax                                                                                                                   0.8     $525.00       $420.00
                                                                                                           approach. EY attendees: W. Bieganski, E. Zheng, and E. Hall
                                                                                                           Internal discussion to walk through locality tax research to determine nexus creating activities. EY
Golkar,Ladan               LG        Senior Manager     3/29/2023         US State and Local Tax                                                                                                                   0.6     $650.00       $390.00
                                                                                                           attendees: L. Golkar and E. Hall
                                                                                                           Internal discussion to walk through locality tax research to determine nexus creating activities. EY
Hall,Emily Melissa        EMH            Senior         3/29/2023         US State and Local Tax                                                                                                                   0.6     $395.00       $237.00
                                                                                                           attendees: L. Golkar and E. Hall
                                                                                                           Meeting to discuss corporate income tax compliance and VAT. EY attendees: C. Tong, D.
Ancona,Christopher         CA            Senior         3/29/2023   Project Management Office Transition                                                                                                           0.3     $395.00       $118.50
                                                                                                           Hammon, C. MacLean, C. Ancona, M. Gil Diez de Leon, and K. Madhok
                                                                                                           Meeting to discuss corporate income tax compliance and VAT. EY attendees: C. Tong, D.
Hammon,David Lane         DLH           Manager         3/29/2023               Non US Tax                                                                                                                         0.3     $525.00       $157.50
                                                                                                           Hammon, C. MacLean, C. Ancona, M. Gil Diez de Leon, and K. Madhok
                                                                                                           Meeting to discuss corporate income tax compliance and VAT. EY attendees: C. Tong, D.
MacLean,Corrie            CM             Senior         3/29/2023               Non US Tax                                                                                                                         0.3     $395.00       $118.50
                                                                                                           Hammon, C. MacLean, C. Ancona, M. Gil Diez de Leon, and K. Madhok
                                                                                                           Meeting to discuss corporate income tax compliance and VAT. EY attendees: C. Tong, D.
Tong,Chia-Hui             CHT        Senior Manager     3/29/2023   Project Management Office Transition                                                                                                           0.3     $650.00       $195.00
                                                                                                           Hammon, C. MacLean, C. Ancona, M. Gil Diez de Leon, and K. Madhok
                                                                                                           Meeting to discuss corporate income tax compliance and VAT. EY attendees: C. Tong, D.
Gil Diez de Leon,Marta    MDL           Manager         3/29/2023            Value Added Tax                                                                                                                       0.3     $525.00       $157.50
                                                                                                           Hammon, C. MacLean, C. Ancona, M. Gil Diez de Leon, and K. Madhok
                                                                                                           Meeting to discuss corporate income tax compliance and VAT. EY attendees: C. Tong, D.
Madhok,Kishan             KM         Senior Manager     3/29/2023            Value Added Tax                                                                                                                       0.3     $650.00       $195.00
                                                                                                           Hammon, C. MacLean, C. Ancona, M. Gil Diez de Leon, and K. Madhok
                                                                                                           Daily working session to upload FTX data. EY attendees: C. Li, K. Gundu, D. Jena, and C.
Cavusoglu,Coskun           CC       Partner/Principal   3/29/2023               Technology                                                                                                                         0.5     $825.00       $412.50
                                                                                                           Cavusoglu
                                                                                                           Daily working session to upload FTX data. EY attendees: C. Li, K. Gundu, D. Jena, and C.
Gundu,Kaivalya             KG        Senior Manager     3/29/2023               Technology                                                                                                                         0.5     $650.00       $325.00
                                                                                                           Cavusoglu
                                                                                                           Daily working session to upload FTX data. EY attendees: C. Li, K. Gundu, D. Jena, and C.
Jena,Deepak                DJ           Manager         3/29/2023               Technology                                                                                                                         0.5     $525.00       $262.50
                                                                                                           Cavusoglu
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Daily working session to upload FTX data. EY attendees: C. Li, K. Gundu, D. Jena, and C.
Li,Chunyang                CL            Senior         3/29/2023               Technology                                                                                                                        0.5     $395.00       $197.50
                                                                                                           Cavusoglu
                                                                                                           Internal meeting to discuss FTT Tokens cryptocurrency transactions and related activity. EY
Bailey,Doug                DB       Partner/Principal   3/29/2023              Tax Advisory                attendees: D. Bailey, T. Shea, J. Scott, L. Lovelace, A. Katelas, A. Karan, A. Bost, F. Colantuoni,    0.5     $825.00       $412.50
                                                                                                           B. Mistler, and M. Stevens
                                                                                                           Internal meeting to discuss FTT Tokens cryptocurrency transactions and related activity. EY
Bost,Anne                  BA       Managing Director   3/29/2023             Transfer Pricing             attendees: D. Bailey, T. Shea, J. Scott, L. Lovelace, A. Katelas, A. Karan, A. Bost, F. Colantuoni,    0.5     $775.00       $387.50
                                                                                                           B. Mistler, and M. Stevens
                                                                                                           Internal meeting to discuss FTT Tokens cryptocurrency transactions and related activity. EY
Colantuoni,Francesca       FC        Senior Manager     3/29/2023              Tax Advisory                attendees: D. Bailey, T. Shea, J. Scott, L. Lovelace, A. Katelas, A. Karan, A. Bost, F. Colantuoni,    0.5     $650.00       $325.00
                                                                                                           B. Mistler, and M. Stevens
                                                                                                           Internal meeting to discuss FTT Tokens cryptocurrency transactions and related activity. EY
Karan,Anna Suncheuri      ASK             Staff         3/29/2023              Tax Advisory                attendees: D. Bailey, T. Shea, J. Scott, L. Lovelace, A. Katelas, A. Karan, A. Bost, F. Colantuoni,    0.5     $225.00       $112.50
                                                                                                           B. Mistler, and M. Stevens
                                                                                                           Internal meeting to discuss FTT Tokens cryptocurrency transactions and related activity. EY
Katelas,Andreas            KA            Senior         3/29/2023              Tax Advisory                attendees: D. Bailey, T. Shea, J. Scott, L. Lovelace, A. Katelas, A. Karan, A. Bost, F. Colantuoni,    0.5     $395.00       $197.50
                                                                                                           B. Mistler, and M. Stevens
                                                                                                           Internal meeting to discuss FTT Tokens cryptocurrency transactions and related activity. EY
Lovelace,Lauren            LL       Partner/Principal   3/29/2023           US International Tax           attendees: D. Bailey, T. Shea, J. Scott, L. Lovelace, A. Katelas, A. Karan, A. Bost, F. Colantuoni,    0.5     $825.00       $412.50
                                                                                                           B. Mistler, and M. Stevens
                                                                                                           Internal meeting to discuss FTT Tokens cryptocurrency transactions and related activity. EY
Mistler,Brian M          BMM            Manager         3/29/2023             US Income Tax                attendees: D. Bailey, T. Shea, J. Scott, L. Lovelace, A. Katelas, A. Karan, A. Bost, F. Colantuoni,    0.5     $525.00       $262.50
                                                                                                           B. Mistler, and M. Stevens
                                                                                                           Internal meeting to discuss FTT Tokens cryptocurrency transactions and related activity. EY
                                      Client Serving
Scott,James                JS                           3/29/2023             US Income Tax                attendees: D. Bailey, T. Shea, J. Scott, L. Lovelace, A. Katelas, A. Karan, A. Bost, F. Colantuoni,    0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                           B. Mistler, and M. Stevens
                                                                                                           Internal meeting to discuss FTT Tokens cryptocurrency transactions and related activity. EY
Shea JR,Thomas M          TMS       Partner/Principal   3/29/2023             US Income Tax                attendees: D. Bailey, T. Shea, J. Scott, L. Lovelace, A. Katelas, A. Karan, A. Bost, F. Colantuoni,    0.5     $825.00       $412.50
                                                                                                           B. Mistler, and M. Stevens
                                                                                                           Internal meeting to discuss FTT Tokens cryptocurrency transactions and related activity. EY
                                        National
Stevens,Matthew Aaron     MAS                           3/29/2023              Tax Advisory                attendees: D. Bailey, T. Shea, J. Scott, L. Lovelace, A. Katelas, A. Karan, A. Bost, F. Colantuoni,    0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                           B. Mistler, and M. Stevens
                                                                                                           Bi-weekly internal meeting to discuss ITTS workstreams and latest status. EY attendees: D. Bailey,
Bailey,Doug                DB       Partner/Principal   3/29/2023              Tax Advisory                                                                                                                       1.0     $825.00       $825.00
                                                                                                           L. Lovelace, A. Karan, R. Yang, M. Zhuo, and A. Katelas
                                                                                                           Bi-weekly internal meeting to discuss ITTS workstreams and latest status. EY attendees: D. Bailey,
Karan,Anna Suncheuri      ASK             Staff         3/29/2023              Tax Advisory                                                                                                                       1.0     $225.00       $225.00
                                                                                                           L. Lovelace, A. Karan, R. Yang, M. Zhuo, and A. Katelas
                                                                                                           Bi-weekly internal meeting to discuss ITTS workstreams and latest status. EY attendees: D. Bailey,
Katelas,Andreas            KA            Senior         3/29/2023              Tax Advisory                                                                                                                       1.0     $395.00       $395.00
                                                                                                           L. Lovelace, A. Karan, R. Yang, M. Zhuo, and A. Katelas
                                                                                                           Bi-weekly internal meeting to discuss ITTS workstreams and latest status. EY attendees: D. Bailey,
Lovelace,Lauren            LL       Partner/Principal   3/29/2023           US International Tax                                                                                                                  1.0     $825.00       $825.00
                                                                                                           L. Lovelace, A. Karan, R. Yang, M. Zhuo, and A. Katelas
                                                                                                           Bi-weekly internal meeting to discuss ITTS workstreams and latest status. EY attendees: D. Bailey,
Yang,Rachel Sim           RSY        Senior Manager     3/29/2023           US International Tax                                                                                                                  1.0     $650.00       $650.00
                                                                                                           L. Lovelace, A. Karan, R. Yang, M. Zhuo, and A. Katelas
                                                                                                           Bi-weekly internal meeting to discuss ITTS workstreams and latest status. EY attendees: D. Bailey,
Zhuo,Melody                MZ             Staff         3/29/2023              Tax Advisory                                                                                                                       1.0     $225.00       $225.00
                                                                                                           L. Lovelace, A. Karan, R. Yang, M. Zhuo, and A. Katelas
                                                                                                           Internal meeting to discuss crypto holding strategies and related US tax considerations. EY
Bailey,Doug                DB       Partner/Principal   3/29/2023              Tax Advisory                                                                                                                       0.5     $825.00       $412.50
                                                                                                           attendees: L. Lovelace, D. Bailey, and A. Katelas
                                                                                                           Internal meeting to discuss crypto holding strategies and related US tax considerations. EY
Katelas,Andreas            KA            Senior         3/29/2023              Tax Advisory                                                                                                                       0.5     $395.00       $197.50
                                                                                                           attendees: L. Lovelace, D. Bailey, and A. Katelas
                                                                                                           Internal meeting to discuss crypto holding strategies and related US tax considerations. EY
Lovelace,Lauren            LL       Partner/Principal   3/29/2023           US International Tax                                                                                                                  0.5     $825.00       $412.50
                                                                                                           attendees: L. Lovelace, D. Bailey, and A. Katelas
                                                                                                           Federal tax compliance structure walkthrough. EY attendees: T. Shea, J. Scott, J. Berman, and B.
Berman,Jake                JB        Senior Manager     3/29/2023             US Income Tax                                                                                                                       1.4     $650.00       $910.00
                                                                                                           Mistler
                                                                                                           Federal tax compliance structure walkthrough. EY attendees: T. Shea, J. Scott, J. Berman, and B.
Mistler,Brian M          BMM            Manager         3/29/2023             US Income Tax                                                                                                                       1.4     $525.00       $735.00
                                                                                                           Mistler
                                      Client Serving                                                       Federal tax compliance structure walkthrough. EY attendees: T. Shea, J. Scott, J. Berman, and B.
Scott,James                JS                           3/29/2023             US Income Tax                                                                                                                       1.4     $600.00       $840.00
                                      Contractor JS                                                        Mistler
                                                                                                           Federal tax compliance structure walkthrough. EY attendees: T. Shea, J. Scott, J. Berman, and B.
Shea JR,Thomas M          TMS       Partner/Principal   3/29/2023             US Income Tax                                                                                                                       1.4     $825.00      $1,155.00
                                                                                                           Mistler
                                                                                                           Meeting to discuss and prepare OGM set up. EY attendees: K. Goyeneche, C. MacLean, H.
Choudary,Hira              HC             Staff         3/29/2023               Non US Tax                                                                                                                        1.2     $225.00       $270.00
                                                                                                           Choudary, and D. Hammon
                                                                                                           Meeting to discuss and prepare OGM set up. EY attendees: K. Goyeneche, C. MacLean, H.
Goyeneche,Katherine        KG            Senior         3/29/2023               Non US Tax                                                                                                                        1.2     $395.00       $474.00
                                                                                                           Choudary, and D. Hammon
                                                                                                           Meeting to discuss and prepare OGM set up. EY attendees: K. Goyeneche, C. MacLean, H.
Hammon,David Lane         DLH           Manager         3/29/2023               Non US Tax                                                                                                                        1.2     $525.00       $630.00
                                                                                                           Choudary, and D. Hammon
                                                                                                           Meeting to discuss and prepare OGM set up. EY attendees: K. Goyeneche, C. MacLean, H.
MacLean,Corrie            CM             Senior         3/29/2023               Non US Tax                                                                                                                        1.2     $395.00       $474.00
                                                                                                           Choudary, and D. Hammon
Adegun,Adeyemi             AA        Senior Manager     3/29/2023               Non US Tax                 Review and revise analysis of documents                                                                0.9     $650.00       $585.00
Adegun,Adeyemi             AA        Senior Manager     3/29/2023               Payroll Tax                Review and analysis of documents                                                                       0.7     $650.00       $455.00
Akpan,Dorcas               DA             Staff         3/29/2023               Non US Tax                 Review and revise analysis of documents                                                                3.9     $225.00       $877.50
Akpan,Dorcas               DA             Staff         3/29/2023               Payroll Tax                Review and analysis of documents                                                                       3.1     $225.00       $697.50
                                                                                                           Review and revise the Project Management Office deliverables related to FTX transition and
Ancona,Christopher         CA            Senior         3/29/2023   Project Management Office Transition                                                                                                          1.8     $395.00       $711.00
                                                                                                           knowledge transfer
                                                                                                           Follow-up regarding Project Management Office on various action items including coordination
Ancona,Christopher         CA            Senior         3/29/2023   Project Management Office Transition                                                                                                          2.6     $395.00      $1,027.00
                                                                                                           and correspondence with workstream leads
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                                                          Date of
                  Name    Initials        Rank                                Project Category                                                     Description of Services                                         Hours   Hourly Rate   Fees
                                                          Service
Bailey,Doug                 DB       Partner/Principal   3/29/2023              Tax Advisory                Review correspondence regarding FTX Japan filing situation and draft modification to note               1.4     $825.00      $1,155.00
Banker,Hayley               HB             Staff         3/29/2023          Information Reporting           Review FTX 1099-MISC and 1099-NEC Correction Generation                                                 1.9     $225.00        $427.50
                                                                                                            Review IRW data for statements to clients and discuss tables/structure and data required for
Benjamin,Uri                UB        Senior Manager     3/29/2023          Information Reporting                                                                                                                   1.1     $650.00       $715.00
                                                                                                            gain/loss information.
Berman,Jake                 JB        Senior Manager     3/29/2023             US Income Tax                Prepare entity tracker to map out federal tax structure for FTX entities                                1.1     $650.00       $715.00
                                       Client Serving
Bieganski,Walter           WB                            3/29/2023         US State and Local Tax           Review California municipality tax law and application to FTX's facts                                   1.8     $200.00       $360.00
                                      Contractor WB
                                       Client Serving
Bieganski,Walter           WB                            3/29/2023         US State and Local Tax           Review Montana tax law regarding worldwide reporting and application to FTX's facts                     0.9     $200.00       $180.00
                                      Contractor WB
Bost,Anne                   BA       Managing Director   3/29/2023             Transfer Pricing             Review and analyze certain FTT cryptocurrency issues                                                    0.3     $775.00       $232.50
Bost,Anne                   BA       Managing Director   3/29/2023             Transfer Pricing             Review and respond to email correspondence                                                              0.8     $775.00       $620.00
                                                                                                            Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.             CRC            Senior         3/29/2023               Payroll Tax                                                                                                                        2.4     $395.00       $948.00
                                                                                                            inquiries.
Castillo,Irvin Giovanni    IGC             Staff         3/29/2023         US State and Local Tax           Call SOS of Washington regarding entities that require updating officer listings                        2.1     $225.00       $472.50
                                                                                                            Prepare the PowerBI solution to host the trial balances by legal entity in GTP-FS for Tax teams to
Cavusoglu,Coskun            CC       Partner/Principal   3/29/2023               Technology                                                                                                                         0.3     $825.00       $247.50
                                                                                                            consume the latest trial balances.
Choudary,Hira               HC             Staff         3/29/2023              Non US Tax                  Revise March reconciliation file                                                                        0.6     $225.00       $135.00
Colantuoni,Francesca        FC        Senior Manager     3/29/2023             Transfer Pricing             Correspondence regarding conversations on collateral lending                                            0.1     $650.00        $65.00
Di Stefano,Giulia          GDS            Senior         3/29/2023             Transfer Pricing             Review trial balances and balance sheets to reconciliate with available intercompany agreements         1.4     $395.00       $553.00
Di Stefano,Giulia          GDS            Senior         3/29/2023              Transfer Pricing            Prepare agenda for the 3/31/2023 meeting                                                                3.4     $395.00      $1,343.00
Farrar,Anne                 AF       Partner/Principal   3/29/2023   Project Management Office Transition   Review of FTX material for meeting on 3/29/23                                                           0.6     $825.00        $495.00
Ferris,Tara                 TF       Partner/Principal   3/29/2023           Information Reporting          Review of historic tax filings related to Alameda silo                                                  1.3     $825.00      $1,072.50
                                                                                                            Call with the Washington Department of Revenue and Secretary of State to determine how to
Hall,Emily Melissa         EMH            Senior         3/29/2023         US State and Local Tax           update officer information, address and contact information, steps for adding an online account, and    1.4     $395.00       $553.00
                                                                                                            terminate the log-in of the previous users.
                                                                                                            Correspondence summarizing conversations with Washington Department of Revenue and
Hall,Emily Melissa         EMH            Senior         3/29/2023         US State and Local Tax                                                                                                                   1.1     $395.00       $434.50
                                                                                                            Secretary of state and determined next steps.
Hall,Emily Melissa         EMH            Senior         3/29/2023         US State and Local Tax           Review and analyze WA Business and Organization tax calculations                                        0.7     $395.00        $276.50
Hall,Emily Melissa         EMH            Senior         3/29/2023         US State and Local Tax           Call with Washington Tax Department regarding status of submission for historical filings               0.1     $395.00         $39.50
Hall,Olivia                 OH             Staff         3/29/2023            Transfer Pricing              Review and analyze trial balances                                                                       0.8     $225.00        $180.00
Hall,Olivia                 OH             Staff         3/29/2023            Transfer Pricing              Prepare agenda for upcoming meeting and review of intercompany agreements                               0.9     $225.00        $202.50
Hammon,David Lane          DLH           Manager         3/29/2023              Non US Tax                  Correspondence to gather updates on the status of all CIT filings with a 3/31 deadline                  3.9     $525.00      $2,047.50
Hammon,David Lane          DLH           Manager         3/29/2023              Non US Tax                  Leadership updates concerning the status of all CIT filings with a 3/31 deadline                        1.3     $525.00        $682.50
Hammon,David Lane          DLH           Manager         3/29/2023              Non US Tax                  Revise various trackers concerning the foreign workstreams                                              1.1     $525.00        $577.50
Healy,John                  JH        Senior Manager     3/29/2023           IRS Audit Matters              Participate in call with the IRS                                                                        0.3     $650.00        $195.00
Jena,Deepak                 DJ           Manager         3/29/2023              Technology                  Revise legal entity dashboard, Raptor integration, and TB Cleansed job failures                         3.6     $525.00      $1,890.00
Katelas,Andreas             KA            Senior         3/29/2023             Tax Advisory                 Revise internal ITTS tracker and FTX entity control list based on recent developments                   1.6     $395.00        $632.00
Katelas,Andreas             KA            Senior         3/29/2023             Tax Advisory                 Prepare outline of US tax considerations regarding various crypto holding strategies                    3.8     $395.00      $1,501.00
Li,Chunyang                 CL            Senior         3/29/2023              Technology                  Review summary of LE files                                                                              0.7     $395.00        $276.50
                                                                                                            Review foreign office due diligence and one off follow-up items, revise tracking sheet, and Antigua
MacLean,Corrie             CM             Senior         3/29/2023               Non US Tax                                                                                                                         2.3     $395.00       $908.50
                                                                                                            On Call communications
                                                                                                            Conduct locality tax research to determine whether employee presence creates tax filing obligation
Magner,Andrew Michael     AMM             Senior         3/29/2023         US State and Local Tax                                                                                                                   2.6     $395.00      $1,027.00
                                                                                                            for nexus purposes.
                                         National
McComber,Donna             DM                            3/29/2023             Transfer Pricing             Analyze trial balance summaries and functional pre-file matrix                                          0.7     $990.00       $693.00
                                     Partner/Principal
Neziroski,David             DN          Associate        3/29/2023      Fee/Employment Applications         Continue confidentiality review for January entries                                                     3.5     $365.00      $1,277.50
Pavlou,Pantelis             PP           Manager         3/29/2023          Information Reporting           Review of additional documents provided and internal calls for the bookkeeping of Innovatia             1.1     $525.00       $577.50
Pulliam,Michelle           MP              Staff         3/29/2023               Payroll Tax                Review employment tax notice and outline of next steps                                                  2.1     $225.00       $472.50
Richardson,Audrey Sarah    ASR           Manager         3/29/2023          Information Reporting           Review corrected forms generated by reporting team                                                      1.6     $525.00       $840.00
                                      Client Serving
Scott,James                 JS                           3/29/2023             US Income Tax                Review 3/31 extension and estimate due date data and contacts                                           1.4     $600.00       $840.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/29/2023             US Income Tax                Analyze IRS exam compliance with proposed document request and available data                           0.7     $600.00       $420.00
                                      Contractor JS
Shea JR,Thomas M           TMS       Partner/Principal   3/29/2023             US Income Tax                Written internal correspondence re: 3/31 global tax deadlines                                           1.3     $825.00      $1,072.50
Shea JR,Thomas M           TMS       Partner/Principal   3/29/2023             US Income Tax                Written correspondence with S&C re: address for US taxpayers                                            0.4     $825.00        $330.00
Shea JR,Thomas M           TMS       Partner/Principal   3/29/2023             US Income Tax                Written internal correspondence re: global transition of tax services with local teams                  0.8     $825.00        $660.00
Shea JR,Thomas M           TMS       Partner/Principal   3/29/2023             US Income Tax                Initial written internal correspondence re: treatment of certain transactions in Japan                  0.3     $825.00        $247.50
                                         National
Stevens,Matthew Aaron      MAS                           3/29/2023              Tax Advisory                Analysis of federal tax elections for prior year tax filings                                            0.6     $990.00       $594.00
                                     Partner/Principal
Stillman,Will               WS             Staff         3/29/2023         US State and Local Tax           Call WA state and FTX STAC tool                                                                         1.6     $225.00       $360.00
                                                                                                            Prepare TY2022 Washington Business&Occupation tax calculation workpaper for Good Luck
Sun,Yuchen                  YS            Senior         3/29/2023         US State and Local Tax                                                                                                                   2.1     $395.00       $829.50
                                                                                                            Games, LLC, Alameda Research LLC, West Realm Shires Services Inc., FTX Lend Inc.. entities
Tong,Chia-Hui              CHT        Senior Manager     3/29/2023   Project Management Office Transition   Review next steps on data transfer work in activity tracker                                             0.3     $650.00       $195.00
Tong,Chia-Hui              CHT        Senior Manager     3/29/2023   Project Management Office Transition   Review FTX workstream deliverables                                                                      0.4     $650.00       $260.00
Tong,Chia-Hui              CHT        Senior Manager     3/29/2023   Project Management Office Transition   Finalize coordination of meeting in Dallas                                                              0.7     $650.00       $455.00
                                                                                                            Discussion regarding the income tax compliance status of the Cypriot entities given the coming
Tsikkouris,Anastasios       AT           Manager         3/29/2023               Non US Tax                                                                                                                         0.2     $525.00       $105.00
                                                                                                            deadline for the 2021 CIT return. EY attendees: D. Hammon and A. Tsikkouris
Tyllirou,Christiana         CT           Manager         3/29/2023          Information Reporting           Review of additional documents provided and internal calls for the bookkeeping of Innovatia             2.3     $525.00      $1,207.50
Wong,Wendy                WW          Senior Manager     3/29/2023               Non US Tax                 Review and analyze ECI filing                                                                           0.2     $650.00        $130.00
Wrenn,Kaitlin Doyle       KDW            Manager         3/29/2023               Payroll Tax                Review state account login set up for EY tax account access                                             2.8     $525.00      $1,470.00
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                                                         Date of
                Name     Initials        Rank                                Project Category                                                   Description of Services                                        Hours   Hourly Rate   Fees
                                                         Service
Wrenn,Kaitlin Doyle      KDW            Manager         3/29/2023               Payroll Tax                Review earth mail notices for FTX tax accounts                                                       1.2     $525.00       $630.00
Wrenn,Kaitlin Doyle      KDW            Manager         3/29/2023               Payroll Tax                Review of Good Luck Games issuance of 1099-NEC forms                                                 0.3     $525.00       $157.50
Wrenn,Kaitlin Doyle      KDW            Manager         3/29/2023               Payroll Tax                Reconcile payroll tax filings for Alameda Research FTX entities                                      1.7     $525.00       $892.50
                                                                                                           Meeting with D. Ornelas (FTX) re: access to state tax accounts, review of Alameda FTX returns
Wrenn,Kaitlin Doyle      KDW            Manager         3/29/2023               Payroll Tax                                                                                                                     1.4     $525.00       $735.00
                                                                                                           provided and background on non-cash bonus payments
                                                                                                           Review of MA paid family medical leave and state unemployment insurance returns per request
Wrenn,Kaitlin Doyle      KDW            Manager         3/29/2023               Payroll Tax                                                                                                                     0.8     $525.00       $420.00
                                                                                                           from state agency.
                                                                                                           Update call regarding Quoine India. EY attendees: P. Gupta, S. Venkataraman, G. Jain, B.
Bugden,Nick R             NRB        Senior Manager     3/29/2023          Liquidation Activities                                                                                                               0.2     $900.00       $180.00
                                                                                                           Richards, N. Bugden, and F. ORiain
Cadisch,Michael           MC        Managing Director   3/29/2023          Liquidation Activities          Correspondence with EY US regarding cease liquidation planning and client discussions                0.6     $775.00       $465.00
                                                                                                           Update call regarding Quoine India. EY attendees: P. Gupta, S. Venkataraman, G. Jain, B.
Gupta,Pulkit               PG       Partner/Principal   3/29/2023          Liquidation Activities                                                                                                               0.2     $650.00       $130.00
                                                                                                           Richards, N. Bugden, and F. ORiain
                                                                                                           Update call regarding Quoine India. EY attendees: P. Gupta, S. Venkataraman, G. Jain, B.
Jain,Gaurav                GJ        Senior Manager     3/29/2023          Liquidation Activities                                                                                                               0.2     $550.00       $110.00
                                                                                                           Richards, N. Bugden, and F. ORiain
                                                                                                           Update call regarding Quoine India. EY attendees: P. Gupta, S. Venkataraman, G. Jain, B.
ORiain,Fionn              ORF           Manager         3/29/2023          Liquidation Activities                                                                                                               2.2     $725.00      $1,595.00
                                                                                                           Richards, N. Bugden, and F. ORiain
                                                                                                           Update call regarding Quoine India. EY attendees: P. Gupta, S. Venkataraman, G. Jain, B.
Richards,Briana A.         BR       Partner/Principal   3/29/2023          Liquidation Activities                                                                                                               0.2     $1,150.00     $230.00
                                                                                                           Richards, N. Bugden, and F. ORiain
                                        National
Rumford,Neil               NR                           3/29/2023          Liquidation Activities          Correspondence with ZUBR regarding updated bank info, creditors, and IT equipment                    0.2     $990.00       $198.00
                                    Partner/Principal
                                                                                                           Update call regarding Quoine India. EY attendees: P. Gupta, S. Venkataraman, G. Jain, B.
Venkataraman,Siddharth     SV           Manager         3/29/2023          Liquidation Activities                                                                                                               0.2     $400.00        $80.00
                                                                                                           Richards, N. Bugden, and F. ORiain
                                                                                                           Discussion regarding the income tax compliance status of the Cypriot entities given the coming
Hammon,David Lane         DLH           Manager         3/29/2023               Non US Tax                                                                                                                      0.2     $525.00       $105.00
                                                                                                           deadline for the 2021 CIT return. EY attendees: D. Hammon and A. Tsikkouris
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         3/30/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                DB       Partner/Principal   3/30/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                JB        Senior Manager     3/30/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                     Client Serving
Bieganski,Walter          WB                            3/30/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $200.00       $100.00
                                     Contractor WB
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   3/30/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $775.00       $387.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne                AF       Partner/Principal   3/30/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya             KG        Senior Manager     3/30/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                  ZH        Senior Manager     3/30/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa        EMH            Senior         3/30/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane         DLH           Manager         3/30/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         3/30/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         3/30/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.        TJK       Partner/Principal   3/30/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren            LL       Partner/Principal   3/30/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
Lowery,Kristie L          KLL                           3/30/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         3/30/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
McComber,Donna            DM                            3/30/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         3/30/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           3/30/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M          TMS       Partner/Principal   3/30/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga         KS           Manager         3/30/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     3/30/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle      KDW            Manager         3/30/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and          0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Bi-weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher         CA            Senior         3/30/2023   Project Management Office Transition                                                                                                            0.8     $395.00       $316.00
                                                                                                           attendees: C. Ancona and C. Tong
                                                                                                           Bi-weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui             CHT        Senior Manager     3/30/2023   Project Management Office Transition                                                                                                            0.8     $650.00       $520.00
                                                                                                           attendees: C. Ancona and C. Tong
                                                                                                           Meeting to discuss contractual language used in Prime Sub Memos with each of the EY foreign
Ancona,Christopher         CA            Senior         3/30/2023   Project Management Office Transition                                                                                                            0.3     $395.00       $118.50
                                                                                                           firms to perform work for FTX. EY attendees: C. Ancona and D. Neziroski
                                                                                                           Meeting to discuss open employment tax items as it relates to the IRS audit, state account reviews
DeVincenzo,Jennie         JDV       Managing Director   3/30/2023               Payroll Tax                                                                                                                         1.0     $775.00       $775.00
                                                                                                           and paid family medical leave issue. EY attendees: J. DeVincenzo, K. Lowery, and K. Wrenn

                                        National                                                           Meeting to discuss open employment tax items as it relates to the IRS audit, state account reviews
Lowery,Kristie L          KLL                           3/30/2023               Payroll Tax                                                                                                                         1.0     $990.00       $990.00
                                    Partner/Principal                                                      and paid family medical leave issue. EY attendees: J. DeVincenzo, K. Lowery, and K. Wrenn

                                                                                                           Meeting to discuss open employment tax items as it relates to the IRS audit, state account reviews
Wrenn,Kaitlin Doyle      KDW            Manager         3/30/2023               Payroll Tax                                                                                                                         1.0     $525.00       $525.00
                                                                                                           and paid family medical leave issue. EY attendees: J. DeVincenzo, K. Lowery, and K. Wrenn
                                                                                                           Internal call to discuss trial balances and balances sheets to review the risk assessment of each
Di Stefano,Giulia         GDS            Senior         3/30/2023             Transfer Pricing                                                                                                                      0.7     $395.00       $276.50
                                                                                                           entity. EY attendees: G. Di Stefano and O. Hall
                                                                                                           Internal call to discuss trial balances and balances sheets to review the risk assessment of each
Hall,Olivia                OH             Staff         3/30/2023             Transfer Pricing                                                                                                                      0.7     $225.00       $157.50
                                                                                                           entity. EY attendees: G. Di Stefano and O. Hall
                                                                                                           Daily working session to work on FTX data upload and transfer. EY attendees: C. Li, D. Jena, C.
Gundu,Kaivalya             KG        Senior Manager     3/30/2023               Technology                                                                                                                          0.5     $650.00       $325.00
                                                                                                           Velpuri, and K. Gundu
                                                                                                           Daily working session to work on FTX data upload and transfer. EY attendees: C. Li, D. Jena, C.
Jena,Deepak                DJ           Manager         3/30/2023               Technology                                                                                                                          0.5     $525.00       $262.50
                                                                                                           Velpuri, and K. Gundu
                                                                                                           Daily working session to work on FTX data upload and transfer. EY attendees: C. Li, D. Jena, C.
Li,Chunyang                CL            Senior         3/30/2023               Technology                                                                                                                          0.5     $395.00       $197.50
                                                                                                           Velpuri, and K. Gundu
                                                                                                           Daily working session to work on FTX data upload and transfer. EY attendees: C. Li, D. Jena, C.
Velpuri,Cury               CV             Staff         3/30/2023               Technology                                                                                                                          0.5     $225.00       $112.50
                                                                                                           Velpuri, and K. Gundu
                                                                                                           Meeting to discuss TB data upload result, transformation needs, adjustment and format. EY
Gundu,Kaivalya             KG        Senior Manager     3/30/2023               Technology                                                                                                                          1.5     $650.00       $975.00
                                                                                                           attendees: C. Li, D. Jena, C. Velpuri, K. Gundu, and B. Mistler
                                                                                                           Meeting to discuss TB data upload result, transformation needs, adjustment and format. EY
Jena,Deepak                DJ           Manager         3/30/2023               Technology                                                                                                                          1.5     $525.00       $787.50
                                                                                                           attendees: C. Li, D. Jena, C. Velpuri, K. Gundu, and B. Mistler
                                                                                                           Meeting to discuss TB data upload result, transformation needs, adjustment and format. EY
Li,Chunyang                CL            Senior         3/30/2023               Technology                                                                                                                          1.5     $395.00       $592.50
                                                                                                           attendees: C. Li, D. Jena, C. Velpuri, K. Gundu, and B. Mistler
                                                                                                           Meeting to discuss TB data upload result, transformation needs, adjustment and format. EY
Mistler,Brian M          BMM            Manager         3/30/2023             US Income Tax                                                                                                                         1.5     $525.00       $787.50
                                                                                                           attendees: C. Li, D. Jena, C. Velpuri, K. Gundu, and B. Mistler
                                                                                                           Meeting to discuss TB data upload result, transformation needs, adjustment and format. EY
Velpuri,Cury               CV             Staff         3/30/2023               Technology                                                                                                                          1.5     $225.00       $337.50
                                                                                                           attendees: C. Li, D. Jena, C. Velpuri, K. Gundu, and B. Mistler
                                                                                                           Internal call to discuss notice updates and prior year payroll information. EY attendees: K. Wrenn
Hall,Emily Melissa        EMH            Senior         3/30/2023         US State and Local Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                           and E. Hall
                                                                                                           Internal call to discuss notice updates and prior year payroll information. EY attendees: K. Wrenn
Wrenn,Kaitlin Doyle      KDW            Manager         3/30/2023               Payroll Tax                                                                                                                         0.5     $525.00       $262.50
                                                                                                           and E. Hall
                                                                                                           Internal meeting to discuss certain considerations relating to crypto assets. EY attendees: L.
Bailey,Doug                DB       Partner/Principal   3/30/2023              Tax Advisory                                                                                                                         0.5     $825.00       $412.50
                                                                                                           Lovelace, D. Bailey, M. Stevens, and A. Katelas
                                                                                                           Internal meeting to discuss certain considerations relating to crypto assets. EY attendees: L.
Katelas,Andreas            KA            Senior         3/30/2023              Tax Advisory                                                                                                                         0.5     $395.00       $197.50
                                                                                                           Lovelace, D. Bailey, M. Stevens, and A. Katelas
                                                                                                           Internal meeting to discuss certain considerations relating to crypto assets. EY attendees: L.
Lovelace,Lauren            LL       Partner/Principal   3/30/2023           US International Tax                                                                                                                    0.5     $825.00       $412.50
                                                                                                           Lovelace, D. Bailey, M. Stevens, and A. Katelas
                                        National                                                           Internal meeting to discuss certain considerations relating to crypto assets. EY attendees: L.
Stevens,Matthew Aaron     MAS                           3/30/2023              Tax Advisory                                                                                                                         0.5     $990.00       $495.00
                                    Partner/Principal                                                      Lovelace, D. Bailey, M. Stevens, and A. Katelas
                                                                                                           Internal meeting to discuss nexus creating activities for locality taxes. EY attendees: L. Golkar and
Golkar,Ladan               LG        Senior Manager     3/30/2023         US State and Local Tax                                                                                                                    0.2     $650.00       $130.00
                                                                                                           E. Hall
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Internal meeting to discuss nexus creating activities for locality taxes. EY attendees: L. Golkar and
Hall,Emily Melissa        EMH            Senior         3/30/2023         US State and Local Tax                                                                                                                    0.2     $395.00        $79.00
                                                                                                           E. Hall
                                     Client Serving                                                        Internal meeting to discuss unitary super combined filing determinations for tax year 2022
Bieganski,Walter          WB                            3/30/2023         US State and Local Tax                                                                                                                    0.5     $200.00       $100.00
                                     Contractor WB                                                         corporate tax returns. EY attendees: M. Musano, W. Bieganski, and E. Hall
                                                                                                           Internal meeting to discuss unitary super combined filing determinations for tax year 2022
Hall,Emily Melissa        EMH            Senior         3/30/2023         US State and Local Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                           corporate tax returns. EY attendees: M. Musano, W. Bieganski, and E. Hall
                                                                                                           Internal meeting to discuss unitary super combined filing determinations for tax year 2022
Musano,Matthew Albert    MAM         Senior Manager     3/30/2023         US State and Local Tax                                                                                                                    0.5     $650.00       $325.00
                                                                                                           corporate tax returns. EY attendees: M. Musano, W. Bieganski, and E. Hall
                                                                                                           Internal meeting to discuss Japanese tax implications with local desk. EY attendees: D. Bailey, L.
Bailey,Doug                DB       Partner/Principal   3/30/2023              Tax Advisory                                                                                                                         0.5     $825.00       $412.50
                                                                                                           Lovelace, A. Bost, A. Katelas, A. Karan, T. Shea, T. Hamano, and J. Scott
                                                                                                           Internal meeting to discuss Japanese tax implications with local desk. EY attendees: D. Bailey, L.
Bost,Anne                  BA       Managing Director   3/30/2023             Transfer Pricing                                                                                                                      0.5     $775.00       $387.50
                                                                                                           Lovelace, A. Bost, A. Katelas, A. Karan, T. Shea, T. Hamano, and J. Scott
                                                                                                           Internal meeting to discuss Japanese tax implications with local desk. EY attendees: D. Bailey, L.
Hamano,Taisuke             TH        Senior Manager     3/30/2023              Tax Advisory                                                                                                                         0.5     $650.00       $325.00
                                                                                                           Lovelace, A. Bost, A. Katelas, A. Karan, T. Shea, T. Hamano, and J. Scott
                                                                                                           Internal meeting to discuss Japanese tax implications with local desk. EY attendees: D. Bailey, L.
Karan,Anna Suncheuri      ASK             Staff         3/30/2023              Tax Advisory                                                                                                                         0.5     $225.00       $112.50
                                                                                                           Lovelace, A. Bost, A. Katelas, A. Karan, T. Shea, T. Hamano, and J. Scott
                                                                                                           Internal meeting to discuss Japanese tax implications with local desk. EY attendees: D. Bailey, L.
Katelas,Andreas            KA            Senior         3/30/2023              Tax Advisory                                                                                                                         0.5     $395.00       $197.50
                                                                                                           Lovelace, A. Bost, A. Katelas, A. Karan, T. Shea, T. Hamano, and J. Scott
                                                                                                           Internal meeting to discuss Japanese tax implications with local desk. EY attendees: D. Bailey, L.
Lovelace,Lauren            LL       Partner/Principal   3/30/2023           US International Tax                                                                                                                    0.5     $825.00       $412.50
                                                                                                           Lovelace, A. Bost, A. Katelas, A. Karan, T. Shea, T. Hamano, and J. Scott
                                      Client Serving                                                       Internal meeting to discuss Japanese tax implications with local desk. EY attendees: D. Bailey, L.
Scott,James                JS                           3/30/2023             US Income Tax                                                                                                                         0.5     $600.00       $300.00
                                      Contractor JS                                                        Lovelace, A. Bost, A. Katelas, A. Karan, T. Shea, T. Hamano, and J. Scott
                                                                                                           Internal meeting to discuss Japanese tax implications with local desk. EY attendees: D. Bailey, L.
Shea JR,Thomas M          TMS       Partner/Principal   3/30/2023             US Income Tax                                                                                                                         0.5     $825.00       $412.50
                                                                                                           Lovelace, A. Bost, A. Katelas, A. Karan, T. Shea, T. Hamano, and J. Scott
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Choudary,Hira              HC             Staff         3/30/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.5     $225.00       $112.50
                                                                                                           C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
Hammon,David Lane         DLH           Manager         3/30/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.5     $525.00       $262.50
                                                                                                           C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from E&Y
MacLean,Corrie            CM             Senior         3/30/2023               Non US Tax                 foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D. Hammon,        0.5     $395.00       $197.50
                                                                                                           C. MacLean, and H. Choudary
                                                                                                           Internal meeting to discuss the status of FTX international compliance returns. EY attendees: L.
Bailey,Doug                DB       Partner/Principal   3/30/2023              Tax Advisory                                                                                                                         0.3     $825.00       $247.50
                                                                                                           Lovelace, D. Bailey, R. Yang, A. Katelas, M. Zhuo, and A. Karan
                                                                                                           Internal meeting to discuss the status of FTX international compliance returns. EY attendees: L.
Karan,Anna Suncheuri      ASK             Staff         3/30/2023              Tax Advisory                                                                                                                         0.3     $225.00        $67.50
                                                                                                           Lovelace, D. Bailey, R. Yang, A. Katelas, M. Zhuo, and A. Karan
                                                                                                           Internal meeting to discuss the status of FTX international compliance returns. EY attendees: L.
Katelas,Andreas            KA            Senior         3/30/2023              Tax Advisory                                                                                                                         0.3     $395.00       $118.50
                                                                                                           Lovelace, D. Bailey, R. Yang, A. Katelas, M. Zhuo, and A. Karan
                                                                                                           Internal meeting to discuss the status of FTX international compliance returns. EY attendees: L.
Lovelace,Lauren            LL       Partner/Principal   3/30/2023           US International Tax                                                                                                                    0.3     $825.00       $247.50
                                                                                                           Lovelace, D. Bailey, R. Yang, A. Katelas, M. Zhuo, and A. Karan
                                                                                                           Internal meeting to discuss the status of FTX international compliance returns. EY attendees: L.
Yang,Rachel Sim           RSY        Senior Manager     3/30/2023           US International Tax                                                                                                                    0.3     $650.00       $195.00
                                                                                                           Lovelace, D. Bailey, R. Yang, A. Katelas, M. Zhuo, and A. Karan
                                                                                                           Internal meeting to discuss the status of FTX international compliance returns. EY attendees: L.
Zhuo,Melody                MZ             Staff         3/30/2023              Tax Advisory                                                                                                                         0.3     $225.00        $67.50
                                                                                                           Lovelace, D. Bailey, R. Yang, A. Katelas, M. Zhuo, and A. Karan
                                                                                                           Review the requested information on Innovatia Ltd, FTX Crypto Services Ltd, FTX EMEA Ltd and
Tsikkouris,Anastasios      AT           Manager         3/30/2023               Non US Tax                                                                                                                          0.3     $525.00       $157.50
                                                                                                           FTX EU Ltd for the purpose of the tax due diligence.
                                                                                                           Meeting with Robert Lee and Associates and with RLA to discuss federal tax structure for 2022.
Berman,Jake                JB        Senior Manager     3/30/2023             US Income Tax                                                                                                                         0.6     $650.00       $390.00
                                                                                                           EY attendees: B. Mistler and J. Berman
                                                                                                           Meeting with Robert Lee and Associates and with RLA to discuss federal tax structure for 2022.
Mistler,Brian M          BMM            Manager         3/30/2023             US Income Tax                                                                                                                         0.6     $525.00       $315.00
                                                                                                           EY attendees: B. Mistler and J. Berman
                                                                                                           Call regarding intercompany loan and FX method of FTX Japan and CIT return filing technical tax
Hamano,Taisuke             TH        Senior Manager     3/30/2023              Tax Advisory                                                                                                                         1.5     $650.00       $975.00
                                                                                                           issues. EY attendees: T. Shea, L. Lovelace, D. Bailey, and T. Hamano
                                                                                                           Call regarding intercompany loan and FX method of FTX Japan and CIT return filing technical tax
Shea JR,Thomas M          TMS       Partner/Principal   3/30/2023             US Income Tax                                                                                                                         1.5     $825.00      $1,237.50
                                                                                                           issues. EY attendees: T. Shea, L. Lovelace, D. Bailey, and T. Hamano
                                                                                                           Call regarding intercompany loan and FX method of FTX Japan and CIT return filing technical tax
Lovelace,Lauren            LL       Partner/Principal   3/30/2023           US International Tax                                                                                                                    1.5     $825.00      $1,237.50
                                                                                                           issues. EY attendees: T. Shea, L. Lovelace, D. Bailey, and T. Hamano
                                                                                                           Call regarding intercompany loan and FX method of FTX Japan and CIT return filing technical tax
Bailey,Doug                DB       Partner/Principal   3/30/2023              Tax Advisory                                                                                                                         1.5     $825.00      $1,237.50
                                                                                                           issues. EY attendees: T. Shea, L. Lovelace, D. Bailey, and T. Hamano
                                                                                                           Call regarding PSM's and language surrounding USD $ in the PSM and that he should speak with
Ancona,Christopher         CA            Senior         3/30/2023   Project Management Office Transition                                                                                                            5.9     $395.00      $2,330.50
                                                                                                           GCO; Continue to review the detail for January. EY attendees: C. Ancona and D. Neziroski

Ancona,Christopher         CA            Senior         3/30/2023   Project Management Office Transition   Correspondence regarding contractual language used in Prime sub memos to perform FTX work                0.8     $395.00       $316.00
Ancona,Christopher         CA            Senior         3/30/2023   Project Management Office Transition   Revise the Project Management Office Status tracker for action item updates and follow ups               0.9     $395.00       $355.50
                                                                                                           Correspondence with workstream leads on Project Management Office deliverables related to FTX
Ancona,Christopher         CA            Senior         3/30/2023   Project Management Office Transition                                                                                                            0.6     $395.00       $237.00
                                                                                                           transition
Ancona,Christopher         CA            Senior         3/30/2023   Project Management Office Transition   Prepare for meeting on Transfer Pricing with FTX leadership                                              1.6     $395.00       $632.00
Ancona,Christopher         CA            Senior         3/30/2023   Project Management Office Transition   Prepare for EY workstream leads meeting to discuss project status and action items                       0.7     $395.00       $276.50
Ancona,Christopher         CA            Senior         3/30/2023   Project Management Office Transition   Correspondence with workstream leads regarding various Project Management Office action items            0.9     $395.00       $355.50
Bailey,Doug                DB       Partner/Principal   3/30/2023              Tax Advisory                Evaluate additional information provided by FTX regarding FTT cryptocurrency                             1.4     $825.00      $1,155.00
Banker,Hayley              HB             Staff         3/30/2023          Information Reporting           Review FTX 1099-MISC and 1099-NEC Correction Generation                                                  2.1     $225.00        $472.50
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                                                          Date of
                 Name     Initials        Rank                                   Project Category                                                         Description of Services                                         Hours   Hourly Rate   Fees
                                                          Service
                                                                                                                   Review IRW data for statements to clients and discuss tables/structure and data required for
Benjamin,Uri                UB        Senior Manager     3/30/2023             Information Reporting                                                                                                                       0.9     $650.00       $585.00
                                                                                                                   gain/loss information.
Berman,Jake                 JB        Senior Manager     3/30/2023                US Income Tax                    Review trial balances from book software for 2022 extension purposes                                    1.2     $650.00       $780.00
Berman,Jake                 JB        Senior Manager     3/30/2023                US Income Tax                    Review information detail on Maclaurin Investments Ltd FTX entities                                     0.2     $650.00       $130.00
Berman,Jake                 JB        Senior Manager     3/30/2023                US Income Tax                    Create federal entity list tracker for 2022 extension purposes                                          1.4     $650.00       $910.00
                                       Client Serving                                                              Analyze entities to be included in the combined tax returns for those states that require unitary
Bieganski,Walter           WB                            3/30/2023             US State and Local Tax                                                                                                                      0.9     $200.00       $180.00
                                      Contractor WB                                                                combination
Bost,Anne                   BA       Managing Director   3/30/2023   Non-Working Travel (billed at 50% of rates)   Travel from Dallas, TX to New York, NY                                                                  6.0     $387.50      $2,325.00
                                                                                                                   Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.             CRC            Senior         3/30/2023                  Payroll Tax                                                                                                                            2.4     $395.00       $948.00
                                                                                                                   inquiries.
Choudary,Hira               HC             Staff         3/30/2023                  Non US Tax                     Revise EY local contacts list to include rank and country                                               0.9     $225.00        $202.50
DeVincenzo,Jennie          JDV       Managing Director   3/30/2023                  Payroll Tax                    Review response to IRS auditor regarding Alameda FTX entities                                           0.3     $775.00        $232.50
DeVincenzo,Jennie          JDV       Managing Director   3/30/2023                  Payroll Tax                    Review Massachusetts withholding and unemployment tax reporting                                         0.2     $775.00        $155.00
Di Stefano,Giulia          GDS            Senior         3/30/2023                Transfer Pricing                 Research the Japan KK loan and revised risk assessment analysis                                         2.8     $395.00      $1,106.00
Dulceak,Crystal             CD           Manager         3/30/2023             US State and Local Tax              Correspondence with FTX regarding status of batch provided                                              0.9     $525.00        $472.50
Gundu,Kaivalya             KG         Senior Manager     3/30/2023                  Technology                     Discussions regarding the Technology Strategy & Architecture workstream                                 0.6     $650.00        $390.00
                                                                                                                   Correspondence with FTX detailing the Washington Business and Occupation tax filing and a
Hall,Emily Melissa         EMH            Senior         3/30/2023             US State and Local Tax                                                                                                                      0.4     $395.00       $158.00
                                                                                                                   request to execute power of attorney forms for California purposes.
                                                                                                                   Correspondence with EY Illinois state desk to determine whether a super combined return could be
Hall,Emily Melissa         EMH            Senior         3/30/2023             US State and Local Tax                                                                                                                      0.2     $395.00        $79.00
                                                                                                                   filed.
Hall,Emily Melissa         EMH            Senior         3/30/2023             US State and Local Tax              Review W-2 statements for West Realm Shires Services Inc. from tax year 2020                            0.3     $395.00       $118.50
                                                                                                                   Correspondence detailing locality tax rules and whether any entities have nexus in the jurisdictions
Hall,Emily Melissa         EMH            Senior         3/30/2023             US State and Local Tax                                                                                                                      1.4     $395.00       $553.00
                                                                                                                   for tax year 2022 purposes.
Hammon,David Lane          DLH           Manager         3/30/2023                  Non US Tax                     Correspondence to gather updates on the status of all CIT filings with a 3/31 deadline                  3.9     $525.00      $2,047.50
Hammon,David Lane          DLH           Manager         3/30/2023                  Non US Tax                     Leadership updates concerning the status of all CIT filings with a 3/31 deadline                        0.7     $525.00        $367.50
                                                                                                                   Correspondence concerning outstanding local FTX/legacy provider contacts needed for EY member
Hammon,David Lane          DLH           Manager         3/30/2023                  Non US Tax                                                                                                                             1.3     $525.00       $682.50
                                                                                                                   firms to conduct knowledge transfer
Hammon,David Lane          DLH           Manager         3/30/2023                  Non US Tax                     Correspondence concerning the status of due diligence procedures for the foreign workstreams            1.6     $525.00       $840.00
Hammon,David Lane          DLH           Manager         3/30/2023                  Non US Tax                     Revise various trackers concerning the foreign workstreams                                              0.8     $525.00       $420.00
                                                                                                                   Research and providing revenue rulings related to inclusion/exclusions of consolidated group
Harvey,Elizabeth R.        ERH       Partner/Principal   3/30/2023                US Income Tax                                                                                                                            0.4     $825.00       $330.00
                                                                                                                   subsidiary members in bankruptcy.
Jena,Deepak                 DJ           Manager         3/30/2023                  Technology                     Revise legal entity dashboard, Raptor integration, and TB Cleansed job failures                         1.9     $525.00       $997.50
Karan,Anna Suncheuri       ASK             Staff         3/30/2023                 Tax Advisory                    Research information related to category 3 filing                                                       1.2     $225.00       $270.00
Katelas,Andreas            KA             Senior         3/30/2023                 Tax Advisory                    Revise US tax considerations for various crypto holding strategies slide deck                           2.4     $395.00       $948.00
Li,Chunyang                 CL            Senior         3/30/2023                  Technology                     Revise TB files to ensure LE and TB are connected with drill down                                       0.9     $395.00       $355.50
                                                                                                                   Review foreign office due diligence and follow up items, extension communication, tracking sheet
MacLean,Corrie             CM             Senior         3/30/2023                  Non US Tax                                                                                                                             1.1     $395.00       $434.50
                                                                                                                   updates, and historical documents received
                                         National
McComber,Donna             DM                            3/30/2023                Transfer Pricing                 Prepare for meeting re: TP analysis                                                                     1.2     $990.00      $1,188.00
                                     Partner/Principal
Molnar,Evgeniya            EM             Senior         3/30/2023             US State and Local Tax              Call with MS regarding filing for TY 2021.                                                              1.0     $395.00        $395.00
Nichol,T.J.                TJN       Senior Manager      3/30/2023             Information Reporting               Meeting to discuss FTX transaction data and approach to provide to FTX users                            1.7     $650.00      $1,105.00
Pavlou,Pantelis             PP           Manager         3/30/2023             Information Reporting               Prepare the balance sheet and P&L for Innovatia as at 31 December 2022                                  0.4     $525.00        $210.00
Richardson,Audrey Sarah    ASR           Manager         3/30/2023             Information Reporting               Validate corrected forms generated by reporting team                                                    0.9     $525.00        $472.50
Rüegg,Christoph            CR             Senior         3/30/2023                  Non US Tax                     Correspondence regarding open tax issues topics                                                         0.3     $395.00        $118.50
Rüegg,Christoph            CR             Senior         3/30/2023                  Non US Tax                     Review topics regarding open tax issues                                                                 0.3     $395.00        $118.50
                                      Client Serving
Scott,James                 JS                           3/30/2023                US Income Tax                    Prepare for bi-weekly CAF meeting to discuss tax workstreams                                            0.7     $600.00       $420.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/30/2023                US Income Tax                    Analyze non-debtor inclusion in US consolidated tax filings                                             1.1     $600.00       $660.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/30/2023                US Income Tax                    Review source data required to complete March 31 annual reports                                         0.4     $600.00       $240.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/30/2023                US Income Tax                    Bi-weekly CAF update call with K. Schultea (FTX)                                                        0.4     $600.00       $240.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/30/2023                US Income Tax                    Analyze IRS exam document request source data                                                           1.9     $600.00      $1,140.00
                                      Contractor JS
                                                                                                                   Written correspondence with EY internal teams (local teams and desk) and S&C re: treatment of
Shea JR,Thomas M           TMS       Partner/Principal   3/30/2023                US Income Tax                                                                                                                            1.1     $825.00       $907.50
                                                                                                                   certain transactions in Japan
                                                                                                                   Written response to M. Cilia (FTX) and J. Ray (FTX) re: proposed treatment of certain transactions
Shea JR,Thomas M           TMS       Partner/Principal   3/30/2023                US Income Tax                                                                                                                            1.6     $825.00      $1,320.00
                                                                                                                   in Japan, including follow-ups
Shea JR,Thomas M           TMS       Partner/Principal   3/30/2023   Non-Working Travel (billed at 50% of rates)   Travel from New York, NY to Dallas, TX                                                                  3.0     $412.50      $1,237.50
Shea JR,Thomas M           TMS       Partner/Principal   3/30/2023                US Income Tax                    Additional written internal correspondence re: global transition of tax services with local teams       0.6     $825.00       $495.00
Short,Victoria              VS            Senior         3/30/2023                  Payroll Tax                    Correspondence regarding employment tax notices/penalties/interest                                      0.6     $395.00       $237.00
                                                                                                                   Review correspondence from non-US EY teams regarding status of in-progress deliverables and
Staromiejska,Kinga          KS           Manager         3/30/2023                  Non US Tax                                                                                                                             1.1     $525.00       $577.50
                                                                                                                   next steps.
Steigler,Ella               ES            Senior         3/30/2023             Information Reporting               Revise tracker with new notices received from client                                                    1.0     $395.00       $395.00
                                         National
Stevens,Matthew Aaron      MAS                           3/30/2023                 Tax Advisory                    Analysis of federal tax elections for prior year tax filings                                            0.6     $990.00       $594.00
                                     Partner/Principal
Stillman,Will              WS              Staff         3/30/2023            US State and Local Tax               Call Los Angeles regarding TY21 return status                                                           1.2     $225.00       $270.00
Tong,Chia-Hui              CHT       Senior Manager      3/30/2023     Project Management Office Transition        Prepare agenda for internal workstream leads call                                                       0.7     $650.00       $455.00
Tong,Chia-Hui              CHT       Senior Manager      3/30/2023     Project Management Office Transition        Draft talking points for meeting in Dallas, TX                                                          0.6     $650.00       $390.00
Tong,Chia-Hui              CHT       Senior Manager      3/30/2023     Project Management Office Transition        Review project status, risks and action items, next steps                                               1.1     $650.00       $715.00
Tong,Chia-Hui              CHT       Senior Manager      3/30/2023     Project Management Office Transition        Review time entry open items                                                                            0.2     $650.00       $130.00
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                                                         Date of
                  Name   Initials         Rank                                Project Category                                                     Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
Tong,Chia-Hui             CHT        Senior Manager     3/30/2023    Project Management Office Transition    Prepare weekly status slide for Alvarez and Marsal/EY project management deck                          0.7     $650.00       $455.00
Tsikkouris,Anastasios      AT           Manager         3/30/2023                Non US Tax                  Call with the tax authorities regarding the income tax compliance status of the Cypriot entities       0.4     $525.00       $210.00
                                                                                                             Correspondence regarding the income tax compliance status of the Cypriot entities following the
Tsikkouris,Anastasios      AT           Manager         3/30/2023                Non US Tax                                                                                                                         0.1     $525.00        $52.50
                                                                                                             search to the tax authorities.
Tyllirou,Christiana       CT            Manager         3/30/2023            Information Reporting           Prepare the balance sheet and P&L for Innovatia as at 31 December 2022                                 3.9     $525.00      $2,047.50
Wong,Maddie               WM             Staff          3/30/2023               US Income Tax                Revise addresses in OneSource for all entities                                                         0.4     $225.00         $90.00
                                                                                                             Call with MA Department of Revenue and MA Department of Labor regarding the 2022
Wrenn,Kaitlin Doyle      KDW            Manager         3/30/2023                 Payroll Tax                                                                                                                       1.3     $525.00       $682.50
                                                                                                             withholding discrepancies for WRSS.
Wrenn,Kaitlin Doyle      KDW            Manager         3/30/2023                  Payroll Tax               Reconcile payroll tax filings as prepared by Gusto and TriNet                                          2.7     $525.00      $1,417.50
Wrenn,Kaitlin Doyle      KDW            Manager         3/30/2023                  Payroll Tax               Review of MD withholding returns as requested by state agent                                           0.6     $525.00        $315.00
Wrenn,Kaitlin Doyle      KDW            Manager         3/30/2023                  Payroll Tax               Finalize IRS auditor requested responses on PEO listing and Alameda entities                           0.6     $525.00        $315.00
Zheng,Eva                 EZ            Manager         3/30/2023            US State and Local Tax          Research tax on CA LLC filings for LLCs                                                                0.8     $525.00        $420.00
Zheng,Eva                 EZ            Manager         3/30/2023            US State and Local Tax          Review Ext & Q1 filing calculation template and calendar                                               1.8     $525.00        $945.00
Bugden,Nick R            NRB         Senior Manager     3/30/2023   Chapter 11 Process and Case Management   Team coordination call across EY services                                                              0.5     $900.00        $450.00
Bugden,Nick R            NRB         Senior Manager     3/30/2023             Liquidation Activities         Prepare correspondence with S&C re: winddown of activities and appropriate contacts                    0.6     $900.00        $540.00
                                                                                                             Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Ancona,Christopher         CA            Senior         3/31/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,        0.4     $395.00       $158.00
                                                                                                             J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                             Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Bailey,Doug                DB       Partner/Principal   3/31/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,        0.4     $825.00       $330.00
                                                                                                             J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                             Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Berman,Jake                JB        Senior Manager     3/31/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,        0.4     $650.00       $260.00
                                                                                                             J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                             Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Bost,Anne                  BA       Managing Director   3/31/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,        0.4     $775.00       $310.00
                                                                                                             J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                             Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Hammon,David Lane         DLH           Manager         3/31/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,        0.4     $525.00       $210.00
                                                                                                             J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                             Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
MacLean,Corrie            CM             Senior         3/31/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,        0.4     $395.00       $158.00
                                                                                                             J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                             Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
Mistler,Brian M          BMM            Manager         3/31/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,        0.4     $525.00       $210.00
                                                                                                             J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                             Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and K. Jacobs (A&M) to discuss open
                                      Client Serving
Scott,James                JS                           3/31/2023         Meetings with Management           items, questions, and action items. EY attendees: C. Ancona, B. Mistler, D. Hammon, C. MacLean,        0.4     $600.00       $240.00
                                      Contractor JS
                                                                                                             J. Berman, D. Bailey, J. Scott, and A. Bost
                                                                                                             Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Ancona,Christopher         CA            Senior         3/31/2023    Project Management Office Transition                                                                                                           0.4     $395.00       $158.00
                                                                                                             status updates and reporting. EY attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman

                                                                                                             Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Berman,Jake                JB        Senior Manager     3/31/2023               US Income Tax                                                                                                                       0.4     $650.00       $260.00
                                                                                                             status updates and reporting. EY attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman

                                                                                                             Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Mistler,Brian M          BMM            Manager         3/31/2023               US Income Tax                                                                                                                       0.4     $525.00       $210.00
                                                                                                             status updates and reporting. EY attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman

                                      Client Serving                                                         Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Scott,James                JS                           3/31/2023               US Income Tax                                                                                                                       0.4     $600.00       $240.00
                                      Contractor JS                                                          status updates and reporting. EY attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman

                                                                                                             Meeting to review Alvarez and Marsal/EY Project Management Office slide deck deliverable on
Tong,Chia-Hui             CHT        Senior Manager     3/31/2023    Project Management Office Transition                                                                                                           0.4     $650.00       $260.00
                                                                                                             status updates and reporting. EY attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                             Daily working session to work on FTX data related items. EY attendees: D. Jena, K. Gundu, and C.
Gundu,Kaivalya             KG        Senior Manager     3/31/2023                Technology                                                                                                                         0.5     $650.00       $325.00
                                                                                                             Velpuri
                                                                                                             Daily working session to work on FTX data related items. EY attendees: D. Jena, K. Gundu, and C.
Jena,Deepak                DJ           Manager         3/31/2023                Technology                                                                                                                         0.5     $525.00       $262.50
                                                                                                             Velpuri
                                                                                                             Daily working session to work on FTX data related items. EY attendees: D. Jena, K. Gundu, and C.
Velpuri,Cury               CV             Staff         3/31/2023                Technology                                                                                                                         0.5     $225.00       $112.50
                                                                                                             Velpuri
                                                                                                             Meeting to discuss actions items related to FTX transitioning. EY attendees: C. Ancona and C.
Ancona,Christopher         CA            Senior         3/31/2023    Project Management Office Transition                                                                                                           0.5     $395.00       $197.50
                                                                                                             Tong
                                                                                                             Meeting to discuss actions items related to FTX transitioning. EY attendees: C. Ancona and C.
Tong,Chia-Hui             CHT        Senior Manager     3/31/2023    Project Management Office Transition                                                                                                           0.5     $650.00       $325.00
                                                                                                             Tong
                                                                                                             Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon
Hammon,David Lane         DLH           Manager         3/31/2023                Non US Tax                                                                                                                         0.5     $525.00       $262.50
                                                                                                             and C. MacLean
                                                                                                             Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon
MacLean,Corrie            CM             Senior         3/31/2023                Non US Tax                                                                                                                         0.5     $395.00       $197.50
                                                                                                             and C. MacLean
                                                                                                             Working session with M. Cilia (FTX), K. Schultea (FTX), J. Ray (FTX), R. Hoskins (RLKS), C.
                                                                                                             Howe (A&M), R. Gordon (A&M), S. Coverick (A&M), and D. Hariton (S&C) to discuss current
Ancona,Christopher         CA            Senior         3/31/2023         Meetings with Management                                                                                                                  3.5     $395.00      $1,382.50
                                                                                                             issues covering intercompany transaction methodologies with Q&A. EY attendees: O. Hall, A.
                                                                                                             Bost, D. McComber, G. Di Stefano, J. Scott, C. Tong, C. Ancona, and T. Shea
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                                                          Date of
                   Name   Initials         Rank                                  Project Category                                                       Description of Services                                         Hours   Hourly Rate   Fees
                                                          Service
                                                                                                                   Working session with M. Cilia (FTX), K. Schultea (FTX), J. Ray (FTX), R. Hoskins (RLKS), C.
                                                                                                                   Howe (A&M), R. Gordon (A&M), S. Coverick (A&M), and D. Hariton (S&C) to discuss current
Bost,Anne                   BA       Managing Director   3/31/2023           Meetings with Management                                                                                                                    3.5     $775.00      $2,712.50
                                                                                                                   issues covering intercompany transaction methodologies with Q&A. EY attendees: O. Hall, A.
                                                                                                                   Bost, D. McComber, G. Di Stefano, J. Scott, C. Tong, C. Ancona, and T. Shea
                                                                                                                   Working session with M. Cilia (FTX), K. Schultea (FTX), J. Ray (FTX), R. Hoskins (RLKS), C.
                                                                                                                   Howe (A&M), R. Gordon (A&M), S. Coverick (A&M), and D. Hariton (S&C) to discuss current
Di Stefano,Giulia          GDS            Senior         3/31/2023           Meetings with Management                                                                                                                    3.5     $395.00      $1,382.50
                                                                                                                   issues covering intercompany transaction methodologies with Q&A. EY attendees: O. Hall, A.
                                                                                                                   Bost, D. McComber, G. Di Stefano, J. Scott, C. Tong, C. Ancona, and T. Shea
                                                                                                                   Working session with M. Cilia (FTX), K. Schultea (FTX), J. Ray (FTX), R. Hoskins (RLKS), C.
                                                                                                                   Howe (A&M), R. Gordon (A&M), S. Coverick (A&M), and D. Hariton (S&C) to discuss current
Hall,Olivia                 OH             Staff         3/31/2023           Meetings with Management                                                                                                                    3.5     $225.00       $787.50
                                                                                                                   issues covering intercompany transaction methodologies with Q&A. EY attendees: O. Hall, A.
                                                                                                                   Bost, D. McComber, G. Di Stefano, J. Scott, C. Tong, C. Ancona, and T. Shea
                                                                                                                   Working session with M. Cilia (FTX), K. Schultea (FTX), J. Ray (FTX), R. Hoskins (RLKS), C.
                                         National                                                                  Howe (A&M), R. Gordon (A&M), S. Coverick (A&M), and D. Hariton (S&C) to discuss current
McComber,Donna             DM                            3/31/2023           Meetings with Management                                                                                                                    3.5     $990.00      $3,465.00
                                     Partner/Principal                                                             issues covering intercompany transaction methodologies with Q&A. EY attendees: O. Hall, A.
                                                                                                                   Bost, D. McComber, G. Di Stefano, J. Scott, C. Tong, C. Ancona, and T. Shea
                                                                                                                   Working session with M. Cilia (FTX), K. Schultea (FTX), J. Ray (FTX), R. Hoskins (RLKS), C.
                                       Client Serving                                                              Howe (A&M), R. Gordon (A&M), S. Coverick (A&M), and D. Hariton (S&C) to discuss current
Scott,James                 JS                           3/31/2023           Meetings with Management                                                                                                                    3.5     $600.00      $2,100.00
                                       Contractor JS                                                               issues covering intercompany transaction methodologies with Q&A. EY attendees: O. Hall, A.
                                                                                                                   Bost, D. McComber, G. Di Stefano, J. Scott, C. Tong, C. Ancona, and T. Shea
                                                                                                                   Working session with M. Cilia (FTX), K. Schultea (FTX), J. Ray (FTX), R. Hoskins (RLKS), C.
                                                                                                                   Howe (A&M), R. Gordon (A&M), S. Coverick (A&M), and D. Hariton (S&C) to discuss current
Shea JR,Thomas M           TMS       Partner/Principal   3/31/2023           Meetings with Management                                                                                                                    3.5     $825.00      $2,887.50
                                                                                                                   issues covering intercompany transaction methodologies with Q&A. EY attendees: O. Hall, A.
                                                                                                                   Bost, D. McComber, G. Di Stefano, J. Scott, C. Tong, C. Ancona, and T. Shea
                                                                                                                   Working session with M. Cilia (FTX), K. Schultea (FTX), J. Ray (FTX), R. Hoskins (RLKS), C.
                                                                                                                   Howe (A&M), R. Gordon (A&M), S. Coverick (A&M), and D. Hariton (S&C) to discuss current
Tong,Chia-Hui              CHT        Senior Manager     3/31/2023           Meetings with Management                                                                                                                    3.5     $650.00      $2,275.00
                                                                                                                   issues covering intercompany transaction methodologies with Q&A. EY attendees: O. Hall, A.
                                                                                                                   Bost, D. McComber, G. Di Stefano, J. Scott, C. Tong, C. Ancona, and T. Shea
                                                                                                                   Internal meeting for the review and finalization of the balance sheet and profit & loss account of
Liassides,Petros            PL       Partner/Principal   3/31/2023             Information Reporting               Innovatia Limited for the year ended 31 December 2022. EY attendees: P. Liassides, P. Pavlou, C.      0.6     $825.00       $495.00
                                                                                                                   Tyllirou, and A. Tsikkouris
                                                                                                                   Internal meeting for the review and finalization of the balance sheet and profit & loss account of
Pavlou,Pantelis             PP           Manager         3/31/2023             Information Reporting               Innovatia Limited for the year ended 31 December 2022. EY attendees: P. Liassides, P. Pavlou, C.      0.6     $525.00       $315.00
                                                                                                                   Tyllirou, and A. Tsikkouris
                                                                                                                   Internal meeting for the review and finalization of the balance sheet and profit & loss account of
Tsikkouris,Anastasios       AT           Manager         3/31/2023             Information Reporting               Innovatia Limited for the year ended 31 December 2022. EY attendees: P. Liassides, P. Pavlou, C.      0.6     $525.00       $315.00
                                                                                                                   Tyllirou, and A. Tsikkouris
                                                                                                                   Internal meeting for the review and finalization of the balance sheet and profit & loss account of
Tyllirou,Christiana         CT           Manager         3/31/2023             Information Reporting               Innovatia Limited for the year ended 31 December 2022. EY attendees: P. Liassides, P. Pavlou, C.      0.6     $525.00       $315.00
                                                                                                                   Tyllirou, and A. Tsikkouris
                                                                                                                   Internal discussion to prepare for working session. EY attendees: T. Shea, A. Bost, and D.
Bost,Anne                   BA       Managing Director   3/31/2023                Transfer Pricing                                                                                                                       2.0     $775.00      $1,550.00
                                                                                                                   McComber
                                                                                                                   Internal discussion to prepare for working session. EY attendees: T. Shea, A. Bost, and D.
Shea JR,Thomas M           TMS       Partner/Principal   3/31/2023                US Income Tax                                                                                                                          2.0     $825.00      $1,650.00
                                                                                                                   McComber
                                         National                                                                  Internal discussion to prepare for working session. EY attendees: T. Shea, A. Bost, and D.
McComber,Donna             DM                            3/31/2023                Transfer Pricing                                                                                                                       2.0     $990.00      $1,980.00
                                     Partner/Principal                                                             McComber
Alfaro,Adriana              AA             Staff         3/31/2023                 Payroll Tax                     Prepare summary of notices for Employment Tax                                                         2.8     $225.00       $630.00
Ancona,Christopher          CA            Senior         3/31/2023     Project Management Office Transition        Revise Alvarez & Marsal/ EY Project Management Office slide deck on project status                    0.8     $395.00       $316.00
Bailey,Doug                 DB       Partner/Principal   3/31/2023                 Tax Advisory                    Analyze FTT blockchain cryptocurrency transfers amongst affiliates and summary of findings            2.8     $825.00      $2,310.00
Bailey,Doug                 DB       Partner/Principal   3/31/2023                 Tax Advisory                    Review FTX Japan Holdings KK intercompany note matter                                                 1.8     $825.00      $1,485.00
Bailey,Doug                 DB       Partner/Principal   3/31/2023                 Tax Advisory                    Analyze applicable procedural rules associated with historical filings                                1.9     $825.00      $1,567.50
                                                                                                                   Review IRW data for statements to clients and discuss tables/structure and data required for
Benjamin,Uri                UB        Senior Manager     3/31/2023             Information Reporting                                                                                                                     1.1     $650.00       $715.00
                                                                                                                   gain/loss information.
Berman,Jake                 JB        Senior Manager     3/31/2023                US Income Tax                    Prepare agendas for discussions with representatives from Liquid, Embed, and FTX Trust entities.      0.7     $650.00       $455.00
Bost,Anne                   BA       Managing Director   3/31/2023   Non-Working Travel (billed at 50% of rates)   Travel from New York, NY to Dallas, TX                                                                8.0     $387.50      $3,100.00
                                                                                                                   Summarize 1099 email intake backlog and updating process with curating new responses for
Carver,Cody R.             CRC            Senior         3/31/2023                  Payroll Tax                                                                                                                          2.4     $395.00       $948.00
                                                                                                                   inquiries.
Carver,Cody R.             CRC            Senior         3/31/2023                  Payroll Tax                    Review employment tax procedure updates for RLKS                                                      2.3     $395.00       $908.50
                                                                                                                   Discussion with the EY Client technology team to get all of the approvals for the transfers of FTX
Cavusoglu,Coskun            CC       Partner/Principal   3/31/2023                  Technology                                                                                                                           0.3     $825.00       $247.50
                                                                                                                   data
Choudary,Hira               HC             Staff         3/31/2023                  Non US Tax                     Revise timesheet template upload recon file for March                                                 0.6     $225.00       $135.00
Dulceak,Crystal             CD           Manager         3/31/2023             US State and Local Tax              Follow-up regarding AR submissions/confirmations.                                                     0.9     $525.00       $472.50
Dunne,Robert               RDF        Senior Manager     3/31/2023                  Non US Tax                     Review information provided and request follow-up call with client                                    0.8     $650.00       $520.00
Geisler,Arthur              AG             Staff         3/31/2023             Information Reporting               Booking January - February salary in Abacus                                                           2.1     $225.00       $472.50
Gundu,Kaivalya              KG        Senior Manager     3/31/2023                  Technology                     Reviewing the status of uploading FTX tax data to EY infrastructure                                   0.2     $650.00       $130.00
Hall,Emily Melissa         EMH            Senior         3/31/2023             US State and Local Tax              Correspondence regarding tax year 2022 compliance for state and local tax.                            0.4     $395.00       $158.00
                                                                                                                   Correspondence with Maryland revenue agent to further understand the information requested in
Hall,Emily Melissa         EMH            Senior         3/31/2023             US State and Local Tax                                                                                                                    0.3     $395.00       $118.50
                                                                                                                   relation to tax year 2020.
Hall,Emily Melissa         EMH            Senior         3/31/2023             US State and Local Tax              Correspondence with FTX regarding filing the Washington Business and Occupation tax.                  0.3     $395.00       $118.50
                                                                                                                   Correspondence requesting that an annual report be filed earlier than due date of May 31st to
Hall,Emily Melissa         EMH            Senior         3/31/2023             US State and Local Tax                                                                                                                    0.1     $395.00        $39.50
                                                                                                                   ensure that officer information is properly updated with the Secretary of State.
Hall,Emily Melissa         EMH            Senior         3/31/2023             US State and Local Tax              Draft emails regarding the feasibility of filing super combined returns for tax year 2022.            0.8     $395.00       $316.00
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                                                          Date of
                Name      Initials        Rank                                   Project Category                                                        Description of Services                                        Hours     Hourly Rate      Fees
                                                          Service
                                                                                                                   Correspondence detailing the Washington forms that need to be populated and submitted with the
Hall,Emily Melissa         EMH            Senior         3/31/2023             US State and Local Tax                                                                                                                    0.6       $395.00           $237.00
                                                                                                                   Department of Revenue.
Hall,Emily Melissa         EMH            Senior         3/31/2023             US State and Local Tax              Review and provide powers of attorney forms to California franchise tax board                         0.2       $395.00             $79.00
Hall,Emily Melissa         EMH            Senior         3/31/2023             US State and Local Tax              Analyze notices received, classified by tax type, and revised notice tracker.                         1.9       $395.00            $750.50
Hammon,David Lane          DLH           Manager         3/31/2023                  Non US Tax                     Correspondence to gather updates on the status of all CIT filings with a 3/31 deadline                3.9       $525.00          $2,047.50
Hammon,David Lane          DLH           Manager         3/31/2023                  Non US Tax                     Leadership updates concerning the status of all CIT filings with a 3/31 deadline                      1.4       $525.00            $735.00
Hammon,David Lane          DLH           Manager         3/31/2023                  Non US Tax                     Correspondence regarding on-call support for Gibraltar                                                1.6       $525.00            $840.00
                                                                                                                   Correspondence concerning the BRIDGE submission required to gain approval for engaging the
Hammon,David Lane          DLH           Manager         3/31/2023                  Non US Tax                                                                                                                           1.4       $525.00           $735.00
                                                                                                                   third-party service provider in Seychelles
Jena,Deepak                 DJ           Manager         3/31/2023                  Technology                     Revise legal entity dashboard, Raptor integration, and TB Cleansed job failures                       1.1       $525.00           $577.50
Katelas,Andreas             KA            Senior         3/31/2023                 Tax Advisory                    Revise internal ITTS tracker and FTX entity control list based on recent developments                 0.9       $395.00           $355.50
Li,Chunyang                 CL            Senior         3/31/2023                  Technology                     Review result and fix issues                                                                          0.4       $395.00           $158.00
                                                                                                                   Review foreign office due diligence and follow up items, extension communication, tracking sheet
MacLean,Corrie             CM             Senior         3/31/2023                  Non US Tax                                                                                                                           2.1       $395.00           $829.50
                                                                                                                   updates, and historical documents received
                                         National
McComber,Donna             DM                            3/31/2023                Transfer Pricing                 Prepare for meeting re: TP analysis                                                                   1.3       $990.00          $1,287.00
                                     Partner/Principal
Mistler,Brian M           BMM            Manager         3/31/2023                US Income Tax                    Prepare summary for taxable income/loss summary for U.S. entities                                     0.4       $525.00            $210.00
Neziroski,David            DN           Associate        3/31/2023         Fee/Employment Applications             Make updates to January fee application exhibits                                                      3.8       $365.00          $1,387.00
Pavlou,Pantelis            PP            Manager         3/31/2023             Information Reporting               Review of draft document deliverables                                                                 1.2       $525.00            $630.00
Pulliam,Michelle           MP              Staff         3/31/2023                  Payroll Tax                    Review employment tax notice and outline of next steps                                                3.1       $225.00            $697.50
Richardson,Audrey Sarah   ASR            Manager         3/31/2023             Information Reporting               Validate corrected forms generated by reporting team                                                  2.1       $525.00          $1,102.50
Richardson,Audrey Sarah   ASR            Manager         3/31/2023             Information Reporting               Review corrected forms generated by reporting team                                                    1.9       $525.00            $997.50
Richardson,Audrey Sarah   ASR            Manager         3/31/2023             Information Reporting               Review requested 1099 forms                                                                           2.1       $525.00          $1,102.50
Richardson,Audrey Sarah   ASR            Manager         3/31/2023             Information Reporting               Discuss next steps with FTX regarding pulling transaction data                                        0.4       $525.00            $210.00
Rüegg,Christoph            CR             Senior         3/31/2023                  Non US Tax                     Coordinate the Declaration of disinterestedness signing procedure                                     0.7       $395.00            $276.50
Rüegg,Christoph            CR             Senior         3/31/2023                  Non US Tax                     Review the signing procedure regarding the Declaration of disinterestedness                           0.7       $395.00            $276.50
                                      Client Serving
Scott,James                 JS                           3/31/2023                US Income Tax                    Provide assistance analyzing tax compliance for Antigua, Canada, and Panama                           1.1       $600.00           $660.00
                                      Contractor JS
                                      Client Serving
Scott,James                 JS                           3/31/2023                US Income Tax                    Review non-debtor entity compliance requirements                                                      0.4       $600.00           $240.00
                                      Contractor JS
                                                                                                                   Additional follow-ups and draft documentation to M. Cilia (FTX) and J. Ray (FTX) re: proposed
Shea JR,Thomas M           TMS       Partner/Principal   3/31/2023                US Income Tax                                                                                                                          1.6       $825.00          $1,320.00
                                                                                                                   treatment of certain transactions in Japan
Shea JR,Thomas M           TMS       Partner/Principal   3/31/2023   Non-Working Travel (billed at 50% of rates)   Travel from Dallas, TX to New York, NY                                                                3.0       $412.50          $1,237.50
Short,Victoria              VS            Senior         3/31/2023                 Payroll Tax                     Revise the notice tracker and review for employment tax notices                                       0.3       $395.00            $118.50
Stillman,Will              WS              Staff         3/31/2023            US State and Local Tax               Follow-up call with Los Angeles regarding TY21 return status                                          1.1       $225.00            $247.50
Tong,Chia-Hui              CHT        Senior Manager     3/31/2023     Project Management Office Transition        Review central coordination transition next steps                                                     0.4       $650.00            $260.00
Tong,Chia-Hui              CHT        Senior Manager     3/31/2023     Project Management Office Transition        Follow-up with stakeholders regarding upcoming deliverables                                           0.3       $650.00            $195.00
Tong,Chia-Hui              CHT        Senior Manager     3/31/2023     Project Management Office Transition        Review technology data transfer progress against activity tracker                                     0.4       $650.00            $260.00
Tosaki,Ryuta                RT       Managing Director   3/31/2023                Tax Advisory                     Correspondence regarding Japan's loan                                                                 1.0       $775.00            $775.00
                                                                                                                   Prepare deliverables and Memo to be provided for bookkeeping regarding Innovatia Ltd for the year
Tyllirou,Christiana         CT           Manager         3/31/2023             Information Reporting                                                                                                                     3.1       $525.00          $1,627.50
                                                                                                                   ended 31 December 2022
Wrenn,Kaitlin Doyle       KDW            Manager         3/31/2023                  Payroll Tax                    Research and review of contractor December payments                                                   2.3       $525.00          $1,207.50
                                                                                                                   Review current status on 1099 inquiry intake progress and provide status regarding response
Wrenn,Kaitlin Doyle       KDW            Manager         3/31/2023                  Payroll Tax                                                                                                                          1.2       $525.00           $630.00
                                                                                                                   approvals.
Yang,Rachel Sim            RSY        Senior Manager     3/31/2023              US International Tax               Review of compliance analysis                                                                         1.5       $650.00           $975.00
                                                                                                                   Review LiquidEX LLC FTX entity registration and structure to determine if there is any filing
Zheng,Eva                   EZ           Manager         3/31/2023             US State and Local Tax                                                                                                                    0.7       $525.00           $367.50
                                                                                                                   requirement
                                                                                                                   Follow-up regarding Deck Technologies, Inc. and FTX Lend Inc. entities regarding potential new
Zheng,Eva                   EZ           Manager         3/31/2023             US State and Local Tax                                                                                                                    0.9       $525.00           $472.50
                                                                                                                   filings
Zheng,Eva                   EZ           Manager         3/31/2023             US State and Local Tax              Follow-up regarding the issue for LA & MS state missing returns but have confirmation for efiling.    0.3       $525.00           $157.50
Bugden,Nick R              NRB        Senior Manager     3/31/2023             Liquidation Activities              Correspondence with S&C re: FTX individuals involved in liquidation discussions                       0.2       $900.00           $180.00
Total                                                                                                                                                                                                                   2,894.5                 $1,596,707.00
